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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


NICOLAS TALBOTT, et al.,                          )
                                                  )
                    Plaintiffs,                   )
                                                  )
v.                                                )
                                                  )          No. 1:25-cv-00240 (ACR)
DONALD J. TRUMP, in his official capacity as      )
President of the United States, et al.,           )
                                                  )
                  Defendants.                     )
________________________________________          )


          PLAINTIFFS’ SUPPLEMENTAL BRIEFING ON IMMUTABILITY
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       Transgender people have “immutable and distinguishing characteristics that make them a

discernable class.” Doe 1 v. Trump, 275 F. Supp. 3d 167, 208 (D.D.C. 2017), vacated sub nom.

Doe 2 v. Shanahan, 755 F. App’x 19 (D.C. Cir. 2019). Substantial evidence shows that being

transgender has a biological basis. Conversely, conversion therapy, which aims to change gender

identity or force a transgender person to live in their birth sex, has no basis in medical science, is

ineffective, and causes severe physical and psychological harms.

I.     Being Transgender Is Highly Resistant to Change, and Efforts to Change a Person’s
       Gender Identity Cause Serious Harm
       Medical science recognizes that being transgender is “not a mental disorder,” Brown Decl.,

ECF No. 32 at ¶ 16, and that gender identity is deep-seated, established early in life, and

impervious to change through external influences. See Doe v. Austin, 2024 WL 4653290, at *2 (D.

Me. Nov. 1, 2024) (“Gender identity is ‘innate, impervious to external influences, and cannot be

changed by medical or psychological intervention.’”) (quoting Department of Justice stipulation).

         That transgender individuals—like everyone—initially live in their birth sex does not

undermine the immutability of transgender status. All individuals initially live in their birth sex.

That is why the process of changing that so a person can live in a different sex is called “transition.”

For this reason, the government’s claim that the Carter and Austin policies “require transgender

people to live in their birth sex” before they undergo gender transition misses the mark. By its

nature, transition is a process that is preceded by living in one’s birth sex. That is simply what it

means to be transgender (a person is identified as one sex at birth and then lives as another). The

Carter and Austin policies enable transgender people to transition and to serve in their current sex.

In contrast, the Mattis policy required transgender service members (other than those

grandfathered in) to serve in their birth sex with no option to transition and no medical care for

gender dysphoria—i.e., the Mattis policy required transgender people to suppress their transgender



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identity, just as discredited and harmful conversion therapies seek to do.

       The existence of a pre-transition period (which of necessity is present for every transgender

person) does not suggest that being transgender is mutable or that transition is optional for

transgender persons who require it. Rather, it reflects the reality that a person’s transgender

identity becomes clear over time (just as sexual orientation does), and that differing circumstances

cause individual transgender people to become aware of their transgender status at different times.

Many transgender people (like many gay people) report feeling a profound sense of difference

from their peers from an early age; however, due to lack of information and support, they may not

learn of what it means to be transgender until they are older. Even as adults, people may delay or

avoid transitioning due to “fear of being abandoned by family or friends, fearing economic loss . .

. , and being discriminated against and stigmatized.” Eli Coleman et al., Standards of Care for the

Health of Transgender and Gender Diverse People, Version 8, 23 Int’l J. Transgender Health, Issue

Supp. 1, at S40 (2022) (citations omitted) (“WPATH Standards”). Attempts to prevent transition

through conversion efforts are harmful precisely because they seek to suppress or deny an

immutable aspect of identity, not because they maintain a status quo of a person’s birth sex, that

everyone initially lives with but that is a source of intense distress only for transgender people.

       In 2023, the Department of Health and Human Services (“HHS”) concluded that “no

available research indicates that change efforts are effective in altering gender identity.” Ex. A,

Dep’t of Health and Human Servs., Substance Abuse and Mental Health Servs. Admin., Moving

Beyond Change Efforts: Evidence and Action to Support and Affirm LGBTQI+ Youth 9 (2023)

(“2023 SAMHSA Report”). The panel found that research shows “change efforts can cause

significant harm.” Id. This review followed an earlier 2015 HHS report, which also concluded

“none of the existing research supports the premise that mental or behavioral health interventions



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can alter gender identity” and that such interventions “are coercive, can be harmful, and should

not be part of behavioral health treatment.” See Ex. B, Dep’t of Health and Human Servs.,

Substance Abuse and Mental Health Servs. Admin., Ending Conversion Therapy: Supporting and

Affirming LGBTQ Youth 1 (2015) (“2015 SAMHSA Report”). 1

       Similarly, the American Psychological Association has found that “individuals who have

experienced pressure or coercion to conform to their sex assigned at birth or therapy that was

biased toward conformity to one’s assigned sex at birth have reported harm resulting from these

experience[s] such as emotional distress, loss of relationships, and low self-worth.” Ex. C,

American Psychological Association, APA Resolution on Gender Identity Change Efforts 2 (Feb.

2021) (“APA GICE Resolution”), https://www.apa.org/about/policy/resolution-gender-identity-

change-efforts.pdf (citing studies). Gender identity change efforts (“GICE”) “are associated with

harmful social and emotional effects for many individuals, including but not limited to, the onset

or increase of depression, anxiety, suicidality, loss of sexual feeling, impotence, deteriorated family

relationships, a range of post-traumatic responses, and substance abuse.” Id. at 4. The APA has

affirmed “that scientific evidence and clinical experience indicate that GICE put individuals at

significant risk of harm [and]. . . opposes GICE because such efforts put individuals at significant

risk of harm.” Id. at 3. Leading medical and mental health professional associations agree. See,

e.g., Ex. D, Jessica N. Fish & Stephen T. Russel, Sexual Orientation and Gender Identity Change

Efforts Are Unethical and Harmful, 110 Am. J. Public Health 1113-14 (2020).

       These reviews recognize a growing body of research that demonstrates the serious harm

associated with efforts to change gender identity including by requiring transgender people to live




1
  These reports formerly were available on SAMHSA’s website. They appear to have been
removed recently. For the Court’s convenience, copies are attached as Exhibits A and B.

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in their birth sex. To cite one example, a 2019 study documented a dramatically increased risk of

suicidality among transgender youth exposed to conversion therapy. See, e.g., Ex. E, Jack L.

Turban et al., Association Between Recalled Exposure to Gender Identity Conversion Efforts and

Psychological Distress and Suicide Attempts Among Transgender Adults, 77 JAMA Psychiatry 68-

76 (2019); see also Ex. C, APA GICE Resolution at 1 (citing studies).

II.        Scientific Research Provides Strong Evidence that Gender Identity Has a Biological
           Basis
           Strong research supports the conclusion that gender identity has a biological basis. See

Doe v. Austin, 2024 WL 4652999, at *4 (“‘There is a scientific consensus that gender identity is

biologically based and a significant body of medical research that gender dysphoria has a physical

and biological etiology.’”) (quoting stipulation by the Department of Justice). For example,

research shows that transgender women and non-transgender women have similar brain structures,

specifically in the volume of the bed nucleus of the stria terminalis. 2

           Similarly, twin studies have shown that if one identical twin is transgender, the other is

much more likely to be transgender compared to fraternal twins. 3 Twin studies provide strong

genetic evidence, since identical twins (sharing DNA) show higher transgender concordance than

fraternal twins (sharing only environment).

           Other research has investigated differences in specific genes associated with being


      2
       Ex. F, J.N. Zhou et al., A Sex Difference in the Human Brain and its Relation to
Transsexuality, 378 Nature 68-70 (1995); see also Ex. G, Eileen Luders et al., Regional Gray
Matter Variation in Male-to-Female Transsexualism, 46 Neuroimage 904–07 (2009); Ex. H,
Giuseppina Rametti et al., White Matter Microstructure in Female to Male Transsexuals Before
Cross-Sex Hormonal Treatment. A Diffusion Tensor Imaging Study, 45 J. Psychiatr. Res. 199–204
(2011); Ex. I, H. Berglund et al., Male-to-Female Transsexuals Show Sex-Atypical Hypothalamus
Activation When Smelling Odorous Steroids, 18 Cereb. Cortex 1900–08 (2007); Ex. J, Ivanka
Savic & Stefan Arver, Sex Dimorphism of the Brain in Male-to-Female Transsexuals, 21 Cereb.
Cortex 2525–33 (2011).
    3
      Ex. K, Gunter Heylens et al., Gender Identity Disorder in Twins: A Review of the Case Report
Literature, 9 J. Sex. Med. 751–57 (2012).

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transgender. For example, one study found differences in the estrogen receptor gene in transgender

women when compared to the same gene in non-transgender men. 4                  Yet another area of

investigation has examined the influence of fetal exposure to hormones on gender identity. Study

of an intersex condition called congenital adrenal hyperplasia, which results in female fetuses

being exposed to much higher levels of testosterone compared to other female fetuses, has shown

that the percentage of those with this condition who experience gender dysphoria during their lives

is higher than that of the general population. 5 This research indicates that fetal hormone exposure

plays a role in the development of gender identity. 6

III.        Many Courts Have Recognized that Transgender Status Is “Immutable” for Purposes
            of Equal Protection Analysis
            Recognizing that being transgender is not subject to voluntary change and is also a deeply

personal characteristic that a person should not have to change to avoid governmental

discrimination, numerous courts have concluded that classifications based on transgender status

are “immutable” in the constitutional sense. See, e.g., Grimm v. Gloucester Cnty. Sch. Bd., 972

F.3d 586, 612–13 (4th Cir. 2020), as amended (Aug. 28, 2020) (“[G]ender identity is formulated



       4
      Ex. L, Susanne Henningsson et al., Sex Steroid-Related Genes and Male-to-Female
Transsexualism, 30 Psychoneuroendocrinology 657–664 (2005); see also Ex. M, Stephen M.
Rosenthal, Approach to the Patient: Transgender Youth: Endocrine Considerations, 99 J. Clin.
Endocrinol. Metab. 4379-89 (2014).
    5
      Ex. N, Arianne B. Dessens et al., Gender Dysphoria and Gender Change in Chromosomal
Females with Congenital Adrenal Hyperplasia, 34 Arch. Sex. Behav. 389–97 (2005).
    6
      The district court correctly recognized that the executive order's definitions of male and
female in Exec. Order No. 14168, 90 Fed. Reg. 8615 exclude intersex individuals. While being
intersex and being transgender are distinct characteristics, this adoption of purposefully
discriminatory definitions for male and female that are sweeping, unprecedented in the breadth of
reach across federal law, and scientifically ungrounded, is further evidence of animus. See United
States v. Windsor, 570 U.S. 744, 771 (2013) (finding animus where federal statute “writes
inequality into the entire United States Code” via “a system-wide enactment with no identified
connection to any particular area of federal law”); Romer v. Evans, 517 U.S. 620, 632 (1996)
(finding animus where law imposed “a broad and undifferentiated disability on a single named
group”).

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for most people at a very early age, and . . . being transgender is not a choice. Rather, it is as

natural and immutable as being cisgender. . . . ”); Kadel v. Folwell, 100 F.4th 122, 143 (4th Cir.

2024) (same); Brandt v. Rutledge, 677 F. Supp. 3d 877, 905–06, 918 (E.D. Ark. 2023) (same);

Karnoski v. Trump, No. C17-1297-MJP, 2018 WL 1784464, at *10 (W.D. Wash. Apr. 13, 2018),

vacated on other grounds, 926 F.3d 1180 (9th Cir. 2019) (same); Evancho v. Pine-Richland Sch.

Dist., 237 F. Supp. 3d 267, 288 (W.D. Pa. 2017) (transgender status is “deeply ingrained and

inherent”); Bd. of Educ. of the Highland Loc. Sch. Dist. v. United States Dep’t of Educ., 208 F.

Supp. 3d 850, 874 (S.D. Ohio 2016) (same) (quoting Windsor, 699 F.3d at 183); Adkins v. City of

New York, 143 F. Supp. 3d 134, 140 (S.D.N.Y. 2015) (same).




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DATED: February 21, 2025                  Respectfully submitted,

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Acknowledgment
This report was prepared for the Substance Abuse and Mental Health Services Administration
(SAMHSA) by Leed Management Consulting, Inc. under contract number
HHSS283201700609I/HHSS28342001T with SAMHSA, U.S. Department of Health and Human Services
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Recommended Citation
Substance Abuse and Mental Health Services Administration (SAMHSA): Moving Beyond Change
Efforts: Evidence and Action to Support and Affirm LGBTQI+ Youth. SAMHSA Publication No. PEP22-
03-12-001. Rockville, MD: Center for Substance Abuse Prevention. Substance Abuse and Mental Health
Services Administration, 2023.

Originating Office
Center for Substance Abuse Prevention, Substance Abuse and Mental Health Services Administration,
5600 Fishers Lane, Rockville, MD 20857, Publication No. PEP22-03-12-001. Released 2023.

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    Navigating This Report                               for families and caregivers and those who work
                                                         closely with them.
    This report is written for multiple audiences, to
    include behavioral health providers, pediatric       Educators and school professionals: Section
                                                         2 includes information on important school
    professionals and primary care providers,
                                                         interventions this group can implement to
    educators and school professionals,
                                                         improve the behavioral health of LGBTQI+
    policymakers, and researchers. Families,
                                                         children and youth. Section 3 identifies vital
    parents, caregivers, and community leaders may
                                                         steps that aim to improve behavioral health of
    also find it useful.                                 LGBTQI+ children and youth.
    Two sections of this report are likely to be         Families and caregivers: Material in this report
    informative for all readers:                         could help parents and caregivers understand
                                                         and support a child s behavioral health. Some
           Executive Summary, which synthesizes          parents may find the information on schools and
           the key conclusions of the report             behavioral health in Section 2 useful when
           Statements of Professional                    seeking support and treatment for their children.
           Consensus on Beneficial and Harmful           Appendix C provides selected resources for
           Practices with Youth of Diverse               families, caregivers, and those who work closely
                                                         with them.
           Sexual Orientation and Gender
           Identity, which provides key scientific       Pediatric professionals and primary care
           and treatment recommendations                 providers: Providers may find Section 1 on the
                                                         evidence regarding sexual orientation and
    Other sections of this report may be more            gender identity (SOGI) change efforts useful, as
    accessible or useful to specific audiences and       well as the research summary and description of
    are noted below.                                     behavioral health treatment interventions
                                                         (Section 2). Appendix C provides selected
    Behavioral health providers: All sections of         resources for families, caregivers, and those
    this report are relevant to these professionals.     who work closely with them.
    Those primarily engaged in practice and
                                                         Policymakers: Section 3 targets policymakers
    treatment might focus on Section 2, which
                                                         interested in taking concrete steps to improve
    summarizes current research with lesbian, gay,       LGBTQI+ child and youth behavioral health. This
    bisexual, transgender, queer, questioning, and       section is relevant to federal, state, and local
    intersex youth and other sexual- and gender-         policymakers as well as advocates and
    diverse children and youth (LGBTQI+ youth). It       behavioral health providers interested in public
    describes evidence-based approaches to               policy. Some policy professionals may find the
    support and affirm LGBTQI+ children and youth.       entire report helpful as background information.
    Section 3 includes an overview of laws that          Researchers: The research summary in Section
    impact treatment and makes recommendations           2 and areas for future study provide an overview
    for targeted training and expanding treatment        of recent evidence and scientific opportunities.
    access.                                              Section 3 contains recommendations for future
                                                         research initiatives.
    Community leaders: Section 3 includes policy
    actions for those interested in supporting           A glossary of terms used throughout this
    LGBTQI+ child and adolescent behavioral              report can be found in Appendix B.
    health. Appendix C provides selected resources




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Executive Summary
                                                                         This report is focused on the experiences
Like all youth, lesbian, gay, bisexual,                                  and needs of LGBTQI+ children and
transgender, queer, questioning, and intersex                            adolescents up to age 17 years (referred to
youth and other sexual- and gender-diverse                               collectively as            In this report, the
children and adolescents (LGBTQI+ youth)                                 term          is used to refer to youth aged 3-
deserve to grow up in supportive environments                            11 years and adolescent is used to refer to
                                                                         youth aged 12-17 years.
absent stigma and discrimination that allow them
to thrive and achieve their human potential.
When seeking behavioral health treatment (both
mental health and substance use interventions),                       orientations, gender identities, gender
these children and adolescents, like their peers,                     expressions, and variations in sex
and their families deserve the best evidence-                         characteristics. Sexual and gender minorities
based care from knowledgeable health providers                        are also diverse with respect to other identities,
without the risk of harm.                                             including age, race, ethnicity, language, national
                                                                      origin, religion, spirituality, ability, and
This report, Moving Beyond Change Efforts:                            socioeconomic status.
Evidence and Action to Support and Affirm
LGBTQI+ Youth, provides behavioral health                             Critically, LGBTQI+ youth experience significant
providers, researchers, policymakers, and other                       physical and behavioral health inequities.
audiences with current knowledge about                                Several factors contribute to these inequities
LGBTQI+ youth, a comprehensive research                               and result in minority stress, which is harmful to
overview, and important information on                                behavioral health, including:1,2,3,4
behavioral health concerns within this                                          Stigma
community. More specifically, the report
                                                                                Negative social attitudes
provides details on helpful and harmful
                                                                                Systemic barriers in health care for
interventions for these populations in clinical,
                                                                                LGBTQI+ people
community, family, and school settings. In
                                                                                Rejection and lack of support from
particular, the report documents that attempts to
change an                sexual orientation and                                 families, caregivers, and communities
gender identity (SOGI; pronounced         -                                     Bullying and harassment, and lack of
change efforts) are harmful and should not be                                   recognition and support in schools
provided. Additionally, this report discusses                         Lack of appropriately trained behavioral health
evidence-informed policy options that could                           providers and exposure to harmful efforts that
improve the overall health and well-being of                          attempt to change sexual orientation and/or
LGBTQI+ youth.

As the abbreviation LGBTQI+ suggests, this
population is not homogenous. It includes
individuals with many distinct sexual

  Even though the evidence is more limited regarding intersex         of           sexual orientation and/or gender           (or similar
persons, they are included in the acronym LGBTQI+ except when         language) throughout this report.
it would be inappropriate to do so, such as within journal article      For information regarding the terms used to describe sexual
citations or a formal resource name. Additionally, LGBTQI+ is used    orientation and gender identity, see          Orientation and
interchangeably with          and/or gender             and persons   Gender            within Youth.gov https://youth.gov/youth-
                                                                      topics/lgbt.


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    gender identity compound these challenges.         and adolescents are harmful and should never
    Additionally, some transgender and gender-         be provided. Although the terms
    diverse youth require behavioral health support              and                therap are commonly
    for their experience of gender dysphoria that      used to describe efforts to repress or change
    is, psychological distress arising from the                     sexual orientation or gender identity,
    incongruence between one s body and gender         these efforts are not therapeutic, and using
    identity.5                                         these terms reinforce disinformation that sexual-
                                                       and gender-diverse people need repair or
    The conclusions in this report are based on
                                                       conversion. Efforts to change or suppress a
    research and professional consensus
                                                                 sexual orientation or gender identity are
    statements from experts in behavioral health,
                                                       grounded in the belief that being LGBTQI+ is
    research, education, and policy. They
                                                       abnormal. They are dangerous, discredited, and
    strengthen and build on the conclusions of a
                                                       ineffective practices. Therefore, this report utilizes
    2015 report published by the U.S. Substance
                                                       the term          Change E         to describe so-
    Abuse and Mental Health Services
                                                       called                          Recent studies have
    Administration (SAMHSA), Ending Conversion
                                                       linked SOGI change efforts to significant harms,
    Therapy: Supporting and Affirming LGBTQ
                                                       such as increased risk of suicidality and suicide
    Youth, the precursor to this report.6 An
                                                       attempts, as well as other negative outcomes
    overarching and guiding conclusion of this new
                                                       including severe psychological distress and
    report is that SOGI change efforts in children
                                                       depression.7,8,9,10,11,12,13

       An overarching and guiding conclusion of        Further, these practices are not supported by
       this report is that SOGI change efforts in      credible evidence and have been disavowed as
       children and adolescents are harmful and        harmful by behavioral health experts and
       should never be provided.                       scientific professional associations. SOGI
                                                       change efforts do not align with current scientific


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understanding of gender, and are based on the
unfounded concept that being in a sexual or               The term             -based        refers to
gender minority group or identifying as LGBTQI+           care, practices, or policies that are based
is an abnormal aspect of human development.               on current research evidence, clinical
Most importantly, they put young people at risk           expertise, and expert consensus.
of serious harm.
                                                       The Panel reaffirmed that:
The U.S. Department of Health and Human
Services is committed to eliminating health                   Variations in sexual orientation (including
inequities within communities, including the                  identity, behavior, and attraction) and
LGBTQI+ population. This report reflects that                 variations in gender (including identity
commitment by moving the focus away from                      and expression) are part of the normal
SOGI change efforts and toward ensuring that                  spectrum of human diversity and do not
behavioral health care for LGBTQI+ children and               constitute mental disorders.
adolescents is safe and reflects the most current
scientific evidence. This report also provides a       Based on recent studies on thousands of
roadmap for action centered on evidence-based          individuals who have undergone SOGI change
care and helpful interventions for clinicians, all     efforts, the Panel concluded that:
providers, educators, families, caregivers, and
                                                              No available research supports the claim
policymakers to improve the behavioral health of
                                                              that SOGI change efforts are beneficial
LGBTQI+ youth. Further, this report reflects
                                                              to children, adolescents, or families.
priorities included in President          June 15,
                                                              Available research indicates that SOGI
2022, Executive Order on Advancing Equality for
Lesbian, Gay, Bisexual, Transgender, Queer,                   change efforts are not effective in
and Intersex Individuals,14 and the January 20,               altering sexual orientation. Further, no
2021, Executive Order on Preventing and                       available research indicates that change
Combating Discrimination on the Basis of                      efforts are effective in altering gender
Gender Identity or Sexual Orientation.15                      identity.
                                                              Available research indicates that SOGI
Key Findings                                                  change efforts can cause significant
This report and its recommendations are based                 harm.
on scientific research distilled into consensus               SOGI change efforts are inappropriate,
statements by a Subject Matter Expert                         ineffective, and harmful practices that
Consensus Panel (the Panel; see Appendix D                    should not be provided to children and
for members). After a thorough review of the                  adolescents.
scientific research; professional health and
                                                       In the past several years, the research on
scientific association statements, guidelines, and
                                                       gender diversity, gender identity, and gender-
reports; and state and national public policies,
                                                       affirming medical care for children and
and in consultation with professionals across a
                                                       adolescents has expanded greatly. The Panel
wide range of expertise, the Panel revised and
                                                       found that:
built on key statements from the 2015 report.




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            Gender affirmation, including social                  negatively affects the health of sexual
            transition, and gender-affirming medical              and gender minority youth. Such
            care are appropriate and beneficial for               behaviors can cause harm, particularly
            many gender minority youth.
                                                                  and/or gender diversity.
     Research over the past 20 years has
     underscored the importance of family and              After a comprehensive review of the substantial
     community support to the health of LGBTQI+            research assessing the impacts of public
     youth. Family and community negativity toward         policies, the Panel determined that:
     sexual diverse sexual orientation and/or gender
     identity, especially family rejection and school             Policies that stigmatize, restrict, or
     bullying and harassment, can cause harm to the               exclude sexual or gender minority youth
     behavioral health of this population. The Panel              are harmful to children and adolescents.
     confirmed that:                                              Legal prohibitions on gender-affirming
                                                                  care (including medical treatment) are
            Rejection and lack of social and
                                                                  harmful to LGBTQ+ children and
            emotional support from families and
                                                                  adolescents.
            caregivers, schools, and communities




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Understanding Sexual Orientation and                     acknowledging their sexual orientation earlier as
Gender in Children and Adolescents                       societal attitudes have increasingly become
Behavioral health providers, parents, schools,           more accepting and open to diverse sexual
policymakers, and communities can best provide           orientations. Regardless of age, the increase in
support to children, adolescents, and their              identifying as an individual of diverse sexual
families and caregivers and improve their                orientation may be tied to the increasing
behavioral health when they have access to the           awareness and acceptance of diverse sexual
most current information about sexual                    orientations; the expansion of laws, policies, and
orientation, gender identity, and gender                 practices that protect and support individuals
expression in youth. The following overview              regardless of sexual orientation; and an
presents the most current understanding, based           increased willingness and ability among people
on scientific evidence of youth sexual                   with diverse sexual orientations to self-identify.31
orientation, gender identity, and gender                 Evidence suggests that acceptance of diverse
expression.                                              sexual orientations does not make people more
                                                         likely to identify with a diverse sexual orientation,
Sexual orientation occurs across a continuum,            but rather it increases the likelihood that people
and same-sex or same-gender attraction and               feel safer to identify this way publicly.32,33,34
relationships are normal and healthy variations
of human sexuality.16,17 Similarly, a gender             Gender development begins in early childhood
identity that differs from assigned sex at birth, as     and continues throughout childhood and
well as a gender expression that is not aligned          adolescence.35,36 Gender diversity in youth can
with usual or expected cultural norms for a              follow many possible paths. It may emerge as
particular gender, are normal and healthy                early as a child s preschool years, in late
variations of human gender identity.18,19 It is a        adolescence, or anytime in between.37,38,39,40
longstanding finding that being a person of              Some gender-diverse children are actively
diverse sexual orientation and/or gender identity,       exploring their gender, and there is variation
or identifying as LGBTQI+, is not                        regarding their identity development trajectories
pathological.18,20,21,22,23,24,25                        and ultimate identity outcomes.38,39,40 Recent
                                                         research has found that most gender-diverse
While many youth have identified with having a           children continue to identify as transgender or
diverse sexual orientation in the past, they have        another gender identity that differs from their sex
not always felt safe enough to share that                assigned at birth into adolescence and
diversity openly with others.26,27,28 There is no        adulthood.39,40,41 For those who exhibited diverse
single developmental trajectory for sexual               gender-typed behavior in childhood, but did not
orientation. Certainty about sexual orientation          identify as transgender or nonbinary, the
e.g., gay/lesbian, bisexual, or straight                 majority reported a diverse sexual orientation in
increases with age, suggesting         unfolding of      adolescence.42,43 For transgender children who
                                       29
sexual identity during                    Some           have been supported in their gender identity and
researchers have found that it has become more           gender expression, the vast majority show
common in the 21st century compared to the 20th          consistency in their trans identity across
century for children to self-identify as having a        time.40,44
diverse sexual orientation and/or gender
identity.30 What has changed from earlier                Some people are born with differences in sex
periods is that youth appear to be publicly              characteristics, such as reproductive anatomy,



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     chromosomes, or hormones that do not fit
     typical definitions of male and female. Intersex is                          Behavioral Health: A broad term that
     an umbrella term used to describe people who                                 includes mental health, resilience, and
     can have different gender identities. Individuals                            well-being; the treatment of mental and
     with intersex traits may identify as male, female,                           substance use disorders; and the support
                                                                                  of those who experience and/or are in
     nonbinary, or a different gender. Intersex
                                                                                  recovery from these conditions, along with
     individuals may consider themselves
                                                                                  their families and communities.
     transgender if they do not identify with their sex
     assigned at birth. Like other LGBTQI+ youth,
     intersex youth experience pervasive stigma and                            Behavioral Health Concerns Among
     discrimination. While research involving intersex                         LGBTQI+ Youth
     individuals has been limited,45 the Federal                               LGBTQI+ adolescents face the same
     Government has taken steps to reduce this                                 developmental milestones that accompany
     disparity, such as issuing a Request for                                  adolescence for all youth. However, unlike
     Information on Promising Practices for                                    adolescents with a cisgender and
     Advancing Health Equity for Intersex Individuals                          straight/heterosexual orientation, LGBTQI+
     in February 2023.46                                                       adolescents often must navigate an environment
                                                                               lacking awareness and acceptance of their
     Supportive families and caregivers, peers, and
                                                                               sexual orientation and/or gender identity.
     school and community environments are
                                                                               Moreover, they might have to do so without
     associated with improved psychosocial
                                                                               family, community, or societal support, for
     outcomes for all children and adolescents, and
                                                                               example, through the child welfare system.
     this is especially true for those children and
     adolescents with minority sexual orientations or                          Limited research with sexual minority children
     gender identities that do not align with their sex                        indicates that mental health inequities may begin
     assigned at birth.47,48,49,50,51,52,53 Extensive                          in childhood,30,54 which may be connected to
     research indicates that even just one supportive                          greater prevalence of discrimination and
     adult, such as a family member, teacher, or                               victimization among sexual minority children.55,56
     mental health provider, can have a positive                               As a result of experiencing stigma and
     impact on the mental health of youth of diverse                           discrimination, some youth with diverse sexual
     sexual orientation and/or gender identity; such                           orientation and/or gender identity are at
     support can reduce adverse mental health                                  increased risk for:
     impacts including suicide.49 Additionally, family
     or caregiver, peer, school, and community                                        Psychological distress (e.g., depressive
     support for youth of diverse sexual orientation                                  symptoms, anxiety, and behavioral
     and/or gender identity promotes better mental                                    disorders)
     health and fewer negative outcomes, and can                                      Substance use
     lead to positive development and emotional                                       Suicidal ideation and attempts
     resilience.47,48,49,53                                                           Victimization, violence, and
                                                                                      homelessness


                    is a term that describes individuals whose gender
     identity is congruent with their sex assigned at birth. Please refer to
     Appendix B for a glossary of terms.




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       Involvement with child welfare services,
       often stemming from family rejection                Developmentally sensitive approaches
       Involvement in juvenile justice                     consider appropriate development of
                                                           emotional and cognitive capacities,
       programs57,58,59,60,61,62,63,64,65
                                                           achievement of developmental milestones,
Psychosocial distress is often related to, if not          and possible emerging or existing
caused by, negative social attitudes or                    behavioral health concerns.
rejection.66 High levels of parental and caregiver
support of          sexual orientation and gender       behavioral health concern.5 For some, the
identity can mitigate increased risk of behavioral      physical changes of adolescence may worsen
health concerns. For example, transgender and           feelings of gender dysphoria. For others, gender
gender-diverse youth with affirming parents and         dysphoria or feelings of gender incongruence
caregivers have similar levels of mental health         may begin post-puberty without any childhood
challenges as their cisgender peers.67 It is            history of gender dysphoria or gender diversity.70
essential to note that youth with diverse sexual
orientation and/or gender identity are resilient,       Beneficial Therapeutic Approaches
and that with sufficient support and access to          and Interventions With LGBTQI+
resources, they can thrive.68,69                        Youth
Some children may experience gender                     Given scientific findings that SOGI change
dysphoria, meaning feelings of distress or              efforts are harmful and medically inappropriate,
incongruence between one s gender identity and          the behavioral health approaches below are
sex assigned at birth. This distress, rather than       recommended instead. These approaches are
the        gender diversity, is recognized as a         consistent with the Pane consensus




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     statements and current research. Several                 identify the sources of any distress experienced
     professional and scientific association guidelines       by LGBTQI+ youth and their families and
     recommend these approaches as                            caregivers, and work to reduce this distress.
     well.22,23,24,25,71,72,73,74
                                                              Working with parents and caregivers is
     When providing services to children,                     important, as their behaviors and attitudes have
     adolescents, families, and caregivers,                   significant effects on the mental health and well-
     appropriate therapeutic approaches include:              being of youth with diverse sexual orientation
            Providing accurate information on sexual          and/or gender identity. Supportive family,
            orientation, gender identity and                  caregivers, community, school, child welfare,
                                                              and healthcare environments have been shown
            expression, and variations in sex
                                                              to positively impact both the short- and long-
            characteristics
                                                              term health and well-being of LGBTQI+ youth.
            Identifying sources of distress, including
                                                              Families, caregivers, and those working with
            internalized stigma and minority stress,
                                                              these youth can benefit from guidance and
            and working with children, adolescents,           resources to increase support for sexual- and
            families, and caregivers to reduce the            gender-diverse groups and to reduce stigma and
            distress LGBTQI+ youth experience                 discrimination.
            Supporting adaptive coping to improve
            psychological well-being                          In addition to the appropriate therapeutic
                                                              approaches described above, social transition is
            Supporting youth as they learn more
                                                              appropriate and beneficial for many transgender
            about their sexual orientation and gender
                                                              and gender-diverse youth.75,76,77,78 Although
            identity, and supporting families in
                                                              professional intervention is not required for
            accessing gender-affirming care for their
                                                              youth to take steps in social transition, providers
            transgender child when indicated                  can support families and caregivers to protect
            Helping children and adolescents                           safety, ensure emotional, psychological,
            navigate their sexual orientation, gender         and social well-being, and help youth and
            identity, and gender expression within            families navigate the potential complexities of
            the context of their cultural, religious, and     exploring and taking steps in social transition.79
            other identities                                  Based on the individual           needs, some
                                                              forms of gender-affirming medical care may be
     Interventions should be client-centered,
                                                              medically necessary. Gender-affirming medical
     culturally appropriate, and developmentally
                                                              care that is provided in consultation with
     sensitive. The treatment goal should be to
                                                              licensed healthcare providers is supported by
     facilitate the best possible level of psychological
                                                              extensive research and, based on the individual
     functioning, rather than identifying with a specific
                                                                            needs, may be medically
     gender or sexual orientation. Appropriate
                                                              necessary.80,81 Withholding timely gender-
     treatment approaches with youth of diverse
                                                              affirming medical care when indicated,
     sexual orientation and/or gender identity should
                                                              withholding support for a gender-affirming
     focus on identity development and affirming
                                                              exploratory process, and/or withholding support
     exploration that allows the child or adolescent
                                                              of social transition when desired, can be harmful
     the freedom of self-discovery within a context of
                                                              because these actions may exacerbate and
     acceptance and support. It is important to
                                                              prolong gender dysphoria.82,83



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Licensed healthcare providers play an important               Promote behavioral health through
role in educating adolescents and their parents               protective and antidiscrimination policies
and caregivers about the various options for                  Improve behavioral health through
medical gender transition. They can also support              facilitating increased support from
youth, families, and caregivers in understanding              families, schools, and communities
this information and assess their understanding               Conduct research that increases
so that parents/caregivers and youth can
                                                              knowledge of health inequities with the
provide fully informed consent and assent for the
                                                              goal to improve care
proposed care. The support of a behavioral
health provider during these processes can aid         Given that SOGI change efforts are not
an adolescent in identifying care needs,               appropriate therapeutic interventions, and are in
adjusting to their changing physical                   fact harmful, immediate efforts are required to
characteristics, and navigating responses from         end their practice. Policy efforts to end SOGI
people in different aspects of their life.             change efforts have included:

Policy Approaches to Support the                              Passing state legislation to ban SOGI
Behavioral Health of LGBTQI+ Youth                            change efforts or provide supportive
                                                              resources
LGBTQI+ youth and their families can benefit
                                                              Introducing federal legislation to ban
from policies that aim to:
                                                              SOGI change efforts or provide
       End harmful and ineffective efforts such               supportive resources
       as SOGI change efforts and ensure                      Banning licensed behavioral health
       access to evidence-based care                          providers from engaging in SOGI
                                                              change efforts




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            Restricting use of state funds and              Policies can improve behavioral health and
            proposing the restriction of federal funds      reduce health risks in this population by
            for these efforts                               ensuring protection from discrimination,
            Defining SOGI change efforts as                 exclusion, and violence in schools and
            consumer fraud                                  communities, and by expanding civil rights for
                                                            LGBTQI+ individuals and families. Reducing
     Efforts to improve understanding among                 stigma directed at LGBTQI+ individuals and
     behavioral health providers and other                  families through affirmative public information
     stakeholders of the harms of SOGI change efforts       that is respectful of families and youth from
     and the benefits of evidence-based care are            diverse religious, cultural, socioeconomic, and
     essential. Other policy efforts can expand access      racial/ethnic backgrounds is important and
     to LGBTQI+ evidence-based care through                 consistent with professional ethical guidelines
     reforming insurance and health services,               and standards of care. Supporting research to
     ensuring nondiscrimination in health services          continue the development of evidence-based
     programs, and increasing behavioral health and         behavioral interventions for LGBTQI+ youth
     medical professional training in appropriate           especially those from diverse backgrounds will
     treatments. Bans on gender-supportive and              contribute to the overall health and well-being of
     gender-affirming care are harmful to individuals       this community.
     of diverse sexual orientation and/or gender
     identity.84




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Introduction
This report, Moving Beyond Change Efforts:
Evidence and Action to Support and Affirm
LGBTQI+ Youth, revises and builds on the
seminal 2015 SAMHSA publication, Ending
Conversion Therapy: Supporting and Affirming
LGBTQ Youth.6 Based on the usefulness of the
2015 report, SAMHSA determined that a
revision was warranted to reflect advances in
scientific research and practice. This report
provides an overview of current scientific
understanding on sexual orientation and gender
identity development and research on the
behavioral health of youth of diverse sexual
orientation and/or gender identity. The report
also includes professional consensus on best
practices in behavioral health with lesbian, gay,
bisexual, transgender, queer, questioning, and
other sexual- and gender-diverse youth
                                                        Section 2. Development, Behavioral Health,
(LGBTQI+ youth) and describes actions and
                                                       and Beneficial Therapeutic Approaches With
policy options based on scientific research to
                                                       Youth of Diverse Sexual Orientation and/or
improve their health and well-being.
                                                       Gender Identity: A Research              provides
 Section 1. State of the Evidence on SOGI              an updated and expanded overview of recent
Change Efforts With           addresses sexual         research with LGBTQI+ youth beyond change
orientation and gender identity (SOGI;                 efforts. This section summarizes new
pronounced SO-gee change efforts. SOGI                 developments in research with youth of diverse
change efforts include practices that are not          sexual orientation and/or gender identity,
supported by credible evidence, are harmful,           including sexual orientation and gender identity
and have been disavowed by behavioral health           development and behavioral health. It also
experts and professional and scientific                discusses positive and negative influences on
associations. Statements of Professional               the behavioral health and well-being of
Consensus on Beneficial and Harmful Practices          LGBTQI+ youth, including factors such as
With Youth of Diverse Sexual Orientation and/or        family, school, community, and policy.
Gender           describes updated statements          Importantly, this section also provides
from experts on best practices in behavioral           information about appropriate and beneficial
health for sexual and gender minority youth.           therapeutic approaches to support the
 Sexual Orientation and Gender Identity Change         behavioral health and well-being of youth of
Efforts With         is an update on current           diverse sexual orientation and/or gender identity
research regarding SOGI change efforts in              and their families.
youth, and formed the basis for the best practice
                                                        Section 3. Policy Approaches to Support and
statements.
                                                       Affirm the Behavioral Health and Well-Being of
                                                       LGBTQI+           provides a comprehensive


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     outline of scientifically supported                    Association. Building on the successful 2015
     recommendations for policies to improve the            process, a revision framework was developed by
     behavioral health and well-being of youth of           the contractor that culminated in a 2-day online
     diverse sexual orientation and/or gender identity,     meeting on September 9-10, 2021. During the
     including improving access to comprehensive,           meeting, experts in relevant fields considered a
     supportive care.                                       comprehensive array of research findings,
                                                            professional guidelines, the current clinical
     SAMHSA aims to reduce the impact of
                                                            knowledge base, behavioral health concerns of
     substance use and mental illness on
                                                            youth of diverse sexual orientation and/or
     communities. As such, SAMHSA endeavors to
                                                            gender identity, and policy opportunities. During
     improve public health and eliminate health
                                                            this meeting, the Subject Matter Expert
     inequities, including those affecting LGBTQI+
                                                            Consensus Panel (the Panel) and scientific
     communities. By addressing the issues included
                                                            writing team, under the direction of the
     in this report that have a significant impact on
                                                            contractor, helped develop and formulate this
     the lives and well-being of LGBTQI+ youth,
                                                            report.
     SAMHSA aims to enable families, caregivers,
     providers, educators, and policymakers to take         The experts were identified based on their
     actions that will reduce the behavioral health         knowledge of a wide array of topics, including
     risks and inequities facing this vulnerable            but not limited to:
     population.
                                                                   Gender identity and sexual orientation
     Revision Process                                              development in youth, including
     Ending Conversion Therapy: Supporting and                     nonbinary and transgender individuals
     Affirming LGBTQ Youth, a 2015 SAMHSA                          Youth clinical issues, including those
     publication, was reportedly helpful to behavioral             related to gender dysphoria
     health providers, families, school professionals,             Concerns of ethnically, racially, and
     policymakers, and other audiences.6 SAMHSA                    culturally diverse communities and
     determined that the report s utility could be                 under-resourced and underserved
     enhanced and updated to reflect new advances                  populations
     in scientific research and practice. The                      Family psychology
     revision this report includes:                                Community and school mental health
            New research on SOGI change efforts                    Professional ethics
            Latest developments and research in the                Research methods
            field of gender identity and sexual                    Intersection of behavioral health and
            orientation development in youth                       spiritual diversity
            Updated guidance for behavioral health                 Legal issues and public policy
            providers, families, caregivers, and                   SOGI change efforts
            school-based professionals                      An extensive list of experts was generated from
            New section on public policy                    those with expertise in the above areas based
            considerations                                  on published research and innovation in the key
                                                            knowledge areas; knowledge of, or participation
     The 2015 report was based on a meeting of
                                                            in, the development of professional guidelines;
     experts led by the American Psychological
                                                            expertise in clinical practice; referral by other


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experts; and behavioral health specialty.                As with the process developed for the 2015
SAMHSA also sought input from the experts who            consensus panel for the formulation of consensus
contributed to the 2015 report, including the            statements, unanimous consensus was sought,
American Psychological Association, and those            but if it could not be reached, 80 percent support
who could assist in achieving the goals of this          would constitute consensus. Versions of
report.                                                  consensus statements were circulated after the
                                                         September 2021 meeting with multiple
Additional input was obtained from professionals
                                                         opportunities provided for panelists to submit
in pediatrics, psychology, psychiatry, public
                                                         comments and revisions. Final versions were
health, social work, scientific research
                                                         adopted by polling. Unanimous consensus was
methodology, and legal issues and public policy.
                                                         reached in nearly all instances. The statements of
These individuals included researchers and
                                                         professional consensus are provided in Section
practitioners in child and adolescent development
                                                         1. State of the Evidence on SOGI Change Efforts
and mental health, as well as researchers in
                                                         With
gender development, gender identity, and sexual
orientation in youth. The Panel, which helped            Observers from               senior leadership
develop and formulate this report, included              team, internal experts, and cross-federal experts
experts with backgrounds in family therapy,              who had been involved in developing the 2015
ethnic, racial, and cultural diversity, needs of         report were present for the September 2021
underrepresented populations, faith and                  meeting and offered the opportunity to submit
psychology, and ethics. The Panel included those         written questions and input to the Panel
who practice in a variety of settings from different     throughout the meeting.
behavioral health specialties. (See Appendix D
for members.)




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Section 1. State of the Evidence on SOGI Change Efforts With
Youth
Statements of Professional                               Though the terms
Consensus on Beneficial and                              and reparative            are commonly
Harmful Practices With Youth of                          used, these efforts are not therapeutic
                                                         and reinforce harmful beliefs that sexual-
Diverse Sexual Orientation                               and gender-diverse people need repair or
and/or Gender Identity                                   conversion.
Guiding principles and statements of
                                                           All children and adolescents should have
professional consensus regarding sexual
                                                           fair and equitable access to behavioral
orientation and gender identity and expression
among youth were developed during the                      health services that will benefit their
meeting of the Subject Matter Expert Consensus             health and welfare without the risk of
Panel (the Panel) meeting in September 2021                harm. Children and adolescents have the
(see Revision Process in the previous section              right to participate in decisions that affect
for a description of the Panel meeting and                 their health care and future lives.
revision process). These statements revise and             Behavioral health providers assist
build on the professional consensus statements             children, adolescents, and their families
developed during a July 2015 American                      in making informed healthcare decisions
Psychological Association convening, as                    by providing developmentally appropriate
described in the 2015 report, Ending Conversion            information and assessing their decision-
Therapy: Supporting and Affirming LGBTQ                    making capacities and family and
Youth.6 The 2021 convening and resulting
                                                           community contexts.
statements reflect updates to current evidence
                                                           Behavioral health providers strive to
and recommended clinical practice.
                                                           provide care that is in the best interest of
Guiding Principles for Behavioral Health                   the child or adolescent.
Providers                                                  Behavioral health providers strive to
The Panel updated a statement regarding the                incorporate cultural awareness, respect,
guiding human rights and scientific principles             and sensitivity into their work. They
that provide a foundation for behavioral health            recognize that age, gender identity and
providers working with this population. They are           expression, race, ethnicity, culture,
based on codes of professional ethics for the              language, national origin, religion,
fields of psychology, psychiatry, counseling,              spirituality, sexual orientation, different
social work, and pediatrics.70,74,83,84,85,86,87           abilities, and socioeconomic status are
                                                           important factors to consider when
       Behavioral health providers respect
                                                           working with children, adolescents, and
       human dignity and human rights.
                                                           families.
       Professional ethics necessitate that
       children and adolescents be supported in
       their right to explore and actualize their
       own identities.


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            Behavioral health providers strive to
                                                                 In the field of health care, the term
            eliminate any impact of bias on their
                                                                                   is used to designate care
            professional interactions and decisions.             that is nonbeneficial, not medically
                                                                 indicated, and ineffective in achieving a
     Defining Sexual Orientation and Gender                                 desired results. Medically
     Identity Change Efforts
                                                                 inappropriate care is not needed or
     SOGI change efforts, commonly referred to as                supported by clinical evidence and can
      conversion             or reparative           are         result in negative health outcomes. The
     practices that aim to suppress or alter an                  term                  is used to designate
     individual s sexual orientation or gender to align          care when the expected health benefit
                                                                 exceeds the expected negative
     with heterosexual orientation, cisgender identity,
                                                                 consequences by a sufficiently wide
     and/or stereotypical gender expression. SOGI
                                                                 margin that the care is worthwhile.88
     change efforts are premised on or motivated by
     the belief that diversity in sexual orientation
     and/or gender identity and expression is a               open and affirming exploration and development
     deficit, mental illness, or pathology.                   of one s sexual or gender identity, including
                                                              navigating sexual orientation and/or gender
     SOGI change efforts do not include gender-               identity within the context of intersecting
     affirming care. They do not include counseling           identities.
     that facilitates acceptance, social support, or




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Professional Consensus on Sexual
Orientation and Gender Identity Change
Efforts With Youth
 1. Variations in sexual orientation (including
    identity, behavior, and/or attraction) and
    gender (including identity and expression)
    are part of the normal spectrum of human
    development and do not constitute mental
    disorders.
 2. Available research indicates that SOGI
    change efforts can cause significant harm.
    It also indicates that these efforts are not
    effective in altering sexual orientation.                Are responsive to
    Further, no available research indicates                               , and
    that SOGI change efforts are effective in                intersectional identities, including
    altering gender identity. No available                   age, gender, race, ethnicity, culture,
    research supports the claim that these                   national origin, religion, spirituality,
    efforts are beneficial to children,                      sexual orientation, different abilities,
    adolescents, or families.                                language, and socioeconomic status
 3. SOGI change efforts are inappropriate             2. Appropriate therapeutic approaches for
    practices that should not be provided to             sexual and gender minority youth do the
    children and adolescents.                            following:
 4. Rejection and lack of social and emotional                Provide accurate information on
    support from families and communities                     sexual orientation and gender
    negatively impact the health of sexual and                identity and expression
    gender minority youth. Such behaviors can                 Identify sources of distress for
    cause harm, particularly family rejection of              children, adolescents, and families
    sexual orientation and/or gender diversity.               and work with them to reduce it
                                                              Facilitate exploration and
Professional Consensus on Appropriate                         development of            sexual and/or
Interventions With Youth of Diverse                           gender identity
Sexual Orientation and/or Gender Identity
                                                              Support adaptive coping to improve
and Their Families
                                                              psychological well-being
 1. Appropriate approaches to care for sexual                 Help youth navigate their sexual
    and gender minority youth and their                       orientation, gender identity, and
    families:                                                 gender expression within the context
       Are evidence-based and person-                         of their cultural, religious, and other
       centered                                               intersecting identities
       Reduce the rejection of sexual and             3.   Gender affirmation, including social
       gender minority youth                               transition (e.g., changing      name,
       Increase family, school, and community              pronoun, and/or appearance), is
       support                                             appropriate and beneficial for gender
                                                           minority children and adolescents.


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      Behavioral health providers may want to consult guidelines from major medical and mental health
      associations such as: American Academy of Child and Adolescent Psychiatry, American Academy of
      Pediatrics, American College of Physicians, American Counseling Association, American Medical
      Association, American Psychiatric Association, American Psychoanalytic Association, American
      Psychological Association, American School Counselor Association, Endocrine Society, National
      Association of School Psychologists, National Association of Social Workers, Pediatric Endocrine
      Society, Society for Adolescent Health and Medicine, World Medical Association, and World
      Professional Association for Transgender Health. (See Appendix C for some of these resources.)


         Based on the            needs, gender-                             ethical and professional
         affirming medical care may be medically                responsibilities include delivering care
         necessary. Such care is defined here as                that reflects respect, compassion, and
         a care plan or service that is necessary               cultural humility. It should be consistent
         to assess, maintain, or improve health                 with current professional, evidence-
         and well-being and to avoid illness or                 based, multidisciplinary resolutions and
         reduce symptoms based on existing                      guidelines issued by leading health and
         professional guidelines and scientific                 scientific associations and professional
         evidence. Withholding timely gender-                   ethical principles.
         affirming care when indicated,
         withholding support for a gender-               Professional Consensus on Education
         affirming exploratory process, or               and Training
         withholding support of social transition         1. Like all youth, sexual and gender minority
         when desired can be harmful because                 youth and their families have diverse
         those actions may exacerbate and                    cultural, ethnic, racial, religious, and other
         prolong gender dysphoria.                           identities that shape their experiences,
     4. Legal prohibitions on gender-affirming               values, and behavioral health needs.
        care (including medical treatment) are               These are important factors for behavioral
        harmful to children and adolescents.                 health providers to understand and
        Further, policies that stigmatize, restrict,         acknowledge. Providers should receive
        or exclude gender minority youth are                 specific training in the development of
        harmful to children and adolescents.                 diverse sexual orientations and gender
     5. When working with sexual and gender                  identities, as well as training on culturally
        minority youth, behavioral health                    responsive approaches to working with
                                                             sexual and gender minority youth and their
                                                             families from diverse backgrounds.
        Person-centered, also known as client-
        centered, is a long-standing therapeutic          2. While sexual and gender minority youth
        approach that affirms and values all                 experience many of the same
        aspects of individuals.89 It emphasizes              developmental milestones as other youth,
        unconditional positive regard and                    they also encounter unique challenges and
        empathic understanding of all aspects of             may need specific support and resources
        the person.                                          to thrive. All of those engaged in the care
                                                             of youth, including parents and caregivers,


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     healthcare providers and staff, school and            research and a reflection of the realities of its
     education professionals, community                    practice, where it is not always possible to
     leaders, social service providers, legal              distinguish between sexual orientation and
     professionals, and policymakers, can                  gender identity change efforts. For example,
     benefit from accurate, scientific, non-               SOGI change efforts often include attempts to
     pathologizing information about sexual and            change children s and                 gender
     gender diversity.                                     expression to be more consistent with the
                                                           stereotypical norms expected for their assigned
Sexual Orientation and Gender                              sex at birth, with a goal to prevent both a
Identity Change Efforts With Youth                         transgender identity and a future diverse sexual
Over the past decade, additional high-quality              orientation.24,50,90
research focused on documenting the practice
                                                          In 2009, the American Psychological Association
and effects of SOGI change efforts has provided
                                                          Task Force on Appropriate Therapeutic
further evidence that these efforts should not be
                                                          Responses to Sexual Orientation Change Efforts
practiced with youth. This section includes a
                                                          conducted an authoritative review of peer-
review of recent research on SOGI change
                                                          reviewed literature published on sexual
efforts and information about their continued use
                                                          orientation change efforts.24 Since its
across the United States. It also includes a
                                                          publication, a systematic review of research on
detailed description of some of the
                                                          sexual orientation change efforts has been
methodological issues relevant to SOGI change
                                                          published,7 as well as quantitative and
efforts research that may be useful for
                                                          qualitative empirical studies examining sexual
researchers and policymakers. Finally, this
                                                          orientation change efforts among populations
section describes guidance from professional
                                                          residing in the United States or
organizations disavowing SOGI change efforts.
                                                          Canada.8,9,10,11,91,92,93,94,95,96,97,98,99,100,101,102,103,104
Research on SOGI Change Efforts                            A 2018 systematic review of research on gender
There is now a significant body of research on             identity change efforts published between 1990
SOGI change efforts. Overall, it has focused on            and 2017 identified four studies reporting on its
sexual orientation change efforts more than                use, which consisted of three case reports and
gender identity change efforts. Although some              one case series.105 Since then, three studies
study populations included both sexual and                 investigated gender identity change efforts
gender minorities, they often examined SOGI                among populations residing in the United States
change efforts in ways that obscure whether                or Canada.9,106,107,108 One study examined their
transgender participants experienced change                use in New Zealand,109 and several studies
efforts related to their sexual orientation, gender        examined sexual orientation change efforts with
identity, or both. This is both a methodological           transgender and gender-diverse populations in
shortcoming of some SOGI change efforts                    the United States and Canada.10,11,103


    Lesbian, gay, bisexual, and other sexual orientations are normal variations of human sexuality and are
    not mental disorders. Transgender, nonbinary, and other gender identities are normal variations of
    human gender and are not mental disorders. Therefore, practices seeking to change an individual s
    sexual orientation, gender identity, and/or gender expression are not indicated and are inappropriate.




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     Several recent studies of SOGI change efforts
     reflect major methodological improvements over              No research indicates that gender identity
     past work, such as larger sample sizes (e.g.,               change efforts are effective in altering
     1,5188; 27,715107; 25,7919), a probability                  gender identity. Research indicates that
     sample,8 and controlling for other factors that             these efforts can cause significant harm,
     may also cause harm (e.g., other adverse                    including suicide attempts and other
                                                                 negative behavioral health outcomes. No
     childhood experiences [ACEs]).8 The majority of
                                                                 available research supports the claim that
     these studies were conducted with adults. One
                                                                 gender identity change efforts are
     study included adolescents and young adults
                                                                 beneficial to children, adolescents, or
     (ages 13-24),9 and one study was limited to
                                                                 families.
     emerging adults ages 21-25 and asked about
     experiences of SOGI change efforts during
     adolescence.10                                          orientation change efforts to children,
                                                             adolescents, or their families. Other scholars
        Research indicates that sexual orientation           and international organizations have
        change efforts are not effective in altering         independently conducted reviews of the sexual
        sexual orientation. Research indicates that          orientation change efforts literature, reaching the
        these efforts can cause significant harm,            same conclusions.7,12,13 It is now scientific
        including suicide attempts and other                 consensus that sexual orientation change efforts
        negative behavioral health outcomes. No              are not effective and can cause significant harm.
        available research supports the claim that
        sexual orientation change efforts are                SOGI change efforts have been used in an
        beneficial to children, adolescents, or              attempt to force children s behaviors, dress, and
        families.                                            mannerisms to become more consistent with
                                                             those stereotyp ically expected of their assigned
                                                             sex at birth that is, more stereotypically
     Syntheses of research on sexual orientation
                                                             masculine expression for those assigned male
     change efforts have concluded that there is no
                                                             at birth and more stereotypically feminine
     evidence to support their effectiveness in
                                                             expression for those assigned female at birth.
     altering sexual orientation or sexual attractions.
                                                             Historically, SOGI change efforts were the
     A systematic review of peer-reviewed research
                                                             primary clinical approaches used with gender-
     on sexual orientation change efforts published
                                                             diverse children, including those experiencing
     from 1960 to 2007 concluded that they were not
                                                             gender dysphoria.39,50,90
     effective and may cause harm.24
                                                             No research has demonstrated that gender
     Recent studies of sexual orientation change
                                                             identity change efforts are effective in altering
     efforts corroborate those findings and provide
     stronger evidence of certain harms. Recent
     large, methodologically rigorous studies                    Despite evidence of harm, diverse
     consistently find that exposure to sexual                   populations across the United States,
     orientation change efforts places individuals at            including children and adolescents,
     increased risk of suicidality and suicide                   continue to be exposed to SOGI change
     attempts, as well as other negative outcomes                efforts from a variety of licensed and
     including depression.8,9,10,11 No studies have              unlicensed practitioners.
     found evidence of any benefit of sexual


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gender identity; there is also no evidence of any      literature connecting minority stress,
benefits of such practices to children,                family/community rejection, and a lack of
adolescents, or their families. Recent large,          acceptance to negative health outcomes among
methodologically sound studies have                    youth of diverse sexual orientation and/or
investigated harms associated with gender              gender identity.102,110,111
identity change efforts.9,107,108 These studies
                                                       Despite scientific consensus regarding the harms
indicate that exposure to gender identity change
                                                       of SOGI change efforts and no evidence to
efforts in childhood, adolescence, and/or
                                                       support claims of its effectiveness or benefits,
adulthood is associated with harm, including
                                                       these efforts continue to be practiced across the
suicidality, suicide attempt, and other negative
                                                       United States by diverse health professionals and
mental health outcomes such as severe
                                                       unlicensed community members.8,9,106 It is
psychological distress.
                                                       estimated that anywhere from 3.5 to 18 percent of
Research that asked transgender participants           adults of diverse sexual orientation and/or gender
about prior exposure to sexual orientation             identity have been exposed to SOGI change
change efforts also reported that these efforts        efforts; the single national probability sample
were associated with negative mental health            reported a prevalence of 7 percent.8 Its frequency
outcomes including suicidal ideation and               of use among transgender and nonbinary
attempts.10,11 Although this report focuses            populations is higher than that observed in
primarily on studies in the United States, a           cisgender LGB populations,96,103,106,107 including in
recent study in New Zealand corroborates               studies with adolescents and young adults.9,10
findings of lasting harm associated with gender
                                                       Though earlier reviews reported that most of the
identity change efforts.109 The findings of harm
                                                       individuals who experienced sexual orientation
associated with SOGI change efforts practices
                                                       change efforts were white men of higher
that exemplify anti-LGBTQI+ stigma and
                                                       socioeconomic status,24 recent studies that rely
rejection are bolstered by the extensive
                                                       on large national samples suggest greater
                                                       diversity, indicating that women, people of color,
                                                       and people from lower income levels are also
                                                       affected by SOGI change efforts in the United
                                                       States.8,9,96,107

                                                       Studies with individuals from religious traditions
                                                       in which sexual orientation diversity and gender
                                                       diversity are seen as contrary to faith teachings
                                                       have often reported a greater prevalence of
                                                       SOGI change efforts than studies that include
                                                       individuals regardless of religious
                                                       affiliation.24,92,100,112 Based on these findings, it is
                                                       likely that exposure to SOGI change efforts is
                                                       greater among individuals from some religious
                                                       backgrounds than those from more secular
                                                       backgrounds.24,91,100,112 However, current




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                                                             efforts to reduce the harm caused by these
         Relative to young people who had not                practices would be most effective with a broad
         experienced SOGI change efforts, those              focus to include all forms of SOGI change
         who reported undergoing these efforts               efforts, as well as to reduce the stigma against
         were more than twice as likely to report            LGBTQI+ people that drives their continued
         having attempted suicide and having                 practice.
         multiple suicide attempts.9
                                                             Methodological Considerations When
     research does not provide for estimates of
                                                             Studying SOGI Change Efforts
     prevalence.91                                           Prospective, experimental research studies such
                                                             as randomized controlled trials (RCTs) are
     Of note, research indicates that younger
                                                             considered a rigorous methodology for
     generations may be at similar risk of exposure to
                                                             evaluating efficacy because these methods
     SOGI change efforts as generations of youth
                                                             minimize selection bias and permit accurate
     before them.8,103 As of 2018, adolescents and
                                                             estimates of causal effects. However, RCTs are
     young adults from all regions of the United
                                                             not always an appropriate or ethical research
     States reported exposure to these efforts.9 A
                                                             design.113 This is particularly true when multiple
     study of young adults of diverse sexual
                                                             research studies indicate that a treatment or
     orientation and/or gender identity from
                                                             intervention is known to carry the risk to cause
     community settings in the San Francisco area
                                                             harm.114
     found that more than half had experienced SOGI
     change efforts from parents and caregivers,             To date, there have been no experimental
     while just more than one-fifth had also                 research studies of SOGI change efforts with
     experienced these efforts from an external              children or adolescents, nor would they be
     source such as a religious leader or a behavioral       ethical to conduct. This is because there is
     health provider.10                                      sufficient evidence of harm associated with
                                                             SOGI change efforts to conclude that they
         Younger generations continue to be                  should not be provided to children and
         exposed to SOGI change efforts. Studies             adolescents, and because previous studies have
         published recently show that adolescents            found no benefits. Coupled with the fact that
         and young adults across all regions of              professional consensus has established that
         the United States continue to be                    diversity in sexual orientation and gender
         exposed.8,9,105
                                                             identity are normal variations for which treatment
                                                             is unwarranted, an RCT is even more
                                                             inappropriate to conduct. These ethical concerns
     Additionally, current research finds that SOGI
                                                             are amplified in research with youth.
     change efforts result in negative consequences
                                                             Government regulations concerning research
     regardless of who attempts to effectuate the
                                                             with children set strict limits and conditions on
     change. These change efforts are harmful
                                                             studies that could inappropriate to conduct.
     whether undertaken by parents and caregivers,
                                                             These ethical concerns are amplified in research
     behavioral health providers, or other community
                                                             with youth. Government regulations concerning
     members.10,107 These findings indicate that
                                                             research with children set strict limits and




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conditions on studies that could pose harm to
children and adolescents.115                                  Current research on SOGI change efforts
                                                              uses methodologies appropriate for the
There are valid ways to assess harm from SOGI                 study of harm. Consistent findings across
change efforts without conducting an RCT or                   studies provide solid evidence that SOGI
other rigorous quasi-experimental design (e.g., a             change efforts are harmful to the health of
nonrandomized design). Harm associated with                   sexual and gender minority people,
an event or treatment can be evaluated through                including children and adolescents.
retrospective                   studies that
examine the impact of those events and
                                                          are naturally occurring groups that share a
treatments by comparing outcomes for those
                                                          common or similar social environment.
who experienced them against people like them
who did not. Mechanisms such as case studies,             Nonetheless, the public can have increased
patient registries, and self-report surveys are           confidence in the research findings when many
also valid means to detect and report harms of a          studies using a variety of research designs,
treatment.114                                             conducted by independent research teams,
                                                          consistently conclude that a              is
Most of the research using high-quality
                                                          associated with harm. This is the case with
methodologies published since 2014 on sexual
                                                          research on SOGI change efforts. Indeed, a
orientation or gender identity change efforts has
                                                          strength of the existing research on these
been retrospective and employed cross-
                                                          change efforts is the consistent finding that
sectional designs, with adults asked to report
                                                          SOGI change efforts are associated with harms.
their past experiences with change efforts at one
                                                          This has been found across studies conducted
point in time. This study design is appropriate for
                                                          by independent research teams using different
gathering evidence of harm. However, there are
                                                          methods and sampling strategies.
limitations to these study designs. Although they
can identify harms, they cannot determine with            Despite methodological concerns that exist
certainty whether those harms are solely                  within specific studies, when taken together, the
attributable to the SOGI change efforts. For              evidence is strong that SOGI change efforts are
example, research that relies on retrospective            harmful to the health of people of diverse sexual
self-reports must address limits or differences in        orientation and/or gender identity, including
the accuracy of recollection of past events or            children and adolescents. In recent decades,
experiences.                                              scholars and ethicists have proposed criteria for
                                                          identifying potentially harmful behavioral health
Sampling design that is, how a research study
                                                          treatments when limited data exist. Potentially
recruits participants can also limit the
                                                          harmful treatments are defined as those that:
generalizability of the findings (i.e., the degree to
which the results of a study can be applied to a                 Cause psychological or physical harm to
broader group of people or situations). Much,                    the client or others
though not all, of the research on SOGI change                   Result in harmful effects that are long-
efforts uses what is called a                                    lasting
sampling            meaning it is unknown how                    Have had independent research teams
representative the research participants are of                  find and replicate the harmful effects116
all who have undergone these efforts. There is
also natural bias in such samples because these


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     This is the case with SOGI change efforts.
     Ineffective treatments those that may not                   Given the lack of evidence of efficacy and
                                                                 the potential risk of serious harm, every
     directly cause further harm but do not improve
                                                                 major medical, psychiatric, psychological,
     the health or well-being of the individual
                                                                 and professional mental health
     receiving treatment may also be considered
                                                                 organization has taken measures to end
     harmful in so far that they deprive an individual           sexual orientation change efforts and
     of needed care.117,118                                      gender identity change efforts.
     Three sets of criteria have been proposed to
     identify potentially harmful treatments for
     children:
                                                              Consensus of Professional
                                                              Organizations
        1. Criteria drawn from ACEs, revised to               Associations that have taken measures to end
           include experiences with therapists                sexual orientation change efforts and/or gender
        2. Criteria drawn from studies of                     identity change efforts include, among others:
           maltreatment and neglect
        3. Criteria based on the plausibility of an                  Medical associations, such as the
           intervention and its (in)congruence with                  American Academy of Child and
           what is known about child                                 Adolescent Psychiatry, American
           development.119                                           Academy of Family Physicians,
     SOGI change efforts with children and                           American Academy of Pediatrics,
     adolescents meet all three criteria for identifying             American College of Physicians,
     potentially harmful treatments for children.                    American Medical Association, American
                                                                     Psychiatric Association, and the Society
                                                                     for Adolescent Health and Medicine
                                                                     Psychological associations, such as
                                                                     the American Psychoanalytic
                                                                     Association, American Psychological
                                                                     Association, and National Association of
                                                                     School Psychologists
                                                                     Counselor associations, such as the
                                                                     American School Counselor Association
                                                                     and American Counseling Association
                                                                     Social worker associations, such as
                                                                     the National Association of Social
                                                                     Workers
                                                                     International health organizations,
                                                                     such as the Pan American Health
                                                                     Organization (of the World Health
                                                                     Organization), World Professional
                                                                     Association for Transgender Health, and
                                                                     World Psychiatric Association



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Conclusion                                                     effectiveness of gender identity change
                                                               efforts.
There is sufficient evidence to conclude that
                                                               There is a growing body of evidence that
SOGI change efforts are inappropriate, harmful
                                                               exposure to SOGI change efforts can
practices based on the knowledge that:
                                                               cause significant, lasting harm.
       These efforts are founded on a view of
                                                        Other supportive behavioral health approaches
       sexual and gender diversity that runs
                                                        are recommended for individual or family distress
       counter to scientific consensus.
                                                        associated with sexual orientation and gender
       Research demonstrates that sexual                identity, as discussed in Beneficial Therapeutic
       orientation change efforts are ineffective,      Approaches and Interventions in LGBTQI+ Youth
       and no research demonstrates the                 and Their Families in Section 2.




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Section 2. Development, Behavioral Health, and Beneficial
Therapeutic Approaches With Youth of Diverse Sexual Orientation
and/or Gender Identity: A Research Overview
Sexual Orientation
                                                             Sexual orientation and gender are distinct
Sexual orientation consists of sexual identity,              yet related.
sexual and romantic attraction, and sexual
behavior. Great shifts in the understanding of               Everyone has a sexual orientation,
                                                             including identity, attraction, and behavior,
sexual orientation have occurred over the past
                                                             and a gender, including identity and
century.120 Though a diverse sexual orientation
                                                             expression. Individuals can belong to both
was once considered abnormal or a medical
                                                             a sexual minority population (i.e., lesbian,
problem, scientists now understand that                      bisexual, gay, and other non-heterosexual
sexuality occurs on a continuum and that                     orientations) and a gender minority
variations in sexual orientation are part of the             population (i.e., transgender, nonbinary,
normal and healthy range of human                            and other diverse genders). Importantly,
sexuality.16,17,23,24,121                                    gender does not determine a
                                                             sexual orientation. Gender-diverse
Although some people experience changes in                   populations include individuals with many
sexual awareness, attractions, behaviors, and                different sexual orientations, including
identities over time, this does not mean that                those who identify as straight/heterosexual
sexual orientation can be willfully changed                  and those who identify with a sexual
through their own or          efforts, such as               minority identity.
through sexual orientation and gender identity
                                                             Though they are distinct, gender and
(SOGI; pronounced "SO-gee") change efforts.23                sexual orientation are related. Many
                                                             adolescents and young adults who are
Today, many terms are used to describe sexual
                                                             gender diverse also identify with a sexual
orientation. In addition to terms such as lesbian,
                                                             minority identity.
gay, bisexual, and straight, many young people
use a wider range of descriptive identity labels
for their sexual orientation such as pansexual,          sexual minority is increasing, and most of this
asexual, queer, and questioning, among                   increase is occurring among women, people of
others.122,123,124 Research with large, national         color, and younger generations.31 Nearly 5
samples of adolescents has found that                    percent of adults in the United States identify as
approximately one-quarter of adolescents of              lesbian, gay, or bisexual; this represents an
diverse sexual orientation and/or gender identity        increase of nearly 60 percent of individuals who
use newer descriptive labels for their sexual            were comfortable self-identifying as LGB than on
orientation and/or gender identity.124,125 Use of a      surveys conducted 8 years earlier. Among U.S.
wider range of descriptive sexual orientation            high school students, nearly 15 percent identify
labels appears to be more common among                   as lesbian, gay, or bisexual or are unsure of
gender-diverse adolescents than among                    their sexual orientation; this is nearly double the
cisgender adolescents.123                                number of students who were comfortable self-
                                                         identifying as non-heterosexual in surveys
The number of people in the United States who
feel safe or comfortable to self-identify as a


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     conducted 8 years prior.59 The true size of
     sexual minority populations is likely higher than             How many people in the United States are
     reported in these surveys. Stigmatizing societal              sexual and gender minorities?
     attitudes and concerns about confidentiality may              An estimated 11.4 to 12.2 million adults
     limit accurate reporting of sexual orientation                identify as LGBTQ+ in the United States, a
     identity and behavior.126 Additionally, many                  number roughly equivalent to the
     surveys ask about only a limited number of                    population of Ohio.
     sexual orientation options (e.g., lesbian, gay,
                                                                   An estimated 1.99 million adolescents ages
     bisexual, or heterosexual), which may miss
                                                                   13 to 17 identify as LGBT in the United
     individuals who use other terms (e.g.,                        States, which is roughly equivalent to the
     pansexual, asexual, or queer).122,124 The                     combined populations of Dallas, Texas,
     increase in openly identifying as a sexual                    and Detroit, Michigan.31,127,128
     minority does not suggest that people are more
     likely to have the innate characteristics of being
                                                               diverse identity, first sexual minority relationship)
     a sexual minority, but rather that individuals are
                                                               at similar ages in adolescence.129 In addition, it
     increasingly able to publicly identify as LGBTQI+
                                                               is becoming increasingly common for children to
     because of increasing awareness and
                                                               identify as lesbian, gay, or bisexual in
     acceptance of diverse sexual orientations; the
                                                               childhood.18            earlier public self-
     expansion of laws, policies, and practices that
                                                               identification as having a minority sexual
     protect and support individuals regardless of
                                                               orientation is likely due to reduced stigma
     sexual orientation; and an increased willingness
                                                               related to sexual orientation diversity. As more
     and ability among LGBTQI+ people to self-
                                                               youth self-identify as sexual minorities, scholars
     identify due to decreased stigmatization and
                                                               have called for supporting the emotional and
     greater access to civil rights.31
                                                               mental health needs that children express
     Sexual Orientation Development in Youth                   related to their sexual orientation.136

     Sexual orientation is usually conceptualized to           Sexual identity development is influenced by
     begin at or near adolescence with the                     cultural factors that may differ across racial and
     development of sexual feelings.24 The average             ethnic groups. However, most research on
     age at which sexual minority individuals reach            sexual orientation identity development has
     important sexual orientation identity                     included primarily white youth without examining
     development milestones, such as becoming                  differences related to race and ethnicity or
     aware of same-sex attractions and coming out to           cultural background.124 As such, our cultural and
     others, commonly occurs during                            scientific understandings of common
     adolescence.129,130 Various factors affect the            experiences and developmental trajectories of
     trajectory of development related to sexual               sexual minority populations may better reflect
     orientation, and there is no single or simple             the experiences of white sexual minority groups
     trajectory experienced by all                             and be less relevant to the experiences of
     individuals.131,132,133,134,135 Recent generations of     sexual minority people of color.137 Limited
     sexual minority individuals tend to reach                 research has examined the dual or multiple
     milestones related to sexual orientation identity         identity development processes among sexual
     development and coming out (e.g., first                   minority youth of color.138 Development related
     becoming aware of their attractions, disclosing           to racial/ethnic identity and sexual identity may
     or sharing          sexual orientation- or gender-        occur concurrently among adolescents, though


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involve different processes.139 A variety of            Sexual identity development includes processes
studies have identified cultural constructs and         of identity formation (i.e., becoming aware of
culturally specific expectations that have been         sexual attractions, exploring sexual feelings) and
identified as influencing sexual identity               identity integration (i.e., integrating sexual
development among youth of color include                identity within the larger view of self).144 For
familism (i.e., family needs take precedence            sexual minority adolescents, difficulty with the
over individual needs) and specific cultural            identity development process, such as difficulty
understandings and expectations of masculinity          accepting         sexual orientation and
among Black and Latino adolescent boys in               dissonance between              self-image and
particular.138,140,141,142,143                          cultural, religious, and societal beliefs about
                                                        sexual minorities, can increase negative views
Significant physical, cognitive, and social
                                                        of        own and             sexual minority
development occurs during adolescence. Sexual
                                                        identities and lead to adopting negative societal
minority adolescents face the same
                                                        attitudes and beliefs about being a sexual
developmental tasks that accompany
                                                        minority.146
adolescence for all youth, including sexual
identity development. However, sexual minority          Sexual orientation conflict has been linked to
adolescents must also navigate an environment           negative psychosocial outcomes in adolescents
lacking awareness and acceptance of socially            and young adults.145 Furthermore, a negative
marginalized sexual identities, potentially without     self-image as a sexual minority youth
family, community, or societal support.144,145          contributes to the relationship between
                                                        sexuality-specific stressors (e.g., family


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                                                              Important areas of focus for behavioral health
         When discussing the concept of gender,               providers who work with adolescents include
         scientists distinguish among a person s              helping them address negative views about
         sex assigned at birth, gender identity, and
                                                              aspects of their identity and supporting positive
         gender expression.24,25,125
                                                              identity development. For behavioral health
             Sex assigned at birth is typically               providers who work with sexual minority
             based on the appearance of external              adolescents, this includes reducing the
             genital anatomy; male, female, or                negative views of their own sexual orientation
             intersex are possible ways to                    identity and supporting positive identity
             identify sex.                                    development. This encompasses the integration
                                                              of sexual orientation identity into the
                                                                            larger sense of self, alongside
             deep internal sense of being female,
                                                              intersecting identities (e.g., cultural, racial/ethnic,
             male, a combination of both,
                                                              and other identities).
             somewhere in between, or neither.
             Gender expression refers to the                  Gender
             external way a person
                                                              Transgender is a term that refers to individuals
             communicates their gender, such as               whose gender identities are incongruent with
             with clothing, hair, mannerisms,                 their sex assigned at birth.75 The term gender
                                                              diverse is a broader term that includes
             gender expression may or may not                 transgender individuals, as well as others whose
             be consistent with culturally                    gender behaviors, appearances, or identities are
             prescribed gender roles or their sex             incongruent with those culturally expected based
             assigned at birth and may or may                 on sex assigned at birth.75
             not reflect their gender identity.
                                                              Significant advances have occurred over time in
                                                              the scientific understanding of gender. It is now
                                                              understood that gender diversity identifying
     rejection, victimization) and poorer mental health
                                                              with a gender that does not align with sex
     outcomes.145,146
                                                              assigned at birth, and/or having a gender
     Positive identity development, however, is               expression that varies from that which is
     associated with better mental health among               culturally expected for           gender or sex
     sexual minority adolescents.144,147 For example,         assigned at birth is part of the normal and
     one study found that for sexual minority college         healthy spectrum of human diversity, is not
     students, those who reported strong religious            pathological, and does not require clinical
     beliefs also reported lower psychological                attention on its own.19,22,25,149
     distress, but only among those students who
                                                              Gender diversity was depathologized with
     had high levels of self-acceptance of their sexual
                                                              changes made to the 5th revision of the
     orientation.148 Strong religious beliefs on their
                                                              Diagnostic and Statistical Manual of Mental
     own were not protective in terms of
                                                              Disorders (DSM-5) and the 11th revision of the
     psychological distress for students who reported
                                                              International Classification of Diseases (ICD-
     lower levels of self-acceptance of their sexual
                                                              11).150,151 These changes make it clear that
     orientation.
                                                              gender diversity is not a disorder. Instead,



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current guidelines focus on treating and                  Scientists now recognize that many gender
supporting individuals who may experience                 identities and gender expressions exist, and
feelings of distress (i.e., gender dysphoria) or          have always existed in a wide range of cultures
incongruence between their gender identity and            across history.156,161,162,163
body or sex assigned at birth, as well as any
                                                          Terms such as nonbinary, gender queer, gender
distress associated with stigma and
                                                          fluid, agender, bi-gender, and others are used
discrimination.25 Note that throughout this report,
                                                          by many individuals to express their gender
                      (not capitalized) refers to the
                                                          identity.161,163
general concept of distress associated with
incongruence between            gender identity and       Identifying with more than one identity is also
body or sex assigned at birth, while        nder          common.164 There are also many culturally
             (capitalized) refers to the DSM              specific terms that have long been used for third
diagnosis.                                                gender or nonbinary identities and gender roles,
                                                          including two-spirit among some Indigenous
Access to gender affirmation can alleviate or
                                                          North American cultures,                in Samoan
improve distress due to feelings of gender
                                                          culture, and            in Native Hawaiian
incongruence. Gender affirmation refers to
                                                          culture.164,165,166,167
processes by which an individual is recognized
and affirmed in the gender with which they
identify.                                                     What about intersex youth?

Gender affirmation can include psychological,                 Intersex is an umbrella term used to
social, medical, and legal aspects. Access to                 describe people born with differences in
gender affirmation can reduce gender dysphoria                sex characteristics, such as reproductive
and improve mental and physical health                        anatomy, chromosomes, or hormones
outcomes among transgender and gender-                        that do not fit typical definitions of male
                                                              and female. Intersex people can have
diverse people and is protective against the
                                                              many different gender identities.
negative effects of gender-related stigma and
discrimination.152,153 There is substantial                   Individuals with intersex traits may
evidence of the behavioral health benefits of                 identify as male, female, nonbinary, or a
access to gender affirmation for transgender and              different gender. Intersex individuals may
gender-diverse children, adolescents, and                     consider themselves transgender if they
                                                              do not identify with their sex assigned at
adults.51,52,53,80,81,154,155
                                                              birth.
The belief that people can only belong to one                 Like other LGBTQI+ youth, intersex youth
gender category male or female has been                       experience pervasive stigma and
prevalent in many contemporary Western                        discrimination. The Federal Government
societies. However, over the past several                     has taken steps to reduce disparities
decades there has been a growing scientific                   facing people who are intersex, such as
understanding that sex and gender are more                    issuing a Request for Information on
complex. Some people are born with sex                        Promising Practices for Advancing
characteristics that fall outside of male and                 Health Equity for Intersex Individuals in
female categories, and gender identity occurs on              February 2023.46
a spectrum.156,157,158,159,160



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     Identifying as nonbinary appears to be more              consistently include gender-diverse individuals
     common among younger generations.164 This                who do not identify with the term
     may be related to greater visibility and social          transgender.169,170 Recent population-based
     acceptance of gender diversity.122 One study             research with adults of diverse sexual
     with a large national sample found that nearly           orientation and/or gender identity has found that
     one-quarter of adolescents of diverse sexual             1.2 million adults in the United States identify as
     orientation and/or gender identity self-identified       nonbinary, including people who both do and do
     as nonbinary.124 Of note, some people who                not consider themselves transgender.157
     describe themselves as nonbinary or another
                                                              Research with high school students has found
     gender consider themselves transgender, while
                                                              that between 1.1 and 9.2 percent identify as
     others do not.157
                                                              transgender, nonbinary, or another gender
                                                              identity that differed from their sex assigned at
                                                              birth.122,170,171,172 Studies that specifically asked
                                                              about identifying as nonbinary and other gender
                                                              identities in addition to identifying as
                                                              transgender reported larger proportions of
                                                              transgender and gender-diverse youth,
                                                              emphasizing the importance of asking about
                                                              nonbinary and other diverse gender
                                                              identities.168,170,173

     In this report,             and gender                   Gender Development in Youth
     is used as a broad term that refers to people            Gender-related development begins in early
     whose gender identity and/or gender expression           childhood and progresses through
     are incongruent with their sex assigned at birth,        adolescence.21 Processes of gender-related
     including binary transgender people, nonbinary           identity development among transgender and
     people, and cisgender people with a diverse              other gender-diverse populations are varied,
     gender expression.                                       non-linear, and not necessarily anchored to
                                                              specific ages or developmental periods.37,38 For
     Estimates of the size of the transgender and
                                                              some individuals, gender identity appears stable
     gender-diverse population in the United States
                                                              across development, while others experience
     vary. It is only in recent years that some
                                                              changes in their gender identity over time.
     national, population-based surveys have started
     to include questions to assess gender identity,          Youth who start to think of themselves as
     and the practice remains far from widespread. It         transgender or gender diverse may share this
     is estimated that between 0.1 and 2.0 percent of         identity with others, and take steps in social
     adults in the United States identify as                  transition across a wide range of ages.29,30,176,177
     transgender.124,168 These figures likely                 There is no single developmental trajectory for
     underestimate the size of the transgender and            transgender and gender-diverse youth that is,
     gender-diverse populations, because much of              there is healthy and normal variation in the age
     this research has not used current best practices        that youth recognize themselves as gender
     for asking separately about current gender               diverse.25
     identity and sex assigned at birth and did not



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Individuals who exhibit gender diversity in
                                                              Younger generations understand,
childhood include those who:
                                                              experience, and communicate their
        Consistently identify with a gender that              gender-related experiences in different
        differs from their sex assigned at birth              ways than previous generations. These
                                                              understandings of gender include an
        Identify with the gender that aligns with
                                                              increased recognition of the complexity of
        their sex assigned at birth and have a                gender, sexuality, and identity and fewer
        diverse gender expression                             stereotypes or expectations of what it
        Are exploring their gender identity and/or            means to be a certain gender.156,174,175
        gender expression178,179
While earlier research from clinics specializing in        Children who identify as transgender early in
childhood gender identity suggested that many              their development are increasingly supported
individuals who exhibited gender diversity in              and affirmed in their identities by many families
childhood did not later identify as transgender in         at young ages. Research with transgender youth
adolescence, significant methodological                    who have socially transitioned that is, who
weaknesses preclude use of these findings to               present as their gender identity in everyday
identify trajectories of gender identity                   life provides evidence that early in childhood,
development and their associated                           gender-related development is similar among
frequencies.179 However, more recent research              transgender and cisgender children with the
and clinical expertise suggests that children who          same gender identity, regardless of sex
consistently identify with a gender different from         assigned at birth.187,188,189 These similar areas of
their sex assigned at birth typically express a            gender-related development between
similar clarity in adolescence.50,77,149,178,180,181       transgender and cisgender children include
Research also indicates that children whose                consistency and strength of identification with
gender expression differs from social norms, but           their gender and expression of gender
who do not identify as transgender or nonbinary,           preferences, stereotypes, behaviors, and
are more likely to have a diverse sexual                   beliefs.40
orientation in adulthood.24,182,183
                                                           Other youth identify as transgender or gender
A significant body of research demonstrates that           diverse for the first time in
affirming a child s current gender identity and            adolescence.35,176,190,191,192 Puberty can be a
gender expression, as well as supporting their             pivotal time when youth become more aware of
process of understanding more about their                  their gender and experience physical changes
identity, is beneficial for all children. The benefits     that can trigger or exacerbate dysphoria.193
of providing affirming mental health care include          Some individuals who initially identify as
reducing the risk of suicide in transgender and            transgender or gender diverse in adolescence
gender-diverse youth. Given the significant                do not have a history of gender diversity or
mental health risks that gender minority youth             gender       -               behaviors or
                                                                                        177
face when affirming mental health care is not              preferences in childhood. This can make
available, affirming mental health care is                 disclosure of a gender identity that differs from
appropriate and necessary even for youth who               sex assigned at birth in adolescence surprising
may later identify differently in                          to parents, guardians, and others.
adulthood.78,178,184,185,186



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                                                                pride, and valuing self are factors that promote
                                                                resilience among transgender and gender-
                                                                diverse adolescents.145,194,195,196 However,
                                                                transgender and gender-diverse adolescents may
                                                                experience identity conflict when reconciling a
                                                                gender identity that may diverge from the
                                                                expectations of their family, peers, and
                                                                community. This can be particularly pertinent for
                                                                transgender and gender-diverse adolescents of
                                                                color, who often experience multiple forms of
                                                                discrimination (e.g., racial discrimination when
                                                                seeking out supportive services, or anti-
                                                                transgender stigma in one s racial/ethnic or
                                                                cultural community) and may perceive
                                                                incompatibility between their gender identity and
                                                                racial/ethnic identities.140,198

                                                                Conversely, racial/ethnic identity development
                                                                processes may beneficially impact how youth
                                                                navigate gender identity development, such as
                                                                experience coping with adversity and developing
                                                                a sense of pride in one s identity.195 While self-
                                                                acceptance and identity pride are associated
                                                                with well-being, adopting negative societal
                                                                attitudes and beliefs about being transgender or
                                                                gender diverse and having a negative gender-
     Some adolescents who identify as transgender or
                                                                related self-concept have been connected to
     gender diverse report that they felt different at a
                                                                mental health challenges and greater substance
     young age but expressed or engaged in
                                                                use among transgender and gender-diverse
     behaviors that were stereotypical for their sex
                                                                adolescents.199,200
     assigned at birth earlier in life, while others do not
     feel differently about their gender until
     adolescence.35,176 Given the advances in                       Minority stressors experienced due to anti-
     scientific understanding of the normal and healthy             LGBTQ+ stigma include major life events,
     diversity of gender identities, understanding the              such as assault because of one s sexual
     current experiences of youth whose gender                      orientation, gender identity, or gender
     incongruence presents in adolescence is an                     expression, as well as everyday forms of
     important area of study. No singular narrative can             discrimination and non-affirmation, such
     describe the totality of transgender and gender-               as receiving poor services, being assumed
     diverse youth experiences.                                     to be straight, or being misgendered.
                                                                    Minority stress is also caused by policies
     Identity development is among the key tasks of                 that limit the opportunities, resources, and
     adolescence for all adolescents, including those               well-being of LGBTQI+ populations.111,197
     who are transgender and gender diverse. Self-
     acceptance of one s gender identity, identity


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Important areas of focus for behavioral health          areas who have access to specialized pediatric
providers who work with adolescents includes            gender clinics. In recent years, more research
helping them address negative views about               has been conducted with nonclinical populations
aspects of their identity and supporting positive       of children.36 Given the tremendous variation in
identity development. Therefore, important areas        attitudes and expectations related to gender by
of focus for behavioral health providers who            cultural group and family background, more
work with transgender and gender-diverse                research is needed with racially and ethnically
adolescents are reducing negative views of their        diverse children and families, lower income
own gender identity and supporting positive             families, and families from different cultural and
identity development.198,199,200 As with                religious backgrounds to better understand the
adolescents of diverse sexual orientations, this        experiences and needs of diverse gender
includes integration of gender identity and             minority children and adolescents and to ensure
gender self-concept into their larger sense of          access to evidence-based care.
self, alongside cultural, racial/ethnic, and other
identities.                                             Health and Well-Being of LGBTQI+
                                                        Youth
Research on how gender identity development
                                                        In the United States and worldwide, sexual- and
varies by gender, race and ethnicity, and other
                                                        gender-diverse populations experience
cultural, social, and environmental factors
                                                        inequities in many behavioral health
remains in its early stages. Some studies have
                                                        outcomes.206,207 This report uses the phrase
identified potential differences in developmental
                                                                             as opposed to
trajectory by gender.35 Many studies have
                                                                     to refer to unnecessary and
disproportionately low representation of
                                                        avoidable health differences.208 These health
transgender girls and other gender-diverse
                                                        inequities are not caused by        sexual
youth assigned male at birth, suggesting that
                                                        orientation, gender identity, or gender
transgender girls and women are coming out at
                                                        expression, but rather by anti-LGBTQI+ stigma
later ages.201,202,203
                                                        that is embedded in proposed and enacted laws,
One study investigating age upon accessing              policies, and societal attitudes.
gender-affirming medical care found that it was
influenced by contextual factors, such as family
religion, having a helpful caregiver, as well as
developmental milestones reached upon
recognition of gender incongruence and age at
coming out or disclosing gender identity.204
Another study of young transgender women
found differences by racial/ethnic group,
suggesting that youth of color may achieve
some social milestones (e.g., disclosure of
gender identity) at younger ages than white
youth.205

Most research with transgender and gender-
diverse youth has been conducted with mostly
white, higher income families living in urban


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     The Minority Stress Model provides an                   diverse with respect to other identities, including
     empirically validated conceptual model for              age, race, ethnicity, immigration status,
     understanding how stress due to anti-LGBTQI+            language, national origin, religion, spirituality,
     stigma, coupled with general life stressors, puts       ability, and socioeconomic status. Individuals
     individuals of diverse sexual orientation and/or        with multiple minority identities experience
     gender identity at increased risk for negative          unique stigma and stressors, as well as unique
     behavioral health outcomes.111,209,210 These            opportunities for resilience.196,217,218,219
     external experiences of minority stress cause
                                                             To support individual LGBTQI+ youth in
     cognitive, affective, and behavioral reactions,
                                                             achieving their optimal health and well-being,
     such as internalized stigma, identity
                                                             and to take action to address health inequities
     concealment, and social isolation, all of which
                                                             among LGBTQI+ populations, behavioral and
     are associated with poorer mental
                                                             other healthcare providers, families, school
     health.153,209,211,212,213
                                                             administrators, boards, and educators,
     Despite the impact of anti-LGBTQI+ stigma,              community leaders, and policymakers must
     which individuals can experience in tandem with         understand the health concerns that may affect
     other forms of discrimination, many youth and           LGBTQI+ youth and be knowledgeable about
     adults of diverse sexual orientation and/or             the factors that lead to risk and resilience among
     gender identity can adapt, thrive, and                  LGBTQI+ youth. The following sections provide
     demonstrate resilience despite risk exposure,           an overview of behavioral health concerns
     high levels of stress, and other forms of               among LGBTQI+ youth, as well as what is
     adversity.214 Resilience refers to a dynamic            known about the influence of families, school,
     process of adapting positively within the context       religion and spirituality, community climate and
     of significant adversity.215 Resilience among           policies, and gender affirmation on the
     sexual- and gender-diverse populations is               behavioral health of LGBTQI+ youth.
     promoted through:
                                                             Behavioral Health Concerns Among
            Self-acceptance of sexual orientation            LGBTQI+ Youth
            and gender identity, self-esteem, and
                                                             Variations in sexual orientation (identity,
            identity pride                                   behavior, and/or attraction) and gender (identity
            Social support and sexuality- and                and expression) are part of the normal spectrum
            gender-specific support from family,             of human development and do not constitute
            peers, schools, and community                    mental disorders. However, youth of diverse
            organizations                                    sexual orientation and/or gender identity are at
            School and community connectedness               elevated risk for mental illness and substance
            Inclusive and supportive federal and             use due to experiences of discrimination related
            state policies60,66,147,216                      to sexual orientation, gender identity, rejection,
                                                             trauma, violence, and a lack of support from
     It is important to recognize that sexual and
                                                             families, school systems, and communities.111
     gender minorities are not a single,
                                                             Transgender and gender-diverse children and
     homogeneous population. In addition to
                                                             adolescents may also experience psychological
     including individuals with many distinct sexual
                                                             distress related to gender dysphoria.25 It is
     orientations, gender identities, and gender
                                                             important to emphasize that youth of diverse
     expressions, LGBTQI+ populations are also
                                                             sexual orientation and/or gender identity are


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resilient, and that with sufficient support and         Alternatively, their mental health concerns may
access to resources, they can thrive.68,69              be entirely unrelated to their gender.25,50
Behavioral health concerns that behavioral
                                                        At the same time, research also suggests that
health providers can be aware of and attend to
                                                        gender-diverse children who receive meaningful
among sexual- and gender-diverse youth are
                                                        gender identity support do not necessarily
summarized below.
                                                        experience elevated rates of depression and
Behavioral Health Concerns Among                        anxiety.51,225 Research with a national sample of
LGBTQI+ Children                                        socially transitioned prepubescent transgender
Recent research has begun to investigate                children found this group to have
behavioral health among sexual- and gender-             developmentally normative levels of depression,
diverse children and has found that inequities in       only minimal elevations in anxiety, and
behavioral health may begin in childhood. While         comparable levels of self-worth, suggesting that
some sexual- and gender-diverse children are            behavioral health concerns are not inevitable
distressed, others are not. Among those who are         among this group.51,225
distressed, the source of distress varies.
                                                        Behavioral Health Concerns Among
                                                        LGBTQI+ Adolescents
Several studies found that more children who
self-identify as gay, bisexual, or questioning          As LGBTQI+ adolescents navigate the
reported distress, including mood disorders,            challenges of adolescence, some experience a
non-suicidal self-injury, suicide ideation, and         variety of behavioral health concerns and
suicide attempts than did children who do not           psychosocial challenges. Compared to their
identify as gay, bisexual, or questioning.30,54         heterosexual and cisgender counterparts, some
Additionally, two longitudinal studies found that       adolescents of diverse sexual orientation and/or
children who later identified as a sexual minority      gender identity are at disproportionate risk of
began experiencing mental health challenges as          behavioral health symptoms, driven by
early as age 11.55,56 Other studies indicate that       increased exposure to stigma, rejection, and
mental health concerns among sexual minority            victimization.48,226,227,228,229 It is also important to
children may be linked to experiences of                note that behavioral health concerns may be
victimization, such as bullying behaviors               unrelated to sexual and gender diversity.
perpetrated by peers.220,221                            Exposure to SOGI change efforts is a key risk
                                                        factor that has been shown to increase risk of
Gender-diverse children appear to have
elevated rates of mental health concerns,
including symptoms of anxiety and depression,
history of self-harm, and suicidality, compared to
cisgender children.222,223,224 When gender-
diverse children have behavioral health
concerns, these may be related to invalidation or
rejection of their gender diversity, or distress
related to current anatomical dysphoria and/or
anticipation of future pubertal development
incongruent with their current gender.




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     suicide attempt among adolescents and young               transgender individuals.61 The higher rates of
     adults of diverse sexual orientation and/or               substance use and suicidality are partly
     gender identity.9,10,49,228                               explained by experiences of discrimination,
                                                               victimization, and higher rates of depressive
     Compared to heterosexual and cisgender peers,
                                                               symptoms reported by transgender and gender-
     adolescents of diverse sexual orientation and/or
                                                               diverse adolescents as compared to cisgender
     gender identity are more likely to experience
                                                               adolescents.60,232,237,238,239
     psychological distress, symptoms of depression,
     and symptoms of anxiety.57,65 Studies indicate            Among transgender and gender-diverse
     large differences in rates of suicidal ideation and       adolescents, some research suggests that
     attempts among adolescents in the United                  mental health outcomes may be worse among
     States by sexual orientation and gender identity.         nonbinary adolescents and transgender
     The Youth Risk Behavior Surveillance System               boys.61,231,240,241 Gender dysphoria, which can
     (YRBSS) documented increased odds of suicide              initiate or intensify in adolescence, can cause
     risk among both sexual minority and gender                psychological distress among transgender and
     minority high school students compared to                 gender-diverse adolescents.25 Increased
     heterosexual and cisgender students, including            experiences of victimization, rejection, and
     suicide attempt requiring medical                         exposure to discriminatory policies may also
     treatment.226,227,229,230A recent public health study     drive the higher rates of adverse mental health
     with data from six states found that while suicide        seen among transgender and gender-diverse
     rates are dropping, sexual minority adolescents           adolescents compared to sexual minority
     in this study were three times as likely to attempt       adolescents.227,241,242
     suicide relative to heterosexual adolescents.58
                                                               Trauma is also a common behavioral health
     Research with gender minority adolescents has
                                                               concern among adolescents of diverse sexual
     documented that between 25 percent and 51
                                                               orientation and/or gender identity, who have an
     percent of transgender and gender-diverse
                                                               increased likelihood of experiencing child
     adolescents have attempted suicide, with the
                                                               maltreatment, school-based victimization,
     highest rates among transgender boys and
                                                               violence, and homelessness, and who are
     nonbinary youth.191,231,232,233
                                                               overrepresented in both the child welfare system
     Research using YRBSS data indicates that                  and the juvenile correctional
     some adolescents of diverse sexual orientation            system.63,64,226,227,230,242,243,244,245,246
     and/or gender identity are more likely than
                                                               A number of studies suggest that some
     heterosexual and cisgender adolescents to
                                                               neurodiverse youth are gender
     engage in substance use.227,228,230,234,235
                                                               diverse.223,247,248,249,250 The most recent clinical
     Research found that adolescents of diverse
                                                               guidelines suggest that such youth benefit from
     sexual orientation and/or gender identity also
                                                               an individualized approach to treatment.
     experience greater incidence of eating disorders
     and disordered eating behaviors than their                The fact that research consistently demonstrates
     heterosexual and cisgender counterparts.236               large inequities in behavioral health among
                                                               LGBTQI+ adolescents indicates that this is a
     Adverse mental health outcomes tend to be
                                                               vulnerable population that needs psychosocial
     more prevalent among gender minority youth
                                                               support, equitable social conditions, and access
     compared to sexual minority youth due to
                                                               to affirming mental health care. At the same
     specific stigma and discrimination against


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time, it is important to emphasize that many            use.10,252 Alternatively, parent-child relationships
LGBTQI+ adolescents are resilient and although          characterized by closeness and support are an
experiencing discrimination and behavioral              important correlate of mental well-being.
health challenges can thrive.68,69,251,252
                                                        Strong parental support for a            gender
Influences on Health and Well-Being                     identity may offset the mental health challenges
                                                        commonly documented among gender-diverse
The increased risks of behavioral health distress
                                                        children.51,225 The use of a transgender or
that LGBTQI+ youth face are not a function of
                                                        gender-diverse                    chosen rather
their identities. Rather, these risks stem from the
                                                        than given name has been linked to decreased
stresses of stigma, discrimination, rejection, and
                                                        depressive symptoms, suicidal ideation, and
violence.239 The presence of sexual orientation-
                                                        suicidal behavior.49,52 Among adolescents of
and gender-related stressors and opportunities
                                                        diverse sexual orientation and/or gender identity,
for emotional support and connection
                                                        high levels of sexual orientation and gender
encompasses multiple social systems, including,
                                                        identity acceptance from parents and other
for instance, family, culture, values, school, and
                                                        relatives has been associated with reduced
community networks.253,254,255 Therefore, when
                                                        suicidality.49,257,258 Further, the behavioral health
LGBTQI+ youth are evaluated by a behavioral
                                                        benefits from high levels of family acceptance of
health provider, assessment should routinely
                                                                 diverse sexual orientation and/or gender
include family, school, and community systems
                                                        identity appear to last through young
in which they live to identify both sources of
                                                        adulthood.103 The limited research that has
distress and sources of support and connection
                                                        focused on family members outside of parents
as protective factors.255 By increasing LGBTQI+
                                                        and primary caregivers suggests that siblings
youth s access to support and resilience-
                                                        and extended family members can be key
promoting resources across their daily
                                                        sources of support for youth of diverse sexual
environments, and decreasing exposure to
                                                        orientation and/or gender identity.259,260
stigma and discrimination in communities and
healthcare systems, more LGBTQI+ youth can              Studies have found that some adolescents of
achieve optimal health and well-being.                  diverse sexual orientation and/or gender identity
                                                        report strikingly high rates of adverse childhood
Family
                                                        experiences (ACEs). High ACE scores and
Family response to          sexual orientation,         parental rejection have been associated with
gender identity, or gender expression has a
significant impact on the         well-being, with
effects that appear to extend into young
adulthood.

Parents, caregivers, and families can serve as
both a source of stress and a source of support
for youth of diverse sexual orientation and/or
gender identity.40,53,256 Negative parental
responses to sexual orientation, gender identity,
and/or gender expression are associated with
mental health concerns including psychological
distress, depression, suicidality, and substance


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     suicidality in youth of diverse sexual orientation
                                                                 Youth of diverse sexual orientation and
     and/or gender identity261 and may put these
                                                                 gender and particularly those youth of
     adolescents at greater risk for being victimized
                                                                 color are overrepresented among youth
     in other settings.262 Notably, though some
                                                                 experiencing homelessness, as well as
     scholars and practitioners consider SOGI                    across multiple state-based systems
     change efforts from family members potentially              213, 263, 264

     traumatic events, ACE measures do not capture
                                                                        Up to 40% of all youth experiencing
     youth s experiences of SOGI change efforts.120
                                                                        homelessness and housing instability
     It is important to note that some LGBTQI+ youth                    are youth of diverse sexual orientation
     who lack family and/or parental support find                       and gender.
     resilient ways to access needed support and                        Up to one-third of youth in foster care
     guidance. Many people of diverse sexual                            systems are youth of diverse sexual
                                                                        orientation and gender.
     orientation and/or gender identity, including
                                                                        Up to one-fifth of youth in the juvenile
     those with and without supportive families of
                                                                        justice system are youth of diverse
     origin, form chosen             with sexual- and
                                                                        sexual orientation and gender.
     gender-diverse friends who provide social
     support and resources.265 In urban areas across             Parent or caregiver rejection due to
     the United States, LGBTQI+ adolescents and                  sexual orientation and gender diversity
                                                                 is just one of many reasons for these
     young adults of color particularly Black and
                                                                 inequities; other factors such as parental
     Latino youth may join informal communities
                                                                 mental health and substance use,
     and LGBTQI+ family structures.
                                                                 poverty, and racism are common drivers
     Religion & Spirituality                                     of housing instability and system
                                                                 involvement among youth of diverse
     When considering family and community                       sexual orientation and gender.
     influences, a child s or adolescent s religious
     background is an important factor. Religious
     beliefs and background are far-reaching                 backgrounds have a full range of reactions to
     influences that encompass multiple arenas of            their child s sexual orientation and gender
     one s life, including personal and family religious     identity and expression regardless of religious or
     identity, beliefs, and coping; family attitudes,        spiritual traditions (e.g., confusion, desire for
     beliefs, and relationships; and community               information, questions about social implications,
     character and support. Religious views of sexual        love and loyalty, coming to terms with
     and gender diversity in the United States vary          differences, growth and expansion of spiritual
     widely268,269 and can have a large influence on         understanding, and for some a sense of
     sexual- and gender-diverse                   mental     loss).272,273 Rather than focus on faith beliefs,
     health and well-being.146,268,269 When working          where they might lack expertise, behavioral
     with youth of diverse sexual orientation and/or         health providers can focus on encouraging key
     gender identity, it is important to consider the        measurable behaviors among families and
     intersection of religion with youth s racial and        caregivers that have been found to be
     ethnic identity and cultural background.270,271         supportive and protective for children, as well as
     Religion and spirituality are complex, nuanced          informing families how some of their behaviors
     aspects of human diversity. Parents from all            and interactions might lead to negative
                                                             behavioral health outcomes.102,257,272


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School
LGBTQI+ adolescents may experience a myriad                   School resources that support the health
of sexual orientation- and gender-related                     and well-being of youth of diverse sexual
                                                              orientation and/or gender identity
stressors in the school environment, where they
                                                              include:
spend a large portion of their time. Despite
increasing cultural visibility and acceptance of                  The presence of Gender and Sexuality
people of diverse sexual orientation and/or                       Alliances (GSAs) or other similar
gender identity, the climates of U.S. secondary                   supportive peer networks
schools remain generally unsupportive and                         Antidiscrimination and antibullying
unsafe for many sexual- and gender-diverse                        policies that explicitly include sexual
                                                                  orientation, gender identity, and
youth, who experience high levels of verbal and
                                                                  gender expression
physical harassment and assault, sexual
                                                                  Policies that allow youth to use their
harassment, social exclusion and isolation, and
                                                                  chosen name, pronouns, and facilities
other interpersonal problems with peers.48                        that align with their gender identity
School bullying and victimization is often linked                 Educators who are trained and accept
                                                                  and support students of diverse
to nonconformity to gender norms.274 Across
                                                                  sexual orientation and/or gender
racial/ethnic groups, approximately half of all
                                                                  identity
sexual- and gender-diverse students of color
                                                                  Inclusive curricula resources, such as
were bullied or harassed based on their                           including the history of people and
racial/ethnic identity.48 Further, sexual- and                    families with diverse sexual
gender-diverse students of color were at greater                  orientation and/or gender identity, and
risk of experiencing multiple forms of                            age-appropriate health curricula that
victimization and were more likely to feel unsafe                 discuss sexual orientation and gender
at school than their white sexual- and gender-                    identity.39,43
diverse peers.48

This mistreatment has a significant effect on
                                                          of color, particularly girls, are extremely
sexual- and gender-diverse                    mental
                                                          overrepresented among incarcerated
health and well-being. Victimization due to
                                                          youth.213,278, 279 Research shows that youth of
sexual orientation or gender expression is
                                                          diverse sexual orientation and/or gender identity
associated with depressive symptoms, low self-
                                                          are not only more likely to experience
esteem, and suicidality,111,274,275 as is not having
                                                          exclusionary discipline at school, but also
access to appropriate bathrooms and feeling
                                                          appear to be sanctioned more harshly than
unsafe in bathrooms and other school
                                                          heterosexual, cisgender teens for the same
facilities.276,277,278
                                                          behavior and are at an increased risk for juvenile
Experiences of victimization and discrimination           justice involvement.247,280
are also linked to negative academic outcomes
                                                          School and peer networks can also be a place
among sexual- and gender-diverse youth.183
                                                          where youth of diverse sexual orientation and/or
Victimization from peers and school staff,
                                                          gender identity find support. High levels of
combined with discriminatory policies, likely
                                                          support from friends, classmates, and school
contributes to the over-representation of sexual
                                                          professionals is associated with better mental
and gender minorities in the juvenile justice
                                                          health and lower suicidality among youth of
system.48,278 Sexual- and gender-diverse youth

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     diverse sexual orientation and/or gender
     identity.49 Additionally, when youth have access             In the most recent National School Climate
     to high levels of peer or school support, this may           Survey of LGBTQ+ youth, the Gay, Lesbian
     reduce the negative impact that experiencing                 & Straight Education Network (GLSEN)
     victimization has on their mental health.275                 found that:
     Friends of diverse sexual orientation and/or                      60% felt unsafe
     gender identity may be of particular importance,
                                                                       69% were verbally harassed
     because they are more likely to provide support
     for sexuality- and gender-related stress.281,282                  58% were sexually harassed
     Many youth of diverse sexual orientation and/or                   26% were physically harassed
     gender identity connect with peers and access
                                                                       11% were physically assaulted
     social support online that may be unavailable to
     them in person.283,284 Online sources of support                  45% were cyberbullied
     have become increasingly important for youth of              60% of students of diverse sexual
     diverse sexual orientation and/or gender identity            orientation and gender surveyed
     during the COVID-19 pandemic.285                             experienced policies that are discriminatory
                                                                  based on sexual orientation, gender identity,
     School policies and resources that create an                 or gender expression at school.
     inclusive, safe environment positively influence             Transgender and gender-diverse students
     student             health and well-being.286,287            were most likely to report incidences with
     Specifically, these school policies reduce                   discriminatory policies and practices,
     substance use and planned suicide and suicide                including being prevented from using their
     attempts.286 GSA is a student-led, school-based              chosen name and pronouns, and bathrooms
     club that aims to provide a safe space for                   and locker rooms aligned with their gender
     LGBTQI+ students.           originally referred to           identity.48
      Gay-Straight            but many GSAs now
     use the acronym to refer to Gender and
     Sexuality           to acknowledge the full                      Policies that allow youth to use facilities
     spectrum of sexual orientation and gender                        that align with their gender identity and/or
     diversity.288                                                    that provide gender-neutral facilities
     Both the presence of and participation in a GSA                  Policies that allow students to use their
     has beneficial outcomes for sexual- and gender-                  chosen name and pronouns277,278
     diverse students and others, including increased         Training school staff and educators about how to
     feelings of safety, lower truancy, and decreased         support youth of diverse sexual orientation
     threats of violence in school.48,286 School policies     and/or gender identity is related to lower suicide
     associated with improved health and well-being           attempts among these students when
     of students of diverse sexual orientation and/or         provided.286 Finally, curricula that are inclusive of
     gender identity include:                                 students and families of diverse sexual
                                                              orientation and/or gender identity are associated
            Antidiscrimination and antibullying
                                                              with beneficial outcomes such as fewer
            policies that enumerate sexual
            orientation, gender identity, and gender
            expression



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instances of biased language against students          absence of supportive policies, places of
of diverse sexual orientation and/or gender            worship that are open and inclusive, other
identity, students feeling safer, fewer reported       LGBTQI+ people, and anti-LGBTQI+ rhetoric is
instances of victimization, increased peer             associated with behavioral health outcomes
acceptance, and lower levels of depression;            among LGBTQI+ adolescents. Studies have
these benefits may be related to the curricula         found that adolescents of diverse sexual
helping to reduce negative stereotypes against         orientation and/or gender identity living in areas
LGBTQI+ students.48 These policies and                 with a more supportive community climate have
practices not only are associated with benefits        better mental health and are less likely to use
for students of diverse sexual orientation and/or      substances.289,290
gender identity but also have school-wide
                                                       State and federal laws and policies also affect
beneficial effects across behavioral health and
                                                       the health and well-being of sexual- and gender-
psychosocial outcomes among heterosexual
                                                       diverse populations, including youth.291 More
youth.286
                                                       research has been conducted with adults, where
Community Climate & Policies                           supportive and protective policies such as
                                                       protection from discrimination in schools and
Community climate and policies also have an
                                                       ability to change name and gender on identity
impact on the health and well-being of youth of
                                                       documents have consistently been linked with
diverse sexual orientation and/or gender identity.
Community climate defined by the presence or




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     better mental health, reduced substance use,
     and increased access to health care.204,292,293
     Meanwhile, policies that permit discrimination
     against people of diverse sexual orientation
     and/or gender identity are linked with poorer
     behavioral health outcomes.85 It appears that
     state and federal laws and policies have a
     similar effect on youth of diverse sexual
     orientation and/or gender identity, with the
     presence of supportive laws and policies
     associated with reduced suicidality among high
     school students.294,295

     Gender Affirmation
     In addition to benefiting from gender-affirming
     support from families, communities, peers, and
     school professionals as described above, taking
     desired steps in social transition and access to
     medical gender transition for those for whom it is
     medically necessary is associated with better
     mental health among transgender and gender-
     diverse youth.51,67,80,81,154,225,296,297,298,299,300,301,302

     Social transition and medical gender transition
     are discussed in greater detail in the next
     section. Improving access to gender affirmation
     for gender-diverse youth across the various
     domains of their lives may reduce the mental
     health inequities seen in this population.




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Beneficial Therapeutic
Approaches and Interventions
in LGBTQI+ Youth and Their
Families
Behavioral health professionals provide youth
and their families with developmentally sensitive,
culturally appropriate, and client-centered
interventions that emphasize acceptance,
support, and understanding and that match the
child and                cognitive and emotional
development.                                           capacities, developmental milestones, and
                                                       emerging or existing behavioral health concerns.
Appropriate therapeutic approaches with
LGBTQI+ youth do the following:                        Affirmative approaches recognize and
                                                       communicate that being of diverse sexual
       Provide accurate information on sexual          orientation and/or gender identity does not
       orientation and gender identity and             constitute a mental disorder, and that variations
       expression.                                     in sexual orientation, gender identity, gender
       Identify sources of distress, including         expression, and sex characteristics are normal
       internalized stigma and minority stress,        aspects of human diversity, including nonbinary
       and work with children, adolescents and         gender identities.75,303,304,305 Affirmative
       families to reduce distress experienced         approaches recognize that when behavioral
                                                       health issues exist, they often stem from stigma
       by children and adolescents.
                                                       and negative experiences rather than being
       Support adaptive coping to improve
                                                       intrinsic to the child or adolescent.76 When
       psychological well-being.
                                                       working with children and adolescents, providers
       Support youth as they learn more about
                                                       examine not only risk factors but also sources of
       their sexual orientation and gender             resilience across the multiple environments that
       identity, and supporting families in            influence the health and well-being of young
       accessing gender-affirming care for their       people.305
       transgender child when indicated.
       Help children and adolescents navigate          Effective approaches support youth in identity
                                                       exploration and development without seeking
       their sexual orientation, gender identity,
                                                       predetermined outcomes related to sexual
       and gender expression within the context
                                                       orientation, gender identity, or gender
       of their intersecting identities.
                                                       expression.188,304 Key aims are to dispel negative
Client-Centered Individual Approaches                  stereotypes and provide accurate information in
                                                       developmentally appropriate terms for children
Behavioral health providers offer
                                                       and adolescents.
developmentally sensitive, affirmative
interventions to youth. Developmentally                Scientists and researchers are constantly
sensitive approaches account for appropriate           discovering more about sexual orientation,
developmental emotional and cognitive                  gender identity, and expression. For some
                                                       youth, a focus on identity development and


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     exploration that allows them the freedom of self-        reduce or remove stressors a child or
     discovery within a context of acceptance and             adolescent is experiencing that are associated
     support is vital to improving behavioral health          with poor behavioral health. Alternatively,
     and well-being.306 It is important to note,              interventions may aim to change the cognitive,
     however, that identity exploration is not relevant       affective, and behavioral ways that youth of
     or needed by all youth or a required focus of            diverse sexual orientation and/or gender identity
     therapy for youth of diverse sexual orientation          react to these stressors.213
     and/or gender identity. Additionally, it is
                                                              Several cognitive behavioral therapy (CBT)
     important for behavioral health providers to
                                                              interventions for youth of diverse sexual
     respect what the identity exploration process
                                                              orientation and/or gender identity have been
     looks like to each individual. Taking steps in
                                                              developed, including EQuIP,309 AFFIRM,310 and
     social transition is one way for gender-diverse
                                                              Rainbow SPARX.311 LGBTQ-affirmative CBT
     youth to explore their gender (see
                                                              appears to be particularly efficacious for Black,
                  section below).
                                                              Latino, and Asian American and Pacific Islander
     Practices that attempt to change or prevent              young people of diverse sexual orientation
     youth from identifying as sexual- and gender-            and/or gender identity, potentially because the
     diverse or from expressing their sexual                  focus on stressors may also help young people
     orientation and gender identity are harmful and          of color navigate stressors related to being a
     are never appropriate.10,306 This includes               racial/ethnic minority.213,312 There is also
     approaches that discourage youth from                    evidence supporting the use of mindfulness-
     identifying as transgender or gender-diverse             based coping for sexual orientation-related
     and/or from expressing their gender identity.            school-based victimization.313 Evidence-based
     Sometimes these are misleadingly referred to as          trauma-focused interventions designed for youth
                             Additionally, providers          of diverse sexual orientation and/or gender
     support youth in age-appropriate tasks, such as          identity and their families can reduce symptoms
     integrating sexual orientation and gender                of past trauma and enhance coping and well-
     identities with other identities, safely navigating      being.314
     coming out or sharing their identities with others,
                                                              Behavioral health providers should be aware of
     and fostering positive relationships with
                                                              and share crisis services specific to LGBTQI+
     caregivers, families, and peers.79,306
                                                              youth, local resources for LGBTQI+ youth, and
     Exposure to laws and policies that do not                online platforms where LGBTQI+ youth can find
     support youth of diverse sexual orientation              affirming social connections and support. Given
     and/or gender identity, and other negative               the increased rates of suicidality seen among
     experiences, including bullying and family               youth of diverse sexual orientation and/or
     rejection, drive risk for certain behavioral health      gender identity, LGBTQI+ crisis services, such
     concerns among these youth.55,307,308 Behavioral         as those provided by The Trevor Project are
     health providers should assess for ACEs, other           vital. The Trevor Project offers direct suicide and
     family rejecting behaviors, additional                   crisis intervention services for LGBTQI+ youth
     experiences of victimization, trauma-related             by phone, text, or online chat.213,315
     disorders, and suicidality, and be prepared to
                                                              Behavioral health providers should be aware of
     address these concerns with LGBTQI+ youth in
                                                              available community resources that support
     treatment. Appropriate interventions may aim to
                                                              LGBTQI+ youth and their families, such as local


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LGBTQI+ community centers, GSAs in schools,
and support groups for youth and/or their
caregivers, as well as online platforms. In
addition to crisis services, The Trevor Project
provides a safe social-networking community for
LGBTQI+ youth and their friends and allies. This
online platform became even more critical during
the pandemic because it allowed youth to find
affirming connections even when physically
isolated. PFLAG, which is the largest
organization in the United States focused on
providing support, education, and advocacy for
LGBTQI+ people and their loved ones and has
more than 325,000 members with hundreds of
local chapters. PFLAG can serve as another
resource of support for LGBTQI+ youth and their
families.316
                                                      significant harm and does not have any known
Behavioral health providers should describe
                                                      benefit to the client.318
their treatment plan and interventions to
children, adolescents, and their parents and          Family Approaches
families to ensure they understand the goals,
                                                      Wherever it is safe to do so for the child,
potential benefits, and any risks of treatment.
                                                      parental and caregiver involvement is an
Behavioral health providers should obtain
                                                      important part of supporting LGBTQI+ youth.
informed consent with all parties including
                                                      Parental and caregiver attitudes and behaviors
minors for treatment, and should always
                                                      play a significant role in the adjustment of
involve parents and caregivers in decisions
                                                      children and adolescents. Parent and caregiver
about a           care if the minor is not old
                                                      distress may be the cause of a referral for
enough to legally give consent.317 When
                                                      treatment.24,102,257 Reducing family rejection,
obtaining informed consent/assent, it is
                                                      hostility, and violence (verbal or physical), and
important to be aware of and attend to power
                                                      increasing family acceptance and support,
dynamics between parents/caregivers and
                                                      contributes to the mental health and safety of
youth, as well as between the provider and
                                                      the child and adolescent.53,102,257,319
youth. Interventions that attempt to change
sexual orientation, gender identity, or gender        Interventions that increase family and
expression, or any other form of SOGI change          community support and understanding while
efforts are inappropriate and can cause               decreasing rejection directed at LGBTQI+ youth
significant harm. Informed consent/assent for         are recommended for families. Behavioral health
clinical care would include ensuring                  providers supply family members with accurate,
understanding of various components, including        developmentally appropriate information
associated risks, expected benefits, and              regarding diversity in sexual orientation and
alternative treatment options; therefore, by          gender, and strive to dispel myths regarding the
definition, informed consent/assent cannot be         lives, health, and psychological well-being of
provided for an intervention known to cause           individuals of diverse sexual orientation and/or


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     gender identity.303,306 Family therapy that             have been used with suicidal sexual minority
     provides anticipatory guidance to parents and           adolescents.322 Trauma-focused CBT is an
     caregivers about the significant mental health          evidence-based treatment for trauma-impacted
     risks caused by rejection of their          sexual      youth aged 3 to 17 and their parents or primary
                                               102,257
     orientation and gender identity is vital.               caregivers. This intervention has been adapted
     Understanding and addressing parent and                 for use specifically with youth of diverse sexual
     caregiver concerns regarding current or future          orientation and/or gender identity by integrating
     sexual orientation and gender identity is               the treatment framework with the Family
     important. Further, behavioral health providers         Acceptance Project.314
     can attempt to help families and caregivers
                                                             Family therapists and researchers often focus
     modify rejecting behaviors by explaining the link
                                                             on reframing family concerns even their
     between family rejection and negative health
                                                             disapproval and rejection of sexual orientation
     problems, identifying rejecting and accepting
                                                             and gender diversity as a manifestation of care
     behaviors, and providing recommendations for
                                                             and love and focus on teaching non-rejecting
     increasing supportive behaviors on the part of
                                                             ways to communicate those positive emotions.
     the family.
                                                             For example, providers can help the family
     Some affirming approaches to family therapy             create an atmosphere of mutual respect as a
     that include youth of diverse sexual orientation        natural extension of seeing each person as
     and/or gender identity aim to demonstrate how           having intrinsic worth.323 This can help ensure
     family           identities such as their race          the safety of each person from being hurt or
     and ethnicity, immigration, socioeconomic               bullied in the home. This communicates an
     status, and more affect their ability to                important message to a young person that their
     understand and support their youth.320,321              safety is important to the provider and to the
     Attachment-based approaches to family therapy           family. Eventually, this mutual respect and




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support can be extended to other settings, such         Additional Approaches With Gender-
as neighborhoods, community institutions, and           Diverse Youth
schools. Safety in this context is not only
                                                        Social Transition
physical safety, but also emotional safety.323
                                                        Social gender transition refers to living daily life
Behavioral health providers may wish to                 in line with        gender identity, and the
increase their own competence in working with           processes by which a child or adolescent is
communities with diverse values and beliefs,            acknowledged by others as this gender.39,40
and focus on viewing these values and beliefs           Social transition can include a range of gender-
with humility and mutual respect.324 This               related changes that individuals may make, and
includes understanding how to translate                 often includes adopting a name, pronouns, and
between psychology and deeply held values               clothing consistent with          gender
rather than judging those beliefs. Certain              identity.35,39,40 There is no one way or right way
language, such as acceptance and/or                     to socially transition. Transgender and gender-
affirmation, might not resonate with some               diverse youth may seek out social transition at
communities, whereas the concept of                     different ages and stages of development. 34
unconditional love might.323                            Social gender transition does not require
Many parents and caregivers must also navigate          assessment or intervention from health
their own process of coming          and resolve        professionals. However, providers can help
fears of discrimination or negative social              families protect              safety, ensure
reactions if they disclose their child s sexual-        emotional, psychological, and social well-being,
and gender-diverse identity within their                and help children and families navigate possible
communities, at work, and to other family               complexities of exploring and taking steps in
members.325 Parents and caregivers often have           social transition.80
fears for their child s emotional and physical          Taking steps in social transition allows youth the
safety, among other worries for their future.37,326     ability to explore and make meaning of how they
Behavioral health providers can help parents            experience their gender, which is an important
plan in an affirmative way for the unique life
challenges that they may face as parents of an
                                                            Gender affirmation, including social
LGBTQI+ child.
                                                            transition (e.g., changing one s name,
Further, behavioral health providers can address            pronoun, and/or appearance) and gender-
other stresses, such as managing life                       affirming medical care, is appropriate and
                                                            beneficial for many gender minority
celebrations and transitions and coping with
                                                            children and adolescents. Based on the
feelings of loss, and aid parents in advocating
                                                            individual child s or adolescent s needs,
for their children in school situations for
                                                            gender-affirming medical care may be
example, when they face bullying or
                                                            medically necessary. Withholding timely
harassment. Groups for multiple families led by             gender-affirming care when indicated,
behavioral health providers, as well as online              withholding support for a gender-affirming
groups or forums for parents and caregivers of              exploratory process, and/or withholding
LGBTQI+ children and adolescents, may be                    support of social transition when desired,
helpful to build connections and share                      can be harmful. These actions may
resources.327                                               exacerbate and prolong gender dysphoria.




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     part of developing a positive identity and sense           reactions from others, including bullying and
     of self. For some youth, desires for their name,           safety. When weighing factors related to social
     pronouns, and appearance continue to change                gender transition, concerns related to social
     and evolve over time; for others, these remain             transition should be weighed against the risks of
     stable over time.35,39,40 For gender-diverse               not affirming a         experienced gender,
     children who want to socially transition, social           including increased distress or feelings of
     transition appears to serve a protective function          dysphoria, social isolation, depression, or
     and contribute to positive mental health and               suicide due to lack of social support.29 Whether
     well-being.51,67,78,228                                    or not a child socially transitions or desires to,
                                                                behavioral health providers can help explain to
     Given this, experts increasingly agree that
                                                                parents and caregivers how gender
     children should not be denied the opportunity to
                                                                development is dynamic for some but not all
     explore and/or express their gender through
                                                                children and highlight the importance of being
     social transition steps when desired by the
                                                                open to and accepting of the possibility that their
     child.75,184,185,328 The possibility that a
                                                                youth may remain stable in their feelings or may
     gender identity can be dynamic and may change
                                                                desire to make changes again in the future.304
     over time should not be used as a justification to
     restrict a child from taking social transition steps.      Medical Gender Transition
     Children should be affirmed in how they
                                                                Gender-affirming medical care is often medically
     currently identify and express their gender and
                                                                necessary for individuals with a diagnosis of
     be supported throughout their development and
                                                                gender dysphoria, and can refer to a range of
     exploratory process, including the potential for
                                                                evidence-based interventions provided in
     future changes in how they identify and express
                                                                consultation with licensed medical providers.
     their gender.179,184,185 Behavioral health
                                                                Such care is defined here as a care plan or
     specialists in pediatric gender care can offer
                                                                service that is necessary to assess, maintain, or
     psychosocial support, insights, and guidance
                                                                improve health and well-being and to avoid
     regarding the appropriateness of gender-related
                                                                illness or reduce symptoms based on existing
     needs of gender-diverse children at different
                                                                professional guidelines and scientific evidence.
     developmental stages.25
                                                                The appropriateness of medical interventions
     Withholding support for a gender-affirming                 varies by the             age, developmental
     exploratory process and/or for social transition           stage, and experience of dysphoria, and
     when desired, can be harmful because those                 decisions about providing gender-affirming care
     actions may exacerbate and prolong gender                  are reached with the involvement of an
     dysphoria.78,298,328 At the same time, parents and                       parent or legal guardian.331 No
     caregivers may have valid concerns about                   medical interventions are currently undertaken


         Gender-Affirming Care: A specialized model of care used in the treatment of gender dysphoria that
         uses evidence-informed treatment options to promote patient health and prevent the risk of poor
         mental and physical health outcomes.329, 330 Not all youth need to undergo medical intervention;
         indeed, this is often not the case. Gender-affirming care is highly individualized and focuses on the
         needs of each individual by including psychoeducation about gender and sexuality (appropriate to
         the age and developmental level).




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or recommended for gender-diverse children                psychiatric or family problems exist. Given that
before the initial onset of puberty.74,75 Gender-         pubertal suppression or administration of
affirming medical care, including both pubertal           hormone therapy occurs over many years during
suppression and hormone therapy, has proven               important developmental periods, the need for
effective in improving the well-being of young            behavioral health care, and type of behavioral
transgender and gender-diverse adolescents                health intervention needed, may change with
both during and well after initiation of                  time as new questions arise.334 Transgender and
treatment.81,82,155,295,296,297,298,299,301,302,332       gender-diverse youth, like all youth, should have
                                                          the option to access psychological treatment if
Recent research indicates that gender-affirming
                                                          they choose. However, if there are no concerns,
care has a positive impact on mental health.
                                                          this may not be necessary.
Current professional guidelines provide
information on the appropriate application of             For additional information and guidance related
gender-affirming care interventions.25 It is widely       to youth and medical gender transition, see
held that withholding gender-affirming care for            Ensuring Comprehensive Care and Support for
an adolescent who needs this care is                      Transgender and Gender-Diverse Children and
detrimental to their mental health.77,185                 Adolescents from the American Academy of
Withholding timely gender-affirming care when             Pediatrics76 and the most recent guidelines from
indicated may cause harm by exacerbating and              the World Professional Association on
prolonging gender dysphoria.83,84                         Transgender Health (WPATH;
                                                          www.wpath.org).25
Behavioral health providers play an important
role in educating adolescents and their parents,          Future Directions for Research
caregivers, and supporting families on this
                                                          As recommended by the U.S. Surgeon General
information as well as in assessing their
                                                          in the 2021 report rotecting Youth Mental
understanding so that they can give full informed
                                                          Health, future research must prioritize data and
consent and assent.186,333 This education
                                                          research with youth populations who are at-risk
includes information on:
                                                          for adverse mental health outcomes.335 This
        Various options for medical gender                includes LGBTQI+ youth broadly, as well as
        transition                                        LGBTQI+ youth who are also racial/ethnic
        Up-to-date information about the effects          minorities, have experienced poverty during
        of treatment                                      childhood, have disabilities/different abilities,
                                                          and are involved in child welfare or juvenile
        Benefits on well-being
                                                          justice systems. Areas of opportunity for future
        Potential side effects
                                                          research, as well as the validity and quality of
The support of a behavioral health provider               existing research, are discussed in several
during these processes can aid adolescents in             sections of this report. Methodologically rigorous
identifying care needs, adjusting to their                peer-reviewed research is vital to improving our
changing physical characteristics, and                    understanding of the complexities of sexual
navigating responses from people in different             orientation and gender among children and
aspects of their lives. Continued mental health           adolescents. Several potential areas for future
care should be offered when an                            research are identified below.
gender care needs require continued affirming
exploration and/or when other psychological,


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     Documenting Sexual Orientation and                     youth s sexual orientation, gender identity, and
     Gender Diversity in Youth                              gender expression need access to alternative
     To better understand the experiences and needs         interventions to mitigate this distress that are
     of LGBTQI+ youth, research focused on youth in         appropriate and beneficial for youth and families.
     the general population should regularly assess         More targeted research that acknowledges the
     sexual orientation, gender identity, and gender        intersections of identity, including race, ethnicity,
     expression as demographic indicators. Given            culture, faith, and socioeconomic status could
     the expansive range of descriptive identity terms      shed light on positive, appropriate, whole-family
     that people today use to describe their sexual         therapeutic approaches to addressing these
     orientation and gender (e.g., pansexual,               issues.
     asexual, nonbinary, gender queer), asking about
                                                            Researchers should evaluate these practices
     sexual orientation and gender in ways that
                                                            and integrate them into behavioral health care.
     include these identities and provide an option for
                                                            Researchers should also work collaboratively
     open-ended responses will ensure that
                                                            with young people and families from faith
     LGBTQI+ youth are appropriately included and
                                                            communities to better understand the interplay
     represented in research.
                                                            between values and traditions and the safety
     Development of Sexual Orientation and                  and well-being of LGBTQI+ youth. The work of
     Gender Identity                                        the Family Acceptance Project, cited in this
                                                            report, speaks to the necessity of an increased
     There remains much to learn about the                  focus on approaches specific to various
     development of sexual orientation and gender           communities, including those that are culturally
     identity in youth. Basic research on the               and religiously diverse. These include
     developmental pathways of these identities is          conversations about sexual orientation, gender
     necessary. How these identities are embedded           identity, and gender expression and how to
     in cognitive and emotional development and             support LGBTQI+ youth in culturally congruent
     other developmental processes would aid in the         ways.
     understanding of human development as well as
     developing and refining appropriate                    Addressing Health Inequities Within
     interventions to support behavioral health. Such       LGBTQI+ Youth Populations
     research must be inclusive of nonbinary                LGBTQI+ youth experiencing homelessness, in
     identities. To better understand the various           juvenile justice facilities, or otherwise in out-of-
     developmental trajectories of gender-diverse           home care may lack permanent and stable
     youth, prospective, longitudinal studies that          family connections in part because of family
     follow gender-related development of youth over        distress or rejection relating to their LGBTQI+
     time are needed.                                       identity. These vulnerable populations, as well
     Culturally Specific Mitigation of Distress             as low-income and racial and ethnic minority
     Relating to Sexual Orientation, Gender                 LGBTQI+ youth, are often neglected in research
     Identity, and Gender Expression                        studies that most often recruit youth who are
                                                            already connected to clinics or providers. Future
     SOGI change efforts are harmful practices that
                                                            researchers interested in research with sexual-
     are never appropriate with LGBTQI+ youth, and
                                                            and gender-diverse youth should address this
     efforts are needed to end these practices.
                                                            need for more representative sampling and
     Families experiencing conflict related to their
                                                            better recruitment efforts.


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Building Resilience and Promoting                               Prospective research focusing on
Health and Well-Being                                           younger children, in partnership with
Beyond ending harmful practices with LGBTQI+                    pediatric clinics, schools, and other
youth and addressing health inequities, more                    community-based institutions
research is needed that focuses on the ways                     Methods of supporting positive
LGBTQI+ youth are thriving. Greater                             behavioral health for LGBTQI+ youth,
understanding is needed of the factors that                     including building resiliency against
contribute to resilience and positive behavioral                suicidality, self-harm, risky behaviors,
and physical health outcomes among LGBTQI+                      depression, anxiety, substance use, and
youth, as is an increased focus on the
                                                                other behavioral health issues
development, evaluation, and dissemination of
health-promoting interventions. Research using           Integration, Collaboration, and
participatory methodologies to collaborate with          Dissemination
LGBTQI+ youth to identify their needs, priorities,
                                                         Researchers and clinicians should examine and
and ideas for intervention strategies is vital to
                                                         evaluate the best methods for integrating and
increase the relevance, quality, and impact of
                                                         disseminating best and promising practices for
research and interventions with this population.
                                                         addressing sexual orientation and gender
Long-Term Outcomes                                       identity and expression among youth, and how
                                                         to successfully collaborate with parents,
More research would be beneficial to further             guardians, caregivers, providers, and community
explore the developmental trajectories of sexual         leaders. This could include conducting research
orientation, gender identity, and gender                 with these populations focused on knowledge,
expression. Additionally, future research could          attitudes, and beliefs relating to efforts to change
focus on better understanding the long-term              sexual orientation, gender identity, or gender
medical and behavioral health outcomes                   expression.
associated with early experiences of family and
community distress due to sexual orientation             Finally, the behavioral health community can
and gender identity and expression. Other                work to support community-based organizations
recommended areas of opportunity for                     to develop common ground and consensus on
longitudinal research include:                           these topics to promote health and well-being
                                                         within youth populations. This might include:
       Long-term outcomes from early social
       transition and pubertal suppression                      Support for LGBTQI+ youth
       Rigorous evaluation of current practices                 programming and services across the
       and protocols, including affirmative                     country
       models, structural interventions, and                    Outreach to parents, caregivers, and
       culturally specific models                               families with accurate information about
       Harms associated with laws and policies                  supporting LGBTQI+ youth s behavioral
       that bar youth from participating at                     health
       school or in extracurricular activities in a             Inclusion of LGBTQI+-specific questions
       way that is consistent with their gender                 in national behavioral and mental health
       identity                                                 surveys




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Section 3: Policy Approaches to Support the Behavioral Health
and Well-Being of LGBTQI+ Youth
                                                         To further strengthen protections for LGBTQI+
Introduction and Foundational                            youth, their parents, and caregivers, on March 2,
Principles1                                              2022, HHS Secretary Xavier Becerra issued a
Moving from evidence to action necessitates              statement reaffirming HHS efforts to support and
scientifically grounded public policies. This            protect LGBTQI+ youth and assist their parents,
section focuses on selected policy levers that           caretakers, and families in accessing gender
aim to improve the behavioral health of                  affirming care.341
LGBTQI+ youth.

U.S. Department of Health and Human Services                SOGI change efforts are inappropriate
(HHS) policy priorities for improving the mental            practices that should not be provided to
                                                            children or adolescents.
health of and reducing substance use by
LGBTQI+ youth are based on efforts to ensure
LGBTQI+ civil rights and to increase access to,
affordability of, and equity in health care. Such        A Memorandum issued by the                Bureau
policies include implementation of the June 15,          at the Administration for Children and Families
2022, Executive Order on Advancing Equality for          for child welfare professionals and healthcare
Lesbian, Gay, Bisexual, Transgender, Queer,              providers aims to protect LGBTQI+ youth.342
and Intersex Individuals,14 the January 20, 2021,        HHS has also issued guidance stating that
Executive Order on Preventing and Combating              denying health care based on gender identity or
Discrimination on the Basis of Gender Identity or        restricting doctors and healthcare providers from
Sexual Orientation,15 and the January 20, 2021,          providing care because of a           gender
Executive Order on Advancing Racial Equity and           identity may constitute prohibited
Support for Underserved Communities Through              discrimination.343
the Federal Government.336                               The following key policy areas have been
HHS policies include protection against                  identified by the federal government,
discrimination based on sexual orientation and           researchers, and advocates:
gender identity as found in the Affordable Care                 End harmful and ineffective efforts such
Act (ACA).337 HHS also has other policies and
                                                                as sexual orientation and gender identity
programs specific to nondiscrimination on the
                                                                (SOGI) change efforts.
basis of sexual orientation and gender
                                                                Ensure access to evidence-based care.
identity.338,339 For example, HHS issued a Notice
                                                                Promote behavioral health by
of Proposed Rulemaking related to Section 1557
of the ACA, to further prevent discrimination on                strengthening nondiscrimination policies.
the basis of sexual orientation and gender
identity.340



1
 All statements in text boxes are Consensus
Statements provided in Section 1 of this document.


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            Improve behavioral health through                court claims alleging consumer fraud, among
            support from families, schools, and              others.
            communities.
                                                             Several bills and resolutions have been
            Advance research that improves care.
                                                             introduced in Congress in the past decade to
                                                             discourage SOGI change efforts or to require
     Ending Sexual Orientation and                           nondiscrimination in the provision of behavioral
     Gender Identity Change Efforts                          health services to sexual- and gender-diverse
     SOGI change efforts are ineffective and harmful         youth. This legislation would ban federal
     to children and adolescents (see Sections 1 and         funding, encourage state bans, or define SOGI
     2). The continued practice of these efforts puts        change efforts as consumer fraud.
     LGBTQI+ youth at risk of significant harm and           On June 15, 2022, the Biden Administration
     prevents them and their families from receiving         issued the Executive Order on Advancing
     appropriate evidenced-based behavioral health           Equality for Lesbian, Gay, Bisexual,
     care that is consistent with existing professional      Transgender, Queer, and Intersex Individuals.14
     guidelines.                                             It includes a charge to HHS to take steps to end
     Based on scientific evidence and broad                  SOGI change efforts in the United States, by
     professional and scientific consensus, many             exploring guidance for federally funded
     federal, state, and local governments have taken        programs, supporting provider training and
     steps to regulate and eliminate the practice of         technical assistance, and providing public
     SOGI change efforts directed at children and            information about harms and alternatives.
     adolescents. These efforts include legislative          At the state level, as of January 2023, 20 states
     bans, executive orders, and pathways to civil           and the District of Columbia have passed laws
                                                             to protect minors from the practice of SOGI
                                                             change efforts. An additional six states and one
                                                             territory have partial bans.344 These laws bar
                                                             behavioral health providers from practicing
                                                             SOGI change efforts with minors. Some states
                                                             provide protections for vulnerable adults, impose
                                                             restrictions on the use of state and federal
                                                             funds, and offer consumer protection provisions.
                                                             At the local level, about 90 municipal and county
                                                             governments prohibit SOGI change efforts.345

                                                             Advocates have suggested federal, state, and
                                                             local policy efforts to end SOGI change efforts
                                                             that include the following:

                                                                    Legislative restrictions on the use of
                                                                    federal or state funding for SOGI change
                                                                    efforts by state health programs
                                                                    (including Medicaid funds), by recipients




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       of such funding, or through health
                                                            Available research indicates SOGI change
       insurance reimbursements (see for
                                                            efforts can cause significant harm.
                                                            Available research indicates that these
       Medicaid Funding for Conversion                      efforts are not effective in altering sexual
                                   th
                                                            orientation; no available research indicates
       Congress).346                                        that they are effective in altering gender
       Policies that prohibit SOGI change                   identity. No available research supports
                                                            the claim that SOGI change efforts are
       efforts with minors receiving care in
                                                            beneficial to children, adolescents, or
       programs that receive federal funds to
                                                            families.
       serve youth, such as community mental
       health centers, and juvenile justice, child
       welfare, and foster care programs.               being gay, lesbian, or bisexual is not a disease
       Clarification that existing                      and cannot be            The Court awarded the
       nondiscrimination policies prohibit the          plaintiffs financial compensation and prohibited
       practice of SOGI change efforts with             the organization from providing sexual
       minors. These legal claims of                    orientation change efforts.347
       discrimination have been based on the
                                                        Efforts to protect consumers through consumer
       theory that providing this ineffective and
                                                        protection laws have been taken at the federal
       harmful therapy is due solely to an
                                                        and state levels. At the federal level, the Biden
       individual s sexual orientation or gender        Administration is encouraging the Federal Trade
       identity.                                        Commission (FTC) to consider whether SOGI
In addition to federal and state legislative and        change efforts are an unfair and deceptive
regulatory action, consumer protection laws             practice and whether to issue consumer
have been suggested as a mechanism for                  warnings or notices. Additionally, in the 117th
ending the use of SOGI change efforts. This             Congress, bills were introduced that define
strategy extends beyond prohibiting change              SOGI change efforts as unfair or deceptive acts
efforts by behavioral health professionals to           or practices under the jurisdiction of the FTC Act
affect any commercial act (for a fee), including        (Therapeutic Fraud Prevention Act of 2021;
those by unlicensed practitioners and groups.           HR.4146 and S.2242). Some advocates believe
                                                        that the FTC can act even without new
These efforts derive from a civil action in which a     legislation. In 2016, a complaint was filed with
New Jersey court ruled in 2015 that an                  the FTC alleging fraudulent misrepresentation
organization s sexual orientation change efforts        by a group that advertises change efforts.348,349
program violated the state s consumer fraud law
through multiple misrepresentations.347 The             At the state level, Illinois passed a ban on SOGI
Court ruled as a matter of law that scientific          change efforts with minors (Illinois Public Act
evidence demonstrated that being gay, lesbian,          099-0411).350 The law specifies that
or bisexual was not a mental disease or disorder        advertisements for sexual orientation change
and could not be changed. Thus, the Court               efforts that represent being gay, lesbian, or
found that a fraudulent misrepresentation was           bisexual as a disease or disorder for minors and
made every time an individual accepts payment           adults is a violation of the state s consumer fraud
for sexual orientation change efforts because           and deceptive business act. As of January 1,



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     2023, jurisdictions banning SOGI change efforts        health benefits associated with receipt of
     with minors included California, Colorado,             gender-affirming care, such as reduced
     Connecticut, Delaware, District of Columbia,           depression and decreased risk for suicide.
     Hawaii, Illinois, Maine, Maryland, Massachusetts,      Withholding timely gender-affirming care when
     Nevada, New Hampshire, New Jersey, New                 indicated, withholding support for a gender-
     Mexico, New York, Oregon, Rhode Island, Utah,          affirming exploratory process, and/or withholding
     Vermont, Virginia, and Washington. Additionally,       support for social transition when desired can be
     jurisdictions with partial bans on SOGI change         harmful.25,351,352,353 However, some states have
     efforts included Michigan, Minnesota, North            introduced or passed laws that ban access to
     Carolina, North Dakota, Pennsylvania, Puerto           this medically necessary care.107,354
     Rico, and Wisconsin.344
                                                            Policies that seek to categorically ban gender-
     Ensuring Access to Evidence-based                      affirming medical care or penalize providers,
     Care                                                   parents, and caregivers who provide or seek
                                                            gender-affirming medical care pose serious
     Beyond ending harmful practices such as SOGI
                                                            risks.352,353 Prohibitions on or penalties for
     change efforts, it is vital that LGBTQI+ youth
                                                            providing or seeking out medically necessary
     have access to evidence-based care. Removing
                                                            and therapeutically indicated best practices
     limits to appropriate care is multifaceted and
                                                            place behavioral health and medical providers
     may vary based on multiple factors, including
                                                            and parents and caregivers in situations that
     other health inequities such as those based on
                                                            conflict with evidence-based professional
     income and race/ethnicity, among others. Policy
                                                            guidelines, ethics, and standards.353 Lack of
     levers to improve access include:
                                                            access to such care poses serious behavioral
            Preventing bans on gender-affirming             health risks to youth of diverse sexual
            care

            Improving access to gender-affirming                Groups that have stated opposition to
            care in health plan benefits across all             policies that limit access to or ban
            payors
                                                                appropriate gender-affirming care include
            Ensuring LGBTQI+ youth can access                   American Academy of Child and
            appropriate care and support in child               Adolescent Psychiatry, American Academy
            welfare programs                                    of Family Physicians, American Academy
                                                                of Pediatrics, American College of
            Increasing professional training and                Obstetricians and Gynecologists,
            education to improve access to and                  American College of Physicians, American
            quality of behavioral health care                   Medical Association, American
            especially for gender-diverse and                   Osteopathic Association, American
            transgender youth                                   Psychiatric Association, American
                                                                Psychological Association, Endocrine
     Preventing Bans on Gender-Affirming
                                                                Society and Pediatric Endocrine Society,
     Care
                                                                U.S. Professional Association for
     Gender-affirming care is supported by extensive            Transgender Health, and World
     research, and based on the individual child s or           Professional Association for Transgender
     adolescent s needs, may be medically                       Health.106
     necessary. Evidence has demonstrated mental



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orientation and/or gender identity and their            on SOGI change efforts are consistent with
families, parents, and caregivers, such as an           existing professional guidelines and resolutions
increased risk of suicidal ideation, depression,        and prohibit potentially harmful efforts while
and trauma.107,342,352,353,355                          permitting behavioral health providers to deliver
                                                        evidence-based care to LGBTQI+ youth.
As noted above, the Biden Administration has
                                                        Numerous professional associations and experts
taken multiple steps to improve behavioral
                                                        have spoken out against laws or other
health care by ensuring access to medically
                                                        government actions that limit access to,
necessary and evidence-based care for
                                                        penalize, or ban appropriate gender-affirming
LGBTQI+ youth. This includes policies to
                                                        care (see text box).
address state restrictions in such care. For
example, the June 15, 2022, Executive Order on          Improving Access to Behavioral Health
Advancing Equality for Lesbian, Gay, Bisexual,          and Gender-Affirming Care
Transgender, Queer, and Intersex Individuals
                                                        LGBTQI+ youth and adults face serious barriers
includes a charge to HHS to ensure that
                                                        to accessing behavioral health care as well as
LGBTQI+ youth and their families have access
                                                        gender-affirming care. Access to care is
to medically necessary care including mental
                                                        especially limited for gender-diverse youth and
health care, consistent with applicable law.14
                                                        their families who seek gender-affirming care.359
HHS has taken steps to maintain access to               The Federal Government and many states have
evidence-based care, especially for transgender         taken steps to reduce barriers to gender-
youth. HHS has provided child welfare                   affirming care, improve behavioral health equity,
professionals, healthcare providers, and states         and reduce healthcare discrimination. Several
and localities with information on the federal          federal and state laws have been interpreted to
protections that exist to ensure that civil rights      or expressly prohibit insurance discrimination
are protected and LGBTQI+ youth receive                 based on SOGI.
medically necessary and evidence-based
                                                        The Executive Order on Advancing Equality for
care.342,343
                                                        Lesbian, Gay, Bisexual, Transgender, Queer,
As an example of efforts to maintain access to          and Intersex Individuals makes family
evidence-based care, the U.S. Department of             counseling and support of LGBTQI+ youth a
Justice (DOJ) intervened in a federal lawsuit           public health priority.14 This Executive Order
challenging a recently enacted Alabama law,             charges HHS to seek ways to increase the
Senate Bill (S.B.) 184, that makes it a felony to       availability of such family counseling and
cause or provide gender-affirming care to               support programs in federally funded, human
transgender youth under the age of 19.356,357 In        services, and child welfare programs among
May 2022, the court issued a preliminary                other actions.
injunction preventing the law from being
                                                        Aligned with the Executive Order on Preventing
enforced Additionally, the DOJ filed a statement
                                                        and Combating Discrimination on the Basis of
of interest and amicus brief in a case
                                                        Gender Identity or Sexual Orientation,15 HHS
challenging an Arkansas law banning gender-
                                                        issued a Notice of Proposed Rulemaking in July
affirming care.358
                                                        2022 related to Section 1557 of the ACA, which
State bans on gender-affirming care are unlike          prohibits discrimination on the basis of race,
laws banning SOGI change efforts. Legal bans            color, national origin, sex, disability, or age in



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                                                              employees and dependents and, while almost
                                                              half have such protections, many do not.364

                                                              Research on health coverage in private
                                                              insurance and federal and state health financed
                                                              programs indicates that youth and adults might
                                                              not have access to comprehensive gender-
                                                              affirming care or in-network providers with
                                                              LGBTQI+ expertise.246,359,361,362,363,365,366,367,368,369
                                                              Consequently, experts have suggested that
                                                              legislative and regulatory steps be taken to
                                                              ensure that all such plans reimburse medically
                                                              necessary treatment for LGBTQI+ individuals of
                                                              all ages, including gender-affirming care.364,369

                                                              One way to improve treatment options is through
                                                              state initiatives, such as explicitly including
                                                              gender-affirming care as a covered service in
                                                              the          benchmark plan in individual and
                                                              small group market plans. In 2021, the Centers
                                                              for Medicare & Medicaid Services (CMS)
                                                              approved Colorado s expansion of the Essential
                                                              Health Benefit (EHB) benchmark plan that aims
                                                              to improve access for client-centered gender-
                                                              affirming care.367 This change to the EHB
     certain health programs and activities. The              benchmark plan aims to expand access to a
     Proposed Rulemaking would codify protections             wider range of services for transgender
     against discrimination on the basis of sex as            individuals in addition to benefits already
     including discrimination on the basis of sexual          covered. The state is also expanding covered
     orientation and gender identity, which is                services in the state benchmark plan to include
     consistent with the Supreme           decision in        mental wellness exams, which will help all
               340
     Bostock. This type of federal policy                     individuals not only those who are LGBTQI+.368
     addressing sex, sexual orientation, and gender
     identity nondiscrimination can help mitigate gaps        Training and Education to Improve Care
     in state protections.                                    A key priority is to expand the number of
     Almost half of all states prohibit the exclusion of      behavioral health providers who have the
     gender-affirming care by private health                  expertise to work with LGBTQI+ children, youth,
     insurance plans subject to state oversight.361           and their families. Research indicates that only a
     Other state laws include protections against             small percentage of gender-diverse youth
     discrimination in private health insurance by            seeking transition medical services receive them
     expressly prohibiting discrimination based on            as minors.365 One aspect of this problem is the
     sexual orientation and gender identity.361,362,363       lack of behavioral health providers with training
     Experts have also suggested that states and              and expertise in this area.
     localities provide such benefits to their own


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Federal Government initiatives have expanded            responsiveness is especially important to
education and training opportunities and the            address unique stressors and behavioral health
June 15, 2022, Executive Order on Advancing             inequities within the sexual- and gender-diverse
Equality for Lesbian, Gay, Bisexual,                    community, especially in communities of
Transgender, Queer, and Intersex Individuals            color.198,373
charges HHS with providing training and
                                                        Behavioral health providers with competence in
technical assistance in promising evidenced-
                                                        the related aspects of religion, spirituality, and
based care, including mental health care.14 The
                                                        sexual- and gender-diverse issues could assist
SAMHSA Center of Excellence on LGBTQ+
                                                        families and individuals in reducing identity and
Behavioral Health Equity provides training and
                                                        family conflicts that can
consultation for a variety of behavioral health
                                                        arise.373,374,375,376,377,378,379,380 Linkages among
providers.370 Scientific associations have
                                                        community institutions, professional and
developed resources and practice guidelines on
                                                        scientific groups, behavioral health providers,
treatment of LGBTQI+ children, adolescents,
                                                        and LGBTQI+ groups that are respectful and
and adults that are useful for professional
                                                        open can improve therapeutic services for
education and practice (see Appendix C).
                                                        LGBTQI+ youth and families. One possibility
Several training programs offer education to a          includes collaborations among behavioral health
wide variety of providers working with LGBTQI+          and community leaders and professionals in
youth and their families.370 These trainings can        gender-affirming care to increase understanding
continue to be expanded to improve professional         about clients from a variety of cultural
competence in providing services to this                traditions.381 Providing education in universities
population. For example, APA Division 17                and educational facilities attuned to diverse
(Counseling Psychology) Special Task Group              communities may be a start to initiating dialogue
Making Room at the Table: Trans/Nonbinary               and improving care. Some success has been
Pipeline to Counseling Psychology developed A           achieved with dialogues seeking common
Resource for Incorporating Trans and Gender-            ground between scientists and such groups
Diverse Issues in Counseling Psychology                 rooted in common goals such as child health
Curricula. 371                                          and optimal child development.381,382

National and state professional associations,           Improving Behavioral Health through
including HHS grantees, also maintain                   Antidiscrimination Policies
webpages with training information on LGBTQI+
                                                        Youth of diverse sexual orientation and/or
issues, including postgraduate and peer
                                                        gender identity are negatively affected by
education resources.371,372 Such programs could
                                                        policies that sanction or sustain discrimination
also expand specialty workforce training
                                                        based on sexual orientation and gender
opportunities in pediatric and LGBTQI+
                                                        identity,2 even increasing the risk of suicide,59,291
concerns across the professional lifecycle from
                                                        Although stigma and discrimination can lead to
graduate student to seasoned practitioner.
                                                        behavioral health concerns, poor behavioral
Given the diversity within children, adolescents,       health is not inherent to sexual and gender
and their families, trainings that recognize            minorities. Additionally, exposure to school-
differences in culture, ethnicity, geography, race,     based bullying and exclusion based on sexual-
and other factors are critical for effective            and gender-diverse prejudice has an adverse
behavioral health treatment. Increasing cultural        impact on the behavioral health of school-aged


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                                                               and antibullying policies and expanded benefits
         Policies that stigmatize, restrict, or exclude        for LGBTQI+ state employees.392 State efforts
         gender minority youth are harmful to                  have also included:
         children and adolescents.
                                                                      Bans on discrimination by state-licensed
                                                                      healthcare providers
     youth.48,383,384 Transgender and gender-diverse                  Bans on SOGI change efforts
     youth face additional discrimination and                         Nondiscrimination laws based on sexual
     disadvantage due to the longstanding stigma                      orientation and gender identity
     toward gender-diverse individuals.355 However,                   Supports for same-sex families
     appropriate protections from discrimination allow                Antibullying laws
     individuals of diverse sexual orientation and/or                 Inclusive curriculum in schools
     gender identity of all ages to thrive.193,212,354
                                                               Local governments have also taken steps to
     Important scientific research indicates that              reduce bias and discrimination based on sexual
     policies that reduce discrimination and advance           orientation and gender identity and expand
     equal rights have positive effects on behavioral          protective policies at the local level.364
     health. Research studies indicate that enacting
                                                               Improving Behavioral Health Through
     protective policies that safeguard individuals
                                                               Support for Families, Caregivers, Schools,
     from discrimination and violence lead to                  and Communities
     improved physical and mental health for sexual-
     and gender-diverse youth and adults.210,385,386,387       Research summarized earlier in this report
     Federal and state laws that equalize civil rights         indicates that families, schools, and
     and the status of LGBTQI+ individuals are linked          communities contribute to the behavioral health
     to the improved behavioral health noted above.            of LGBTQI+ youth. Efforts can facilitate positive
     Some states require health insurance plans to             behavioral health by providing a climate of
     cover gender-affirming care and include                   support and acceptance. Families, schools, and
     protections against discrimination in private             communities can undermine behavioral health
     health insurance by expressly prohibiting                 through rejection or discrimination, which have
     discrimination based on sexual orientation and            adverse health effects. Policies that increase the
     gender identity.361                                       dissemination of resources to families,
                                                               communities, and schools to encourage support
     Steps have been taken at the federal, state, and          and acceptance of LGBTQI+ youth is a high
     local levels to expand equalizing policies. At the        priority. For example, the June 15, 2022,
     federal level, the Biden Administration has               Executive Order on Advancing Equality for
     issued important Executive Orders, memoranda,             Lesbian, Gay, Bisexual, Transgender, Queer,
     and public statements to reduce discrimination            and Intersex Individuals includes initiatives that
     toward individuals with diverse sexual                    aim to increase such family counseling and
     orientations and/or gender identities and support         information.14
     LGBTQI+ civil rights.14,337,341,342,388,390 In the
     117th Congress, The Equality Act (H.R. 5) was             Interventions to Support Children and
     introduced and would have explicitly prohibited           Families
     discrimination toward LGBTQI+ individuals.391             Families play an important protective role in
     Some states have adopted antidiscrimination               child development and benefit from information



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about how to appropriately help their children.        can alert families, caregivers, child welfare
The Family Acceptance Project provides such            professionals, schools, and communities on the
resources through publications for diverse             risks of family rejection and SOGI change efforts
families, which are available in multiple              and the benefits of recognizing sexual
languages.393 Other resources include Lead with        orientation and gender development and access
Love, PATHS and AFFIRM Caregiver (see                  to affirming care.
Appendix C), and information offered by
                                                       Healthcare providers can offer age-specific
SAMHSA394 and the Centers for Disease Control
                                                       guidance to parents and guardians to help them
and Prevention.395 The American Psychological
                                                       understand growth- and development-related
Association provides a guide for parents in
                                                       expectations associated with healthy behaviors
choosing an appropriate therapist with gender
                                                       and disease prevention; this is known as
expertise.396
                                                       anticipatory guidance.399 Pediatricians and
Education for families, caregivers, child welfare      behavioral health providers have urged for more
professionals, and individuals can be tailored to      anticipatory guidance400 that pediatricians and
the specific needs of diverse                          early childhood and educational providers can
communities.396,397,398 One option is a public         provide to inform parents about sexual
health campaign to educate parents and                 orientation and gender identity, as well as their
caregivers on appropriate treatment options that       LGBTQI+ child s needs. This would aim to
are safe and effective for youth. Such a program       enhance family support and reduce rejection.401




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     The American Academy of Pediatrics urges                  2. Enable full participation and access to
     pediatricians to assess risk factors related to              school activities including athletics and
     child maltreatment in their general assessments              resources for all students and school
     of children and adolescents.402 Seeking gender-              personnel consistent with their gender
                                                                  identity, including use of school facilities
     affirming assessment, consultation, and care is
                                                                  (e.g., bathrooms, locker rooms) that align
     not maltreatment.351,352 The Information
                                                                  with their gender identity.
     Memorandum issued March 2, 2022, by HHS
     makes clear that state child welfare systems              3. Establish protective policies, such as
     should support LGBTQI+ youth and ensure their                antibullying and antidiscrimination
     safety.342                                                   policies, that explicitly include protections
                                                                  for sexual orientation, gender identity,
     Interventions to Support Youth in                            and gender expression.
     Schools
                                                               4. Provide high-quality, evidence-informed
     Education and behavioral health associations,                LGBTQI+ professional development for
     professionals, and researchers across the                    school staff.
     country have urged proactive steps to support
                                                               5. Develop school resources for LGBTQI+
     and protect LGBTQI+ youth and other students
                                                                  youth and connect to supportive resources
     through the inclusion of policies, resources, and            and information, such as GSAs, school
     training that provide information, safety, and               clubs that are inclusive of LGBTQI+
     support.355,360,403,404 These policies have been             people, and age-appropriate curriculum
     evaluated over the past decade in nationwide                 that is inclusive of LGBTQI+ people.
     samples and are found to reduce victimization
                                                                   Title IX prohibits sex-based
     and behavioral health problems and improve
                                                                   discrimination in any school or any other
     mental health.197,286,287,405,406
                                                                   education program that receives funding
     The Society for Research in Child                             from the Federal Government. HHS and
     Development,355 the American Psychological                    the Department of Education have
     Association,360 the American Counseling                       clarified legal requirements with their
                                                                   interpretation of Title IX prohibiting
     Association,405 the National Association of
                                                                   discrimination on the basis of sexual
     School Psychologists, and medical professionals
                                                                   orientation and gender identity. Strong
     recommend crucial educational policies to
                                                                   antidiscrimination policies can protect
     create a positive and healthy environment for all             LGBTQI+ youth and their families from
     youth, especially those who are LGBTQI+ or                    discrimination in federal programs.
     have emerging sexual orientation or gender
     identities. These include the following:               The Federal government has created a website
                                                            with information on bullying prevention, including
        1. Establish and implement supportive               information on bullying of LGBTQI+ youth, ways
           policies that provide guidelines for
                                                            to create safe school environments, and
           respectful interactions (in-person and
                                                            applicable federal civil rights laws:
           online), promote acceptance of all sexual
                                                            stopbullying.gov. Such nondiscrimination efforts
           orientations and gender identities and
           expressions, promote the use of                  to ensure the safety and well-being of LGBTQI+
           identified pronouns, and respect                 youth and their families in schools and other
           confidentiality and privacy.                     federal programs are consistent with existing




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behavioral health research and professional               and addressing health inequities. This is
association recommendations.354,355,406                   especially true when addressing the diversity
                                                          within children, adolescents, and their families
Some states and localities have established
                                                          based on cultural background, ethnicity, race,
such education policies, but they are far from
                                                          geography, and other aspects of identity.
universal. More states have added protective
policies over the past 7 years, but a majority of         Progress has been made in federal, state, and
states do not have policies to protect LGBTQI+            municipal data collection and research as
students from bullying or discrimination.                 demographic information on sexual orientation
Inclusive policies are still rare at the state level.     and gender identity has been added to some
Some states are considering and enacting laws             research tools and health records.411 In 2023,
and policies that are inconsistent with the above         the Federal Government released the first-ever
empirically based recommendations, such as                Federal Evidence Agenda for LGBTQI+ Equity,
those that prevent discussion of LGBTQI+                  a roadmap that federal agencies will use to
issues or exclude LGBTQI+ youth from activities           ensure they are collecting the data and evidence
or athletics. Given the strength of the evidence          they need to improve the lives of LGBTQI+
of the benefits of the protective policies, policies      Americans.412 Other existing efforts include the
that stigmatize youth of diverse sexual                   Centers for Disease Control and
orientation and/or gender identity pose risks to          Youth Risk Behavior Survey (YRBS), which
their health.353,354,355                                  includes national, state, and local surveys,
                                                          assesses key behavioral and other health risks
Future Directions: Research to                            in youth and includes questions on sexual
Improve Care                                              orientation and sex of sex partners in the
Scientific research can advance our                       national survey.413 However, although the state
understanding of LGBTQI+ youth and improve                and local surveys are currently conducted in 47
their behavioral health through prevention and            states and 28 large urban school districts, not all
new interventions.                                        states and local jurisdictions include sexual
                                                          orientation and sex of sex partner questions.
Increasing Research Insights Through                      Questions on gender identity and self-
Inclusive Demographic Questions                           identification as transgender are available for
Health policy experts have called for data                states and local jurisdictions to include in their
collection and priorities that are inclusive of           YRBS surveys, consistent with the Protection of
LGBTQI+ people to ensure research accuracy                Pupil Rights Amendment, and utilization of those
and health equity.407,408,409,410 Inclusive data          questions has been increasing during each
collection and research policies support                  administration of the survey.
consistent collection of demographic
                                                          There are resources for addressing this gap in
information, including information about
                                                          data collection on sexual orientation and gender
respondent sexual orientation and gender
                                                          identity. The National Academies report,
identity, regardless of whether the survey is
                                                          Measuring Sex, Gender Identity, and Sexual
focused on LGBTQI+ populations. Having
                                                          Orientation, commissioned by the National
accurate data and information about sexual
                                                          Institutes of Health (NIH), provides
orientation and gender identity improves public
                                                          recommendations on how to formulate
policies by identifying specific behavioral health
                                                          appropriate questions regarding sexual
needs, preventing adverse health conditions,


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     orientation and gender identity to address the          characteristics or intersex       and
     complexity of diversity within these                    underscored the need to collect those data.412
     communities.31 For example, an important
                                                             Limited research has considered economic
     recommendation is ensuring that approaches to
                                                             impact of SOGI change efforts, which could be
     SOGI measurement and data collection are
                                                             expanded. A recent study found negative
     tested and validated in youth populations. Given
                                                             economic consequences for those adolescents
     the diversity of the LGBTQI+ population, it is
                                                             and young adults who experience SOGI change
     important to use an intersectional approach that
                                                             efforts when compared to those with no
     considers multiple aspects of diversity and
                                                             intervention or affirming interventions. These
     demography (e.g., cultural background, values,
                                                             negative economic impacts include the costs
     ethnicity, geography, and race).
                                                             associated with adverse events as well as the
     Selected LGBTQI+ Research Topics                        expense of the efforts.415 Further, despite its lack
                                                             of efficacy and its serious harms to clients, SOGI
     Studies of LGBTQI+ youth have begun to
                                                             change efforts appear to be lucrative, which may
     examine important developmental and clinical
                                                             serve as an inducement to some providers.415
     needs in these populations. Focused research
     can expand our understanding of these youth             Evaluations of clinical approaches and
     and guide clinical interventions. For example,          development of best practices can be fostered
     studies of development of transgender children          by funding research collaborations; this type of
     provide new windows into our understanding of           research can lead to improved care.213,416 Key
     gender development and well-being in                    research areas should also include suicide
     childhood.188 Research to elucidate how                 prevention, evidence-based trauma-focused
     intersecting sociocultural factors and                  interventions, and approaches to counter
     experiences (e.g., race, ethnicity, socioeconomic       minority stress. Studies of community-based
     status, cultural background and values)                 populations provide an emerging understanding
     influence sexual orientation and gender                 of the key developmental concerns. A resource
     development is in its early stages. To better           for those conducting LGBTQI+ research is the
     understand the needs of sexual and gender               NIH Sexual and Gender Minority Research
     minority children and adolescents, new lines of         Office. NIH has also developed tools to study
     research can include sexual- and gender-                social determinants of health.417 A National
     diverse children and adolescents from diverse           Academies report includes recommendations on
     family backgrounds, especially from general             key areas of LGBTQI+ research.31
     populations rather than those limited to samples
     of people receiving clinical care.

     Intersex individuals face known health
     disparities although research that specifically
     focuses on intersex individuals is limited and
     needs to be expanded both broadly and across
     time within longitudinal studies.45,414 The
                       Federal Evidence Agenda on
     LGBTQI+ Equity identified a lack of national
     surveys that collect data about             in sex



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Summary and Conclusions                                  of such interventions, and evidence shows that
                                                         they can cause severe harm. Appropriate
SAMHSA is committed to eliminating health
                                                         therapeutic approaches to working with
inequities experienced by marginalized
                                                         LGBTQI+ youth include:
communities, including LGBTQI+ youth. To build
a healthy and supportive environment for all                    Providing accurate information on sexual
youth, families, caregivers, providers, and                     orientation and gender identity and
educators need resources and accurate                           expression
information to inform healthy decision making.                  Identifying sources of and working to
Two key strategies that can help prevent                        reduce distress
adverse outcomes and support healthy                            Supporting adaptive coping
development for LGBTQI+ youth are:
                                                                Supporting youth as they learn more
   1. Strong and positive family, school, and                   about their sexual orientation and gender
      community engagement                                      identity, and supporting families in
                                                                accessing gender-affirming care for their
   2. Appropriate and supportive therapeutic
      interventions by physical and behavioral                  transgender child when indicated
      health providers                                          Helping youth navigate sexual
                                                                orientation, gender identity and
Policies at the local, state, and federal levels are
                                                                expression within the context of other
needed to foster supportive, affirming
                                                                intersecting identities
environments and ensure access to appropriate
care.                                                    Additionally, providers can help increase family
                                                         and school support, and reduce family,
These strategies must and can be grounded in
                                                         community, and social rejection of LGBTQI+
research. Being a sexual or gender minority, or          youth. Social transition and medical
identifying as LGBTQI+, is not a mental disorder.        interventions, including pubertal suppression
Variations in sexual orientation, gender identity,       and hormone therapy, are additional therapeutic
and gender expression are normal and healthy.            approaches that may be medically necessary,
Sexual- and gender-diverse youth have unique             appropriate, and beneficial for gender minority
health and behavioral health needs and may
                                                         youth based on the individual           needs.
experience distress due to discrimination and
                                                         Withholding timely gender-affirming medical
barriers to support that remain widespread for
                                                         care when indicated, withholding support for a
LGBTQI+ youth. In addition, transgender and
                                                         gender-affirming exploratory process, and/or
gender-diverse youth may experience distress
                                                         withholding support of social transition when
caused by the incongruence between their
                                                         desired, can be harmful. These actions may
gender identity and physical body.
                                                         exacerbate gender dysphoria.
Current research, evolving clinical expertise, and
                                                         Beyond ending harmful change efforts, it is
expert consensus underscore that efforts to
                                                         important to build greater social acceptance of
attempt to change a          sexual orientation,
                                                         LGBTQI+ youth across all environments where
gender identity, or gender expression are never
                                                         they live, learn, and play; adopt appropriate and
appropriate. No evidence supports the efficacy




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     supportive interventions; and provide targeted         supportive environments and working to
     resources and accurate developmentally                 eliminate negative social attitudes will reduce
     informed information for children, adolescents,        health inequities and improve the health and
     their families, and providers. Building better         well-being of LGBTQI+ youth.




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                                                            lesbian, gay, bisexual, transgender, queer,
      Appendix B: Glossary of Terms                         intersex, those who are questioning their sexual
      Agender: Describes individuals who do not             orientation or gender identity, and others who
      identify as any gender.                               are not cisgender or straight/heterosexual.
                                                            Diverse sexual orientation and/or gender identity
      Asexual: Describes individuals who do not
                                                            is used interchangeably with                and
      experience sexual attraction. An individual can
                                                             sexual and/or gender             (or similar
      also be aromantic, meaning that they do not
                                                            language) throughout this report.
      experience romantic attraction.
                                                            Fa afafine: Describes individuals assigned male
      Behavioral health: A broad term that includes
                                                            sex at birth who identify themselves as having
      mental health, resilience, and well-being; the
                                                            a third gender or nonbinary in Samoan culture.
      treatment of mental and substance use
      disorders; and the support of those who
                                                            Gay: Describes individuals whose enduring
      experience and/or are in recovery from these
                                                            physical, romantic, and/or emotional attractions
      conditions, along with their families and
                                                            are to people of the same gender.
      communities.
      Behavioral health provider: A broad term used         Gender-affirming care: A specialized model of
      here to describe individuals across settings and      care used in the treatment of gender dysphoria
      disciplines who are engaged in the provision of       that uses evidence-informed treatment options
      care and/or support related to behavioral health.     to promote patient health and prevent the risk of
      Behavioral health providers include both              poor mental and physical health outcomes. Not
      licensed and non-licensed professionals,              all youth need to undergo medical intervention;
      including mental health counselors, marriage          indeed, this is often not the case. Gender-
      and family therapists, pastoral counselors,           affirming care is highly individualized and
      psychiatrists, psychologists, psychiatric nurses,     focuses on the needs of each individual.
      school counselors and health providers, peer          Gender-affirming care may include
      support professionals, social workers, substance      psychoeducation about gender and sexuality
      use counselors, addiction medicine specialists,       (appropriate to the age and developmental
      and all staff of mental health and substance use      level), parental and family support, social
      treatment facilities.                                 interventions, and gender-affirming medical
                                                            interventions.
      Bisexual: Describes an individual who has the
      capacity to form enduring physical, romantic,
                                                            Gender diverse: A broad term that includes
      and/or emotional attractions to those of the          individuals whose gender identities and/or
      same gender or to those of another gender.            gender expressions are incongruent with those
      Cisgender: Describes individuals whose gender         culturally expected based on sex assigned at
      identity is congruent with their sex assigned at      birth. This includes those who are exploring their
      birth.                                                gender and is used interchangeably with
                                                             gender
      Developmentally sensitive approaches:
      Clinical and educational approaches that              Gender expression: The external ways a
      account for the appropriate developing                person communicates their gender, such as
      emotional and cognitive capacities,                   clothing, hair, mannerisms, activities, or social
      developmental milestones, and emerging or             roles.
      existing behavioral health concerns.
                                                            Gender fluid: A term used to describe
                                                            individuals whose gender changes over time.
      Diverse sexual orientation and/or gender
      identity: A term to describe persons who are


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Gender identity: A person s deep internal              Questioning: A term used to describe
sense of being female, male, or another identity.      individuals who are unsure about their sexual
                                                       orientation and/or gender identity.
Genderqueer: Describes individuals who
experience their gender identity and/or gender         Sex assigned at birth: The assignment of
expression as falling outside the categories of        male, female, or intersex when an individual is
man and woman.                                         born, typically made based on the appearance
                                                       of external genital anatomy.
Intersex: An umbrella term used to describe
people with variations in sex characteristics,         Sexual and/or gender minority: Sexual and
including chromosomes or hormones that do not          gender minority populations include, but are not
fit typical definitions of male and female.            limited to, individuals who identify as lesbian,
                                                       gay, bisexual, asexual, transgender, Two-Spirit,
Lesbian: A woman who has romantic and/or
                                                       queer, and/or intersex. Individuals with same-
sexual orientation toward women.
                                                       sex or -gender attractions or behaviors and
LGBTQI+: Lesbian, gay, bisexual, transgender,          those with a difference in sex development are
queer, intersex, those who are questioning their       also included. Sexual and gender minority is
sexual orientation or gender identity, and others      used interchangeably with                 and
who are not cisgender or straight/heterosexual.        persons of             sexual orientation and/or
LGBTQI+ is used interchangeably with sexual            gender             (or similar) throughout this
and/or gender           and persons of                 report.
sexual orientation and/or gender           (or
                                                       Sexual orientation and gender identity
similar language) throughout this report.
                                                       change efforts (SOGI change efforts):
        Describes individuals who identify as a        Practices that aim to suppress or alter an
third gender or nonbinary in Native Hawaiian           individual s sexual orientation or gender to align
culture.                                               with heterosexual orientation, cisgender identity,
                                                       and/or stereotypical gender expression. Though
Nonbinary: Describes individuals whose gender          not therapeutic, these practices are often
identity is not exclusively male or female.            referred to as conversion            or reparative
Individuals may identify as nonbinary or other
identities, including, but not limited to,
genderqueer, two-spirit, agender, bigender, and        Sexual orientation: A person s emotional,
genderfluid.                                           sexual, and/or relational attraction to others.

Pansexual: Describes individuals who                   Transgender: Describes individuals whose
experience sexual, romantic, physical, and/or          gender identity is incongruent with their sex
spiritual attraction for members of all gender         assigned at birth.
identities/expressions.
                                                       Two-Spirit: Two Spirit refers to someone who is
Queer: Historically, this has been a pejorative        Native and expresses their gender identity or
term used to describe LGBTQI+ people, but is           spiritual identity in indigenous, non-Western
now used by some people, particularly younger          ways. This term can only be applied to a person
people, whose sexual orientation is not                who is Native. A Two Spirit person has specific
exclusively straight/heterosexual. Some people         traditional roles and responsibilities within their
may use queer, or more commonly                        tribe. Not all Native LGBTQ people identify as
genderqueer, to describe their gender identity         Two Spirit.
and/or gender expression.
                                                       Victimization: The act or process of singling
                                                       someone out for cruel or unfair treatment,
                                                       typically through physical or emotional abuse.


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      This glossary is not an exhaustive list of terminology relevant for LGBTQI+ youth. Additional key terms
      and concepts are defined at Youth.gov.
      Sources:
            Rafferty J; Committee on Psychosocial Aspects of Child and Family Health; Committee on
            Adolescence; Section on Lesbian, Gay, Bisexual, and Transgender Health and Wellness.
            Ensuring comprehensive care and support for transgender and gender-diverse children and
            adolescents. Pediatrics. 2018;142(4):e20182162. https://doi.org/10.1542/peds.2018-2162
             Kleiber E. (2019). Gender Identity and Sexual Identity in the Pacific and Hawai'i: Introduction.

             https://guides.library.manoa.hawaii.edu/c.php?g=105466&p=686754
             Columbia University Department of Psychiatry. (June 23, 2021). Gender-Affirming Care Saves
             Lives. https://www.columbiapsychiatry.org/news/gender-affirming-care-saves-
             lives#:~:text=The%20gender%2Daffirming%20model%20of,exploration%20without%20judgment
             s%20or%20assumptions
             World Professional Association for Transgender Health. (2022). Standards of Care for the Health
             of Transsexual, Transgender, and Gender Nonconforming People.
             https://www.wpath.org/publications/soc
             Northwest Portland Area Indian Health Board Gender-Diverse Provider 101. (n.d.).
             https://www.pathsremembered.org/gender-diverse/
             E. Coleman, A. E. Radix, W. P. Bouman, et al. (2022) Standards of care for the health of
             transgender and gender diverse people, version 8. Int J Transgend Health. 2022:23:sup1:S1-
             S259. https://www.tandfonline.com/doi/pdf/10.1080/26895269.2022.2100644
             American Psychological Association Dictionary of Psychology. (n.d.).
             https://dictionary.apa.org/victimization
             NIH Sexual & Gender Minority Research Office. (n.d.). https://dpcpsi.nih.gov/sgmro




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Appendix C: Selected Resources
                                                        If you or someone you know is in crisis or
This appendix highlights selected materials that        emotional distress, or experiencing
are accessible to a variety of providers,               suicidal thoughts, please contact:
community professionals, parents, caregivers,
and youth. It also includes resources that, after       988 SUICIDE AND CRISIS LIFELINE
reviewing, professionals may share with                 If       thinking about suicide, are
families, youth, and community-based                    worried about a friend or loved one, or
                                                        would like emotional support, the Lifeline
collaborators. The appendix does not cover
                                                        network is available 24/7.
every important aspect of all issues addressed
                                                                Dial: 988
in this report, and the list of resources is
                                                                Text: 988
illustrative, not exhaustive.
                                                                Chat: https://988Lifeline.org/chat
The Department of Health and Human Services
maintains information online at:
                                                        THE TREVOR PROJECT
https://www.hhs.gov/programs/topic-
                                                        Connect to a crisis counselor:
sites/lgbtq/index.html
                                                                866-488-7386
Resources for Behavioral Health and                             www.thetrevorproject.org/get-help
Medical Providers
                                                        LGBT NATIONAL HELP CENTER
Resources for Understanding Sexual
Orientation and Gender Identity                                 Peer support: www.lgbthotline.org

These resources include information on sexual
orientation and gender identity and development
for behavioral health providers and other
                                                           Transgender, and Gender
professionals.
                                                           Nonconforming People.
Online Resources for Providers                             https://www.wpath.org/publications/soc
       American Counseling Association. (n.d.).            HHS. (n.d.). LGBTQI+ Health & Well-
       https://www.counseling.org/knowledge-               being.
       center/mental-health-resources/lgbtq                https://www.hhs.gov/programs/topic-
                                                           sites/lgbtqi/index.html
       American Psychological Association.
       (n.d.). https://www.apa.org/topics/lgbtq            SAMHSA. (March 30, 2022). LGBTQI+
                                                           Youth Like All Americans, They Deserve
       National LGBTQIA+ Health Education
                                                           Evidence-Based Care.
       Center. (n.d.).
                                                           https://www.samhsa.gov/blog/lgbtqi-
       https://www.lgbtqiahealtheducation.org/r
                                                           youth-all-americans-deserve-evidence-
       esources/in/transgender-health/
                                                           based-care
       National Association of School
                                                           National Child Traumatic Stress Network.
       Psychologists. (n.d.).
                                                           (2022). Gender-Affirming Care Is
       https://www.nasponline.org/lgbtqi2-s
                                                           Trauma-Informed Care.
       World Professional Association for                  https://www.nctsn.org/sites/default/files/r
       Transgender Health. (2022). Standards               esources/fact-sheet/gender-affirming-
       of Care for the Health of Transsexual,              care-is-trauma-informed-care.pdf

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      Books for Providers                                   Resources for Providers to Discuss with
             Irwin Krieger. (2018). Counseling              Families, Caregivers, and Others
             Transgender and Non-Binary Youth: The          These resources are designed for professionals
             Essential Guide. London: Jessica               to discuss with families, caregivers, and others.
             Kingsley Publishers, Ltd.                              HHS. (n.d.). LGBTQI+ Health & Well-
                                                                    being.
             Colt Keo-Meier and Diane Ehrensaft.
                                                                    https://www.hhs.gov/programs/topic-
             (2018). The Gender Affirmative Model:
                                                                    sites/lgbtqi/index.html
             An Interdisciplinary Approach to
             Supporting Transgender and Gender
                                                                   The Family Acceptance Project
             Expansive Children. Washington, DC:
                                                                   http://familyproject.sfsu.edu/ works with
             American Psychological Association.
                                                                   parents and caregivers to help them
      Resources for Pediatric and Primary Care                     support their LGBTQI+ youth to reduce
      Providers                                                    health risks and promote well-being. This
                                                                   information is offered within the context
      In addition to the resources above, these                    of diverse cultures and faith communities
      selected resources assist pediatric and primary              by identifying and understanding the
      care health professionals who may be the first               impacts of rejecting and supportive
      point of contact for families and youth.                     behaviors. Films, posters and trainings
                                                                   are available for behavioral health
             Rafferty J; Committee on Psychosocial
                                                                   providers and others and information is
             Aspects of Child and Family Health;
                                                                   provided for families in many languages.
             Committee on Adolescence; Section on
                                                                   http://familyproject.sfsu.edu/
             Lesbian, Gay, Bisexual, and Transgender
             Health and Wellness. Ensuring
                                                                   OASH. Office of Population Affairs.
             comprehensive care and support for
                                                                   (2022). Gender-Affirming Care and
             transgender and gender-diverse children
                                                                   Young People.
             and adolescents. Pediatrics.
                                                                   https://opa.hhs.gov/sites/default/files/202
             2018;142(4):e20182162.
                                                                   2-03/gender-affirming-care-young-
             https://doi.org/10.1542/peds.2018-2162
                                                                   people-march-2022.pdf
             American Academy of Pediatrics,
             American College of Osteopathic                       AFFIRM Caregiver is a seven-session
             Pediatricians, Human Rights Campaign                  intervention that helps caregivers clarify
             Foundation. (2016). Supporting & and                  what supportive behaviors are and how
             caring for transgender children.                      to move away from rejecting behaviors.
             https://www.hrc.org/resources/supporting              https://www.affirmativeresearch.org/affir
             -caring-for-transgender-children                      m-care.html
             Levine DA; Committee on Adolescence.
             Office-based care for lesbian, gay,            Resources for Providers on Cultural
             bisexual, transgender, and questioning         Responsiveness
             youth. Pediatrics. 2013;132(1):e297-e313.      These resources highlight the scientific
             https://doi.org/10.1542/peds.2013-1283         consensus for assisting professionals who work
             National LGBT Health Education Center.         with diverse families and youth.
             (n.d.).
             https://www.lgbtqiahealtheducation.org/r
             esources/in/transgender-health/


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       Asian American Psychological                          http://www.apa.org/pi/lgbt/programs/safe-
       Association. (n.d.).                                  supportive/default.aspx
       https://aapaonline.org/resources/lgbtq-
                                                             GLSEN Research Institute. (2021).
       aapi-resources/
                                                             LGBTQ Students and School Sports
       2019 Black and African American                       Participation: Research Brief.
       LGBTQ Youth Report. (2019).                           https://www.glsen.org/sites/default/files/2
       https://www.hrc.org/resources/black-and-              022-02/LGBTQ-Students-and-School-
       african-american-lgbtq-youth-report                   Sports-Participation-Research-Brief.pdf
       The Trevor Project. (July 14, 2021).                  Additional GLSEN Resources. (n.d.).
       Black & LGBTQ: Approaching                            https://www.glsen.org/
       Intersectional Conversations.
                                                             CDC DASH Supporting LGBTQ Youth.
       https://www.thetrevorproject.org/resource
                                                             (n.d.).
       s/guide/black-lgbtq-approaching-
                                                             https://www.cdc.gov/healthyyouth/safe-
       intersectional-conversations/
                                                             supportive-
       The Trevor Project. (June 1, 2020).                   environments/lgbtq_youth.htm
       Supporting Black LGBTQ Mental Health.
                                                             Human Rights Campaign, Welcoming
       https://www.thetrevorproject.org/resource
                                                             Schools Initiative. (n.d.). Creating Safe
       s/guide/supporting-black-lgbtq-youth-
                                                             and Welcoming Schools.
       mental-health/
                                                             www.welcomingschools.org
       2018 LGBTQ Latinx Youth Report.
                                                             National Center for Lesbian Rights,
       (2018).
                                                             Youth Project. (n.d.).
       https://www.hrc.org/resources/latinx-
                                                             www.nclrights.org/our-work/youth
       lgbtq-youth-report
                                                             National Association of School
       National Queer Asian Pacific Islander
                                                             Psychologists, Committee on LGBTQI2-S
       Alliance (NQAPIA). (n.d.).
                                                             Issues: Safe & Supportive Schools. (n.d.).
       http://www.nqapia.org
                                                             https://www.nasponline.org/lgbtqi2-s
Resources for Educators and School
                                                      Resources for Families and
and Community Leaders
                                                      Caregivers
Resources for School Professionals
                                                      Parent/Caregiver Support-Focused
These resources highlight approaches that build       Resources
educator support and student resilience.
       Advocates for Youth. (2020). Creating          These resources highlight ways for parents and
                                                      caregivers to connect with other parents and
       Safer Spaces for LGBTQ Youth: A
                                                      caregivers of LGBTQI+ youth, and to learn more
       Toolkit for Education, Healthcare and
                                                      about their responses to LGBTQI+ youth.
       Community-Based Organizations.
       http://www.advocatesforyouth.org/wp-                  PFLAG. (n.d.) Families connecting with
       content/uploads/2020/11/Creating-Safer-               other families. www.pflag.org
       Spaces-Toolkit-Nov-13.pdf                             National Queer Asian Pacific Islander
       American Psychological Association.                   Alliance (NQAPIA). (n.d.). Videos and
       (2014). Safe & Supportive Schools                     resources for parents.
       Project.                                              https://www.youtube.com/user/nqapia/vid
                                                             eos



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             Lead with Love (n.d.). Film-based                    Nonconforming Children (1st ed.). New
             intervention to improve parental                     York: The Experiment.
             responses to their sexual minority
                                                                  Irwin Krieger. (2019). Helping Your
             children.
                                                                  Transgender Teen (2nd ed.). New
             https://parentwithlove.northwestern.edu/l
                                                                  Haven, CT: Genderwise Press.
             ead-with-love/
                                                                  Jodie Patterson. (2019). The Bold World:
      Resources for Families and                                  A Memoir of Family and Transformation.
      Caregivers of Transgender and                               New York: Penguin Random House.
      Gender-Diverse Youth                                        Rachel Pepper. (2012). Transitions of the
      These resources highlight specific                          Heart: Stories of Love, Struggle and
      considerations for parents and caregivers of                Acceptance by Mothers of Transgender
      gender minority youth.                                      and Gender Variant Children. Jersey
                                                                  City, NJ: Cleis Press.
      Online Resources for Families and
      Caregivers                                            Resources for Youth
             American Psychological Association.
                                                            Online Resources for Youth
             (December 2020). A Consumer's Guide
             for Parents and Guardians of Gender            These resources are places where LGBTQI+
             Diverse Children and Adolescents: 10           youth can access information and online
             Considerations for Finding a Gender            support.
             Competent Therapist for Your Child.
             https://www.apa.org/pi/lgbt/resources/ge             It Gets Better Project. (n.d.).
             nder-diverse-children.pdf                            www.itgetsbetter.org

             PFLAG Transgender Network. (n.d.).                   The Trevor Project. (n.d.).
             https://pflag.org/find-resources/#my-                www.thetrevorproject.org
             loved-one-is-transgender                             Gender Spectrum.
             Gender Spectrum offers resources for                 www.genderspectrum.org
             multiple audiences. (n.d.).
             www.genderspectrum.org

      Books for Families and Caregivers
             Janna Barkin. (2017). He s Always Been
             My Son: A Mother s Story About Raising
             her Transgender Son. London: Jessica
             Kingsley Publishers, Ltd.
             Stephanie Brill and Lisa Kenney. (2016).
             The Transgender Teen: A Handbook for
             Parents and Professionals Supporting
             Transgender and Non-Binary Teens.
             Jersey City, NJ: Cleis Press.
             Diane Ehrensaft. (2011). Gender Born,
             Gender Made: Raising Healthy Gender-




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Appendix D: Contributions                                practitioners in child and adolescent
                                                         development and mental health, as well as
This report was prepared for SAMHSA by Leed
                                                         researchers in gender development, gender
Management Consulting, Inc. (LMCi) under
                                                         identity, and sexual orientation in children and
contract number
                                                         adolescents. The Panel also included experts
HHSS283201700609I/HHSS28342001T with
                                                         with a background in family therapy, ethnic and
SAMHSA, U.S. Department of Health and
                                                         racial diversity, the needs of underrepresented
Human Services (HHS). Arlin Hatch, CAPT,
                                                         populations, the intersection of behavioral health
USPHS, PhD, served as the Task Lead, Aida
                                                         and spiritual diversity, and ethics. Panel
Balsano, PhD, served as the Deputy Task Lead,
                                                         members were Renata Arrington-Sanders, MD,
and Brian Altman, JD, served as Senior Advisor.
                                                         MPH, ScM; Laura Edwards-Leeper, PhD; Gary
David Lamont Wilson, BFA, served as the
                                                         Harper, PhD, MPH; Laura Kuper, PhD; Scott
Contracting Officer Representative, and Marion
                                                         Leibowitz, MD; Christy Mallory, JD; Robin Lin
Pierce, BA, served as the Alternate Contracting
                                                         Miller, PhD; Kristina Olson, PhD; Thomas
Officer Representative. Jeanne Casey, MA,
                                                         Plante, PhD; Clifford Rosky, JD; Caitlin Ryan,
MCHES served as health communications
                                                         PhD, ACSW; Russell Toomey, PhD; and Mark
specialist for the report.
                                                         Yarhouse, PsyD.
Laura Jadwin-Cakmak, MPH, was the lead
                                                         SAMHSA subject matter experts provided input
scientific writer for this report, with substantial
                                                         on the report: Brian Altman, JD; Amy Andre, MA,
contributions from Judith Glassgold, PsyD;
                                                         MBA; Mitchell Berger, MPH; Victoria Chau, PhD,
assistance from the subject matter expert
                                                         MPH; Jeff Coady, CAPT, USPHS, PsyD, ABPP;
panelists; technical, bibliographic, and editorial
                                                         Ed Craft, DrPh, Med, LCPC; Trina Dutta, MPP,
assistance from Kathi E. Hanna, PhD; and
                                                         MPH; and Michelle Kim Leff, CAPT, USPHS,
support from Karen Braxton, MA, as task lead             MD, MBA. Elliot Kennedy, JD, from the
from LMCi.                                               Administration for Community Living, provided
The Subject Matter Expert Consensus Panel                consultation and served as the SAMHSA Task
was convened by Judith Glassgold, PsyD, the              Lead for the 2015 report, Ending Conversion
lead subject matter expert, remotely from                Therapy: Supporting and Affirming LGBTQ
September 9 to 10, 2021, with technical support          Youth, on which this revision is based.
from LMCi. The Panel included researchers and




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LGBTQ Youth




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        Acknowledgements

        This report was prepared for the Substance Abuse and Mental Health Services Administration
        (SAMHSA) by Abt Associates under contract number HHSS283200700008I/HHSS28342001T
        with SAMHSA, U.S. Department of Health and Human Services (HHS). David Lamont Wilson
        served as the Government Project Officer. Elliot Kennedy served as the Task Lead.
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        Recommended Citation
        Substance Abuse and Mental Health Services Administration, Ending Conversion Therapy:
        Supporting and Affirming LGBTQ Youth. HHS Publication No. (SMA) 15-4928. Rockville,
        MD: Substance Abuse and Mental Health Services Administration, 2015.
        Originating Office
        Division of Systems Development, Center for Substance Abuse Prevention, Substance Abuse
        and Mental Health Services.




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Executive Summary
Lesbian, gay, bisexual, and transgender youth, and      has been disavowed by behavioral health experts
those who are questioning their sexual orientation      and associations. Conversion therapy perpetuates
or gender identity (LGBTQ youth) experience             outdated views of gender roles and identities as
significant health and behavioral health disparities.   well as the negative stereotype that being a sexual
Negative social attitudes and discrimination            or gender minority or identifying as LGBTQ is
related to an individual’s LGBTQ identity can           an abnormal aspect of human development. Most
contribute to these disparities, and may result         importantly, it may put young people at risk of
in institutional, interpersonal, and individual         serious harm.
stressors that affect mental health and well-being.
(Bockting, Miner, Swinburne Romine, Hamilton,           Key Findings
& Coleman, 2013; Meyer, 2003). This stress,
                                                        This report and its recommendations are based
as well as limited opportunities for support, are
                                                        on consensus statements developed by experts
encountered by sexual and gender minority1youth
                                                        in the field after a careful review of existing
in their families, communities, and school settings.
                                                        research, professional health association reports
Additionally, some transgender youth experience
                                                        and summaries, and expert clinical guidance. The
gender dysphoria – psychological distress due to
                                                        consensus statements highlight areas of the ethical
the incongruence between one’s body and gender
                                                        and scientific foundations most relevant to the practice
identity (Coleman et al., 2012).
                                                        of conversion therapy with minors. A full list of the
SAMHSA is committed to eliminating health               consensus statements is found in the body of this
disparities facing vulnerable communities, including    report; key statements that form the underpinnings of
sexual and gender minority communities. One             the guidance in this report are provided here.
key factor to preventing these adverse outcomes is
                                                        •   Same-gender3sexual orientation (including
positive family (including guardians and caregivers)
                                                            identity, behavior, and attraction) and variations
and community engagement and appropriate
                                                            in gender identity and gender expression are a
interventions by medical and behavioral health
                                                            part of the normal spectrum of human diversity
care providers. Supporting optimal development
                                                            and do not constitute a mental disorder.
of children and adolescents with regard to sexual
orientation, gender identity, and gender expression     •   There is limited research on conversion therapy
is vital to ensuring their health and well-being.           efforts among children and adolescents;
                                                            however, none of the existing research supports
The purpose of this report, Ending Conversion               the premise that mental or behavioral health
Therapy: Supporting and Affirming LGBTQ outh,               interventions can alter gender identity or sexual
is to provide mental health professionals and               orientation.
families with accurate information about effective      •   Interventions aimed at a fixed outcome,
and ineffective therapeutic practices related to            such as gender conformity or heterosexual
children’s and adolescent’s sexual orientation and          orientation, including those aimed at changing
gender identity. Specifically, this report addresses        gender identity, gender expression, and sexual
the issue of conversion therapy for minors. The             orientation are coercive, can be harmful,
conclusions in this report are based on professional        and should not be part of behavioral health
consensus statements arrived at by experts in the           treatment. (American Psychiatric Association,
field. Specifically, conversion therapy—efforts to          2013b; American Psychological Association,
change an individual’s sexual orientation, gender           2010; National Association of Social Workers,
identity, or gender expression2—is a practice               2008).
that is not supported by credible evidence and



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Understanding Sexual Orientation                        assistance of behavioral health providers (American
and Gender Identity in Children                         Psychological Association, 2009). Sexual minority
and Youth                                               adolescents face the same developmental tasks that
                                                        accompany adolescence for all youth, including
Behavioral health providers, parents, schools, and      sexual orientation identity development. Unlike
communities can best provide support to children,       those with a heterosexual orientation, however,
adolescents, and their families when they have          adolescents with a minority sexual orientation
access to the most current information about sexual     must navigate awareness and acceptance of a
orientation, gender identity, and gender expression     socially marginalized sexual identity; potentially
in youth. The following overview presents the best      without family, community, or societal support. In
current evidence regarding understandings of child      comparison with their heterosexual counterparts,
and adolescent sexual orientation, gender identity,     sexual minority adolescents are at increased risk for
and gender expression.                                  psychological distress and substance use behaviors,
Sexuality occurs across a continuum; same-gender        including depressive symptoms, increased rates
attraction and relationships are normal variations of   of substance use and abuse, suicidal ideation
human sexuality (Diamond, 2015; Vrangalova &            and attempts, as well as increased likelihood
Savin-Williams, 2012). Similarly, a gender identity     of experiencing victimization, violence, and
that is incongruent with assigned sex at birth, as      homelessness (Corliss et al., 2010; Friedman et al.,
well as a gender expression that diverges from          2011; Goldbach, Tanner-Smith, Bagwell, & Dunlap,
stereotypical cultural norms for a particular gender,   2014; Hatzenbuehler, 2011; Institute of Medicine,
are normal variations of human gender (American         2011; Kann et al., 2011; Marshal et al., 2011;
Psychological Association, 2015a; Knudson, De           Russell, 2003). Supportive families, peers, and
Cuypere, & Bockting, 2010). Being a sexual or           school and community environments are associated
gender minority, or identifying as LGBTQ, is not        with improved psychosocial outcomes for sexual
pathological (American Psychological Association,       minority youth (Bouris et al., 2010; Kosciw,
2015a; APA Task Force on Gender Identity and            Greytak, Palmer, & Boesen, 2014; Lease, Horne, &
Gender Variance, 2009; Coleman et al., 2012).           Noffsinger-Frazier, 2005).

There is not a single developmental trajectory          Gender development begins in infancy and
for either sexual minority or gender minority           continues progressively throughout childhood.
youth. Compared to the 20th century, in the 21st        Gender diversity or signs of gender dysphoria may
century, youth started realizing and disclosing a       emerge as early as a child’s preschool years, or as
minority sexual orientation and/or identifying as       late as adolescence (Cohen-Kettenis, 2005). For
lesbian, gay, or bisexual at younger ages than in       many gender minority children, gender dysphoria
previous generations (Diamond & Savin-Williams,         will not persist, and they will develop a cisgender
2000; Floyd & Bakeman, 2006; Grov, Bimbi,               identity in adolescence or adulthood; a majority
Nanín, & Parsons, 2006; R. C. Savin-Williams,           of these children will identify as lesbian, gay, or
2001). Though aspects of sexuality are displayed        bisexual in adulthood (Bailey & Zucker, 1995;
beginning in infancy, little is known about             Drescher, 2014; Leibowitz & Spack, 2011; Wallien
sexual orientation among pre-pubertal children          & Cohen-Kettenis, 2008). Whether or not these
(Adelson & American Academy of Child and                individuals continue to have a diverse gender
Adolescent Psychiatry (AACAP) Committee on              expression is unknown. For other gender minority
Quality Issues (CQI), 2012). Children are rarely        children, gender dysphoria will persist and usually
if ever distressed about their current or future        worsen with the physical changes of adolescence;
sexual orientation; more commonly, parents and          these youth generally identify as transgender (or
guardians are distressed about a child’s perceived      another gender identity that differs from their
current or future sexual orientation and seek the       assigned sex at birth) in adolescence and adulthood




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(Byne et al., 2012; Coleman, et al., 2012). For still   include: providing accurate information on the
another group, gender dysphoria emerges in post-        development of sexual orientation and gender
puberty without any childhood history of gender         identity and expression; increasing family and
dysphoria gender diversity (Edwards-Leeper &            school support; and reducing family, community,
Spack, 2012). Gender dysphoria that worsens with        and social rejection of sexual and gender minority
the onset of puberty is unlikely to remit later in      children and adolescents. Approaches should be
adolescence or adulthood, especially among youth        client-centered and developmentally-appropriate
with a childhood onset, and long-term identification    with the goal of treatment being the best possible
as transgender is likely (American Psychological        level of psychological functioning, rather than
Association, 2015a; American Psychological              any specific gender identity, gender expression,
Association, 2008; Byne, et al., 2012).                 or sexual orientation. Appropriate therapeutic
                                                        approaches with sexual and gender minority youth
While most adolescents with gender dysphoria            should include a comprehensive evaluation and
score within normal ranges on psychological tests       focus on identity development and exploration
(Cohen-Kettenis & van Goozen, 1997; de Vries,           that allows the child or adolescent the freedom of
Doreleijers, Steensma, & Cohen-Kettenis, 2011;          self-discovery within a context of acceptance and
Smith, van Goozen, & Cohen-Kettenis, 2001), some        support. It is important to identify the sources of any
gender minority children and adolescents have           distress experienced by sexual and gender minority
elevated risk of depression, anxiety, and behavioral    youth and their families, and work to reduce this
issues. These psychosocial issues are likely related    distress. Working with parents and guardians is
to if not caused by negative social attitudes or        important as parental behaviors and attitudes have
rejection (Vance, Ehrensaft, & Rosenthal, 2014).        a significant effect on the mental health and well-
As with sexual minority adolescents, other              being of sexual and gender minority children and
issues of clinical relevance for gender minority        adolescents. School and community interventions
adolescents include increased risk of experiencing      may also be necessary and appropriate.
victimization and violence, suicidal ideation and
attempts, and homelessness (Coleman, et al., 2012;      In addition to the appropriate therapeutic
Garofalo, Deleon, Osmer, Doll, & Harper, 2006;          approaches described above – comprehensive
Institute of Medicine, 2011; Mustanski, Garofalo,       evaluation, support in identity exploration and
& Emerson, 2010; Simons, Leibowitz, & Hidalgo,          development without an a priori goal of any
2014). Improved psychosocial outcomes are seen          particular gender identity or expression, and
among youth when social supports are put in place       facilitation of family and community support
to recognize and affirm gender minority youth’s         – social transition and medical intervention are
gender identities (Vance, et al., 2014).                therapeutic approaches that are appropriate for
                                                        some gender minority youth. Careful evaluation
Therapeutic Efforts with Sexual                         and developmentally-appropriate informed consent
and Gender Minority Youth4                              of youth and their families, including a weighing
                                                        of potential risks and benefits are vital when
Given the professional consensus that conversion
                                                        considering medical intervention with gender
therapy efforts are inappropriate, the following
                                                        minority youth.
behavioral health approaches are consistent with the
expert consensus statements and current research,       Eliminating the practice of conversion therapy
and are recommended by professional associations        with sexual and gender minority minors is
(American Psychological Association, 2015a; APA         an important step, but it will not alleviate the
Task Force on Appropriate Therapeutic Responses         myriad of stressors they experience as a result of
to Sexual Orientation, 2009; Byne, et al., 2012).       interpersonal, institutional, and societal bias and
When providing services to children, adolescents,       discrimination against sexual and gender minorities.
and families, appropriate therapeutic approaches




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LGBTQ youth still need additional support to
promote positive development in the face of such
stressors. Supportive family, community, school,
and health care environments have been shown to
have great positive impacts on both the short- and
long-term health and well-being of LGBTQ youth.
Families and others working with LGBTQ children
and adolescents can benefit from guidance and
resources to increase support for sexual and gender
minority minors and to help facilitate the best
possible outcomes for these youth.

Ending the Use of Conversion
Therapy for Minors
Given that conversion therapy is not an appropriate
therapeutic intervention; efforts should be taken
to end the practice of conversion therapy. Efforts
to end the practice have included policy efforts to
reduce the negative attitudes and discrimination
directed at LGBTQ individuals and families;
affirmative public information about LGBTQ
individuals, particularly directed at families and
youth; resolutions and guidelines by professional
associations to inform providers that conversion
efforts are inappropriate and to provide guidance
on appropriate interventions; and, state and federal
legislation and legal action to end the practice of
conversion therapy. Future efforts may include
improved provider training, federal regulatory
action, advancement of legislation at the state
and federal level, and additional activities by the
Administration, which issued a public statement
supporting efforts to ban the use of conversion
therapy for minors in the spring of 2015.




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Introduction
This report, Ending Conversion Therapy:
Supporting and Affirming LGBTQ outh, provides
an overview of the current state of scientific
understanding of the development of sexual
                                                               “   Being gay is not a
                                                           disorder. Being transgender
                                                               is not a malady that


                                                                                           ”
orientation and gender identity in children and
adolescents as well as the professional consensus              requires a cure.
on clinical best practices with these populations.
Specifically, this report addresses the issue of
conversion therapy for minors. Conversion                        —Vice Admiral Vivek H. Murthy,
therapy—efforts to change an individual’s sexual                       19th U.S. Surgeon General
orientation, gender identity, or gender expression5—
is a practice that is not supported by credible
evidence, and has been disavowed by behavioral          School-Based Issues, Pediatric Considerations,
health experts and associations. Importantly,           and Affirmative Exploratory Therap . In addressing
this report also provides a nuanced overview of         these four topics, SAMHSA aims to enable families,
appropriate supportive interventions to assist          providers, educators, and community members to
families in exploring the sometimes difficult issues    take actions that will reduce the health risks and
associated with sexual orientation, gender identity,    disparities facing this vulnerable population.
and gender expression.
                                                        SAMHSA is committed to eliminating health
This work is the result of a collaboration between      disparities facing vulnerable communities, including
the Substance Abuse and Mental Health Services          sexual and gender minority communities. In
Administration (SAMHSA) and the American                addressing the issues included in this report that
Psychological Association (APA), which convened         have a significant impact on the lives and well-being
a panel of behavioral health professionals (e.g.,       of sexual and gender minority youth, SAMHSA
psychologists, researchers and clinicians from          aims to enable families, providers, and educators
psychology, social work, and psychiatry) with           to take actions that will reduce the health risks and
expertise in the fields of gender development,          disparities facing this vulnerable population
gender identity, and sexual orientation in children
and adolescents in July 2015. That convening,           SAMHSA’s mission is to improve the behavioral
which is discussed in greater depth below, aimed        health of the nation. As such, SAMHSA endeavors
to establish consensus with respect to conversion       to improve public health and eliminate health
therapy for minors, based on the best available         disparities facing all vulnerable communities,
research and scholarly material available, as well as   including sexual and gender minority
the clinical experience of experts in the field. The    populations.6As will be addressed in detail below,
resultant statements of professional consensus are      conversion therapy perpetuates outdated gender
printed in their entirety in the following section.     roles and negative stereotypes that being a sexual
                                                        or gender minority or identifying as LGBTQ is
In addition, this report highlights areas of            an abnormal aspect of human development. Most
opportunity for future research, and provides an        importantly, it may put young people at risk of
overview of mechanisms to eliminate the use of          serious harm. This report is one of many steps
harmful therapies. In an effort to provide useful       SAMHSA is taking to improve the health and well-
tools for families, practitioners, and educators, the   being of sexual and gender minority children and
report also provides resources on several topics,       youth.
including: Family and Community Acceptance,



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Professional Consensus Process
In early April 2015, representatives from               Fisher, PhD; Laura Edwards-Leeper, PhD; Marco
SAMHSA and APA agreed to collaborate to                 A. Hidalgo, PhD; David Huebner, PhD; Colton L.
address the concerns of professional associations,      Keo-Meier, PhD; Scott Leibowitz, MD; Robin Lin
policy makers, and the public regarding efforts         Miller, PhD; Caitlin Ryan, PhD, ACSW; Josh Wolff,
to change gender identity and sexual orientation        PhD; and Mark Yarhouse, PsyD. APA activities
in children and adolescents (also referred to as        were coordinated by Clinton W. Anderson, PhD and
conversion therapy). Through the support of the         Judith Glassgold, PsyD.
Federal Agencies Project, APA hosted an expert
consensus convening on this topic in July 2015,         Based on published literature on consensus
which significantly informed this report. The           methods, APA developed an iterative process that
research overview and clinical expertise highlighted    culminated in a two-day meeting in Washington,
throughout serve as the foundation from which the       DC on July 7 and 8, 2015. During the meeting,
consensus statements were developed. Both the           panelist-led discussions considered the relevant
process of achieving consensus and the results of       research, professional guidelines and clinical
the meeting are published below.                        knowledge-base for each of the topics. The
                                                        panel developed consensus statements on sexual
APA initially developed a list of the areas of          orientation change efforts as well as gender identity
expertise to be used in identifying potential experts   change efforts in children and adolescents for each
to participate in the consensus panel based on          of the relevant developmental stages: pre-pubertal
existing professional guidelines and resolutions        children, peri-pubertal adolescents, and pubertal and
related to sexual orientation, gender identity, and     post-pubertal adolescents.
gender expression, as well as published research.
APA solicited nominations from specialists in the       Panelists agreed that unanimous consensus was
field with expertise in gender, sexuality and sexual    a strong priority, but that if unanimity could not
orientation, child and adolescent development           be reached, 80 percent support would consitute
and mental health, and the psychology of religion.      consensus. The panelists also agreed that minority
Additionally, APA solicited nominations from            opinions should be reflected in the record if any
professional associations representing the major        dissenting expert wished to issue such an opinion.
mental health and health professions. Using the         Unanimous consensus was reached in nearly all
input received from these sources, APA extended         instances. No dissenting opinions were formally
invitations to a short list of highly recommended       registered. The statements of professional consensus
group of experts. This initial expert pool nominated    are printed in Section 3 of this report.
additional experts based on their assessment of         Observers from interested federal agencies, health
the expertise needed to achieve the goals of the        and human services professional organizations,
meeting. The final panel of 13 experts consisted        foundations, and LGBTQ human rights
of ten psychologists, two social workers, and           organizations also attended the meeting. These
one psychiatrist. These individuals included            observers were offered an opportunity to submit
researchers and practitioners in child and adolescent   written questions, which the panel addressed
mental health with a strong background in gender        throughout the course of the meeting.
development, gender identity, and sexual orientation
in children and adolescents. The panel also included
experts with a background in family therapy, ethics,
and the psychology of religion. Among others, the
panel included: Sheri Berenbaum, PhD; Celia B.




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                               “   PFR “created something that was
                          groundbreaking. It was the best piece of work


                                                                            ”
                           ever created by the federal government.
                                                           Sue Thau




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Statements of Professional Consensus

    The following are the statements of professional consensus regarding sexual orientation
    and gender identity and expression that were developed during the July 2015 APA
    consensus convening. After initially developing separate statements regarding issues
    relating to the development of sexual orientation and gender identity and gender
    expression, the panel developed a set of three key summary statements. The panel also
    developed a statement regarding the guiding human rights and scientific principles that
    provide a foundation for behavioral health professionals’ work in this area.



Guiding Principles
Behavioral health professionals respect human dignity and rights. The foundational ethical principle of
“self-determination” requires that children and adolescents be supported in their right to explore, define,
and articulate their own identity. The principles of “justice” and “beneficence and nonmaleficence” require
that all children and adolescents have access to behavioral health treatments that will promote their health
and welfare. Children and adolescents have the right to participate in decisions that affect their treatment
and future. Behavioral health professionals respect human diversity and strive to incorporate multicultural
awareness into their work.

These guiding principles are based upon the codes of ethics for the professional fields of Psychology,
Psychiatry, and Social Work (American Psychiatric Association, 2013b; American Psychological
Association, 2010; National Association of Social Workers, 2008).


   Professional Consensus on Conversion Therapy
   with Minors
   1. Same-gender7sexual orientation (including identity, behavior, and/or attraction) and variations in
      gender identity and gender expression are a part of the normal spectrum of human diversity and
      do not constitute a mental disorder.
   2. There is limited research on conversion therapy efforts among children and adolescents; however,
      none of the existing research supports the premise that mental or behavioral health interventions
      can alter gender identity or sexual orientation.
   3. Interventions aimed at a fixed outcome, such as gender conformity or heterosexual orientation,
      including those aimed at changing gender identity, gender expression, and sexual orientation are
      coercive, can be harmful, and should not be part of behavioral health treatments. Directing the
      child to be conforming to any gender expression or sexual orientation, or directing the parents
      to place pressure for specific gender expressions, gender identities, and sexual orientations are
      inappropriate and reinforce harmful gender and sexual orientation stereotypes.




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  Professional Consensus on Sexual Orientation
  in Youth
  1. Same-gender sexual identity, behavior, and attraction are not mental disorders. Same-gender
     sexual attractions are part of the normal spectrum of sexual orientation. Sexual orientation
     change in children and adolescents should not be a goal of mental health and behavioral
     interventions.
  2. Sexual minority children and adolescents are especially vulnerable populations with unique
     developmental tasks who lack protections from involuntary or coercive treatment, and whose
     parents and guardians need accurate information to make informed decisions about behavioral
     health treatment.
  3. There is a lack of published research on efforts to change sexual orientation among children and
     adolescents; no existing research supports that mental health and behavioral interventions with
     children and adolescents alter sexual orientation. Given the research on the secondary outcomes
     of such efforts, the potential for risk of harm suggests the need for other models of behavioral
     health treatment.
  4. Behavioral health professionals provide accurate information on sexual orientation, gender
     identity, and expression; increase family and school support; and, reduce rejection of sexual
     minority youth. Behavioral health practitioners identify sources of distress and work to reduce
     distress experienced by children and adolescents. Behavioral health professionals provide efforts
     to encourage identity exploration and integration, adaptive coping, and family acceptance to
     improve psychological well-being.


  Professional Consensus on Gender Identity
  and Gender Expression in Youth
  Consensus on the Overall Phenomena of Gender Identity and Gender
  Expression
  1. Variations in gender identity and expression are normal aspects of human diversity and do
     not constitute a mental disorder. Binary definitions of gender may not reflect emerging gender
     identities.
  2. Pre-pubertal children and peri-pubertal adolescents who present with diverse gender expressions
     or gender dysphoria may or may not develop a transgender identity in adolescence or adulthood.
     In pubertal and post-pubertal adolescents, diverse gender expressions and transgender identity
     usually continue into adulthood.




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Consensus on Efforts to Change Gender Identity
3. There is a lack of published research on efforts to change gender identity among children and
   adolescents; no existing research supports that mental health and behavioral interventions with
   children and adolescents alter gender identity.
4. It is clinically inappropriate for behavioral health professionals to have a prescriptive goal related
   to gender identity, gender expression, or sexual orientation for the ultimate developmental
   outcome of a child’s or adolescent’s gender identity or gender expression.
5. Mental health and behavioral interventions aimed at achieving a fixed outcome, such as gender
   conformity, including those aimed at changing gender identity or gender expression, are coercive,
   can be harmful, and should not be part of treatment. Directing the child or adolescent to conform
   to any particular gender expression or identity, or directing parents and guardians to place
   pressure on the child or adolescent to conform to specific gender expressions and/or identities, is
   inappropriate and reinforces harmful gender stereotypes.

Consensus on Appropriate Therapeutic Intervention for Youth with
Gender-Related Concerns
6. Children and adolescents experiencing gender-related concerns are an especially vulnerable
   population with unique developmental tasks. Parents and guardians need accurate scientific
   information to make informed decisions about appropriate mental health and behavioral
   interventions, including whether or not to initiate a social gender transition or, in the case of peri-
   pubertal, pubertal, and post-pubertal adolescents, medical intervention. Treatment discussions
   should respect the child’s and adolescent’s developing autonomy, recognizing that adolescents are
   still transitioning into adult decision-making capacities.
7. Approaches that focus on developmentally-appropriate identity exploration, integration, the
   reduction of distress, adaptive coping, and family acceptance to improve psychological well-
   being are recommended for children and adolescents of all ages experiencing gender-related
   concerns.

Pre-Pubertal Children
8. Gender expression and gender identity are interrelated and difficult to differentiate in pre-
   pubertal children, and are aspects of identity that develop throughout childhood. Therefore, a
   detailed psychological assessment should be offered to children and families to better understand
   the present status of a child’s gender identity and gender expression, as well as any associated
   distress.




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  Peri-Pubertal Adolescents
  9. For peri-pubertal adolescents, the purpose of pubertal suppression is to provide time to support
     identity exploration, to alleviate or avoid potential distress associated with physical maturation
     and secondary sex characteristics8, and to improve future healthy adjustment. If pubertal
     suppression is being considered, it is strongly recommended that parents or guardians and
     medical providers obtain an assessment by a licensed behavioral health provider to understand
     the present status of a peri-pubertal adolescent’s gender identity or gender expression and
     associated distress, as well as to provide developmentally-appropriate information to the peri-
     pubertal adolescent, parents or guardians, and other health care professionals involved in the
     peri-pubertal adolescent’s care. The purpose of the assessment is to advise and inform treatment
     decisions regarding pubertal suppression after sharing details of the potential risks, benefits, and
     implications of pubertal suppression, including the effects of pubertal suppression on behavioral
     health disorders, cognitive and emotional development, and future physical and sexual health.

  Pubertal and Post-Pubertal Adolescents
  10. Decision-making regarding one’s developing gender identity is a highly individualized process
      and takes many forms. For pubertal and post-pubertal adolescents, if physical gender transition
      (such as hormone therapy or gender affirming surgeries) is being considered, it is strongly
      recommended that adolescents, parents, and providers obtain an assessment by a licensed
      behavioral health provider to understand the present status of an adolescent’s gender identity
      and gender expression and associated distress, as well as to provide developmentally-appropriate
      information to adolescents, parents or guardians, and other health care professionals involved in
      the pubertal or post-pubertal adolescent’s care. If physical transition is indicated, the potential
      risks, benefits, and implications of the transition-related procedures being considered – including
      the effects on behavioral health disorders, cognitive and emotional development, and potentially
      irreversible effects on physical health, fertility, and sexual health – are presented to the adolescent
      and parents or guardians.
       Withholding timely physical gender transition interventions for pubertal and post-pubertal
       adolescents, when such interventions are clinically indicated, prolongs gender dysphoria and
       exacerbates emotional distress.




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Research Overview
Sexual Orientation                                      male; a blend of male or female; or an alternative
                                                        gender (Bethea, 2013; Institute of Medicine, 2011).
Sexual orientation is a multidimensional construct
                                                        Gender expression refers to the ways a person
that consists of sexual identity, sexual and romantic
                                                        communicates their gender within a given culture,
attraction, and sexual behavior. Great shifts in the
                                                        including clothing, communication patterns, and
understanding of sexual orientation have occurred
                                                        interests; a person’s gender expression may or may
over the past century (Herek, 2010). Though a
                                                        not be consistent with socially prescribed gender
minority sexual orientation was once considered
                                                        roles or assigned sex at birth, and may or may
abnormal or a medical problem, scientists now
                                                        not reflect his or her gender identity (American
understand that sexuality occurs on a continuum
                                                        Psychological Association, 2008).
and variations in sexual orientation are part of
the normal range of human sexuality (American           Similar to sexual orientation, significant changes
Psychological Association, 2009; Diamond, 2015;         have occurred over time in the scientific
Vrangalova & Savin-Williams, 2012). In 1973,            understanding of gender. Though one’s biological
homosexuality was removed as a diagnostic               sex, gender identity, and gender expression are
category in the Diagnostic and Statistical Manual       distinct constructs, society expects that they will
of Mental Disorders with a declaration of support       align, and for most individuals this is true – that is,
for the civil rights of lesbian, gay, and bisexual      most individuals who are assigned female at birth
people from the American Psychiatric Association.       identify as girls or women and adopt a feminine
Many health organizations followed suit in passing      gender expression, while most individuals who are
resolutions that affirmed their support for the         assigned male at birth identify as boys or men and
civil rights of lesbian, gay, and bisexual people,      adopt a masculine gender expression11(American
including the American Psychological Association,       Psychological Association, 2015a). However, for
the National Association for Social Workers, the        some individuals, these constructs do not align. The
American Counseling Association, the American           term transgender refers to individuals whose gender
Medical Association, the American Psychoanalystic       identity is not consistent with their sex assigned
Association, and the American Academy of                at birth. The term gender diverse (or gender
Pediatrics. In 1992, the World Health Organization      nonconforming) refers to individuals whose gender
removed homosexuality from the International            expression does not conform to the stereotypical
Classification of Diseases (Nakajima, 2003; World       norms in their culture for their assigned sex at birth.
Health Organization, 1992)9.                            Research in recent decades has also challenged
                                                        the perception of gender as a binary construct
Gender                                                  with mutually exclusive categories of male or
Gender is a ubiquitous and multi-faceted social         female, boy or girl, man or woman (American
category. When discussing the concept of gender,        Psychological Association, 2015a; Steensma,
scientists distinguish between biological sex, gender   Kreukels, de Vries, & Cohen-Kettenis, 2013). It
identity, and gender expression. Biological sex         has also often been assumed that one’s gender
refers to one’s physical sex characteristics (Hughes,   identity – that is, the deeply felt, inherent sense of
Houk, Ahmed, & Lee, 2006). Infants’ biological          one’s gender – always aligns with sex assigned as
sex is labeled at birth, almost always based solely     birth (American Psychological Association, 2015a).
on external genital appearance; this is referred to     Scientists now recognize that a wide spectrum of
as one’s assigned sex at birth10. Gender identity       gender identities and gender expressions exist (and
refers to a person’s deeply felt, inherent sense of     have always existed), including people who identify
being a girl, woman or female; a boy, a man or          as either man or woman, neither man nor woman,




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a blend of man and woman, or a unique gender           research focused on children’s sexuality generally
identity (Harrison, Grant, & Herman, 2012; Kuper,      does not assess sexual orientation (Adelson &
Nussbaum, & Mustanski, 2012).                          AACAP CQI, 2012). Therefore, little is known
                                                       about sexual orientation in pre-pubertal children,
Furthermore, scientists and clinicians now             and no direct research on sexual orientation in
understand that identifying with a gender that does    pre-pubertal children has been conducted. Studies
not align with sex assigned at birth, as well as a     that have retrospectively asked lesbian, gay, and
gender expression that varies from that which is       bisexual adults about their childhood experiences
stereotypical for one’s gender or sex assigned at      have reported that LGB adults often describe having
birth, is not inherently pathological (American        had same-gender emotional and sexual feelings and
Psychological Association, 2015a; Coleman, et al.,     attractions from childhood or early adolescence;
2012; Knudson, De Cuypere, & Bockting, 2010)           many recall a sense of being different even earlier
and does not always require clinical attention         in childhood (APA Task Force on Appropriate
(Steensma, Kreukels, et al., 2013). However, people    Therapeutic Responses to Sexual Orientation,
may experience distress associated with discordance    2009).
between their gender identity and their body or sex
assigned at birth (i.e., gender dysphoria) as well     Gender Identity and Gender Expression in
distress associated with negative social attitudes     Childhood
and discrimination (Coleman, et al., 2012). This
paradigmatic shift in the understanding of diverse     Gender-related development begins in infancy and
gender identities and expressions was reflected        continues progressively throughout childhood.
in the replacement of Gender Identity Disorder         Research has focused on three key concepts: gender
with Gender Dysphoria in the 2013 edition of           constancy, gender consistency, and gender identity.
the Diagnostic and Statistical Manual of Mental        On average, children develop gender constancy –
Disorders (American Psychiatric Association,           stability across time in identification of their gender
2013a). The diagnosis of Gender Dysphoria,             – between ages 3 to 4 (Kohlberg, 1966) and gender
which is marked in children and adolescents by         consistency – recognition that gender remains
clinically significant distress encountered by the     the same across situations – between ages 4 to 7
discordance between biological sex and gender          (Siegal & Robinson, 1987). The development of
identity that disrupts school or social functioning,   gender identity appears to be the result of a complex
depathologizes diverse gender identities and           interplay between biological, environmental, and
expressions, instead focusing on the potential         psychological factors (Steensma, Kreukels, et al.,
psychosocial challenges associated with gender         2013). For most people, gender identity develops
diversity (American Psychiatric Association, 2013a;    in alignment with one’s sex assigned at birth.
Simons, et al., 2014; Vance, et al., 2014).            However, for some individuals, gender identity
                                                       may not align with one’s assigned sex at birth, and
Sexual Orientation and Gender in                       the period during which gender identity is clarified
                                                       and solidified is unclear (Diamond & Butterworth,
Childhood
                                                       2008; Steensma, Kreukels, et al., 2013). There is no
Sexual Orientation in Childhood                        single trajectory of gender identity development for
                                                       gender minority children.
Sexual orientation, as usually conceptualized,
begins at or near adolescence with the development     It is important to note that research on gender
of sexual feelings (APA Task Force on Appropriate      identity issues among children is largely clinical in
Therapeutic Responses to Sexual Orientation,           nature and focuses on the treatment and intervention
2009). While children display aspects of sexuality     of Gender Dysphoria and, previously, Gender
from infancy, and almost universally develop sexual    Identity Disorder12(APA Task Force on Gender
feelings by adolescence or earlier, the limited        Identity and Gender Variance, 2009). Though there




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have been no epidemiological studies to determine      criteria for Gender Dysphoria (and, previously,
the prevalence of gender diverse and transgender       Gender Identity Disorder) in Childhood includes
children or adolescents, there has been a notable      indicators that might denote gender dysphoria or
increase in the number of gender minority youth        gender identity, but might also simply be markers of
presenting to specialty gender clinics in the past     diverse gender expression (for example, children’s
decade (Vance, et al., 2014). Recent evidence          play preferences; Steensma, Biemond, de Boer,
indicates that as a culture becomes more supportive    & Cohen-Kettenis, 2011; Steensma, McGuire, et
of gender diversity, more children are affirming a     al., 2013). These scholars have suggested that the
transgender identity or diverse gender expressions     inclusion in study samples of many children with
(Vance, et al., 2014).                                 diverse gender expressions who may not have
                                                       gender dysphoria could explain the large proportion
Some gender non-conforming children experience         of gender minority children who eventually do not
significant distress, currently termed gender          meet the diagnostic criteria in adolescence (Hidalgo
dysphoria. Signs of gender dysphoria may emerge        et al., 2013; Wallien & Cohen-Kettenis, 2008).
as early as the preschool years; children as young
as two years may indicate that they want to be         One of gender’s greatest complexities is that
another gender, express dislike for the gender         some people never identify with the sex they
associated with their sex assigned at birth, express   were assigned at birth, some people consistently
anatomic dysphoria, and state that they want to        identify with the sex they were assigned at birth,
be another gender as soon as they can express          and still others vary over time. Gender minority
language (Cohen-Kettenis, 2005). For most gender       children follow two trajectories13: On the first,
minority children, gender dysphoria does not           children will experience gender dysphoria through
persist through adolescence. Existing research         adolescence and adulthood (unless dysphoria is
suggests that between 12 percent and 50 percent        mitigated through social or medical transition)
of children attending a specialty clinic for gender    and will identify as transgender or as a gender
dysphoria may persist in their identification          different from that assigned at birth. On the other
with a gender different than sex assigned at           trajectory, gender minority children will develop to
birth into late adolescence and young adulthood        be cisgender individuals, i.e., they will eventually
(Drummond, Bradley, Peterson-Badali, & Zucker,         identify with a gender consistent with their sex
2008; Steensma, McGuire, Kreukels, Beekman, &          assigned at birth (Simons, et al., 2014). Gender
Cohen-Kettenis, 2013; Wallien & Cohen-Kettenis,        minority children who eventually develop a
2008). These studies were based on clinical            cisgender identity are more likely to identify as
samples of youth and many of the researchers           lesbian, gay, or bisexual in adolescence and young
categorized youth no longer attending the clinics      adulthood (Bailey & Zucker, 1995; Drescher,
(whose gender identity may be unknown) as no           2014; Leibowitz & Spack, 2011; Wallien & Cohen-
longer gender dysphoric, and so this research          Kettenis, 2008). It is unknown whether gender
likely underestimates the percentage of youth who      minority children who develop a cisgender identity
persist with a cross-gender or transgender identity    continue to express their gender in ways that do
(American Psychological Association, 2015a).           not conform to stereotypical gender norms, as this
                                                       has not been studied. No prospective data exist on
The fact that a large proportion of gender minority    factors that might predict for any particular child
children do eventually develop a gender identity       which trajectory they will follow. There is, however,
consistent with their sex assigned at birth has been   recent retrospective evidence identifying factors that
viewed as evidence of the malleability of gender       are more common among children who eventually
identity (Zucker, 2004; Zucker & Bradley, 1995).       identify as transgender: early cognitive (“I am
However, this conclusion has been challenged in        a girl”) rather than affective (“I feel like a girl”)
recent years by some scholars. These researchers       assertion of gender; consistent and firm gender-
and clinicians have pointed out that the diagnostic



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fluid or gender-crossing expressions and identity;      typicality, gender contentedness, and pressure to
and distress about the incongruence between their       conform to stereotypical gender norms also appear
physical sex characteristics and affirmed gender        related to children’s psychosocial adjustment.
(Steensma, Biemond, de Boer, & Cohen-Kettenis,          Researchers have reported on the relationships
2011; Steensma, McGuire, et al., 2013; Vance, et        between these various components of gender
al., 2014).                                             identity and indicators of children’s psychosocial
                                                        adjustment, such as self-esteem, internalizing and
Clinical Issues in Childhood                            externalizing problems, and social competence
Researchers have not systematically investigated        with peers (Carver, Yunger, & Perry, 2003; Egan &
whether children experience distress related to their   Perry, 2001; Yunger, Carver, & Perry, 2004).
sexual orientation. No published research suggests      Gender minority children, on average, have poorer
that children are distressed about their sexual         relationships with parents (Adelson & AACAP
orientation. When pre-pubertal children are referred    CQI, 2012; Alanko et al., 2009) and peers (Smith
to behavioral health professionals for concerns         & Leaper, 2006; Zucker, 2005), experience high
related to sexual orientation, such referrals are       rates of mistreatment from peers (D’Augelli,
often precipitated by a parent or guardian’s concern    Grossman, & Starks, 2006), and are at increased
or distress about a child’s behavior – generally,       risk of physical and sexual abuse in childhood,
a failure to conform to stereotypical gender role       as compared to their gender conforming peers
behaviors – and possible future sexual orientation      (Roberts, Rosario, Corliss, Koenen, & Austin,
(APA Task Force on Appropriate Therapeutic              2012). Clinical samples of gender minority
Responses to Sexual Orientation, 2009). Research        children with gender dysphoria have increased
has shown that gender diverse children who develop      rates of internalizing disorders, such as depression
a cisgender identity do have a higher likelihood of     and anxiety (de Vries, et al., 2011; Spack et al.,
identifying as a sexual minority in adulthood, and      2012) and behavioral problems (Simons, et al.,
that some (but not all) sexual minority adults recall   2014; Zucker, 2004), as compared to the general
gender nonconforming behaviors in childhood             population of children. Behavioral issues among
(APA Task Force on Appropriate Therapeutic              those with gender dysphoria increase with age;
Responses to Sexual Orientation, 2009). It is           poor peer relations explain most of the variance in
unknown whether cisgender lesbian, gay, and             behavioral problems among children with gender
bisexual adults who were treated by behavioral          dysphoria (Zucker, 2004). Negative social attitudes
health providers as youth experienced distress          or rejection are likely related if not the direct causes
related to their gender nonconformity (APA Task         of these psychological difficulties (Vance, et al.,
Force on Appropriate Therapeutic Responses to           2014). Additionally, autism spectrum disorders
Sexual Orientation, 2009).                              appear to occur more commonly among clinical
Gender minority children are not a monolithic           samples of children with gender dysphoria than
group: some gender diverse children are distressed;     among children in the general population, though
while others are not distressed, but may be referred    the reason for this increased co-occurrence, and
for mental health care because of parental concerns     whether this increased co-occurrence also occurs
related to their gender or perceived future sexual      outside of clinic populations, is not fully understood
orientation. Among those who are distressed, the        (de Vries, et al., 2010; Edwards-Leeper & Spack,
source of distress varies. Some gender diverse          2012).
children are distressed by their primary sex
characteristics or by the anticipation of future sex
characteristics, while others are not (Coleman,
et al., 2012; Vance, et al., 2014). In addition to
anatomical dysphoria, children’s feelings of gender




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Sexual Orientation and Gender in                          Gender Identity in Adolescence
Adolescence                                               Gender minority adolescents include both youth
Sexual Orientation in Adolescence                         who realized a transgender identity or gender
                                                          diverse presentation in childhood (i.e., early-onset
Significant physical, cognitive, and social               individuals) and youth for whom gender dysphoria
development occurs during adolescence. Sexual             first emerges in adolescence (i.e., later-onset
minority adolescents face the same developmental          individuals). Adolescence is a crucial period for the
tasks that accompany adolescence for all youth,           consolidation of gender identity and persistence
including sexual identity development. Unlike             of gender dysphoria in early-onset individuals and
those with a heterosexual orientation, however,           for the initiation of gender dysphoria in later-onset
adolescents with a minority sexual orientation            individuals (Steensma, McGuire, et al., 2013).
must navigate awareness and acceptance of a               Youth for whom gender dysphoria first emerges
socially marginalized sexual identity; potentially        in adolescence may have no history of a gender
without family, community, or societal support.           diverse expression or gender identity questioning
Various factors affect the trajectory of development      in childhood (Edwards-Leeper & Spack, 2012;
related to sexual orientation, and there is not a         Wallien & Cohen-Kettenis, 2008). The onset of
single or simple trajectory experienced by all            typical physical changes associated with puberty
individuals (Diamond, 2006, 2008; Diamond &               is often associated with worsening of anatomical
Savin-Williams, 2000; Dube & Savin-Williams,              dysphoria and distress in adolescents with gender
1999; Horowitz & Newcomb, 2001). In a large               dysphoria (Byne, et al., 2012; Coleman, et al.,
prospective cohort study of adolescents living            2012). Increasing numbers of adolescents have
throughout the U.S., 12 percent of males and 22           already starting living in their desired gender role
percent of females at one point indicated a minority      upon entering high school (Cohen-Kettenis &
sexual orientation identity (i.e., mostly heterosexual,   Pfäfflin, 2003) and many (but not all) adolescents
bisexual, mostly homosexual, or completely                with gender dysphoria express a strong desire for
homosexual; Ott, Corliss, Wypij, Rosario, & Austin,       hormone therapy and gender affirming surgeries
2010)14. Compared to earlier cohorts, today’s sexual      (Coleman, et al., 2012).
minority adolescents are developing an awareness
of their sexual orientation and disclosing their          When gender dysphoria persists through childhood
sexual orientation to others earlier than previous        and intensifies into adolescence, the likelihood
generations, frequently disclosing their sexual           of long-term persistence of gender dysphoria and
orientation or “coming out” as lesbian, gay, or           identification as transgender in adulthood increases.
bisexual in middle or high school (Diamond                Two different follow up studies reported that 50-
& Savin-Williams, 2000; Floyd & Bakeman,                  67 percent of adolescents attending a specialty
2006; Grov, et al., 2006; R. C. Savin-Williams,           clinic for gender dysphoria went on to have gender
2001; R.C. Savin-Williams, 2005). This earlier            affirming surgeries, suggesting high rates of
disclosure means that adolescents are now often           persistence (Cohen-Kettenis & van Goozen, 1997;
coming out while still dependent on their families        Smith, van Goozen, & Cohen-Kettenis, 2001).
and communities for emotional and instrumental            Since not all individuals with gender dysphoria
support.                                                  have gender affirming surgeries, the percentage of
                                                          adolescents in these study samples who continued
                                                          to experience gender dysphoria is likely higher than
                                                          50-67 percent; in fact, the Smith et al. (2001) study
                                                          suggested that a considerable number of the patients
                                                          who did not have gender affirming surgeries still
                                                          experienced gender dysphoria four years later.




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Clinical Issues in Adolescence                          in Amsterdam, Netherlands as compared to the
                                                        general population. This research only examined
Although many sexual and gender minority youth
                                                        cases of severe autism and not milder versions
successfully navigate the challenges of adolescence,
                                                        such as Asperger’s disorder, which Edwards-
others experience a variety of mental health and
                                                        Leeper and Spack (2012) reported being more
psychosocial concerns. In comparison with their
                                                        commonly seen among patients in the GeMS clinic
heterosexual and cisgender counterparts, sexual
                                                        in Boston, especially among those with a late-onset
and gender minority adolescents are at increased
                                                        of gender dysphoria. The question of whether
risk for psychological distress and substance
                                                        gender dysphoria is simply a symptom of autism
use behaviors, including depressive symptoms,
                                                        spectrum disorder among youth with ASD has been
increased rates of substance use and abuse,
                                                        raised by behavioral health providers; Edwards-
suicidal ideation and attempts, as well as increased
                                                        Leeper and Spack (2012) suggest that it is also
likelihood of experiencing victimization, violence,
                                                        worth questioning validity of the autism diagnosis
and homelessness (Coleman, et al., 2012; Corliss,
                                                        among transgender youth, particularly those with
et al., 2010; Friedman, et al., 2011; Garofalo, et
                                                        Asperger’s disorder, as it is possible that social
al., 2006; Goldbach, et al., 2014; Hatzenbuehler,
                                                        awkwardness and lack of peer relationships are the
2011; Institute of Medicine, 2011; Kann, et al.,
                                                        result of feeling isolated and rejected due to gender
2011; Liu & Mustanski, 2012; Marshal, et al., 2011;
                                                        identity and expression (Edwards-Leeper & Spack,
Mustanski, et al., 2010; S. T. Russell, 2003; Simons,
                                                        2012). More research is needed into appropriate
et al., 2014). Sexual and gender minority youth
                                                        treatment for sexual and gender minority children
who lack supportive environments are especially
                                                        and adolescents with developmental disabilities
vulnerable to these negative outcomes (for example,
                                                        as well; behavioral health providers should not
research from Kosciw, et al., (2014), Ryan,
                                                        presume that young people with developmental
Huebner, Diaz, & Sanchez, (2009), and Travers, et
                                                        disabilities cannot also be sexual and gender
al. (2012)).
                                                        minorities.
Pubertal development can be especially
distressing for transgender adolescents and can         Influences on Health and
set off a cascade of mental health problems during      Well-Being
adolescence (Byne, et al., 2012; Coleman, et al.,       The increased risks faced by sexual or gender
2012). Mental health challenges are more common         minority youth are not a function of their identity.
among adolescents with gender dysphoria than            Rather, these risks stem from the stresses of
among children with gender dysphoria (Byne et           prejudice, discrimination, rejection, harassment,
al., 2012), which may be due to peer ostracism that     and violence (Bockting et al., 2013; Harper &
increases with age (APA Task Force on Gender            Schneider, 2003; Hendricks & Testa, 2012; Meyer,
Identity and Gender Variance, 2009). Additionally,      1995). The presence of sexual orientation- and
as with children, the prevalence of autism spectrum     gender-related stressors – and opportunities for
disorders appears to be higher among clinical           support – encompasses multiple social systems,
samples of adolescents with gender dysphoria            including family, school, and religious networks
than among the general population of adolescents        (U. Bronfenbrenner, 1979; U. Bronfenbrenner,
(de Vries, et al., 2010; Edwards-Leeper & Spack,        2005; Harper, 2007); Mustanski, Birkett, Greene,
2012). Adolescents with autism spectrum disorders       Hatzenbuehler, & Newcomb, 2013)15. Therefore,
(ASD) would benefit from careful assessment             when a distressed sexual and gender minority
distinguishing between symptomatology related to        adolescent is evaluated by a behavioral health
gender dysphoria and symptoms related to ASD.           provider, it is imperative to assess the broader
de Vries, et al. (2010) reported a rate of autism       family and community systems in which the child
spectrum disorders 10 times higher among children       lives, in addition to individual issues. Assessing
and adolescents referred to their gender clinic




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not only the adolescent’s level of distress, but also   Furthermore, the level of family acceptance or
identifying the source(s) of distress and support are   rejection an adolescent experiences appears to have
vital components of a comprehensive assessment.         effects that extend into young adulthood. Data
                                                        from the Family Acceptance Project have shown
Family                                                  that sexual and gender minority young adults who
Family response to an adolescent’s sexual               experienced high levels of family rejection during
orientation, gender identity, or gender expression      adolescence fared significantly worse than those
has a significant impact on the adolescent’s            who experience low levels of family rejection in
wellbeing. Parents can serve as both a source           terms of depression, substance abuse, sexual risk
of stress and a source of support for sexual and        behaviors, and suicide attempts (Ryan, Huebner,
gender minority youth (Bouris, et al., 2010; Ryan,      Diaz, & Sanchez, 2009); conversely, high levels of
Russell, Huebner, Diaz, & Sanchez, 2010; Travers        family acceptance in adolescence predicted greater
et al., 2012). Negative parental responses to sexual    self-esteem, social support, and general health
orientation or gender are associated with young         status, and protected against depression, substance
people’s psychological distress; however, parent-       abuse, and suicidal ideation and behaviors in young
child relationships characterized by closeness and      adulthood as compared to those with low levels
support, however, are an important correlate of         of family acceptance in adolescence (Ryan, et al.,
mental well-being. Research by Doty, Willoughby,        2010).
Lindahl and Malik (2010) has emphasized the
                                                        Religion & Spirituality
benefits of sexuality-specific family and peer
support to sexual minority adolescents’ well-being.     When considering family and community
                                                        influences, an adolescent’s religious background
Sexual and gender minority adolescents are at           is also an important factor. Religious beliefs
increased risk for experiencing violence and            and background are far-reaching influences that
victimization, including psychological, physical,       encompass multiple arenas of one’s life, including:
and sexual abuse from those within their families       personal and family religious identity, beliefs and
compared to adolescents from the general                coping; family attitudes, beliefs and relationships;
population (Friedman, et al., 2011; Roberts, et al.,    and community character and support. Religious
2012). Past parental verbal and physical abuse has      views of homosexuality in the United States vary
been associated with suicide attempts in transgender    widely (Moon, 2014), and religion can have a
adolescents (Grossman & D’Augelli, 2007). These         large influence on sexual minority adolescents’
adolescents may also be ejected from their homes        mental health and wellbeing (cf. Ream & Savin-
or run away, contributing to the overrepresentation     Williams, 2005; Page, Lindahl, & Malik, 2013).
of sexual and gender minority adolescents among         Though research on who seeks conversion therapy
the nation’s homeless youth; 20-40 percent of all       to change sexual orientation is lacking, it appears
homeless youth identify as lesbian, gay, bisexual, or   that such requests occur primarily among religious
transgender (Durso & Gates, 2012; Ray & National        communities that view minority sexual orientations
Gay and Lesbian Task Force, 2006). Some data            as undesirable or morally wrong (APA Task Force
suggest that, compared to cisgender youth who           on Appropriate Therapeutic Responses to Sexual
conform to stereotypical gender norms, transgender      Orientation, 2009).
and other adolescents whose gender expressions do
not conform to stereotypical norms have a higher        Though religiosity is often associated with better
risk of abuse from family members (Roberts, et al.,     psychosocial adjustment among young people in
2012; Roberts, Rosario, Slopen, Calzo, & Austin,        general, sexual minority youth may feel rejected
2013).                                                  by their religion or experience conflict between
                                                        their sexual orientation and religious identities
                                                        (Cotton, Zebracki, Rosenthal, Tsevat, & Drotar,




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2006). However, various ways in which adolescents       Parents from faith backgrounds have reactions that
and young adults reconcile this conflict have been      are similar in essential ways to all parents (e.g.,
identified (Meanley, Pingel, & Bauermiester, 2015;      sense of loss, desire for information, coming to
Ream & Savin-Williams, 2005). Sexual minority           terms with difference between hopes and reality;
youth growing up in more conservatively religious       Maslowe and Yarhouse, 2015). Research indicates
families are, on average, exposed to more messages      that families who identify superordinate goals such
that portray minority sexual orientations as            as unconditional love, mercy, forgiveness, and
undesirable or morally wrong (Schope & Eliason,         respect for all human beings can remain connected
2000), which are associated with shame, guilt, and      to their children in positive ways (Ryan et al, 2009;
internalized homophobia (Ream & Savin-Williams,         Maslowe & Yarhouse, 2015).
2005). Sexual minority adolescents with religious
parents may be less likely to disclose their sexual     Given the great potential impact of religion on the
orientation to others (Schope, 2002; Stewart, Heck,     lives of sexual and gender minority youth, little
& Cochran, 2015). Some research has indicated           research has been done in this area with sexual
that involvement with religious or spiritual            minority adolescents and almost none has been
belief systems that cast rejecting or disapproving      completed with gender minority adolescents;
messages about sexual minorities is associated with     further, almost no research has focused on sexual
greater psychosocial challenges, including increased    minority youth or adults in the United States from
internalized homophobia (Meanley, Pingel, &             non-Christian religious backgrounds (cf. Harari,
Bauermeister, 2015; Page, Lindahl, & Malik, 2013).      Glenwick, & Cecero, 2014; Siraj, 2012). It is
                                                        unknown whether similar relationships between
Religiosity or spirituality can be a deeply affirming   various aspects of religion and well-being would
and supportive aspect of identity, including for        be seen among gender minority youth and among
sexual minorities from faith communities. Research      sexual and gender minority youth from non-
with adults indicates that affirming religious          Christian religious backgrounds.
environments – that is, those that are inclusive and
supportive of sexual minorities –may be associated      School
with improved psychological wellbeing and               Sexual and gender minority adolescents may also
reduced internalized homophobia (e.g., research         experience a myriad of sexual orientation and
from Lease, et al. (2005) and Yakushko (2005).          gender-related stressors in the school environment,
Research from Hatzenbuehler, Pachankis, and Wolff       where they spend a large portion of their time.
(2012) supports the benefit of affirming religious      The climates of U.S. middle and high schools
environments for youth as well; the researchers         are generally unsupportive and unsafe for many
reported that lesbian, gay, and bisexual high school    sexual and gender minority youth, who experience
students who lived in Oregon counties with a            high levels of verbal and physical harassment
supportive religious climate (i.e., counties where      and assault, sexual harassment, social exclusion
the majority of religious individuals adhered to        and isolation, and other interpersonal problems
a religious denomination supportive of minority         with peers (Kosciw, Greytak, & Diaz, 2009). In
sexual orientations) had significantly fewer alcohol    the most recent National School Climate Survey,
abuse symptoms and fewer sexual risk behaviors          the Gay, Lesbian & Straight Education Network
than those living in counties with a less supportive    (GLSEN) found that 55.5 percent of surveyed
religious climate.                                      sexual and gender minority students felt unsafe
It is important not to reify categories within faiths   at school because of their sexual orientation and
such as “traditional”, “liberal”, “affirming” and       37.8 percent felt unsafe because of their gender
“non-affirming”; religion and spirituality are          expression (Kosciw, et al., 2014). Most students
complex, nuanced aspects of human diversity.            reported hearing homophobic remarks and negative
                                                        remarks about their gender expression at school




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from fellow students and teachers or other school       sexual and gender minority youth find support.
staff; a third of students reported hearing negative    The presence of friends to whom youth can be out
remarks specifically about transgender people. Of       about their sexual orientation or gender identity has
the students surveyed, 74.1 percent of surveyed         been linked to mental health and wellbeing (Doty &
students were verbally harassed, 36.2 percent were      Brian, 2010; Elizur & Ziv, 2001). Sexual and gender
physically harassed, 16.5 percent were physically       minority friends may be of particular importance,
assaulted, and 49.0 percent were cyberbullied in        as they are more likely than heterosexual and
the past year because of their sexual orientation.      cisgender friends to provide support for sexuality-
On average, sexual minority students of color and       related stress, which is associated with lower levels
students who did not conform to stereotypical           of both emotional distress and sexuality distress
gender roles experienced higher frequencies of          (Doty, et al., 2010; Snapp, Watson, Russell, Diaz, &
victimization. Over half of the students surveyed       Ryan, 2015). Additionally, both the presence of and
experienced policies that were discriminatory           participation in a Gay-Straight-Alliance (GSA) – a
based on sexual orientation, gender identity, or        student-led, school-based club aiming to provide
gender expression at school. Transgender students       a safe place for LGBTQ students – has beneficial
were particularly targeted by some discriminatory       outcomes for sexual and gender minority students
policies: 42.2 percent of transgender students had      (for example, research from Goodenow, Szalacha,
been prevented from using their preferred name;         and Westheimer (2006), Kosciw, Greytak, Diaz,
59.2 percent were required to use a bathroom or         and Bartkiewicz (2010), Toomey, Ryan, Diaz, and
locker room of their legal sex; and 31.6 percent        Russell (2011), and Walls, Kane, and Wisneski
were not allowed to wear clothes consistent with        (2010)).
their gender identity.
                                                        Identity Development
This mistreatment has a significant effect on sexual
and gender minority adolescents’ mental health and      Sexual and gender minority adolescents may
wellbeing. Those who experience victimization due       experience identity conflict when reconciling a
to sexual orientation or gender expression are more     sexual minority identity that may conflict with the
likely to report depressive symptoms, suicidality,      expectations of their family, peers, and community.
and low self-esteem (Burton, Marshal, Chisolm,          Difficulty with the identity development process,
Sucato, & Friedman, 2013; Kosciw, et al., 2014).        such as difficulty accepting one’s sexual orientation
Experiences of victimization and discrimination are     and dissonance between one’s self-image and
linked to negative academic outcomes, including         societal beliefs about sexual minorities, can increase
missing school, lower grades, and not planning          internalized homophobia (Page et al., 2013).
to pursue post-secondary education (Kosciw, et          Sexual orientation conflict has been linked to
al., 2014). Further, these effects may last into        negative psychosocial outcomes in adolescents and
young adulthood (Russell, Ryan, Toomey, Diaz,           young adults (Willoughby, Doty, & Malik, 2010).
& Sanchez, 2011). Victimization from peers and          Furthermore, a negative self-image as a sexual
school staff, combined with discriminatory policies,    minority contributes to the relationship between
likely contributes to the over-representation of        sexuality-specific stressors, including family
sexual and gender minorities in the juvenile justice    rejection and victimization, to poorer mental health
system: though sexual and gender minority youth         outcomes (Page, et al., 2013; Willoughby, et al.,
comprise only five to seven percent of the nation’s     2010).
youth, it is estimated that 13 to 15 percent of youth   Though less research has been done with gender
in the juvenile justice system are sexual and gender    minority adolescents overall, and especially on
minority youth (Majd, Marksamer, & Reyes, 2009).        topics related to identity, internalized transphobia
School and peer networks can also be a place where      is expected to have a deleterious effect on mental
                                                        health (Hendricks & Testa, 2012). Therefore,




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important areas of focus for behavioral health         Therapeutic Efforts with Sexual
professionals who work with sexual and gender          and Gender Minority Youth
minority adolescents include internalized
homophobia, transphobia, and clients’ minority         Introduction16
identity.
                                                       Despite dramatic social changes in the recognition
Intersecting Identities                                of same-gender relationships and families and
                                                       transgender identities, sexual and gender minority
Finally, sexual and gender minority adolescents are    children and adolescents and their families face
not a single, homogenous population; individuals       misinformation, negative social attitudes and
may hold multiple minority identities. Race,           discrimination that can pose challenges for child
ethnicity, sex assigned at birth, social class,        development and family acceptance. Behavioral
religion, disability, and immigration status may       health providers may receive referrals for
each confer their own unique minority identities,      treatment that include requests to change a child
stressors, and strengths that interact with those      or adolescent’s actual, perceived, or future sexual
related to sexual orientation and gender identity      orientation or same-gender sexual behaviors,
and expression. Sexual and gender minority youth       gender identity, or gender expression. Requests for
have multiple, interlocking identities defined by      conversion therapy most often come from a parent
relative sociocultural power and privilege that        or guardian, or more rarely, a child or adolescent.
shape individual and collective identities and
experiences (Crenshaw, 1991; Parent, DeBlaere,         In providing services to children, adolescents, and
& Moradi, 2013; Shields, 2008; Yarhouse & Tan,         families experiencing distress related to sexual
2005). Though a full review is beyond the scope        orientation or gender, behavioral health providers
of this report, research has begun to identify         should consider the following as the scientific basis
some of the ways that sexual and gender minority       of treatment17:
adolescents’ experiences vary by race/ethnicity
(Corby, Hodges, & Perry, 2007; Grov, et al., 2006;     •   Same-gender sexual identity, behavior, and
Kosciw, et al., 2014; Ryan, et al., 2009; Ryan, et         attraction do not constitute a mental disorder;
al., 2010), immigration status (Daley, Solomon,        •   Transgender identities and diverse gender
Newman, & Mishna, 2008; Ryan, et al., 2009;                expressions do not constitute a mental disorder;
Ryan, et al., 2010), gender (Bontempo & D’Augelli,     •   Same-gender sexual attractions are part of
2002; Ryan, et al., 2009), gender expression               the normal spectrum of sexual orientation
(Hidalgo, Kuhns, Kwon, Mustanski, & Garofalo,              and occur in the context of a variety of sexual
2015; Roberts, et al., 2012; Roberts, et al., 2013;        orientations and gender identities;
Toomey, Ryan, Diaz, Card, & Russell, 2010), and        •   Variations in gender identity and expression are
socioeconomic status (Kosciw, et al., 2009; Ryan,          normal aspects of human diversity, and binary
et al., 2009; Ryan, et al., 2010). Behavioral health       definitions of gender may not reflect emerging
professionals working with sexual and gender               gender identities;
minority youth should be aware of and responsive       •   Gay men, lesbians, bisexual and transgender
to the intersecting identities held by young people        individuals can lead satisfying lives as well
when considering the effects of minority stress on         as form stable, committed relationships and
mental health and wellbeing. Given the gaps in our         families.
understanding, more research on the experiences
of adolescents who hold multiple marginalized          Conversion Therapy
identities is needed in order to understand both       Lesbian, gay, and bisexual orientations are normal
the unique strengths and sources resilience, as        variations of human sexuality and are not mental
well as the stressors youth and their families may     health disorders; therefore, treatment seeking to
experience.



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change an individual’s sexual orientation is not        & Ehrbar (2005)), such a discussion is beyond
indicated. Thus, behavioral health efforts that         the scope of this report. However, the shift from
attempt to change an individual’s sexual orientation    Gender Identity Disorder to Gender Dysphoria
are inappropriate. In 2009, the APA Taskforce on        in version five of the Diagnostic and Statistical
Appropriate Therapeutic Responses to Sexual             Manual of Mental Disorders does reflect a shift
Orientation Change Efforts conducted a thorough         away from a pathological view of gender diversity
review of peer-reviewed literature published on         towards a focus on the distress experienced as a
conversion therapy. The APA Taskforce concluded         result of the incongruence between one’s physical
that no methodologically-sound research on adults       body and gender identity (American Psychiatric
undergoing conversion therapy has demonstrated its      Association, 2013a; Simons, et al., 2014; Vance,
effectiveness in changing sexual orientation. There     et al., 2014). Thus, the distress remains the target
have been no studies on the effects of conversion       of intervention, rather than gender identity. There
therapy on children, though adults’ retrospective       is also scientific consensus that for many people,
accounts of their experiences of conversion therapy     medical intervention in the form of hormone
during childhood or adolescence suggests that many      therapy or gender affirming surgeries may be
were harmed (American Psychological Association,        medically necessary to alleviate gender dysphoria
2009). No new studies have been published that          (American Medical Association, 2008; American
would change the conclusions reached in the APA         Psychological Association, 2008; Anton, 2009;
Taskforce’s 2009 review.                                World Professional Association for Transgender
                                                        Health, 2008).
Given the lack of evidence of efficacy and the
potential risk of serious harm, every major medical,    Historically, conversion therapy efforts to make
psychiatric, psychological, and professional mental     children’s behaviors, dress, and mannerisms more
health organization, including the American             consistent with those stereotypically expected of
Psychological Association, the American                 their assigned sex at birth (i.e., more stereotypically
Psychiatric Association, the National Association       masculine expression for those assigned male at
for Social Work, the Pan American Health                birth and more stereotypically feminine expression
Organization, and the American Academy of Child         for those assigned female at birth) were the
and Adolescent Psychiatry, has taken measures           primary clinical approach used with children
to end conversion therapy efforts to change             experiencing gender dysphoria (Vance, et al.,
sexual orientation. To the extent that children and     2014; Zucker, 2004). Efforts to change children’s
adolescents experience distress related to their        gender expression have been made with the goal of
sexual orientation, treatment efforts should focus on   preventing a transgender identity, as well as with
identifying and ameliorating the sources of distress.   the goal of preventing a future minority sexual
                                                        orientation. Such efforts were based on the belief
The discussion surrounding conversion therapy           that variations in gender identity and expression
with gender minority youth is complicated by            are pathological and that certain patterns of
the fact that though diverse gender expressions         family relationships cause a transgender identity
and transgender identities are now understood to        or minority sexual orientation; research has not
be part of the normal spectrum of human gender          supported these theories or interventions (American
(American Psychological Association, 2015a;             Psychological Association, 2009). Because there
Coleman, et al., 2012; Knudson, De Cuypere,             is scientific consensus that gender dysphoria
& Bockting, 2010), there remains a related              in adolescence is unlikely to remit without
psychiatric diagnosis: Gender Dysphoria (formerly       medical intervention, even those who support
Gender Identity Disorder (American Psychiatric          gender identity change efforts with pre-pubertal
Association, 2013a). Although there is much debate      children generally do not attempt such efforts
over whether Gender Dysphoria should remain a           with adolescents experiencing gender dysphoria
psychiatric diagnosis (for example, see Bockting



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(Adelson & AACAP CQI, 2012; American                    behaviors and a lack of support have adverse
Psychological Association, 2008). Alternative           effects on the psychological well-being of gender
affirmative and supportive approaches to therapy        minority youth – conversion therapy, as well as any
with transgender and gender diverse children have       therapeutic intervention with an a priori goal for a
been developed and are becoming increasingly            child’s or adolescent’s gender expression, gender
common (Edwards-Leeper, Leibowitz, &                    identity, or sexual orientation, is inappropriate.
Sangganjanavanich, in press; Hidalgo, et al., 2013;     Given the potential for harm associated with
Lev, 2005; Menvielle & Tuerk, 2002; Menvielle,          conversion therapy efforts, other affirmative
Tuerk, & Perrin, 2005).                                 behavioral health interventions are recommended
                                                        for individual or family distress associated with
No research has been published in the peer-             sexual orientation and gender identity.
reviewed literature that demonstrates the efficacy
of conversion therapy efforts with gender minority      Appropriate Interventions for Distress in
youth, nor any benefits of such interventions to        Children, Adolescents, and Families18
children and their families. Researchers have
reported that these interventions are ineffective in    Behavioral health providers are in a unique position
decreasing the likelihood of a future same-gender       to provide accurate information on the development
sexual orientation or minority sexual identity          of sexual orientation and gender identity and
(Zucker & Bradley, 1995). In addition to a lack of      expression; to increase family and school support;
evidence for the efficacy of conversion therapy with    and to reduce family, community and social
gender minority youth, there are concerns about the     rejection of sexual and gender minority children and
ethics of this practice (Byne, et al., 2012; Coleman,   adolescents. The descriptions of interventions below
et al., 2012) as well as the practice’s potential for   provide general guidance to behavioral health
harm (Minter, 2012; Wallace & Russell, 2013).           providers working in this area.
Although no research demonstrating the harms of
                                                        Client-Centered Individual Approaches
conversion therapy with gender minority youth has
been published, the potential harms of conversion       Behavioral health providers should provide
therapy are suggested by clinicians’ observations       children, adolescents and their families with
that the behavioral issues and psychological            developmentally-appropriate multiculturally-
distress of many children and adolescents with          competent and client-centered interventions that
gender dysphoria improves markedly when their           emphasize acceptance, support, assessment, and
gender identities and expressions are affirmed          understanding. A clear treatment goal is to identify
through social and/or medical transition (de Vries,     sources of distress and work to reduce any distress
Steensma, Doreleijers, & Cohen-Kettenis, 2011;          experienced by children, adolescents and their
Edwards-Leeper & Spack, 2012), as well as by the        families.
body of literature demonstrating the negative effects
of both rejection and a lack of support on the health   Appropriate approaches support children and
and well-being of gender minority youth (e.g.,          adolescents in identity exploration and development
research from Kosciw, et al. (2014), Ryan, et al.       without seeking predetermined outcomes related
(2010), and Travers, et al. (2012)).                    to sexual orientation, sexual identity, gender
                                                        identity, or gender expression. Such approaches
In conclusion, given the lack of evidence for           include an awareness of the interrelatedness of
the efficacy conversion therapy and the fact that       multiple identities in individual development as
conversion therapy efforts are based on a view          well an understanding of cultural, ethnic, and
of gender diversity that runs counter to scientific     religious variation in families. Specific approaches
consensus, in addition to evidence that rejecting       can include (a) providing a developmentally-
                                                        informed cognitive, emotional, mental health




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and social assessment of the child and family;            adolescents. Identity development is multifaceted
(b) supporting children and adolescents in their          and may include multiple and intersecting identities,
developmental processes and age-appropriate               such as ethnic and racial and religious and spiritual
milestones and facilitiating adaptive coping; (c)         identities. Sexual orientation, gender identity and
providing developmentally-appropriate affirmative         expression are fluid concepts and in flux, requiring
information and education on sexual orientation,          the consideration of generational changes and norms.
gender identity, gender expression, sexuality, and        Supporting youth in age-appropriate tasks such
the identities and lives of lesbian, gay, bisexual,       as developing positive peer relationships, positive
transgender people and those who are questioning          parent and family relations, dating, exploring gender
their sexual orientation or gender identity (LGBTQ)       expression, sexuality, multiple identity development
to children and adolescents, parents or guardians         and disclosure as appropriate is a critical
and community organizations; and, (d) reducing            consideration. Behavioral health providers should
internalized negative attitudes toward same-gender        take into consideration potential sources of social
attractions, gender diversity, and LGBTQ identities       support and community resources. Client-centered
in children and youth and in parents or guardians         and exploratory approaches specific to gender
and community institutions (e.g., schools and             minority youth have been discussed in numerous
community social groups).                                 publications (Edwards-Leeper, et al., in press;
                                                          Hidalgo, et al., 2013; Lev, 2005; Menvielle & Tuerk,
Behavioral health providers should provide                2002; Menvielle, et al., 2005; Yarhouse, 2015c).
developmentally-sensitive interventions to children
and adolescents. Such interventions include a             Behavioral health providers should describe their
comprehensive evaluation taking into account              treatment plan and interventions to children,
appropriate developmental emotional and cognitive         adolescents and their families and to ensure the
capacities, developmental milestones, and emerging        goals of treatment as well as potential benefits
or existing behavioral health concerns. Specific          and risks are understood. Where appropriate
evaluation procedures for children and adolescents        developmentally, behavioral health providers
with persistent gender concerns have been described       should obtain informed consent with all parties
by Leibowitz and Telingator (2012).                       to treatment. If informed consent is not a
                                                          developmentally appropriate option (as the child
Behavioral health providers should not have an            cannot cognitively or legally provide consent),
a priori goal for sexual orientation or gender            behavioral health providers should explain
expression, or identity outcomes. The goal of             treatment in a developmentally appropriate manner
treatment should be the best level of psychological       and receive assent for treatment. Interventions
functioning not a specific orientation or identity.       that are involuntary, especially those in inpatient
Rather, behavioral health providers should focus on       or residential settings, are potentially harmful and
identity development and exploration that allows the      inappropriate. In addition, interventions that attempt
child or adolescent the freedom of self-discovery         to change sexual orientation, gender identity,
within a context of acceptance and support.               gender expression, or any other form of conversion
Behavioral health providers should strive to              therapy are also inappropriate and may cause
incorporate multicultural awareness into their            harm. Informed consent cannot be provided for
treatment, considering age, ethnicity and race,           an intervention that does not have a benefit to the
gender and gender identity, sexual orientation and        client.
attraction, ability and disability issues, religion and
spirituality, generation, geographic issues and other
notable factors. A key aim is to dispel negative
stereotypes and to provide accurate information in
developmentally-appropriate terms for children and




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Family Approaches                                        between family rejection and negative health
                                                         problems in children and adolescents. Behavioral
Parental attitudes and behaviors play a significant
                                                         health providers should seek ways to ameliorate
role in children’s and adolescents’ adjustment and
                                                         parents’ distress about their children’s sexual
parents’ distress often is the cause of a referral
                                                         orientation and/or gender, such as exploring
for treatment (APA Task Force on Appropriate
                                                         parental attributions and values regarding minority
Therapeutic Responses to Sexual Orientation, 2009;
                                                         sexual orientations and gender diversity. Family
Ryan et al., 2009, 2010). Family rejection, hostility,
                                                         therapy may be helpful in facilitating dialogues,
and violence are key predictors of negative health
                                                         increasing acceptance and support, reducing
outcomes in LGBTQ children and adolescents
                                                         rejection, and improving management of conflicts
(Ryan, et al., 2009; Ryan & Rees, 2012). Reducing
                                                         or misinformation that may exacerbate a child
parental rejection, hostility, and violence (verbal or
                                                         or adolescent’s distress (Mattison & McWhirter,
physical) contributes to the mental health and safety
                                                         1995; Ryan, et al., 2009; Salzburg, 2004, 2007).
of the child and adolescent (Ryan, et al., 2009; R.
                                                         Such therapy can include family psychoeducation
Savin-Williams, 1994; Wilbur, Ryan, & Marksamer,
                                                         to provide accurate information and teach coping
2006).
                                                         skills and problem-solving strategies for dealing
Family therapy that provides anticipatory guidance       more effectively with the challenges sexual and
to parents and guardians to increase their support       gender minority youth may face and the concerns
and reduce rejection of children and adolescents         the families and caretakers may have (Ben-Ari,
is essential. Interventions that increase family         1995; Perrin, 2002; Ryan & Diaz, 2005; Ryan &
and community support and understanding                  Futterman, 1998; Ryan, et al., 2009; Salzburg, 2004,
while decreasing LGBTQ-directed rejection are            2007; Yarhouse, 1998).
recommended for families. School and community
                                                         When working with families of young children,
interventions are also recommended to reduce
                                                         behavioral health providers should counsel parents
societal-level negative attitudes, behaviors and
                                                         who are concerned that their children may grow
policies, as well as provide accurate information
                                                         up to be lesbian, gay, bisexual, or transgender
and social support to children, adolescents, and
                                                         to tolerate the ambiguity inherent in the limited
families.
                                                         scientific knowledge of development. A two-prong
A key focus of treatment should be addressing            approach may be helpful: (a) provide information
parental concerns regarding current or future sexual     to reduce heterosexism and cisgenderism (that is,
orientation and gender identity. Behavioral health       attitudes and actions that a heterosexual orientation
providers should provide family members with             and gender identity and expression that conform to
accurate developmentally-appropriate information         stereotypical norms are preferable to a same-gender
regarding minority sexual orientations and strive        sexual orientation, transgender identity, or diverse
to dispel myths regarding the lives, health, and         gender expression) within the family and increase
psychological well-being of sexual and gender            the family’s capacity to provide support; and (b)
minority individuals.                                    introduce information about sexual and gender
                                                         minority issues into family discussions to increase
Ryan, et al. (2010) recommended that behavioral          the child’s own self-awareness and self-acceptance
health providers assess family reactions to LGBTQ        and to counter negative attitudes directed toward
children and adolescents, specifically the presence      the self that might reduce self-esteem. For example,
of family rejection. Further, behavioral health          consider ways in which respect and value of all
providers should attempt to modify highly rejecting      persons is frequently a shared goal. Even in cases
behaviors, providing anticipatory guidance to            in which family members may disagree about
families that include recommendations for support        decisions each person may make, there may be
on the part of the family, and explaining the link       opportunity to agree on broader principles and




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concepts that can lead to mutual understanding           health providers may wish to increase their own
(Yarhouse, 2015b).                                       competence in working with certain communities
                                                         with deeply held beliefs and focus on viewing these
Families with strong beliefs who see same-gender         beliefs through the imperative of multicultural
attractions or relationships and gender diversity        competence and mutual respect (Bartoli & Gillem,
as undesirable and contrary to those beliefs may         2008). This is includes understanding how to
struggle with a child’s emerging minority sexual         translate between psychology and deeply held
orientation or gender. Ryan and Rees (2012) and          beliefs rather than judging those beliefs. Certain
Yarhouse (1998; Yarhouse & Tan, 2005; Maslowe            language, such as acceptance, might not resonate
& Yarhouse, 2015) have suggested that family             with communities that have strongly held beliefs,
therapy focus encouraging love of their child. This      whereas the concept of unconditional love might
involves focusing on superordinate values such           (Yarhouse, 2015a).
as unconditional love and changing behaviors
to reduce rejection. The authors stress that these       Providing multiculturally-sensitive anticipatory
positive steps can lay a constructive foundation         guidance to all parents to address their unique
for communication and problem solving and                personal concerns can be helpful (Ryan &
reduce family discord and rejection (Yarhouse            Futterman, 1998). Behavioral health providers
& Tan, 2005). Ryan, et al. (2009) and Ryan and           can help the parents plan in an affirmative way
Rees (2012) focus on reframing family concerns           for the unique life challenges that they may face
as a manifestation of care and love and focus on         as parents of a sexual or gender minority child.
teaching non-rejecting ways to communicate those         Also, parents must deal with their own process of
positive emotions. For example, providers can help       “coming out” and resolve fears of discrimination
the family create an atmosphere of mutual respect        or negative social reactions if they risk disclosure
that ensures the safety of each person from being        within their communities, at work, and to other
hurt or bullied as a natural extension of seeing         family members (Ryan & Rees, 2012). Further,
each person as having intrinsic worth (Yarhouse,         behavioral health providers can address other
2015b). One of the most important messages that          stresses, such as managing life celebrations and
can be communicated to a young person is that            transitions and coping feelings of loss, and aid
their safety is important to the provider and to the     parents in advocating for their children in school
family. It is helpful to set an atmosphere of mutual     situations—for example, when they face bullying
respect for one another in the home and then to see      or harassment. Multiple family groups led by
the value of extending that to other settings, such as   behavioral health providers might be helpful to
neighborhood, school, and places of worship. Safety      counter the isolation that many parents experience
in this context is not just physical safety, but also    (Menveille & Tuerk, 2002).
emotional safety (Yarhouse, 2015b).
                                                         School and Community Interventions
Many families may feel they have to choose
between competence (in a provider) and deeply            Research has illustrated the potential that school-
held beliefs. It is ideal when a family can work         based and community interventions have for
with competent providers who also share their            increasing safety and tolerance of sexual and
deeply held beliefs and who are affirming of sexual      gender minorities, preventing distress and negative
orientation and gender diversity. However, when          mental health consequences, and increasing the
such providers are not available, it is important        psychological well-being and health of sexual
for families to work with competent providers            minority children and adolescents (American
who will be sensitive to the family’s deeply held        Psychological Association, 2015c; D’Augelli &
beliefs and values while offering competent,             Patterson, 2001; Goodenow, et al., 2006; Harper,
appropriate services for sexual and gender minority      Jamil, & Wilson, 2007; Kosciw & Diaz, 2006;
minors (Yarhouse, 2015b). Thus, behavioral               Safren & Heimberg, 1999). For instance, sexual




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and gender minority adolescents in schools with          adolescents socially transition at or before the time
support groups for LGBTQ students reported lower         they begin medically transitioning with hormone
rates of suicide attempts and victimization than         therapy, though many adolescents will socially
those without such groups (Goodenow, et al., 2006;       transition earlier (Cohen-Kettenis & Klink, 2015).
Kosciw & Diaz, 2006; Szalacha, 2003; Toomey, et
al., 2011).                                              There is no research evidence on the benefits
                                                         vs. risks of social transition among pre-pubertal
These support groups provided accurate affirmative       children, and the impact of social transition on
information and social support, and the groups’          likelihood of persistence or desistence of gender
presence was also related to increased school            dysphoria has not yet been studied (Adelson &
tolerance and safety for LGB adolescents                 AACAP CQI, 2012; Leibowitz & Telingator,
(Goodenow, et al., 2006; Kosciw & Diaz, 2006;            2012). A divergence of expert opinion exists
Szalacha, 2003; Toomey, et al., 2011). School            among specialists treating gender minority children
policies that increased staff support and positive       (Adelson & AACAP CQI, 2012; Leibowitz &
school climate have been found to moderate               Telingator, 2012). Given the lack of data on the
suicidality and to positively affect sexual minority     risks and benefits of social transition in childhood,
children’s and adolescents’ school achievement and       the American Academy of Child and Adolescent
mental health (Goodenow, et al., 2006).                  Psychiatry suggests that concerns related to social
                                                         transition in school environments should be
Additional Appropriate Approaches with                   weighed against the risks of not doing so, including
Gender Minority Youth                                    distress, social isolation, depression, or suicide
In addition to the appropriate therapeutic               due to lack of social support (Adelson & AACAP
approaches described above – comprehensive               CQI, 2012). Edwards-Leeper and Spack (2012)
evaluation, support in identity exploration and          outline several factors that need to be considered
development without an a priori goal of any              in determining when and if a child should socially
particular gender identity or expression, and            transition, including the child’s needs, the potential
facilitation of family and community support             impact on the child’s siblings, whether it is safe
– social transition and medical intervention are         for the child to socially transition in his or her
therapeutic approaches that are appropriate for          community, and emphasizing to the child and
some gender minority youth.                              family the possibility that the child’s gender identity
                                                         and gender expression may change as development
Social Transition                                        continues.

Social transition refers to adopting a gender            Medical Intervention
expression, name, and pronouns consistent with
one’s gender identity. Over the past ten years,          The appropriateness of medical interventions vary
the age at which individuals socially transition         by the age of the child. No medical interventions
has decreased dramatically, and it has become            are currently undertaken or recommended for
increasingly common for children to present to           children with gender dysphoria before the initial
specialty gender clinics having already socially         onset of puberty. Medical intervention has proven
transitioned (Cohen-Kettenis & Klink, 2015;              efficacious in improving the well-being of young
Steensma & Cohen-Kettenis, 2011). There is               adolescents with gender dysphoria both during
less controversy around social transition with           and well after treatment (Cohen-Kettenis & van
adolescents, for whom gender identity is typically       Goozen, 1997; de Vries, et al., 2011; Smith, et al.,
more stable and desistence of gender dysphoria           2001), and most adolescents who seek medical
(without social transition or medical intervention) is   intervention usually have extreme forms of gender
less common. Gender specialists recommended that         dysphoria beginning in childhood (Cohen-Kettenis
                                                         & Klink, 2015). Pubertal suppression and hormone




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therapy are medical interventions used to treat          hormone therapy occurs over many years during
gender dysphoria in adolescents.                         important developmental periods, the need for
                                                         psychological treatment may change with time
Medical intervention with gender dysphoric               as new questions arise (Cohen-Kettenis & Klink,
adolescents is a multi-disclipinary endeavor             2015).
including Behavioral health providers, pediatricians,
and often pediatric endocrinologists (Hembree            Pubertal suppression using gonadotrophin-
et al., 2009; Leibowitz & Telingator, 2012). A           releasing hormone (GnRH) analogues prevents
comprehensive assessment, including assessment           the development of unwanted secondary sex
of the degree of an individual adolescent’s gender       characteristics in a peri-pubertal adolescent, which
dysphoria and desire to seek gender reassignment,        are irreversible and highly distressing for some
helps determine the risks and benefits of medical        adolescents with gender dysphoria (Leibowitz &
interventions (for featured examples of assessments      Telingator, 2012). Pubertal suppression is fully
with children and adolescents, see Leibowitz and         reversible and serves as an extended diagnostic
Telingator (2012)). Importantly, not all individuals     period, providing additional time for gender
who experience gender incongruence or gender             exploration as well as cognitive and emotional
dysphoria necessarily experience a complete cross-       development that allows adolescents to become
gender identity, want hormone therapy as well as         psychologically and neurologically mature enough
gender affirming surgeries, or want to live as the       to make decisions regarding their gender and
other gender permanently or completely (Coleman          to provide informed consent years later for the
et al., 2012).                                           partially irreversible treatment interventions (e.g.,
                                                         hormone therapy) without having to experience
If a diagnosis of gender dysphoria is assigned and       distressful, irreversible changes of puberty
the adolescent desires and is eligible for treatment,    (Hembree et al., 2009; Edwards-Leeper & Spack,
readiness for medical treatment must be considered       2012; Leibowitz & Telingator, 2012). Pubertal
(Cohen-Kettenis & Klink, 2015). Adolescents and          suppression also has therapeutic effects, often
their parents or guardians must be informed about        resulting in a large reduction in the distress the
possibilities and limitations of pubertal suppression,   physical changes of puberty were producing (de
hormone therapy, and other types of treatment, such      Vries et al., 2011; Edwards-Leeper & Spack, 2012).
as psychological interventions, in order to give full
informed consent (Coleman et al., 2012; Vance            Pubertal suppression for young adolescents
et al., 2014). Taking into account developmental         remains controversial, with concern over whether
considerations when working with adolescents is          adolescents are able to make far-reaching decisions
key. Youth should realize that medical intervention      and understand the impact of pubertal suppression
or a complement of hormone therapy and gender            on their lives and over the lack of robust research
affirming surgeries are not the only treatment option    on the long-term effects of pubertal suppression on
to solve gender dysphoria, and should realize that       brain and bone development in these populations
gender dysphoria may exist in many forms and             (Cohen-Kettenis & Klink, 2015; Leibowitz &
intensities (Cohen-Kettenis, Delemarre-van de            Telingator, 2012). However, results of preliminary
Waal, & Gooren, 2008). Continued mental health           research on the long-term effects of pubertal
treatment should be offered when an adolescents’         suppression are promising (Delemarre-van de
gender incongruence requires further exploration         Waal & Cohen-Kettenis, 2006; Cohen-Kettenis,
and/or when other psychological, psychiatric,            Schagen, et al., 2011; Staphorsius et al., 2015).
or family problems exist. Adolescents receiving          Abstaining from treatment in adolescence comes
medical intervention without these additional            with risks as well: adolescents can experience
concerns may also benefit from continued                 refusal for treatment and the progression of
psychological treatment (Vance et al., 2014); given      secondary sex characteristic development as
that pubertal suppression or administration of           extremely psychologically painful, and a refusal



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of medical intervention can lead to worse               related to fertility (Cohen-Kettenis & Klink, 2015;
psychological adjustment and risky behaviors            Edwards-Leeper & Spack, 2012; Leibowitz &
(e.g., self-mutilation, self-medication, or suicide;    Telingator, 2012). The support of a behavioral
Cohen-Kettenis & Klink, 2015; Leibowitz &               health professional during this process can aid an
Telingator, 2012; Vance et al., 2014). Given the        adolescent in adjusting to their changing physical
current evidence that diagnosis can be made             characteristics and the response from people in
reliably in adolescence, that gender dysphoria that     different aspects of the adolescent’s life.
worsens with puberty rarely subsides afterwards,
and that – with careful diagnostic procedures –         In addition to hormone therapy, some transgender
early pubertal suppression leads to good outcomes       adolescents desire and will eventually pursue
with young adults, withholding GnRHa is not             gender affirming surgeries. The age of legal
considered a neutral option (Cohen-Kettenis &           consent for surgery is 18, so most surgeries are
Klink, 2015). According to the Endocrine Society        not performed on adolescents, though behavioral
Guidelines, pubertal suppression with GnRH              health providers and medical providers working
analogues is considered a medical standard of care      with adolescents may need to obtain and provide
for adolescents in Tanner stage 2 or 3 of puberty,      knowledge of the surgical processes in order to
once appropriate mental health assessments and          assist in navigating the emotional issues leading up
recommendations are in place (Hembree et al.,           to gender affirming surgeries; additionally, those
2009). However, the importance of full informed         assigned female sex at birth may be considered
consent for both adolescents and their parents or       for virilizing mammoplasty beginning at age 16
guardians is important and must include awareness       (Edwards-Leeper & Spack, 2012; Leibowitz &
and consideration of the risks and benefits involved,   Telingator, 2012).
as well as an emphasis on continued exploration of
gender identity.                                        Future Directions for Research
                                                        Areas of opportunity for future research, as well
The initiation of hormone therapy (estrogen and
                                                        as the validity and quality of extant research are
testosterone blocking medication for those assigned
                                                        discussed in several sections of this report and were
male at birth and testosterone for those assigned
                                                        topics of conversation during the APA Consensus
female at birth) around age 16 promotes the
                                                        Panel Meeting in July, 2015. Methodologically
development of secondary sexual characteristics
                                                        rigorous, longitudinal, and peer reviewed research
consistent with one’s gender identity (Coleman et
                                                        is vital to improving our understanding of the
al., 2012; Hembree et al., 2009). While a minimum
                                                        complexities of sexual orientation and gender
age of 16 was previously a requirement, the optimal
                                                        identity and expression among children and
time for initiation of hormone therapy is now
                                                        adolescents. Several potential areas for future
determined by duration of GnRH analogue use
                                                        research are identified below.
(when used) and the adolescent’s psychological
state (Cohen-Kettenis & Klink, 2015). Unlike
GnRH analogues, which are completely reversible,
hormone therapy is only partially reversible.
Again, once hormone therapy is indicated and
an adolescent has been carefully assessed for
readiness, care must be taken to get the informed
consent of the adolescent and his or her parents
or guardians before hormone therapy is initiated,
including a full understanding of the potential risks
and benefits of hormone therapy and the impact
of hormone therapy on future fertility and options




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Development of sexual orientation and                   more representative sampling and better recruitment
gender identity                                         efforts should be addressed by future researchers
                                                        interested in sexual orientation and gender identify
Little is known about the development of sexual
                                                        among youth.
orientation and gender identity in childhood and
adolescence. Basic research on the developmental
                                                        Long-term Outcomes
pathways of these fundamental issues is necessary.
How these identities are embedded in cognitive and      More research is necessary to explore the
emotional development and other developmental           developmental trajectory of sexual orientation,
processes would aid in the understanding of human       gender identity, and gender expression, in addition
development as well as appropriate interventions.       to the long-term medical and behavioral health
                                                        outcomes associated with early experiences of
Culturally-specific mitigation of distress              family and community distress due to sexual
relating to sexual orientation, gender                  orientation and gender identity and expression.
identity, and gender expression                         Other recommended areas of opportunity for long-
                                                        term research topics include:
More targeted research that acknowledges the
intersections of identity, including race, ethnicity,   •   A nuanced exploration of the factors that may
faith, and class, among others, could shed light on         differentiate children and adolescents who
positive and appropriate whole-family therapeutic           continue to experience gender dysphoria into
approaches to addressing these issues. Researchers          adolescence and those who do not.
should evaluate these practices and integrate them
                                                        •   Long-term outcomes from early social
into behavioral health care. Researchers should
                                                            transition and pubertal suppression (including
also work collaboratively with young people
                                                            effects on brain development, sexual health
and families from faith communities to better
                                                            function, fertility, etc.).
understand the interplay between deeply held
religious beliefs and the importance of ensuring the    •   Rigorous evaluation of current practices
safety and well-being of LGBTQ young people.                and protocols, including affirmative models,
The work of the Family Acceptance Project, cited            structural interventions, and culturally-specific
throughout this report, speaks to the necessity             models, among others.
of an increased focus on approaches specific to         •   Prospective research focusing on younger
various communities including culturally diverse            children, in partnership with pediatric clinics.
communities and those with deeply held morals           •   Sources of distress among sexual and gender
and values that include conversations about sexual          minority youth, focusing on distinguishing
orientation, gender identity, and gender expression.        between internal and external factors that may
                                                            drive gender dysphoria.
Addressing the needs of disconnected                    •   Methods of supporting positive behavioral
LGBTQ youth                                                 health for LGBTQ youth, including building
LGBTQ youth experiencing homelessness, in                   resiliency against suicidality, self-harm and
juvenile justice facilities, or otherwise in out-of-        risky behaviors, depression, anxiety, substance
home care may lack permanent and stable family              abuse, and other behavioral health issues.
connections in part because of family distress          Integration, Collaboration, and Dissemination
around issues relating to their LGBTQ identity.
                                                        Researchers and clinicians should examine and
These vulnerable populations, as well as low-
                                                        evaluate the best methods of integrating and
income and racial and ethnic minority LGBTQ
                                                        disseminating best and promising practices for
youth, are often neglected in research studies
                                                        addressing sexual orientation and gender identity
that most often recruit youth who are already
                                                        and expression among children and youth, and
connected to clinics or providers. This need for




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how to successfully collaborate with parents and
guardians, caregivers and providers, and community
leaders. This could include conducting studies with
these populations focused on knowledge, attitudes,
and beliefs relating to efforts to change sexual
orientation, gender identity, or gender expression.

Finally, the behavioral health community can work
to support community-based organizations to
develop common ground and consensus on these
topics and promote the health and well-being of
youth. This could also include the development
of treatment registries, support for sexual health
research across the country, and the inclusion of
LGBT-specific questions in national behavioral and
mental health surveys.

Based on careful review of the research and
the consensus of clinical experts in this field,
conversion therapy is not an appropriate therapeutic
intervention. Consequently, efforts should be taken
to end the practice. The Administration has issued a
public statement supporting efforts to ban the use of
conversion therapy for minors, stating in part:

        “When assessing the validity of conversion
        therapy, or other practices that seek to
        change an individual’s gender identity
        or sexual orientation, it is as imperative
        to seek guidance from certified medical
        experts. The overwhelming scientific
        evidence demonstrates that conversion
        therapy, especially when it is practiced
        on young people, is neither medically
        nor ethically appropriate and can cause
        substantial harm.

        As part of our dedication to protecting
        America’s youth, this Administration
        supports efforts to ban the use of
        conversion therapy for minors.” (Jarrett,
        2015)




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                               “   PFR “created something that was
                          groundbreaking. It was the best piece of work


                                                                            ”
                           ever created by the federal government.
                                                           Sue Thau




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Approaches to Ending the Use of Conversion
Therapy
Several approaches have been employed as               Reducing discrimination and
mechanisms for eliminating the use of harmful          negative social attitudes towards
practices, and encouraging positive and appropriate    LGBT identities and individuals
alternatives to discussing issues related to sexual
orientation, gender identity, and gender expression    Reducing the discrimination and negative
with children and adolescents. These efforts will be   social attitudes that many LGBTQ children
reviewed in depth in this section:                     and adolescents experience can improve health
                                                       outcomes. As previously discussed, negative
1. Reducing discrimination and negative social         social attitudes are stressors that can result in poor
   attitudes towards LGBT identities and               mental health. Working with individuals, families,
   individuals                                         communities, and diverse populations to increase
                                                       family acceptance and change cultural norms that
   • Adoption of public policies that end
                                                       are unsupportive of sexual and gender minority
     discrimination
                                                       identities is one way to improve health and well-
   • Increasing access to health care                  being overall.
   • Publication of affirmative, culturally
     competent resources for the public on LGBT        The Administration has taken significant steps
     individuals and families.                         to reduce discrimination and negative social
2. Dissemination of information, training and          attitudes towards and increase support for LGBT
   education for behavioral health providers           communities,19including improving access to
                                                       health care. Among other notable signals of social
   • Dissemination of professional association         acceptance and support, the Administration has:
     and federal agency documents and
     resolutions related to ending conversion          •   Ended the “Don’t Ask, Don’t’ Tell” policy in
     therapy                                               military service for lesbian, gay, and bisexual
   • Guidelines by professional associations on            people, and taken steps to remove barriers to
     affirmative approaches to LGBTQ children              service for transgender people;
     and youth as well as LGBT adults                  •   Supported same-sex marriage and ensured that
   • Inclusion of affirmative information and              same-sex couples and their families have full
     treatment models in professional training             access to federal benefits;
     curriculum                                        •   Prevented employment discrimination by
   • Continuing education on elements of ethical           federal contractors;
     codes and licensing laws relevant to these        •   Advanced policies that expand access to quality
     issues.                                               healthcare for millions of Americans, including
3. Legislative, regulatory, and legal efforts              LGBT Americans; and
                                                       •   Supported public information campaigns, such
    • State and federal legislation that bans sexual
                                                           as the “It Gets Better” Project, which aims to
      orientation and gender identity change
                                                           gives LGBTQ youth hope and build public
      efforts
                                                           support.
    • Federal and state regulatory actions and
      additional Administration activities             Broad dissemination of supportive actions such
    • Legal action                                     as those outlined above serves to both mitigate
                                                       negative social attitudes, and to build more




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accepting ones. SAMHSA, in addition to partner          ‘reparative’ therapy to attempt to change sexual
organizations and professional associations, has        orientation; withholding hormone therapy from
developed targeted resources geared towards             transgender individuals) that perpetuate the health
providers working with sexual and gender minority       disparities for [LGBT] patients.”
youth and their families.20
                                                        Professional health and mental health associations
Dissemination of information,                           also have ethical codes (American Psychiatric
                                                        Association, 2013; American Psychological
training and education for
                                                        Association, 2010; National Association of Social
behavioral health providers                             Workers, 2008). These codes include provisions that
The major health associations have issued policy        stress aspirational principles and standards for practice
statements critical of conversion therapy including     that can be applied to sexual and gender minority
the World Health Organization, the American             youth and LGBT individuals broadly. Many of these
Medical Association, the American Academy of            codes are integrated into state licensing laws and thus
Pediatrics, the American Academy of Child and           govern standards of professional practice.
Adolescent Psychiatry, the American Psychological
Association, American Counseling Association,           Experts have suggested that the use of conversion
American Psychoanalytic Association, and the            therapy to change the sexual orientation or gender
National Association of Social Workers, among           identity of clients may be inconsistent with
others. Other Association publications include          the aspirational principles of behavioral health
professional guidelines on affirmative practices for    professions. For example, conversion therapy might
this population (APA, 2011; APA 2015a).                 violate the principle of “Do No Harm” through
                                                        techniques that are deleterious rather than beneficial
In addition, some professional associations,            to mental health. Additionally, conversion therapy
including the American Academy of Child and             may be inconsistent with professional standards that
Adolescent Psychiatrists, American Psychiatric          treatment be based on the best scientific knowledge
Association, and the American Psychological             and standards of professional competence, in its use
Association, have published reports and                 of treatments that cannot be justified by established
professional practice guidelines on appropriate         scientific and clinical knowledge in the field, and
therapeutic efforts for this population. These          which imply that variations in sexual orientation and
documents provide important resources for               gender identity are not normative. Experts have also
providers on the types of interventions that are        suggested that conversion therapy is inconsistent
appropriate for sexual and gender minority children     with principles of non-discrimination and justice that
and youth as well as for LGBT adults.21                 guarantee all clients, including sexual and gender
                                                        minorities, equal access to the benefits of psychology
Professional mental health, medical, and social         and to equal quality of services. Finally, by denying
services organizations can require training             the inherent worth of LGBT individuals and engaging
that includes appropriate interventions for this        in an intervention based on negative social or cultural
population. For example, The American Association       attitudes, practitioners of conversion therapy could
of Medical Colleges (AAMC) produced a report on         potentially violate principles that dictate respect for
Implementing Curricular and Institutional Climate       people’s dignity.
Changes to Improve Health Care for Individuals
Who are LGBT, Gender Nonconforming, or
Born with DSD. As part of this publication, the
association indicates that “doctors should be able to
demonstrate an investigatory and analytic approach
to clinical situations by […] identifying various
harmful practices (e.g., historical practice of using




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Legislative, regulatory, and legal                       •   Policies for institutions that house out-of-home
efforts                                                      youth (such as juvenile justice and foster care
                                                             programs) that prohibit conversion therapy
Many individuals, organizations, and several                 efforts on minors in care. These entities are
state legislatures have taken steps to regulate              often licensed by states or receive federal
and eliminate the practice of conversion therapy.            funding.
Efforts to end the practice of conversion therapy
                                                         •   Clarification of existing non-discrimination
have included legislative bans and causes of
                                                             policies to extend to prohibitions on conversion
action alleging consumer fraud, among others.
                                                             therapy
Future efforts may include federal regulatory
action, advancement of legislation at the state          In addition to legislative and regulatory action,
and federal level, and additional activities by the      legal action has been explored as a mechanism for
Administration.                                          ending the use of conversion therapy. Most notably,
                                                         a jury found in favor of a claim brought under
As of August 2015, four states and the District of
                                                         New Jersey’s consumer fraud law, finding that a
Columbia have passed laws banning the practice
                                                         “conversion therapy” program that offered services
of conversion therapy for minors, and 21 other
                                                         purported to change people from gay to straight was
states have introduced similar legislation. All of the
                                                         fraudulent and unconscionable.23
bills bar mental health providers from practicing
conversion therapy on minors; some also include          In addition, potential claims of discrimination have
protections for vulnerable adults, restrictions on       been raised under the theory that the provision
the use of state funds, and consumer protection          of ineffective and potentially harmful therapy is
provisions.                                              due solely to an individual’s sexual orientation or
                                                         gender identity.
There is currently no federal ban on conversion
therapy. Several bills and resolutions have              Notably, the American Bar Association also
been introduced in 2015, including H.R. 2450:            passed a resolution urging “all federal, state, local,
Therapeutic Fraud Prevention Act; S.Res. 184:            territorial, and tribal governments to enact laws
Stop Harming Our Kids Resolution of 2015; HR             that prohibit state-licensed professionals from
3060 Stop Child Abuse in Residential Programs for        using conversion therapy on minors,” as well as “to
Teens Act of 2015; and H.Con.Res. 36: Expressing         protect minors, particularly minors in their care,
the sense of Congress that conversion therapy,           from being subjected to conversion therapy by
including efforts by mental health practitioners to      state-licensed professionals.”24
change an individual’s sexual orientation, gender
identity, or gender expression, is dangerous and
harmful and should be prohibited from being
practiced on minors. These efforts discourage
or ban conversion therapy or require non-
discrimination in the provision of services to sexual
and gender minority minors.

Stakeholders have also suggested the following as
potential federal actions to end conversion therapy:
•   Restrictions on the use of federal or state
    funding for conversion therapy by federal
    programs, by recipients of such funding, or
    through health insurance reimbursements.




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Guidance for Families, Providers, and Educators

Being a sexual or gender minority, or identifying         shown to be important sources of support, and
as LGBTQ, does not constitute a mental disorder.          among these, family support and acceptance during
Sexual or gender minority status, however, is             adolescence were found to have the strongest
associated with increased risk of psychosocial            influence on overall adjustment and well-being
issues such as psychological distress, mistreatment,      in young adulthood. Because most young people
and discrimination. Social support, as well as a          are nurtured through diverse family, caregiver
lack of rejection, in family, community, school,          and kinship systems, LGBTQ and gender diverse
and health care environments has been shown               children and adolescents need support in the context
to have great positive impacts on both the short-         of their families, cultures and faith communities.
and long-term health and well-being of LGBTQ              Access to accurate information about sexual
youth (see Research Overview Section 3.2).                orientation and gender identity development is
Beyond eliminating the practice of conversion             critical for families and caregivers who often have
therapy with sexual and gender minority minors,           limited and inaccurate information about these core
LGBTQ youth need additional support to promote            aspects of human development. This is particularly
resilience and positive development in the spite of       important for families and caregivers who believe
the still-pervasive interpersonal, institutional, and     that LGBTQ identities and gender diversity may
societal bias and discrimination against sexual and       be at odds with or disavowed by their religious and
gender minorities. The following portions of this         cultural values and beliefs.
report provide families and others working with
LGBTQ children and adolescents with guidance              In 2014, SAMHSA worked with the Family
and additional resources to help facilitate the best      Acceptance Project to publish a resource guide to
possible outcomes for these youth. The information        help practitioners to provide support for families
in these sections is based on research findings as        with LGBTQ children. The Family Acceptance
well as clinical expertise.                               Project has developed a family support model and
                                                          research-based resources to help diverse families,
Promoting Family and Community                            including conservative families, to support their
                                                          LGBTQ children in the context of their values and
Acceptance and Support
                                                          beliefs.
As children and adolescents increasingly experience
and integrate LGBTQ and gender diverse identities         Key Points:
during childhood and adolescence, it is critical
                                                          •   Family reactions to learning that a child is
to provide support to reduce risk and promote
                                                              lesbian, gay, bisexual or transgender range from
well-being across social institutions and systems.
                                                              highly rejecting to highly accepting. The largest
This includes families, peers, schools, religious
                                                              proportion of families are ambivalent about
institutions, health and social systems and
                                                              having an LGBTQ or gender diverse child,
community services.
                                                              and rejecting families become less rejecting
Over the past decade, the concept of                          over time. Families can learn to support their
“connectedness” has been seen by researchers and              LGBTQ children – and do so more quickly
clinicians as an essential aspect in helping to protect       – when guidance and services are provided
against risk and promote wellness for individuals             in ways that resonate for them, including
in families and communities. For LGBTQ youth,                 education presented in the context of cultural
family, peer and community support have been                  and deeply held values.




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•   All families and caregivers need to receive              and caregivers as potential allies in reducing
    accurate information about sexual orientation            risk, promoting well-being, and creating
    and gender identity and expression in children           healthy futures for their LGBTQ children. The
    and adolescents, and they need to understand             family’s cultural values, including deeply-held
    that how they respond to their LGBTQ                     morals and values, are viewed as strengths.
    children matters. For example, family rejecting          Research findings related to family accepting
    behaviors during adolescence – including                 and rejecting behaviors are aligned with
    attempts to change an adolescent’s sexual                underlying deeply held morals and cultural
    orientation – have been linked with health               values (such as supporting an individual’s
    risks, including suicidal behavior and risk for          dignity and self-worth) to help families
    HIV, during young adulthood. In addition,                understand that it is specific family reactions
    family supportive and accepting behaviors                and communication patterns that contribute to
    during adolescence, which include supporting             both their LGBTQ child’s risk and their well-
    a child’s gender expression, have been found             being.
    to help protect against health risks and to help     •   Families that are struggling with having an
    promote well-being for LGBTQ young adults.               LGBTQ or gender diverse child don’t have
    As family rejecting and supportive behaviors             to choose between their LGBTQ child and
    increase, so, too, does the level of health risks        their culture or their morals and values.
    and protective role of family acceptance in              Many parents who are struggling believe that
    promoting an LGBTQ child’s overall health and            responding with positive reactions such as
    well-being.                                              expressing affection once they learn that a
•   Parents and families with LGBTQ and                      child is LGBTQ will condone or encourage a
    gender diverse children need to be heard and             behavior or identity that is at odds with their
    understood by providers, educators and others            beliefs. However, expressing affection for an
    who provide services and support for their               LGBTQ child is a key supportive behavior that
    children and family. This means meeting                  helps protect their child against health risks and
    parents and families where they are, supporting          increases connectedness. In addition, parents
    their need to express their feelings, perceptions,       that are struggling can respond with other
    hopes and concerns for their LGBTQ child                 supportive behaviors that help increase parent-
    in the context of their cultural and religious           child connectedness and have been identified
    perspectives, and being sensitive to how deeply          in research to help protect against risk and
    held values shape reactions and responses to             help promote an LGBTQ child’s well-being -
    having an LGBTQ or gender diverse child.                 without “accepting” an identity they believe is
•   Parents and caregivers who are perceived                 wrong. This includes behaviors such as talking
    as rejecting their LGBTQ children and who                with their child and listening respectfully to
    engage in rejecting behaviors (such as trying to         understand their child’s experiences; requiring
    change their child’s sexual orientation or gender        that other family members treat their child with
    expression, using deeply held values and morals          respect even if they disagree; ensuring their
    to prevent or change an adolescent’s identity or         child’s safety by standing up for their child
    preventing them from participating in LGBTQ              when others hurt, mistreat or discriminate
    support groups) are typically motivated by               against their LGBTQ or gender diverse child
    trying to help their LGBTQ child “fit in,” have          because of who they are. These behaviors also
    a good life and be accepted by others. The               reflect the key values of dignity, mercy, and
    Family Acceptance Project’s research-informed            compassion.
    approach to providing services and care for
    LGBTQ children and adolescents uses a
    strengths-based framework that views families



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Resources                                                   Sexual orientation, adult connectedness,
                                                            substance use, and mental health outcomes
Family Acceptance Project: http://familyproject.
                                                            among adolescents: Findings from the 2009
sfsu.edu/
                                                            New York City Youth Risk Behavior Survey.
Gender Spectrum: www.genderspectrum.org                     American Journal of Public Health, 104(10),
                                                            1950-1956.
Institute for the Study of Sexual Identity: www.
                                                        Substance Abuse and Mental Health Services
sexualidentityinstitute.org
                                                           Administration. (2014). A practitioner’s
PFLAG : www.pflag.org                                      resource guide: Helping families to support
                                                           their LGBT children. (HHS Publication
References                                                 No. PEP14-LGBTKIDS). Rockville, MD:
                                                           Substance Abuse and Mental Health Services
Brill, S. A., & Pepper, R. (2008). The transgender         Administration Retrieved from http://store.
    child: A handbook for families and                     samhsa.gov/product/PEP14-LGBTKIDS.
    professionals. Berkeley, CA: Cleis Press
Centers for Disease Control and Prevention. (2009).     Bullying, Harassment, and Other
   Strategic direction for the prevention of suicidal   School-Based Issues
   behavior: Promoting individual, family, and          Children and adolescents spend the vast majority of
   community connectedness to prevent suicidal          their time in schools and other institutional settings.
   behavior. Atlanta, GA: Retrieved from www.           Research has shown that students with positive
   cdc.gov/ViolencePrevention/pdf/Suicide_              school experiences achieve healthier outcomes
   Strategic_Direction_Full_Version-a.pdf.              across a range of variables. Conversely, negative
Malpas, J. (2011). Between pink and blue: A             experiences in school can have a detrimental impact
   multi-dimensional family approach to gender          on educational attainment, in addition to numerous
   nonconforming children and their families.           health-related outcomes. LGBTQ young people in
   Family Process, 50(4), 453–470.                      schools experience disproportionately high levels of
                                                        bullying, harassment, and discrimination. This puts
Ryan, C. (2009). Supportive families, healthy
                                                        them at higher risk of depression, anxiety, suicidal
   children: Helping families with lesbian, gay,
                                                        ideation and attempt, substance use, and other
   bisexual & transgender children. San Francisco,
                                                        mental health problems, in addition to negative
   CA: Family Acceptance Project, Marian
                                                        educational outcomes. Families, guardians, and
   Wright Edelman Institute, San Francisco State
                                                        school-based professionals can and should take
   University.
                                                        steps to mitigate issues that arise because students
Ryan, C., Huebner, D., Diaz, R. M., & Sanchez,          are, or are perceived to be, LGBTQ. Safe and
   J. (2009). Family rejection as a predictor of        supportive school environments are an important
   negative health outcomes in White and Latino         factor in ensuring the health and well-being of all
   lesbian, gay, and bisexual young adults.             students, including LGBTQ students.
   Pediatrics, 123(1), 346-352. doi: 10.1542/
   peds.2007-3524                                       Key points:
Ryan, C., Russell, S., Huebner, D., Diaz, R., &         •   Much of the distress that LGBTQ children and
   Sanchez, J. (2010). Family acceptance in                 adolescents experience is not the result of their
   adolescence and the health of LGBT young                 gender non-conformity or LGBTQ identity
   adults. Journal of Child and Adolescent                  – in other words, it is not being LGBTQ that
   Psychiatric Nursing, 23(4), 205-213. doi:                causes the distress, but rather the way they are
   10.1111/j.1744-6171.2010.00246.x                         treated for being LGBTQ that does. This can
Seil, K. S., Desai, M. M., & Smith, M. V. (2014).           include being bullied, harassed, or otherwise




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    mistreated, in addition to experiences with              context of a system that already frequently
    structural barriers such as the lack of access           penalizes LGBTQ youth. This population
    to an appropriate restroom for a transgender             is disproportionately disciplined in schools,
    student. School-based professionals can                  and is over-represented in the juvenile justice
    help minimize mental health issues for                   system. While five to seven percent of youth
    LGBTQ students by taking steps to eliminate              are estimated to be LGBTQ, they represent 15
    structural barriers and proactively working              percent of the juvenile justice population, and
    to create a positive school climate, which can           up to 40 percent of homeless youth. Helping
    include measures such as LGBTQ-inclusive                 to ensure that LGBTQ youth can be who they
    curriculum and intervening to stop bullying              are and stay in school is a life-changing and
    and harassment.                                          potentially life-saving intervention.
•   School-based mental health professionals may         •   One of the most important steps that families
    often be one of the few trusted adults with              and schools can take is to ensure that schools
    whom young people can be open about who                  have inclusive and supportive policies for
    they are and what barriers they are facing as a          LGBTQ youth that are implemented effectively.
    result. Some LGBTQ young people may not be               Numerous resources have been developed
    in a position to discuss their sexual orientation        (several are listed below) that walk through all
    or gender identity with their families, whether          of the ways in which a school can make system-
    because their family has already made it clear           wide changes that benefit all students, including
    that such conversations are not welcome, or              LGBTQ students. Beyond simply being in
    because of fears of family rejection if they             the best interest of LGBTQ students and their
    come out. In addition to providing a safe and            behavioral health, Title IX of the Education
    welcoming atmosphere, school-based mental                Amendments of 1972 protects transgender
    health professionals can equip themselves with           and gender nonconforming students from
    LGBTQ-related resources, know the warning                discrimination. Proactive adoption of inclusive
    signs for identity-based mistreatment, and be            policies can prevent costly and time-consuming
    prepared to serve as one of the primary adults           efforts to remedy issues after damage has
    with whom LGBTQ youth can discuss these                  already occurred.
    issues.                                              Resources:
•   It is important to understand that confidentiality
    is essential; students should not be outed to        Centers for Disease Control, Division of Adolescent
    their parents or to their peers, and professionals   and School Health (DASH): www.cdc.gov/
    should not assume that the name, pronouns, or        HealthyYouth/
    manner of dress that a student uses in school        GLSEN: www.glsen.org
    is the same at home; often times, school may
    be the only place where a young person feels         Human Rights Campaign, Welcoming Schools
    comfortable being out or expressing their            Initiative: www.welcomingschools.org
    gender in a certain way. Students should be
    asked how they would like to be addressed and        National Center for Lesbian Rights, Youth Project:
    in which context. Safety and support should be       www.nclrights.org/our-work/youth
    of paramount concern.
                                                         National Association for School Psychologists,
•   Students should never be asked to change             Committee on GLBTQ Issues: www.nasponline.
    gender non-conforming behavior as a means            org/advocacy/glb.apsx
    of resolving issues arising in school. Beyond
    the potential for increasing psychological           PFLAG : www.pflag.org
    distress, such requests occur within the




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Safe & Supportive Schools Project: http://www.apa.
org/pi/lgbt/programs/safe-supportive/default.aspx

References




                                                             “
American Psychological Association & National
  Association of School Psychologists. (2014).
  Resolution on gender and sexual orientation
                                                                  When I came out to
  diversity in children and adolescents in schools.        my parents, they found me a
  Retrieved from http://www.nasponline.                   conversion therapist who told
  org/about_nasp/resolution/gender_sexual_
  orientation_diversity.pdf                                me transgender people were
Fisher, E., & Komosa-Hawkins, K. (Eds.).                   sick and belonged in mental
    (2013). Creating safe and supportive learning
    environments a guide for working with lesbian,
                                                       hospitals. He forced me to throw
    gay, bisexual, transgender, and questioning        away all my girl’s clothes as part
    youth, and families (1 ed.). London: Routledge.
                                                           of my treatment, but, having
National Association of School Psychologists.
    (2014). NASP Position statement: Safe schools
                                                         to dress as a male sent me into
    for transgender and gender diverse students,        complete despair, hopelessness,
    from http://www.nasponline.org/about_nasp/
    positionpapers/Transgender_PositionStatement.
                                                        and depression. Thankfully, one
    pdf                                                   of my friends recognized the
Orr, A., Baum, J., Gill, E., Kahn, E., & Salem,         warning signs and called social
    A. (2015, August). Schools in transition: A
    guide for supporting transgender students            services, which intervened and
    in K-12 schools, from http://www.nclrights.         got me the housing and medical
    org/wp-content/uploads/2015/08/Schools-in-
    Transition-2015.pdf
                                                       care I needed. It is always darkest
Toomey, R. B., Ryan, C., Diaz, R. M., Card, N. A.,      before the dawn, but I’m living
   & Russell, S. T. (2010). Gender-nonconforming           proof that a smart bystander


                                                                                        ”
   lesbian, gay, bisexual, and transgender
   youth: School victimization and young adult                 can save a life.
   psychosocial adjustment. Developmental
   Psychology, 46(6), 1580-1589. doi: 10.1037/
   a0020705                                                                                    —Amy
U.S. Department of Education. (2014). Questions
    and answers on Title IX and sexual violence,
    from http://www2.ed.gov/about/offices/list/ocr/
    docs/qa-201404-title-ix.pdf
U.S. Department of Justice. (2013). Resolution
                                                          Department of Justice, Civil Rights Division,
    Agreement: Between the Arcadia Unified
                                                          from http://www.justice.gov/sites/default/files/
    School District, the U.S. Department of
                                                          crt/legacy/2013/07/26/arcadiaagree.pdf
    Education, Office for Civil Rights, and the U.S.




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Pediatric Care Considerations for                           to family and parent questions about the
LGBTQ Children and Adolescents                              healthiness or normality of their child’s or
                                                            adolescent’s behavior or identity is inherently
Pediatricians are often the first health professional       pathological and whether these behaviors or
that families turn to when they need help addressing        identities can or should be changed. This can
issues that have arisen because their child is, or is       be particularly important for transgender and
perceived to be, LGBTQ. Families often develop              gender nonconforming youth, who may be
a longstanding, trusting relationship with their            seeking medical interventions to help mitigate
family pediatrician and may feel more comfortable           the effects of untreated gender dysphoria,
discussing issues with them before reaching out             as some parents might hold the belief that
to a behavioral health professional. They may               their youth’s gender identity is inherently
rely also on them for referrals to other appropriate        pathological. In fact, it is the associated
professionals. Consequently, it is important for            gender identity-sex anatomy discrepancy that
pediatricians to understand appropriate therapeutic         characterizes gender dysphoria, and which
approaches when working with LGBTQ children                 is the treatable phenomena, not the gender
and their families.                                         identity itself. This information is readily
In 2014, the Association of American Medical                available (several resources are listed below),
Colleges (AAMC) published a set of thirty                   and sharing it may be the most important
gender, sex anatomy, and sexuality competencies             way a pediatrician can support the healthy
that physicians should be able to demonstrate in            development of sexual and gender minority
their practices (Association of American Medical            youth.
Colleges, 2014). Additionally, the American             •   Practices should provide office climates that
Academy of Child and Adolescent Psychiatry                  allow all youth to feel comfortable disclosing
published a set of practice parameters pertaining           their gender identity or sexual orientation,
to the care of LGBTQ youth that speaks to the               whether it differs from societal expectations
importance of addressing family dynamics when               and cultural norms or not. Steps to do so can
working with families with LGBTQ youth (Adelson             include a number of things, ranging from
& AACAP CQI, 2012). Specifically for eligible               changing intake forms to include both gender
transgender adolescents who meet criteria for               identity and sex assigned at birth, routinely
gender dysphoria (GD), the World Professional               asking about pronoun preferences when with
Association of Transgender Health Standards                 youth alone, training frontline staff to use
of Care, 7th Edition, recommends that family                youths’ preferred name and pronoun (and when
involvement in the consent process is crucial               it is safe and appropriate to do so), to forming
for physical interventions that are prescribed by           partnerships with local LGBTQ organizations
health professionals who are not behavioral health          and building relationships with LGBTQ
professionals. The following key principles can             community providers to whom they can refer
be drawn from these resources as they apply to              youth and families to when appropriate.
pediatricians and family practice physicians when       •   Family dynamics are particularly important to
youth who are, or are perceived to be, LGBTQ                address as they pertain to attitudes and beliefs
present in clinical practice.                               about gender identity and sexual orientation.
                                                            Research has shown that LGBTQ youth who
Key points:                                                 come from highly rejecting families are nearly
•   Families need accurate information about                nine times more likely to engage in suicidal
    LGBTQ identities as being normal variants               behavior when compared to their LGBTQ
    of the human experience. Specifically, this is          youth counterparts who come from accepting
    important in helping pediatricians respond              families (Ryan, et al., 2009). Pediatricians
                                                            should be aware of the various types of



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    reactions from family members towards their             health provider. As is addressed in depth in the
    child or adolescent which can range from                Affirmative Care section, for adolescents with
    subtle forms of rejection (e.g., calling their          gender dysphoria, it is important to coordinate
    child’s identity a “phase”) to more overt forms         the care with a qualified behavioral health
    of rejection (e.g., kicking their youth out of          provider and endocrinologist in determining
    the home or physical abuse). Pediatricians              eligibility and readiness for physical
    should encourage whole-family resolutions               interventions such as pubertal suppression
    of issues with which they are confronted,               or cross-gender hormone therapy. In some
    including referral to mental health professionals       situations, coordination of care with the
    who can work with young people as well as               behavioral health provider and surgeon may be
    for individual family members who may be                necessary as well when considering surgical
    struggling with the idea that their child or            interventions for eligible adolescents with
    adolescent is or may be LGBTQ. Partnering               gender dysphoria as described in the WPATH
    with parents or family members who are                  standards of care (Coleman et al., 2012).
    struggling with their youths’ gender identity or    Resources:
    sexual orientation may sometimes be necessary
    in order to gain family members’ trust,             American Academy of Pediatrics. (2013). Policy
    increasing adherence and reducing resistance to       Statement: Office-based care for lesbian, gay,
    the pediatrician’s future recommendations.            bisexual, transgender, and questioning youth.
•   Pediatricians should be careful not to                Pediatrics, 132(1), 198 -203 doi: 10.1542/
    reinforce gender stereotypes when working             peds.2013-1282
    with LGBTQ and gender nonconforming                 Makadon, H., Mayer K., Potter J., & Goldhammer,
    youth and their families. This can require             H. (Eds.). (2015). The Fenway Guide to
    recognizing your own implicit biases and               lesbian, bisexual, and transgender health (2
    working to change ingrained patterns, such             ed.). Philadelphia, PA: American College of
    as giving certain stereotypically masculine            Physicians.
    toys to boys and others to girls, or asking
                                                        References:
    adolescents specifically whether they have a
    boyfriend or a girlfriend instead of determining    Adelson, S. L., & American Academy of Child and
    the information in a manner that does not              Adolescent Psychiatry (AACAP) Committee
    presuppose the gender of their romantic or             on Quality Issues (CQI). (2012). Practice
    sexual interest or attraction.                         parameter on gay, lesbian, or bisexual sexual
•   Pediatricians should be aware of the                   orientation, gender nonconformity, and gender
    situations when it is necessary to enlist an           discordance in children and adolescents.
    interdisciplinary team of providers to address         Journal of the American Academy of Child &
    the health of some LGBTQ youth. While some             Adolescent Psychiatry, 51(9), 957-974. doi:
    issues may be resolved through the simple              10.1016/j.jaac.2012.07.004
    provision of information, it may be necessary to    Association of American Medical Colleges. (2014).
    establish an interdisciplinary team that includes      Implementing curricular and institutional
    qualified behavioral health professionals and          climate changes to improve health care
    ongoing collaboration. For all LGBTQ youth,            for individuals who are LGBT, gender
    recognizing and detecting signs of emotional           nonconforming, or born with DSD., from
    distress and psychiatric co-occurring diagnoses        https://www.aamc.org/download/414172/data/
    (such as depression, anxiety, substance abuse),        lgbt.pdf
    requires astute screening (particularly in
    the case of suicide), detection of psychiatric
    conditions, and prompt referral to a behavioral



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                                                      Affirmative Care for Gender



   “
                                                      Minority Youth
                                                      Increasingly, families, providers, and researchers
          Having my family reject                     alike are realizing that providing supportive,
  me because I’m trans broke my                       affirmative care to transgender children and
     heart into more pieces than I                    adolescents results in better outcomes for youth.
                                                      This positive development has resulted in a
 could have imagined. Even more                       significant increase in the number of families and
     painful was the feeling they                     providers seeking accurate information about
                                                      appropriate treatment protocols for working with
    no longer loved or valued me.                     gender minority (transgender and gender diverse)
 Having my Grandmother take me                        youth, including information about socially
                                                      transitioning youth, and about medical interventions
 in restored my belief in love. To                    for adolescents.
  have her arms to fall into meant                    It is important to ensure that supportive behavioral
   that I no longer was alone, that                   health and medical care take an affirmative
                                                      approach which aims to facilitate in children and
 death did not seem like the only                     adolescents the time and space they need to develop
   road to stablility, comfort, and                   and transition in whatever way that might make
                                                      sense for them, whenever they are ready.
  joy. That perhaps I should build
     a future because I again had                     In this approach, children and adolescents are
                                                      encouraged to actively explore their gender identity
   someone to help me do so and                       and gender expression at home, with peers, and




                                   ”
        enjoy it with me.                             within the context of supportive therapy. This
                                                      approach encourages children, adolescents, and
                                                      families to move away from the gender binary
                                    —Malachi          and accept the child’s developing gender identity
                                                      and sexual orientation at whatever point they are
                                                      in their own trajectory. With young children, this
Coleman, E., Bockting, W., Botzer, M., Cohen-         may include exploring all options related to social
    Kettenis, P., DeCuypere, G., Feldman, J., . . .   transitioning. For example, perhaps the child is
    Zucker, K. (2012). Standards of care for the      assigned male at birth and prefers feminine clothing
    health of transsexual, transgender, and gender    and toys but is not pushing for a female name and
    nonconforming people (7 ed., Vol. 13, pp. 165-    pronouns. Rather than assume the child should
    232): International Journal of Transgenderism.    undergo a full social transition, an affirmative
Ryan, C., Huebner, D., Diaz, R. M., & Sanchez,        approach would allow the child to continue
   J. (2009). Family rejection as a predictor of      sorting out their gender identity over time. For an
   negative health outcomes in White and Latino       adolescent uninterested in medical interventions,
   lesbian, gay, and bisexual young adults.           an affirmative approach might include encouraging
   Pediatrics, 123(1), 346-352. doi: 10.1542/         them to consider non-body altering ways of living
   peds.2007-3524                                     in their affirmed gender and helping them explore
                                                      the variety of ways to live in their individualized
                                                      gender identity.




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Here are a few key points to keep in mind when               gender minority youth when the youth treated
considering a supportive and balanced approach for           follow a specific protocol that involves two
transgender and gender diverse, or gender minority,          important steps: (1) gender exploring therapy
youth:                                                       with a qualified mental health provider, and
                                                             (2) a comprehensive evaluation to determine
•   Affirmative work with gender non-conforming              readiness for a medical intervention.
    young children should consider the option
                                                         •   Because of the potential impact that hormone
    of socially transitioning for each child
                                                             therapy may have on fertility, this topic should
    individually, carefully exploring the pros and
                                                             be discussed at length with any adolescent
    cons in a client-centered approach. The existing
                                                             seeking medical interventions and should
    research should be discussed with parents,
                                                             occur with both their mental health and
    with acknowledgement that many gender non-
                                                             medical providers. Parents should also be
    conforming children do not persist to become
                                                             made aware of these potential side effects.
    transgender adolescents and adults.
                                                             Additionally, because many gender minority
•   Affirmative work with gender minority                    young adolescents who are prescribed puberty
    adolescents involves offering puberty blocking           blocking medication eventually pursue
    medication (at Tanner Stage 2-3) and cross-              hormone treatment, the conversation about
    sex medical interventions (generally offered             fertility should happen prior to starting blockers
    around the age of 16). However, the research             as well.
    showing positive effects for these interventions
                                                         •   Although many young adolescents who are
    are based on protocols that require supportive,
                                                             prescribed puberty blockers will eventually
    gender-clarifying therapy and a psychological/
                                                             pursue hormone treatment, blockers are not
    readiness evaluation. Offering these
                                                             intended as the first step in the physical/medical
    medical interventions in the absence of an
                                                             transition process. The affirmative client-
    interdisciplinary team that provides the mental
                                                             centered approach reminds parents, youth (and
    health component does not have empirical
                                                             providers) that the primary purpose of the
    support and carries risks (e.g., greater chance of
                                                             blockers is to give the adolescent more time
    regret).
                                                             to continue exploring their gender identity in
•   While lowering the age requirement for                   an effort to help them make the best decision
    hormone treatment may be in the best interest            for themselves regarding initiation of other
    of some adolescent patients, this decision               medical interventions in the future. Adults that
    carries risks as most adolescents prior to age           are unable to or are uncomfortable with the
    16 are still solidifying their identities and have       possibility that an adolescent on blockers could
    underdeveloped neurological and cognitive                change their mind may explicitly or inexplicitly
    functioning that allows for mature long-term             make an adolescent feel “stuck” in a gender
    decision making. Mental health involvement,              identity.
    most importantly a formal readiness evaluation,
                                                         •   Affirmative care encourages providers,
    is always recommended in these cases.
                                                             patients, and families to critically examine
•   Research shows that gender minority children             their own values and beliefs about gender and
    and adolescents are most likely to thrive when           the gender binary specifically. Providers and
    they have the support of their parents. For this         parents are encouraged to accept a more fluid
    reason, an affirmative approach should involve           expression of gender and allow their child
    parents in the process.                                  or adolescent the freedom to explore their
•   Medical interventions (puberty blockers and              developing gender identity without pressure to
    cross-sex hormone therapy) have been shown to            select one of two options.
    be helpful in decreasing gender dysphoria and
    improving quality of life for transgender and



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•   Due to the complexity that exists for most         References
    transgender and gender diverse youth, due
                                                       Edwards-Leeper, L. (in press). Affirmative care
    to their evolving gender identity and sexual
                                                          of transgender and gender non-conforming
    orientation, their rapidly changing and
                                                          children and adolescents. In Singh, A. A. &
    developing bodies and brains, along with a
                                                          dickey, l. m. (Eds.), Affirmative Psychological
    rapidly shifting societal landscape around
                                                          Practice with Transgender and Gender
    acceptance of and treatment for transgender
                                                          Nonconforming Clients. Washington, D.C.:
    and gender diverse people, an affirmative
                                                          American Psychological Association.
    approach recognizes the importance of
    providing care within an interdisciplinary team,   Edwards-Leeper, L., Leibowitz, S.,
    wherein each provider’s input is valued and           Sangganjanavanich, V.F. (in press). Affirmative
    perceived as equally critical to the care of the      practice with transgender and gender non-
    individual patients served.                           conforming youth: Expanding the model.
                                                          Psychology of Sexual Orientation and Gender
Resources
                                                          Diversity.
TransYouth Family Allies: www.imatyfa.org/             Hidalgo et al., 2013. The gender affirmative model:
Trans Youth Equality Foundation: www.                      What we know and what we aim to learn. Human
transyouthequality.org                                     Development, 56, 285-290.

PFLAG Transgender Network: http://community.
pflag.org/transgender




                                                          “
Gender Spectrum: www.genderspectrum.org
                                                                During my senior year of
Brill, S. A., & Pepper, R. (2008). The transgender
    child: A handbook for families and                   high school, my English teacher
    professionals. Berkeley, CA: Cleis Press.              would sit with me every day
Ehrensaft, D. (2011). Gender born, gender made:           after school and listen as I told
    Raising healthy gender-nonconforming children
    (1 ed.). New York: The Experiment.                     him how confused I was over
                                                         my sexuality. He was one of the
                                                          very few I told about being in
                                                         conversion therapy. He told me
                                                          that I had to listen to my heart
                                                         and follow it, and not to try and
                                                         force any specific outcome. He
                                                          was the only person in my life
                                                           at the time who gave me any
                                                           assurance that I was going to


                                                                                             ”
                                                             make it through this.

                                                                                             —Mathew



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Summary and Conclusion
SAMHSA is committed to eliminating health                and medical interventions, including pubertal
disparities facing vulnerable communities,               suppression and hormone therapy, are additional
including sexual and gender minority children            therapeutic approaches that are appropriate for
and youth. To build a healthy and supportive             some gender minority youth. Careful evaluation,
environment for all children and adolescents,            developmentally-appropriate informed consent of
families and providers need resources and accurate       youth and their families, and a weighing of potential
information to help inform healthy decision              risks and benefits are vital when considering
making. Two key strategies that can help prevent         interventions with gender minority youth.
adverse outcomes and support healthy development
for LGBTQ youth are: strong and positive family          Beyond ending potentially harmful practices, it is
and community engagement, and appropriate and            important to also build greater social acceptance
supportive therapeutic interventions by health and       of LGBTQ youth; to adopt appropriate and
behavioral health care providers.                        supportive therapies; and to provide targeted
                                                         resources and accurate information for children,
These strategies are grounded in psychological           adolescents, their families, and their providers.
research. Being a sexual or gender minority, or          Building better supportive environments and
identifying as LGBTQ, is not a mental disorder.          working to eliminate negative social attitudes will
Variations in sexual orientation, gender identity, and   reduce health disparities and improve the health
gender expression are normal. Sexual and gender          and well-being of all LGBTQ youth.
minority children have unique health and behavioral
health needs, and may experience distress related to




                                                               “
their sexual orientation or gender, as well as others’
responses to their current, future, or perceived
sexual orientation, gender expression, or gender
                                                                   It is nearly impossible
identity. In addition, gender minority youth may               to describe walking into a
experience distress caused by the incongruence
between their gender identity and physical body.
                                                           therapist’s office after surviving
                                                                conversion therapy. The
The research, clinical expertise, and expert
consensus make it clear that conversion therapy              problem is that we need help
efforts to change a child’s or adolescent’s gender           from a system we have only
identity, gender expression, or sexual orientation
are not an appropriate therapeutic intervention.           known to hurt us. Hearing that I
No evidence supports the efficacy of such                     would be okay and that my
interventions to change sexual orientation or gender
identity, and such interventions are potentially             new therapist could help me
harmful. Appropriate therapeutic approaches to              learn to cope with the pain of
working with sexual and gender minority youth
include: providing accurate information on the
                                                                 my conversion therapy
development of sexual orientation and gender                 experience was like getting a


                                                                                                ”
identity and expression, increasing family and
school support, and reducing family, community,
                                                              second chance at life.
and social rejection of sexual and gender minority
children and adolescents. Social transition                                                         —Sam




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Appendix A: Glossary of Terms
Cisgender: A person whose gender identity, gender expression, and sex assigned at birth all align.

Conversion therapy: Efforts to change an individual’s sexual orientation, gender identity, or gender
expression through behavioral health or medical interventions. Any effort with an a priori goal of a gender
expression that aligns with stereotypical norms, cisgender identity, and/or heterosexual orientation, identity,
and sexual behaviors.

Gender dysphoria: Psychological distress due to the incongruence between one’s body and gender identity.

Gender expression: The way a person expresses their gender identity (e.g., through dress, clothing, body
movement, etc.). Young children express their gender through choices for personal items such as toys and
clothes, as well as hairstyle, colors, etc.

Gender identity: A person’s internal sense of being male, female, or something else. Gender identity is
internal, so it is not necessarily visible to others. Gender identity is also very personal, so some people may
not identify as male or female while others may identify as both male and female.

Gender nonconforming, gender diverse: A person whose gender expression differs from how their family,
culture, or society expects them to behave, dress, and act.

Intersex: Individuals with medically defined biological attributes that are not exclusively male or female;
frequently “assigned” a gender a birth which may or may not differ from their gender identity later in life.

Questioning: Individuals who are uncertain about their sexual orientation and/or gender identity. Also used
as a verb to describe the process of exploring ones sexual orientation and/or gender identity.

Sex assigned at birth: The sex designation given to an individual at birth.

Sexual orientation: A person’s emotional, sexual, and/or relational attraction to others. Sexual orientation
is usually classified as heterosexual, bisexual, or homosexual (lesbian and gay), and includes components
of attraction, behavior, and identity (Laumann et al., 1994). Sexual orientation is expressed in relationship
to others to meet basic human needs for love, attachment, and intimacy (Institute of Medicine, 2011). Thus,
young people can be aware of their sexual orientation as feelings of attachment and connection to others
before they become sexually active. Sexual orientation identity is how someone labels and identifies their
sexual orientation either publicly or privately. Sexual orientation, sexual orientation identity, and sexual
behaviors are not always congruent.

Transgender: A person who feels that their gender identity does not match their physical body and differs
from the gender that others observed and gave them at birth (assigned or birth gender).

Transition: A term used to describe the process of moving from one gender to another; in adolescents and
adults, can be characterized by medical intervention such as the use of cross-sex hormone therapy or gender
affirming surgeries. For all people, can include social transition, which is the process of outwardly beginning
to present as a different gender, which can include changes in name, pronouns, and appearance.




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Appendix B: Acknowledgments
This report was prepared for the Substance Abuse and Mental Health Services Administration (SAMHSA)
by Abt Associates under contract number HHSS283200700008I/HHSS28342001T with SAMHSA, U.S.
Department of Health and Human Services (HHS). David Lamont Wilson served as the Government Project
Officer. Elliot Kennedy served as the Task Lead.

The lead scientific writer for this report was Laura Jadwin-Cakmak, MPH with support from W. Alexander
Orr, MPH as the Task Lead from Abt Associates.

The Expert Consensus Panel was convened by the American Psychological Association (APA) from July
7 – 8, 2015 in Washington, DC and funded by a grant by the Federal Agencies Project. The APA activities
were coordinated by Clinton W. Anderson, PhD (Associate Executive Director, Public Interest Directorate,
Director LGBT Office) and Judith Glassgold, PsyD (Associate Executive Director, Government Relations,
Public Interest Directorate).
The Expert Panel consisted of a panel of researchers and practitioners in child and adolescent mental health
with a strong background in gender development, gender identity, and sexual orientation in children and
adolescents. The panel included experts with a background in family therapy and the psychology of religion.
Among others, the panel included: Sheri Berenbaum, PhD; Celia B. Fisher, PhD; Laura Edwards-Leeper,
PhD; Marco A. Hidalgo, PhD; David Huebner, PhD; Colton L. Keo-Meier, PhD; Scott Leibowitz, MD;
Robin Lin Miller, PhD; Caitlin Ryan, PhD, ACSW; Josh Wolff, PhD; and Mark A. Yarhouse, PsyD.




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Endnotes
1.   The term “sexual and gender minority” is an umbrella term. “Sexual minority” refers to individuals who have a same-gender
     (i.e., gay or lesbian) or bisexual orientation. “Gender minority” refers to individuals whose gender identity differs from their
     assigned sex at birth or whose gender expression does not conform to stereotypical cultural norms. Sexual and gender minority
     populations are also referred to as lesbian, gay, bisexual, and transgender (LGBT) populations, as many (though not all) sexual
     and gender minority individuals identify as lesbian, gay, bisexual, or transgender. At times, the phrase LGBTQ - lesbian, gay,
     bisexual, transgender, and questioning – is used to be inclusive of individuals who are questioning aspects of their gender or
     sexual orientation, and is particularly common when youth are the population of focus, as here.
2.   Conversion therapy consists of any efforts to change an individual’s sexual orientation, gender identity, or gender expression
     through behavioral health or medical interventions. Any effort with an a priori goal of a gender expression that aligns with ste­
     reotypical norms, cisgender identity, and/or heterosexual orientation, identity, and sexual behaviors. For a full glossary of terms,
     see Appendix A.
3.   To be inclusive of transgender populations, the term “same-gender” (as opposed to “same-sex”) is used throughout this report in
     order to clearly distinguish between the constructs of gender and assigned sex and to recognize that individuals generally label
     their sexual orientation with regard to their gender identity as opposed to assigned sex at birth.
4.   This section is based on the consensus statements developed by an expert panel convened by the American Psychological Asso-
     ciation, July 2015. These statements are based on the best available research and scholarly material available.
5.   Efforts to change an individual’s sexual orientation, gender identity, or gender expression through behavioral health or medical
     interventions. Any effort with an a priori goal of a gender expression that aligns with stereotypical norms, cisgender identity,
     and/or heterosexual orientation, identity, and sexual behaviors. For a full glossary of terms, see Appendix A.
6.   The term “sexual and gender minority” is an umbrella term. “Sexual minority” refers to individuals who have a same-gender
     (i.e., homosexual) or bisexual orientation. “Gender minority” refers to individuals whose gender identity differs from their
     assigned sex at birth or whose gender expression does not conform to stereotypical cultural norms. Sexual and gender minority
     populations are also referred to as lesbian, gay, bisexual, and transgender (LGBT) populations, as many (though not all) sexual
     and gender minority individuals identify as lesbian, gay, bisexual, or transgender. At times, the phrase LGBTQ - lesbian, gay,
     bisexual, transgender, and questioning – is used to be inclusive of individuals who are questioning aspects of their gender or
     sexual orientation, particularly common when youth are the population of focus.
7.   To be inclusive of transgender populations, the term “same-gender” (as opposed to “same-sex”) is used throughout this report in
     order to clearly distinguish between the constructs of gender and assigned sex and to recognize that individuals generally label
     their sexual orientation with regard to their gender identity as opposed to assigned sex at birth.
8.   Secondary sex characteristics refer to sexually dimorphic phenotypic traits that develop due to increased sex hormones in pu-
     berty. Changes due to increase in androgens includes growth of the testicles and penis, increased height, increased muscle mass,
     changes in body shape and weight distribution (e.g., broadening of the shoulders and chest), growth of facial and body hair,
     and enlargement of the larynx and deepening of the voice. Changes due to increase in estrogens includes breast development,
     changes in body shape and weight distribution (e.g., widening of the hips and narrowing of the waist), growth of underarm and
     pubic hair, and the onset of menses (Lee 1980).
9.   Homosexuality per se was removed from the International Classification of Diseases and it is explicitly stated that “sexual
     orientation by itself is not to be considered a disorder.” Certain homosexuality-related diagnoses remain in the ICD, although
     there is some movement underway to remove them in the next edition of ICD (Cochran, S. D., Drescher, J., Kismödi, Giami,
     García-Moreno, Atalla, …, & Reed, 2014).
10. Biological sex is itself a multidimensional construct, as the chromosomal, gonadal, and anatomical indicators of biological sex
    do not always align, such as in intersex individuals/individuals with disorders of sex development (Hughes et al., 2006).
11. It should be noted that what behaviors, activities, and appearances are considered feminine or masculine, as well as the expect-
    ed degree of conformity to gender expressions stereotypically associated with one’s assigned sex at birth, varies by culture and
    over time. The alignment of assigned sex at birth, gender identity, and gender expression has been assumed in many, but not
    all, cultures and religious traditions. Historically several different cultures have recognized, accepted, and sometimes revered
    diversity in gender identity and gender expression (American Psychological Association, 2015b). This includes Two Spirit
    individuals within American Indian communities.




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12. The diagnosis of Gender Identity Disorder was eliminated and replaced with the diagnosis of Gender Dysphoria in the Diag-
    nostic and Statistical Manual of Mental Disorders in 2013. Though no longer the current diagnosis, almost all existing research
    includes participants who were diagnosed using the earlier criteria for Gender Identity Disorder. In addition to the diagnostic
    category of Gender Dysphoria (capitalized), the term “gender dysphoria” (lowercase) is used to broadly describe the discomfort
    or distress caused by the discrepancy between a person’s gender identity and that person’s sex assigned at birth and/or primary
    or secondary sex characteristics. We will use the term “individuals with gender dysphoria” throughout the report as inclusive of
    individuals diagnosed under both current and earlier diagnostic criteria, while recognizing that future research findings focused
    on individuals with Gender Dysphoria may differ from that focused on individuals previously diagnosed with Gender Identity
    Disorder.
13. There is a third trajectory, in which individuals do not experience gender dysphoria or a diverse gender expression in childhood,
    but experience the onset of gender dysphoria in adolescence or later. This trajectory is discussed in the section on Gender in
    Adolescence.
14. Scientists now understand that while sexual orientation is not malleable to external pressures to change (American Psycholog-
    ical Association, 2009), some individuals experience internal changes in sexual attraction and/or changes in what sexual orien-
    tation identity label they use (e.g., straight, bisexual, gay) throughout adolescence and adulthood; this concept is referred to as
    sexual fluidity (Diamond & Butterworth, 2008; Savin-Williams & Ream, 2006). For findings related to the stability of sexual
    orientation identity in adolescence and young adulthood, refer to research by Ott et al. (2010).
15. Though opportunities for sexuality- and gender-related stressors and supports also occur throughout these social systems within
    the lives of sexual and gender minority children, research in these areas has generally not included pre-pubertal children.
16. This section is based on the statements of professional consensus developed by an expert panel convened by the American Psy-
    chological Association, July 2015 at the request of the US Substance Abuse and Mental Health Services Administration. These
    statements, listed in Section 2, are based on the best available research and scholarly material available.
17. See American Psychological Association (2009, 2012, and 2015a)
18. This section is based on reports by American Psychological Association (2012 and 2015a) and APA Task Force on Appropriate
    Therapeutic Responses to Sexual Orientation (2009).
19. For more information see White House sources Strengthening Protection against Discrimination.
20. For example, “A Practitioner’s Resource Guide: Helping Families to Support Their LGBT Children” http://store.samhsa.gov/
    product/A-Practitioner-s-Resource-Guide-Helping-Families-to-Support-Their-LGBT-Children/PEP14-LGBTKIDS. Another
    helpful resources is “Helping Families Support Their Lesbian, Gay, Bisexual, and Transgender (LGBT) Children” http://nccc.
    georgetown.edu/documents/LGBT_Brief.pdf.
21. See for instance, American Psychological Association (2011). Guidelines for Psychological Practice with Lesbian, Gay, and
    Bisexual Clients.
22. Association of American Medical Colleges, 2014. Implementing Curricular and Institutional Climate Changes to Improve
    Health Care for Individuals Who are LGBT, Gender Nonconforming, or Born with DSD. Available at https://www.aamc.org/
    download/414172/data/lgbt.pdf.
23. Ferguson v. JONAH, Law Div., Hudson Cy. (Bariso, J.S.C.), HUD-L-5473-12, February 5, 2015.
24. American Bar Association, 2015. Resolution 112., available at https://www.americanbar.org/content/dam/aba/images/aban-
    ews/2015annualresolutions/112.pdf.




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APA RESOLUTION on Gender Identity Change Efforts
FEBRUARY 2021


The foundational professional guideline for working with gender       attributed to women/girls, 3) create systems that confer
diverse persons acknowledges that, “Psychologists understand          privilege to cisgender people and label cisgender identities and
that gender is a nonbinary construct that allows for a range of       expressions as normative, 4) discriminate against transgender
gender identities and that a person’s gender identity may not         and gender nonbinary individuals (Stryker, 2017).
align with sex assigned at birth.” (APA, 2015, p. 834). Gender
identity refers to “a person’s deep felt, inherent sense of being      Gender identity change efforts (GICE) refer to a range of
a girl, woman, or female; a boy, a man, or male; a blend of male       techniques used by mental health professionals and non-
or female; [or another] gender” (APA, 2015, p. 862). While             professionals with the goal of changing gender identity, gender
gender refers to the trait characteristics and behaviors culturally    expression, or associated components of these to be in
associated with one’s sex assigned at birth, in some cases,            alignment with gender role behaviors that are stereotypically
gender may be distinct from the physical markers of biological         associated with sex assigned at birth, (Hill et al., 2010; SAMHSA,
sex (e.g., genitals, chromosomes). Gender identity is also distinct    2015). In addition to explicit attempts to change individuals’
from gender expression, which refers to “the presentation of           gender according to cisnormative pressures, GICE has also
an individual including physical appearance, clothing choice           been a component of sexual orientation change efforts (SOCE).
and accessories, and behaviors that express aspects of gender          As intense focus on cisnormative conformity is a frequent
identity” (APA, 2015, p. 861). Cisgender refers to “a person           characteristic of SOCE it is possible that authors in the literature
whose gender identity aligns with sex assigned at birth” (e.g., an     describing sexual orientation change efforts misgendered their
individual assigned female at birth who identifies as a woman/         participants (Hipp et al., 2019). Moreover, “ex-gay” literature and
girl; APA, 2015, p. 861). Transgender is “an umbrella term used        discourse conceptualize gender diversity as a sin, a mental illness,
to describe the full range of people whose gender identity and/or      and harmful, perpetuating cisgenderism and transmisogyny
gender role do not conform to what is typically associated with        (Robinson & Spivey, 2019). Finally, Hipp et al. (2019) identified
their sex assigned at birth” (APA, 2015, p. 863). For the purpose      forms of GICE that are often not discussed in the psychological
of this resolution, we are using a broad definition of transgender     literature but that appear to disproportionately affect Black
to include transgender women/girls, transgender men/boys,              transgender and gender nonbinary individuals including
nonbinary individuals (i.e., people who may identify as a gender       violence, “church hurt” (i.e., religious or faith-based trauma), and
other than a woman/girl or a man/boy), and any individual who          gatekeeping from gender affirming care. These efforts may be
articulates a gender identity different from societal expectations     referred to as “conversion therapies”, “corrective” treatments, or
based on their sex assigned at birth.                                 “normalizing” therapies (Hill et al., 2010). However, to consider
                                                                       these techniques as therapies or treatments is inaccurate and
Some transgender and gender nonbinary individuals seek                 inappropriate because, the incongruence between sex and
gender-affirming medical care (e.g., hormone therapy, surgery)         gender in and of itself is not a mental disorder (World Health
while others do not. Similarly, some transgender and gender            Organization, n.d.) so, any behavioral health or GICE technique
nonbinary individuals seek to change their gender marker               or treatment that seeks to change an individual’s gender identity
and/or their name on legal documents, while others do not. In          or expression is not indicated; thus, any behavioral health or GICE
this resolution, we strive to be inclusive of all gender diversity     effort that attempt to change an individual’s gender identity or
regardless of a person’s pursuance of social, medical, or legal        expression is inappropriate (Hill et al. 2010; SAMHSA, 2015).
transition.
                                                                      With roots in this history, GICE are founded on the notion that
The fields of psychiatry and psychology have a long history of        any gender identity that is not concordant with sex assigned
pathologizing individuals and those who question their gender         at birth is disordered, and that a cisgender identity is healthier,
identity (Barkai, 2017; Benson, 2013; Bouman et al, 2014; Burke,      preferable, and superior to a transgender or gender nonbinary
2011; Drescher, 2010; Nadal et al., 2010; Riggs et al. 2019). This    identity (Ansara & Hegarty, 2011; Hill et al., 2010; Robinson &
history is informed by, and parallels, the larger Western and         Spivey, 2019).
United States-based, medical-model, narratives that 1) define
gender as binary and conflate it with physical markers, 2) define     GICE cause harm by reinforcing anti-transgender and anti-gender
masculinity, and characteristics historically attributed to men/      nonbinary stigma and discrimination (Turban et al., 2020); and
boys, as superior to femininity and characteristics historically      by creating social pressure on an individual to conform to an

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AMERICAN PSYCHOLOGICAL ASSOCIATION                                                             RESOLUTION ON GENDER IDENTITY CHANGE EFFORTS




identity and/or presentation that may not be consistent with            WHEREAS the practice of GICE reinforces stigma and
their sense of self (e.g., Bockting et al., 2013; Egan & Perry, 2001;   discrimination against transgender and gender diverse people
Meyer, 2003; Nadal et al., 2012; Russell et al., 2012; Toomey           (Turban et al., 2020);
et al., 2010; Sandfort et al., 2007). Furthermore, GICE are not
supported by empirical evidence as effective practices for              WHEREAS gender-related bias, victimization, discrimination,
changing gender identity and are associated with psychological          criminalization, and forced-gender conformity experienced by
and social harm (Brinkman et al., 2014; Carr, 1998; Gagné &             transgender and gender nonbinary people are associated with
Tewksbury, 1998; Horn, 2007; Price et al., 2019; Smith & Leaper,        poor psychosocial outcomes, such as heightened psychological
2006). The American Psychological Association (APA), as well            distress, compromised overall wellbeing, and disparities across
as other healthcare organizations, (e.g., American Counseling           various contexts (e.g., healthcare, schools/education, workplace,
Association, World Professional Association for Transgender             law) (Bockting et al., 2013; dickey et al., 2016; Egan & Perry, 2001;
Health) have established empirically-supported practice                 Meyer, 2003; Nadal et al., 2012; Russell et al., 2012; Hendricks &
guidelines that encourage clinicians to use gender-affirming            Testa, 2012; Toomey et al., 2010; Sandfort et al., 2007);
practices when addressing gender identity issues (ACA, 2010;
APA, 2015; Coleman et al., 2012). Additionally, a number of             WHEREAS invalidation and rejection of transgender and
national and international professional healthcare organizations        gender nonbinary identities and diverse gender expressions by
have publicly warned against the harmful effects of GICE and            others (e.g., families, therapists, school personnel) are forms
SOCE (Sexual Orientation Change Efforts) by endorsing the               of discrimination, stigma, and victimization, which result in
United States Joint Statement Against Conversion Efforts (USJS,         psychological distress (Bockting et al., 2013; D’Augelli et al.,
n.d.), including the American Academy of Family Physicians,             2006; Egan & Perry, 2001; Hendricks & Testa, 2012; Hidalgo et
American Academy of Nursing, American Association of Sexual             al., 2015; Landolt et al., 2004; Meyer, 2003; Nadal et al., 2012;
Educators, Counselors and Therapists, American Counseling               Price, et al., 2019; Roberts et al., 2012; Sandfort et al., 2007;
Association, American Medical Association, American Medical             Stotzer, 2012; Russell et al., 2012; Toomey et al., 2010; Truong et
Student Association, American Psychoanalytic Association,               al., 2020a, 2020b; Zongrone et al., 2020);
The Association of LGBTQ Psychiatrists, Society for Affectional,
Intersex, and Gender Expansive Identities, Clinical Social Work
Association, GLMA: Health Professionals Advancing LGBTQ                 GICE AND RISKS OF HARM
Equality, The Association of Lesbian, Gay, Bisexual, Transgender
Addiction Professionals and their Allies, and the World                 WHEREAS individuals who have experienced pressure or
Professional Association for Transgender Health. A growing              coercion to conform to their sex assigned at birth or therapy
number of states and municipalities have enacted laws that              that was biased toward conformity to one’s assigned sex at
prohibit licensed mental health professionals from engaging             birth have reported harm resulting from these experience such
in sexual orientation and gender identity change efforts with           as emotional distress, loss of relationships, and low self-worth
minors (Movement Advancement Project, n.d.)                             (Brinkman et al., 2014; Carr, 1998; Gagné & Tewksbury, 1998;
                                                                        Horn, 2007; Price et al., 2019; Smith & Leaper, 2006);

GENDER DIVERSITY, STIGMA,                                               WHEREAS in one study of a large online sample of LGBTQ young
AND DISCRIMINATION                                                      people, those who reported experiencing change efforts were
                                                                        more than twice as likely to report having attempted suicide
WHEREAS diversity in gender identity and expression is part of          and having multiple suicide attempts as those who did not
the human experience and transgender and gender nonbinary               experience change efforts, (Green et al., 2020);
identities and expressions are healthy, incongruence between
one’s sex and gender is neither pathological nor a mental health        WHEREAS GICE have not been shown to alleviate or resolve
disorder (APA, 2009, 2015; SAMHSA, 2015);                               gender dysphoria (Bradley & Zucker, 1997; Cohen-Kettenis
                                                                        & Kuiper, 1984; Gelder & Marks, 1969; Greenson, 1964; Pauly,
WHEREAS gender diverse individuals experience cissexist                 1965, SAMHSA, 2015);
discrimination and prejudice throughout the lifespan and life
domains (APA, 2009) including significant discrimination in             WHEREAS GICE can cause undue stress and suffering and
healthcare settings (Burnes et al., 2016; Fredriksen-Goldsen et         interfere with healthy sexual and gender identity development
al., 2014; Grant et al., 2011; James et al., 2016; Johns et al, 2019;   (Hiestand & Levitt, 2005; SAMHSA, 2015);
Lambda Legal, 2010; Macapagal et al., 2016; Reisner et al., 2015;
White Hughto et al., 2015);                                             WHEREAS GICE can reduce one’s willingness to pursue future
                                                                        mental health treatment (Craig et al., 2017);




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WHEREAS GICE often involves the promotion of stereotyped              APA, 2012; 2015; American Psychiatric Association, 2018; Byne
gender behaviors consistent with cultural expectations                et al., 2012; Edwards-Leeper et al., 2016);
(Coleman et al., 2012; Hill et al., 2010);

WHEREAS GICE are associated with harmful social and                   APA POLICY
emotional effects for many individuals, including but not limited
to, the onset or increase of depression, anxiety, suicidality, loss   WHEREAS APA opposes discrimination on the basis of gender
of sexual feeling, impotence, deteriorated family relationships,      identity, gender expression, and transgender and gender
a range of post-traumatic responses, and substance abuse (c.f.        nonbinary identities, and actively opposes the adoption of
Burnes et al., 2016; Green et al., 2020; SAMHSA 2015 for a            discriminatory legislation (APA, 2008);
review; Turban et al., 2019);
                                                                      WHEREAS APA supports the passage of laws and policies
WHEREAS diverse gender expressions and transgender and                protecting the legal rights and freedoms of transgender and
gender nonbinary identities are not mental disorders (American        gender nonbinary people, regardless of gender identity or
Psychiatric Association, 2013) and many transgender and gender        expression (APA, 2008);
nonbinary individuals lead satisfying lives and have healthy
relationships (APA, 2015; SAMHSA, 2015);                              WHEREAS Psychologists’ work is based upon established
                                                                      scientific and professional knowledge of the discipline. (APA,
                                                                      2017b, p. 5);
GENDER AFFIRMING PRACTICES
                                                                      WHEREAS APA recognizes that psychologists work is based
WHEREAS transgender and gender nonbinary people whose                 upon Respect for People’s Rights and Dignity (Principle E),
gender has been affirmed report increased quality of life             Avoiding Harm (3.04), and Unfair Discrimination (3.01; APA,
(Ainsworth & Spiegel, 2010; APA, 2015; Gerhardstein &                 2017b);
Anderson, 2010; Kraemer et al., 2008; Newfield et al., 2006);
                                                                      WHEREAS gender affirming psychotherapy is founded in clinical
WHEREAS self-determination in defining one’s gender identity          practice guidelines, and harm has not been identified for any of
is a source of resilience for transgender and gender nonbinary        these gender-affirming treatment practices (APA, 2015, 2017b;
people and associated with improvements in wellbeing and              Byne et al., 2012);
reductions in psychological distress (Menvielle & Tuerk, 2002;
Pickstone-Taylor, 2003; Rosenburg, 2002; Singh et al., 2011;          WHEREAS the APA policy and practice guidelines (e.g.,
Singh et al., 2014);                                                  Multicultural Guidelines: An Ecological Approach to Context,
                                                                      Identity, and Intersectionality; Guidelines for Psychological
WHEREAS individuals who have experienced gender-                      Practice with Transgender and Gender Nonconforming People)
affirming psychological and medical practices report improved         affirm that psychologists do not engage in discriminatory or
psychological functioning, quality of life, treatment retention       biased practices and urge psychologists to take a leadership role
and engagement, and reductions in psychological distress,             in preventing discrimination towards transgender and gender
gender dysphoria, and maladaptive coping mechanisms (Austin           diverse people (APA, 2009, 2015, 2017a);
& Craig, 2015; de Vries et al., 2014; Haas et al., 2011; Sevelius,
2013; White Hughto & Reisner, 2016);                                  WHEREAS APA’s 2005 Policy Statement on Evidence-Based
                                                                      Practice in Psychology defines evidence-based practice as the
WHEREAS professional consensus recommends affirming                   integration of the best available research with clinical expertise
therapeutic interventions for transgender and gender nonbinary        in the context of patient characteristics, culture, and preferences
adults who request that a therapist engage in GICE, and for trans     (APA, 2005);
youth whose parents/guardians or other custodians (e.g., state,
foster care) request that a therapist engage in GICE (American        BE IT THEREFORE RESOLVED that consistent with the APA
Counseling Association, 2009; APA, 2012; 2015; American               definition of evidence-based practice (APA, 2005), the APA
Psychiatric Association, 2018; Byne et al., 2012; Edwards-Leeper      affirms that scientific evidence and clinical experience indicate
et al., 2016);                                                        that GICE put individuals at significant risk of harm;

WHEREAS affirming therapeutic practices and guidelines                BE IT FURTHER RESOLVED that the APA opposes GICE
recommend that the therapist should remain objective and              because such efforts put individuals at significant risk of harm
nonjudgmental to the outcome, focusing on empowering the              and encourages individuals, families, health professionals, and
client to be active in exploring, discovering, and understanding      organizations to avoid GICE;
their own identity (American Counseling Association, 2009;

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BE IT FURTHER RESOLVED that APA opposes the idea that                   BE IT FURTHER RESOLVED that APA encourages the development
incongruence between sex and gender is a mental disorder (Hill          and dissemination of evidence-based, multiculturally-informed, and
et al., 2010; SAMHSA, 2015; WHO).                                       gender affirmative educational resources that inform psychologists,
                                                                        the community and education and mental health institutions about
BE IT FURTHER RESOLVED that after reviewing scientific                  the harms of GICE;
evidence on GICE harm, affirmative treatments, and professional
practice guidelines, the APA affirms GICE are associated with           BE IT FURTHER RESOLVED that APA re-affirms that APA (2015)
reported harm.                                                          encourages psychologists to:

BE IT FURTHER RESOLVED that the APA opposes GICE because                  •   Acknowledge the diversity and complexity of identities
of their association with harm.                                               and experiences and recognize transgender and gender
                                                                              nonbinary identities as healthy expressions of gender
BE IT FURTHER RESOLVED that Transgender and gender
nonbinary identities, as well as other gender identities that             •   Recognize that descriptions of any gender identity
transcend culturally prescriptive binary notions of gender,                   or expression as unnatural, abhorrent, or unhealthy
represent normal variations in human expression of gender.                    perpetuate stigma for sexual and gender minorities, and
                                                                              have negative mental health and social consequences
BE IT FURTHER RESOLVEDthat neither transgender or gender
nonbinary identities nor the pursuit of gender-affirming medical          •   Assist clients in a developmentally appropriate manner to
care constitutes evidence of a mental disorder.                               explore and understand the cultural and familial influence
                                                                              on gender roles and expression. Psychologists are urged
BE IT FURTHER RESOLVED that APA opposes portrayals                            to help clients in a developmentally appropriate manner
of transgender and gender nonbinary people as mentally ill                    understand the societal contexts of sexism, heterosexism,
because of their gender identities and expressions.                           transphobia, racism and other forms of social oppression,
                                                                              and to use a developmental multicultural- and gender-
BE IT FURTHER RESOLVED that evidence supports psychologists                   affirmative framework in research, teaching, training, and
in their professional roles to use affirming and culturally relevant          supervision;
approaches with individuals of diverse gender expressions and
identities.                                                             BE IT FURTHER RESOLVED that the American Psychological
                                                                        Association opposes GICE because there is evidence of former
BE IT FURTHER RESOLVED that APA is committed to promoting               participants reporting harm resulting from their experiences
accurate scientific data regarding gender identity and expression       of GICE and the contribution that such efforts make to social
in its own policy, public advocacy, judicial proceedings, media, and    stigma, injustice, and prejudice directed at gender diverse
public opinion;                                                         individuals, consistent with other major professional mental
                                                                        health associations, including the American Psychiatric
BE IT FURTHER RESOLVED that APA encourages collaboration                Association (2018); American Counseling Association (2017),
between and among individuals and organizations to promote              SAMHSA (2015), American Academy of Child & Adolescent
the wellbeing of transgender and gender nonbinary people;               Psychiatry (2018), World Health Organization (n.d.) and World
                                                                        Psychiatric Association (2016);
BE IT FURTHER RESOLVED that the APA encourages
psychologists to be aware of multiple and intersecting factors in       BE IT FURTHER RESOLVED that the APA, because of evidence
identity, such as sex assigned at birth, gender expression, gender      of harm and lack of evidence of efficacy, supports public policies
identity, age, race, ethnicity, religion, spirituality, socioeconomic   and legislation that prohibit, or aim to reduce GICE, cissexism,
status, disability, national origin, and sexual orientation in          and anti-transgender and anti-gender nonbinary bias and that
conceptualization, treatment, research, and teaching about              increase support for gender diversity;
transgender and gender nonbinary people;
                                                                        BE IT FURTHER RESOLVED that the APA supports collaboration
BE IT FURTHER RESOLVED that the APA opposes the                         and partnerships with global, national and state and local
dissemination of inaccurate information about gender identity,          partners to achieve the aims of this resolution;
gender expression, and the efficacy of GICE, including the claim
that gender identity can be changed through treatment, the              BE IT FURTHER RESOLVED that the APA promotes professional
characterization of transgender or gender nonbinary identity            training in gender-affirming practices and opposes professional
as a mental disorder and the promotion of treatments that               training in GICE in any stage of the education of psychologists,
prescribe gender identity or expression consistent with one’s           including graduate training, continuing education, and
birth-assigned sex as effective for clients with gender dysphoria;      professional development.

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Sexual Orientation and Gender         inconsistent with population-
                                      based samples.
                                         This study comes at a time
Identity Change Efforts are Unethical when more cities and states are
                                      considering ordinances or laws
and Harmful                           that would ban the use of
                                      SOGICE on minors, with the
                                                                                                                              most recent ban implemented in
      See also Green et al., p. 1221.                                                                                         Virginia, the ﬁrst Southern state
                                                                                                                              to do so. It is important to rec-
    Sexual orientation and             of several mental health problems     practice, with characteristics                   ognize, however, that these bans
gender identity change efforts         and substance use behaviors.4         consistent with deﬁnitions of                    are speciﬁc to licensed mental
(SOGICE)—sometimes called              Thus lesbian, gay, bisexual,          adverse childhood experiences.5                  health care providers and thus do
“conversion” or “reparative”           transgender, queer, and ques-         Furthermore, the pattern of re-                  not provide protection against
therapy—refer to practices that        tioning (LGBTQ) adolescents are       sults is consistent with evidence                SOGICE by others, including
attempt to repress and alter a         distinctly vulnerable to the neg-     that childhood trauma is associ-                 unlicensed providers and faith
person’s sexual orientation from       ative consequences of exposure        ated with severity in mental                     leaders (e.g., clergy). Education is
lesbian, gay, or bisexual to het-      to SOGICE.                            health challenges.6 Speciﬁcally,                 needed to warn parents about the
erosexual or gender identity from          Findings from Green et al. (p.    SOGICE had markedly stronger                     serious harms associated with
transgender to cisgender. Major        1221), in this issue of AJPH, offer   statistical associations with in-                efforts by clergy and unlicensed
professional organizations oppose      the latest evidence that SOGICE       creasing severity of suicidality                 professionals who subject minors
SOGICE (e.g., the American             exposure among LGBTQ youths           (i.e., the strongest effect was on               to SOGICE. The ﬁndings pre-
Medical Association, the Amer-         is unethical and dangerous. With      multiple suicide attempts).                      sented by Green et al. further
ican Psychological Association).       data from a large nationwide              The ﬁndings are compelling,                  support the harmful and uneth-
With substantial evidence of se-       survey of LGBTQ youths, the           and several strengths of the study               ical nature of SOGICE and
rious harms associated with ex-        authors found that 4.2% of their      contribute to existing evidence of               emphasize the importance of
posure to SOGICE,1 particularly        sample had been exposed to            the mental health correlates of                  legislation that bans SOGICE,
for minors,2 21 states (and mul-       SOGICE in their lifetime.             SOGICE, particularly among                       given the compelling interest by
tiple cities and counties) have        Furthermore, compared with            youths.1,2 The ﬁndings by Green                  governments to defend the
passed bipartisan laws or regula-      LGBTQ youths with no expo-            et al. are strengthened through                  health and well-being of minors.
tions prohibiting SOGICE.              sure, those exposed to SOGICE         the use of a contemporary, na-                   The impact of these legislative
    Adolescents are uniquely sus-      showed 1.76 times greater odds        tionwide survey of LGBTQ                         bans is twofold: they protect
ceptible to exposure to SOGICE.        of seriously considering suicide,     youths. The authors found that                   LGBTQ youths from SOGICE
Given their emotional and ﬁ-           2.23 times greater odds of having     rates of past-year suicide attempt               but also raise awareness of the
nancial dependence on parents,         attempted suicide, and 2.54 times     are consistent with those docu-                  harms caused to those who are
adolescents are subject to parental    greater odds of multiple suicide      mented in the Centers for Disease                exposed to it.
inﬂuence or pressure to engage         attempts in the previous year.        Control and Prevention’s 2017                       An important issue that is left
in SOGICE. There are funda-                Notably, estimates accounted      Youth Risk Behavior Survey,                      unexplored in the study by Green
mental ethical concerns about          for other risk factors for suicide    providing conﬁdence that the                     et al. is that exposure to and
whether youths consent to              that are speciﬁc to LGBTQ             ﬁndings from this survey are not                 impacts of SOGICE may differ
SOGICE and whether they                youths, including LGBTQ-
understand the inherent risks          related discrimination and            ABOUT THE AUTHORS
to their short- and long-term          physical threats or harm. Yet         Jessica N. Fish is with the Department of Family Science and the Prevention Research Center,
mental health.1 Furthermore,           SOGICE were the most inﬂu-            School of Public Health, University of Maryland, College Park. Stephen T. Russell is with
                                                                             the Department of Human Development and Family Sciences, University of Texas, Austin.
identity development, including        ential factor in risk for suicide         Correspondence should be sent to Jessica Fish, PhD, University of Maryland, Department of
the development of one’s sexual        ideation, attempt, and multiple       Family Science, School of Public Health, 4200 Valley Dr., Suite 1142, College Park, MD
and gender identity, is a hallmark     attempts. The authors point out       20742 (e-mail: jnﬁsh@umd.edu). Reprints can be ordered at http://www.ajph.org by clicking
                                                                             the “Reprints” link.
of adolescence3; adolescence is        that SOGICE have been identi-             This editorial was accepted May 5, 2020.
also a critical period for the onset   ﬁed as a potentially harmful              doi: 10.2105/AJPH.2020.305765



August 2020, Vol 110, No. 8   AJPH                                                                                                Fish and Russell      Editorial    1113
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AJPH EDITORIALS



for sexual minority compared            meanings, and interpersonal                           Jessica N. Fish, PhD
with gender minority youths.            experiences associated with the                   Stephen T. Russell, PhD
Our unscientiﬁc impression is           developmental of a same-sex
that most of the public think of        sexual orientation compared           CONTRIBUTORS
efforts to change sexual orienta-       with a gender identity different      The authors contributed equally to this
                                                                              editorial.
tion (lesbian, gay, or bisexual         from one’s sex assigned at birth.
identity) when they think of            It is likely that attempts to         ACKNOWLEDGMENTS
these practices, yet there is           change a young person’s sexual        This work was funded by the Centers for
                                                                              Disease Control and Prevention (CDC;
growing concern about practices         orientation compared with their       University of Maryland Prevention Re-
aimed to change the gender ex-          core sense of gender may have         search Center cooperative agreement
pression and identity of trans-         very different meaning and sa-        U48DP006382 to J. N. F.); the Eunice
                                                                              Kennedy Shriver National Institute of
gender or nonbinary children.           lience, as well as distinct se-       Child Health and Human Development
Although the motivation for             quelae. Thus, developmental           (award P2CHD041041 to the Maryland
sexual orientation change efforts       timing or focus on gender versus      Population Research Center, University
                                                                              of Texas, Austin); and the Russell and
is likely rooted in the non-            sexual orientation may make a         Priscilla Pond Flawn Endowment (award
conforming gender expression of         difference for how SOGICE are         P2CHD042849 to the Maryland Pop-
youths who are gay, lesbian, or         experienced by a young person.        ulation Research Center, University of
                                                                              Texas, Austin).
bisexual, there are important           We note the bitter irony of              Note. The content is solely the re-
differences to consider in how          pointing to ways to advance           sponsibility of the authors and does not
SOGICE may be experienced by            research on practices that are at     necessarily represent the ofﬁcial views of the
                                                                              National Institutes of Health or the CDC.
youths based on their sexual            their core unethical and harmful;
orientation or gender identity.         yet empirical studies should          CONFLICTS OF INTEREST
    First, there may be differences     consider these distinctions when      The authors have no conﬂicts of interest to
                                                                              declare.
related to developmental timing.        assessing factors that put youths
Some but not all transgender and        at risk for SOGICE at different       REFERENCES
                                                                              1. American Psychological Association.
gender-diverse youths exhibit           points in the life course and the     Report of the American Psychological
gender-nonconforming behav-             subsequent implications for           Association Task Force on Appropriate
iors or assert a desire to be another   mental health and risk for            Therapeutic Responses to Sexual Orien-
                                                                              tation. 2009. Available at: https://www.
gender early in childhood,              suicide.                              apa.org/pi/lgbt/resources/therapeutic-
whereas sexual identity devel-              Given the evidence of serious     response.pdf. Accessed May 9, 2020.
opment may begin in child-              harm caused by SOGICE, we             2. Ryan C, Toomey RB, Diaz RM,
hood but is typically understood        also suggest an end to the use of     Russell ST. Parent-initiated sexual ori-
                                                                              entation change efforts with LGBT ado-
to be associated with the de-           the language of “reparative” or       lescents: implications for young adult
velopmental changes linked              “conversion” therapy by scien-        mental health and adjustment. J Homosex.
to adolescence.7 Inasmuch as            tists to describe these practices.    2020;67(2):159–173.
transgender youths may exhibit          The authors use the words             3. Russell ST, Fish JN. Mental health in
                                                                              lesbian, gay, bisexual, and transgender
behaviors that do not conform           “conversion efforts” in their ti-     (LGBT) youth. Annu Rev Clin Psychol.
with their sex assigned at birth in     tle, and indeed the terminology       2016;12:465–487.
early childhood, they may be            of “conversion therapy” or            4. National Academies of Sciences, En-
susceptible to experiences of           “reparative therapy” is under-        gineering, and Medicine. The Promise of
                                                                              Adolescence: Realizing Opportunity for All
SOGICE earlier in the life course       stood in the public and was part
                                                                              Youth. Washington, DC: National
and for longer periods of time.         of the wording of the survey          Academies Press; 2019.
Earlier and prolonged exposures         question. Their choice of             5. Mercer J. Evidence of potentially
likely have differential effects on     wording is understandable on          harmful psychological treatments for
later mental health and suicide         those terms. However, these           children and adolescents. Child Adolesc
                                                                              Social Work J. 2017;34(2):107–125.
risk. By contrast, sexual minority      practices are not therapeutic, are
                                                                              6. Oral R, Ramirez M, Coohey C, et al.
youths often ﬁrst report feeling        not reparative, and do not offer      Adverse childhood experiences and
different and attribute that dif-       the possibility of conversion (the    trauma informed care: the future of health
ference to sexuality around the         implication that LGBTQ people         care. Pediatr Res. 2016;79(1–2):227–233.

start of adrenarche, which could        need repair or conversion is itself   7. Fish JN, Baams L, McGuire JK. Sexual
                                                                              and gender minority mental health issues
delay their exposure to SOGICE          demeaning). We argue that such        among children and youth. In: Rothblum
until early to middle adolescence       language risks legitimizing un-       E, ed. Oxford Handbook of Sexual and
(or later).                             ethical and harmful practices         Gender Minority Mental Health. New York,
                                                                              NY: Oxford University Press; 2020:
    Second, there are different         as “therapy” and promulgates          229–243.
developmental processes, cultural       stigma.


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                 Research



                 JAMA Psychiatry | Original Investigation

                 Association Between Recalled Exposure to Gender Identity
                 Conversion Efforts and Psychological Distress
                 and Suicide Attempts Among Transgender Adults
                 Jack L. Turban, MD, MHS; Noor Beckwith, MD; Sari L. Reisner, ScD, MA; Alex S. Keuroghlian, MD, MPH


                                                                                                                          Supplemental content
                    IMPORTANCE Gender identity conversion efforts (GICE) have been widely debated as
                    potentially damaging treatment approaches for transgender persons. The association of GICE
                    with mental health outcomes, however, remains largely unknown.

                    OBJECTIVE To evaluate associations between recalled exposure to GICE (by a secular or
                    religious professional) and adult mental health outcomes.

                    DESIGN, SETTING, AND PARTICIPANTS In this cross-sectional study, a survey was distributed
                    through community-based outreach to transgender adults residing in the United States,
                    with representation from all 50 states, the District of Columbia, American Samoa, Guam,
                    Puerto Rico, and US military bases overseas. Data collection occurred during 34 days
                    between August 19 and September 21, 2015. Data analysis was performed from June 8, 2018,
                    to January 2, 2019.

                    EXPOSURE Recalled exposure to GICE.


                    MAIN OUTCOMES AND MEASURES Severe psychological distress during the previous month,
                    measured by the Kessler Psychological Distress Scale (defined as a score ⱖ13). Measures of
                    suicidality during the previous year and lifetime, including ideation, attempts, and attempts
                    requiring inpatient hospitalization.

                    RESULTS Of 27 715 transgender survey respondents (mean [SD] age, 31.2 [13.5] years),
                    11 857 (42.8%) were assigned male sex at birth. Among the 19 741 (71.3%) who had ever
                    spoken to a professional about their gender identity, 3869 (19.6%; 95% CI, 18.7%-20.5%)
                    reported exposure to GICE in their lifetime. Recalled lifetime exposure was associated with
                    severe psychological distress during the previous month (adjusted odds ratio [aOR], 1.56;
                    95% CI, 1.09-2.24; P < .001) compared with non-GICE therapy. Associations were found
                                                                                                                      Author Affiliations: Division of
                    between recalled lifetime exposure and higher odds of lifetime suicide attempts (aOR, 2.27;       Child and Adolescent Psychiatry,
                    95% CI, 1.60-3.24; P < .001) and recalled exposure before the age of 10 years and increased       Massachusetts General Hospital,
                    odds of lifetime suicide attempts (aOR, 4.15; 95% CI, 2.44-7.69; P < .001). No significant        Boston (Turban); Department of
                                                                                                                      Psychiatry, Massachusetts General
                    differences were found when comparing exposure to GICE by secular professionals vs                Hospital, Boston (Beckwith);
                    religious advisors.                                                                               Department of Pediatrics, Harvard
                                                                                                                      Medical School and Boston Children’s
                                                                                                                      Hospital, Boston, Massachusetts
                    CONCLUSIONS AND RELEVANCE The findings suggest that lifetime and childhood exposure
                                                                                                                      (Reisner); Department of
                    to GICE are associated with adverse mental health outcomes in adulthood. These results            Epidemiology, Harvard T. H. Chan
                    support policy statements from several professional organizations that have discouraged           School of Public Health, Boston,
                    this practice.                                                                                    Massachusetts (Reisner);
                                                                                                                      Department of Psychiatry, Harvard
                                                                                                                      Medical School, and Massachusetts
                                                                                                                      General Hospital, Boston
                                                                                                                      (Keuroghlian); The Fenway Institute,
                                                                                                                      Boston, Massachusetts (Keuroghlian)
                                                                                                                      .
                                                                                                                      Corresponding Author: Jack L.
                                                                                                                      Turban, MD, MHS, Division of
                                                                                                                      Child and Adolescent Psychiatry,
                                                                                                                      Massachusetts General Hospital,
                                                                                                                      Adult OPC, Mailstop 229, 115 Mill St,
                    JAMA Psychiatry. doi:10.1001/jamapsychiatry.2019.2285                                             Belmont, MA 02478 (jack.turban@
                    Published online September 11, 2019.                                                              mgh.harvard.edu).



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                 Research Original Investigation                    Recalled Exposure to Gender Identity Conversion Efforts and Psychological Distress and Suicide Attempts




                 T
                         ransgender persons are those whose sex assigned at birth
                         differs from their gender identity, the inner sense of their           Key Points
                         own gender.1 According to a study by the Williams
                                                                                                Question Is recalled exposure to gender identity conversion
                 Institute,1 approximately 1.4 million (0.6%) adults in the United              efforts (ie, psychological interventions that attempt to change
                 States identify as transgender. Transgender persons in the                     one’s gender identity from transgender to cisgender) associated
                 United States experience a disproportionately high preva-                      with adverse mental health outcomes in adulthood?
                 lence of adverse mental health outcomes, including a 41% life-
                                                                                                Findings In a cross-sectional study of 27 715 US transgender
                 time prevalence of self-reported suicide attempts.2-4                          adults, recalled exposure to gender identity conversion efforts
                      Studies5-7 have shown that gender-affirming models of care                was significantly associated with increased odds of severe
                 are associated with positive mental health outcomes among                      psychological distress during the previous month and lifetime
                 transgender people. Gender identity conversion therapy re-                     suicide attempts compared with transgender adults who had
                 fers to psychological interventions with a predetermined goal                  discussed gender identity with a professional but who were not
                                                                                                exposed to conversion efforts. For transgender adults who
                 to change a person’s gender identity to align with their sex as-
                                                                                                recalled gender identity conversion efforts before age 10 years,
                 signed at birth.8 Several US states have passed legislation ban-               exposure was significantly associated with an increase in the
                 ning conversion therapy for gender identity.8 Professional or-                 lifetime odds of suicide attempts.
                 ganizations including the American Medical Association,9 the
                                                                                                Meaning The findings suggest that lifetime and childhood
                 American Psychiatric Association,10 the American Academy of
                                                                                                exposure to gender identity conversion efforts are associated
                 Child & Adolescent Psychiatry,11 and the American Academy                      with adverse mental health outcomes.
                 of Pediatrics12 have labeled the practice unethical and inef-
                 fective. Despite these policy statements, however, the ques-
                 tion of whether to ban gender identity conversion therapy re-              distributed via community-based outreach.15 The US Trans-
                 mains a contentious policy debate.                                         gender Survey protocol was reviewed and approved by the Uni-
                      State-level conversion therapy bans have been focused on              versity of California Los Angeles institutional review board,
                 gender identity conversion efforts (GICE) by licensed mental               Los Angeles, California. The US Transgender Survey data set
                 health practitioners. Nonlicensed religious advisors have also             was organized and recoded as described in the NCTE report
                 advertised GICE, and it is unknown whether GICE by these 2                 on the survey.15 The protocol for the present study was re-
                 groups of practitioners are distinct in their effects on mental            viewed by the Fenway Institute institutional review board and
                 health.13                                                                  was determined not to comprise human subjects research. Data
                      Because gender identity is thought to be stable after pu-             analysis was performed from June 8, 2018, to January 2, 2019.
                 berty for most transgender persons, few have supported use
                 of GICE after pubertal onset.4 Some, however, have sup-                    Study Population
                 ported these efforts for prepubescent children, theorizing that            The data set includes responses from 27 715 transgender adults
                 gender identity may be more modifiable at this age.14 Increas-             residing in the United States, with representation from all 50
                 ingly, this approach has fallen out of favor, with the growing             states, the District of Columbia, American Samoa, Guam, Puerto
                 understanding that gender diversity is not a pathologic find-              Rico, and US military bases overseas. The NCTE report on the
                 ing that requires modification.14 To our knowledge, there have             survey further characterizes recruitment strategies and the
                 been no studies evaluating the associations between expo-                  sample of respondents.15 Because the organizations that con-
                 sure to GICE during either childhood or adulthood and adult                ducted outreach for the survey did not systematically docu-
                 mental health outcomes.                                                    ment the number of individuals reached by their outreach ef-
                      The current study used the largest cross-sectional survey             forts, a response rate could not be calculated.
                 to date of transgender adults living in the United States to as-
                 sess whether recalled lifetime exposure to GICE is associated              Exposures
                 with adverse mental health outcomes, including suicide at-                 The primary exposure of interest was an affirmative response
                 tempts. The study also assessed whether recalled childhood                 to the binary survey question, “Did any professional (such as
                 exposure to GICE before the age of 10 years is associated with             a psychologist, counselor, or religious advisor) try to make you
                 adverse mental health outcomes in adulthood. We hypoth-                    identify only with your sex assigned at birth (in other words,
                 esized that there would be associations between exposure to                try to stop you being trans)?” This recalled exposure is herein
                 GICE by both secular and religious professionals and worse                 referred to as GICE. Endorsement of lifetime exposure to GICE
                 mental health outcomes.                                                    was examined among all those who confirmed having spo-
                                                                                            ken to a professional about gender identity. Outcomes were
                                                                                            compared among respondents who reported exposure to GICE
                                                                                            before the age of 10 years with outcomes among those who en-
                 Methods                                                                    dorsed lifetime exposure to therapy without GICE. Because the
                 Study Design and Data Source                                               data set does not contain age of exposure to non-GICE therapy,
                 The 2015 US Transgender Survey15 is a cross-sectional survey               participants with any lifetime exposure to non-GICE therapy
                 that was conducted by the National Center for Transgender                  were selected as the reference group in the analysis of those
                 Equality (NCTE) between August 19 and September 21, 2015.                  exposed to GICE before age 10 years. As data regarding ages
                 It is the largest existing survey of transgender adults and was            of pubertal onset among respondents were not available,

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                 Recalled Exposure to Gender Identity Conversion Efforts and Psychological Distress and Suicide Attempts                       Original Investigation Research




                 Table 1. Demographics of Participants With and Without Lifetime Exposure
                 to Gender Identity Conversion Effortsa
                                                                       Did any professional try to make you identify
                                                                       only with your sex assigned at birth?b
                                                                       No. (%)
                                                                       Yes                        No
                  Characteristic                                       (n = 3869)                 (n = 15 882)             P Valuec
                  Sex assigned at birth
                    Male                                               1143 (29.5)                5576 (35.1)
                                                                                                                           <.001
                    Female                                             2726 (70.5)                10 306 (64.9)
                  Gender identity
                    Cross-dresser                                      101 (2.6)                  721 (4.5)                <.001
                    Transgender woman (male to female)                 2452 (63.4)                8980 (56.5)              <.001
                    or woman (birth-assigned male)
                    Trangender man (female to male)                    816 (21.1)                 4084 (25.7)              <.001
                    or man (birth-assigned female)
                    Nonbinary or genderqueer                           327 (8.5)                  1454 (9.2)               .11
                    (birth-assigned female)
                    Nonbinary or genderqueer                           173 (4.5)                  643 (4.0)                .25
                    (birth-assigned male)
                  Sexual orientation
                    Asexual                                            339 (8.8)                  1034 (6.5)               <.001
                    Bisexual                                           753 (19.5)                 2570 (16.2)              <.001
                    Gay, lesbian, or same gender-loving                811 (21.0)                 3369 (21.2)              .75
                    Heterosexual or straight                           838 (21.7)                 4124 (26.0)              <.001
                    Pansexual                                          531 (13.7)                 2039 (12.8)              .15
                    Queer                                              353 (9.1)                  1933 (12.2)              <.001
                    Other                                              245 (6.3)                  812 (5.1)                .003
                  Racial/ethnicity
                    Alaska Native or American Indian                   49 (1.3)                   133 (0.8)                .02
                    Asian, Asian American, Native Hawaiian,            62 (1.6)                   511 (3.2)                <.001
                    or Pacific Islander
                    Biracial, multiracial, or other                    79 (2.0)                   288 (1.8)                .38
                    Black or African American                          477 (12.3)                 1926 (12.1)              .75
                    Latino, Latina, or Hispanic                        609 (15.7)                 2219 (14.0)              .005
                    White, Middle Eastern, or North African            2593 (67.0)                10 805 (68.0)            .23
                  Census age cohort, y
                    18-24                                              339 (8.8)                  1527 (9.6)               .11
                    25-44                                              1589 (41.1)                5887 (37.1)              <.001
                    45-64                                              1408 (36.4)                6141 (38.7)              .01
                    ≥65                                                534 (13.8)                 2326 (14.6)              .19
                  Family support of gender identity
                    Supportive                                         1516 (39.2)                8287 (52.2)              <.001
                    Neutral                                            672 (17.4)                 2659 (16.7)              .46
                    Unsupportive                                       1012 (26.2)                2184 (13.7)              <.001
                    Not asked                                          549 (14.2)                 2752 (17.3)              <.001
                  Relationship status
                    Partnered                                          1754 (45.3)                7845 (49.4)              <.001
                  Educational level
                    Less than high school                              795 (20.5)                 1833 (11.5)              <.001
                    High school graduate or GED                        904 (23.4)                 4290 (27.0)              <.001
                    Some college or associate degree                   1137 (29.4)                4883 (30.7)              .10
                    Bachelor degree or higher                          1033 (26.7)                4875 (30.7)              <.001
                  Employment status
                    Employed                                           1957 (50.6)                9890 (62.3)              <.001
                    Unemployed                                         532 (13.7)                 1332 (8.4)               <.001
                    Out of the labor force                             1346 (34.8)                4578 (28.9)              <.001
                    Unspecified                                        35 (0.9)                   82 (0.5)                 .01

                                                                                                                             (continued)


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                 Research Original Investigation                               Recalled Exposure to Gender Identity Conversion Efforts and Psychological Distress and Suicide Attempts




                 Table 1. Demographics of Participants With and Without Lifetime Exposure
                 to Gender Identity Conversion Effortsa (continued)                                                                                 Abbreviation: GED, general
                                                                                                                                                    equivalency diploma.
                                                                            Did any professional try to make you identify                       a
                                                                            only with your sex assigned at birth?b                                  Descriptive statistics for
                                                                                                                                                    transgender adults who reported
                                                                            No. (%)                                                                 receiving any therapy regarding
                                                                            Yes                        No                                           gender identity, with bivariate
                     Characteristic                                         (n = 3869)                 (n = 15 882)            P Valuec             comparisons of those with and
                     Total household income, $                                                                                                      without exposure to conversion
                       No income                                            87 (2.2)                   432 (2.7)               .11                  efforts.
                                                                                                                                                b
                       1-9999                                               503 (13.0)                 1608 (10.1)             <.001                Professionals included
                                                                                                                                                    psychologists, counselors, or
                       10 000-24 999                                        1075 (27.8)                2955 (18.6)             <.001
                                                                                                                                                    religious advisors.
                       25 000-49 999                                        863 (22.3)                 3692 (23.2)             .22              c
                                                                                                                                                    Rao-Scott χ2 tests were used for
                       50 000-99 999                                        728 (18.8)                 3732 (23.5)             <.001                categorical variables, and the
                       100 000 or more                                      430 (11.1)                 2468 (15.5)             <.001                Mann-Whitney test was used for
                                                                                                                                                    comparison of age because of
                       Unspecified                                          184 (4.8)                  994 (6.3)               <.001
                                                                                                                                                    nonnormality.


                 Table 2. Outcomes for Those With Lifetime Exposure
                                                                                                        Distress Scale, a cutoff that has been previously validated in
                 to Gender Identity Conversion Effortsa                                                 US samples18); binge drinking during the previous month (de-
                                                                                                        fined as ≥1 day of consuming ≥5 standard alcoholic drinks on
                                                              Adjusted Odds Ratio
                     Outcome                                  (95% CI)                   P Value        the same occasion, a threshold for which the rationale in al-
                     Suicidality in previous 12 mo                                                      cohol research among transgender persons has been dis-
                       Ideation                               1.44 (1.03-2.02)           <.001          cussed in previous reports19); lifetime cigarette and illicit drug
                       Ideation with plan                     1.52 (1.09-2.14)           <.001          use (not including marijuana); suicidal ideation during the pre-
                       Attempt                                1.49 (0.91-2.46)           .01            vious year; suicidal ideation with plan during the previous year;
                       Attempt requiring inpatient            1.62 (0.75-3.48)           .04            suicide attempt during the previous year; suicide attempt
                       hospitalization                                                                  requiring inpatient hospitalization during the previous year;
                     Suicidality in lifetime                                                            lifetime suicidal ideation; and lifetime number of suicide
                       Ideation                               1.90 (1.12-3.23)           <.001          attempts (0, 1, or ≥2).
                       Attempts                               2.27 (1.60-3.24)           <.001b
                     Mental health and substance use                                                    Control Variables
                     in previous month
                                                     c
                                                                                                        Demographic and socioeconomic variables were collected and
                       Severe psychological distress          1.56 (1.09-2.24)           <.001
                                                                                                        analyzed as defined in the US Transgender Survey, including
                       Binge drinking                         0.88 (0.59-1.30)           .27
                                                                                                        sex assigned at birth, present gender identity, sexual orienta-
                     Mental health and substance use
                     in lifetime                                                                        tion, racial/ethnic identity according to the recoded NCTE cat-
                       Cigarette use                          1.18 (0.83-1.68)           .12            egories reflecting those typically reported in the American
                       Illicit drug use                       1.08 (0.75-1.54)           .50            Community Survey, age (both in integer form and using US cen-
                 a
                                                                                                        sus categories to capture cohort effects), family support of gen-
                     Mental health outcomes among transgender adults exposed to gender
                     identity conversion efforts compared with those who discussed gender
                                                                                                        der identity, relationship status (with partnered coded by these
                     identity with a professional without conversion efforts, adjusting for assigned    authors as binary and inclusive of both open and polyam-
                     sex at birth, gender identity, sexual orientation, race/ethnicity, age cohort,     orous relationships), educational achievement, employment
                     family support of gender identity, partnership status, educational attainment,
                                                                                                        status, and total household income. In supplemental analy-
                     employment status, and total household income.
                 b
                                                                                                        ses, we also controlled for exposure to sexual orientation con-
                     Ordinal logistic regression with outcome categories: 0, 1, and 2 or more.
                                                                                                        version efforts undertaken by professionals.
                 c
                     Kessler Psychological Distress Scale (defined as a score ⱖ13).

                                                                                                        Statistical Analysis
                 younger than 10 years was used as a cutoff to approximate a                            Analyses were conducted using SAS Studio, version 3.71, Ba-
                 prepubertal population, with the understanding that there is                           sic Edition (SAS Institute). Participants were excluded from
                 significant individual variability in the age at onset of                              analyses if they did not report ever discussing their gender
                 puberty.16,17 Furthermore, we examined whether there was a                             identity with a professional. Control variables were treated as
                 difference in outcomes between those who reported expo-                                unordered classification variables. Using the sample weights
                 sure to GICE from a secular professional compared with those                           generated by the NCTE15 to improve generalizability by ad-
                 who reported exposure to GICE from a religious advisor.                                dressing sampling biases around age, educational level, and
                                                                                                        race/ethnicity, we generated descriptive statistics for control
                 Outcomes                                                                               and outcome variables. Bivariate analyses comparing re-
                 We compared respondents with and without recalled expo-                                sponses from transgender adults were conducted based on
                 sure to GICE with regard to the following binary mental health                         (1) whether or not they had any lifetime exposure to GICE,
                 variables: severe psychological distress during the previous                           (2) whether they had experienced GICE before age 10 years
                 month (defined as a score of ≥13 on the Kessler Psychological                          vs never, and (3) whether GICE were conducted by a secular

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                 Table 3. Demographics of Those With and Without Childhood Exposure to Gender Identity Conversion Effortsa

                                                              No. (%)
                                                              Reported Exposure             Reported Exposure
                                                              to Conversion                 to Any Lifetime Therapy
                                                              Efforts Before Age 10 y       Without Conversion Efforts
                  Characteristic                              (n = 206)b                    (n = 15 882)                   P Valuec
                  Race/ethnicity
                    Alaska Native or American Indian          5 (2.4)                       133 (0.8)                      .04
                    Asian, Asian American,                    3 (1.5)                       511 (3.2)                      .22
                    Native Hawaiian, or Pacific Islander
                    Biracial, multiracial or other            8 (3.9)                       288 (1.8)                      .05
                    Black or African American                 5 (2.4)                       1926 (12.1)                    <.001
                    Latino, Latina, or Hispanic               24 (11.6)                     2219 (14.0)                    .39
                    White, Middle Eastern,                    161 (78.2)                    10 805 (68.0)                  .002
                    or North African
                  Census age cohort, y
                    18-24                                     17 (8.2)                      1527 (9.6)                     .59
                    25-44                                     110 (53.4)                    5887 (37.1)                    <.001
                    45-64                                     76 (36.9)                     6141 (38.7)                    .65
                    ≥65                                       3 (1.5)                       2326 (14.6)                    <.001
                  Family support of gender identity
                    Supportive                                59 (28.6)                     8287 (52.2)                    <.001
                    Neutral                                   37 (18.0)                     2659 (16.7)                    .71
                    Unsupportive                              80 (38.8)                     2184 (13.8)                    <.001         a
                                                                                                                                             Descriptive statistics for
                    Not asked                                 30 (14.6)                     2752 (17.3)                    .34               transgender adults who reported
                  Employment status                                                                                                          receiving any therapy regarding
                                                                                                                                             gender identity, with bivariate
                    Employed                                  95 (46.1)                     9890 (62.3)                    <.001
                                                                                                                                             comparisons for those with and
                    Unemployed                                31 (15.0)                     1332 (8.4)                     <.001             without exposure to conversion
                    Out of the labor force                    77 (37.4)                     4578 (28.8)                    .01               efforts before age 10 years.
                                                                                                                                         b
                    Unspecified                               2 (0.8)                       82 (0.5)                       .68               Individuals with unspecified age of
                  Total household income, $                                                                                                  reported exposure to conversion
                                                                                                                                             efforts, unspecified exposure to
                    No income                                 10 (4.9)                      432 (2.7)                      .10
                                                                                                                                             conversion efforts, and unspecified
                    1-9999                                    47 (22.8)                     1608 (10.1)                    <.001             exposure to any therapy (missing
                    10 000-24 999                             57 (27.7)                     2955 (18.6)                    .001              data; n = 100) were excluded from
                    25 000-49 999                             32 (15.5)                     3692 (23.2)                    .01               this analysis.
                                                                                                                                         c
                    50 000-99 999                             32 (15.5)                     3732 (23.5)                    .01               Rao-Scott χ2 tests were used, and
                    100 000 or more                           14 (6.8)                      2468 (15.5)                    <.001             the Mann-Whitney test was used for
                                                                                                                                             comparison of age because of
                    Unspecified                               14 (6.8)                      994 (6.3)                      .86
                                                                                                                                             nonnormality.


                 vs religious professional. These bivariate analyses were per-                     tion for multiple comparisons was performed, with resulting
                 formed to detect potential confounders to control for in sub-                     α = .001 (ie, .05 divided by 50). Using the full number of
                 sequent regression analysis. Except for age, all variables were                   comparisons yields only a slightly lower α = .0008, which
                 categorical; thus, we used Rao-Scott χ 2 tests for design-                        ultimately would not have altered the findings. We therefore
                 adjusted data with 1 df for bivariate comparisons. Age as an in-                  selected an α = .001 for both ease of reading and also the sta-
                 teger variable was nonnormally distributed; thus, bivariate                       tistical consensus that unmodified Bonferroni correction
                 comparison was performed with the nonparametric Mann-                             tends to be maximally conservative, thereby unnecessarily
                 Whitney test. Standard errors and 95% CIs were calculated for                     inflating type II error.20 Thus, hypothesis tests were 2-sided
                 the prevalence estimates of exposure to GICE using the afore-                     with corrected significance level P < .001 for both primary
                 mentioned 1.4 million persons as the total population estimate.1                  and secondary analyses, and the 95% CIs reported reflect
                      Multivariable logistic regression models were conducted                      this correction.
                 to test whether GICE were associated with the outcomes, ad-                            Respondents with missing data for exposure and out-
                 justed for variables with significant differences between groups                  come variables comprised less than 2% of the analytic samples
                 in the preceding bivariate analyses. These models also used                       and were therefore excluded without compensatory meth-
                 survey weights generated by the NCTE for age, educational                         ods, as is widely considered acceptable for this degree of data
                 level, and race/ethnicity. Adjusted odds ratios (aORs) with 95%                   completeness.21 Data were missing for less than 9% of each con-
                 CIs and 2-sided P values were reported, with a P < .001 thresh-                   trol variable, thereby obviating the need for imputation, which
                 old for significance.                                                             can introduce bias, especially when data are nonrandomly
                      Approximately 66 comparisons (between bivariate tests                        missing. There is debate about the degree of incompleteness
                 and logistic regression models) were made in each analysis.                       that is acceptable without compensatory measures, and al-
                 To reduce risk of type I error, a modified Bonferroni correc-                     though individuals with incomplete data may be of particu-

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                                                                                                         suicidality, including lifetime suicide attempts (aOR, 4.15; 95%
                 Table 4. Outcomes for Those With Childhood Exposure
                 to Gender Identity Conversion Effortsa                                                  CI, 2.44-7.69; P < .001) (Table 4).
                                                                                                              Raw frequencies of outcome variables among exposure
                                                               Adjusted Odds
                     Outcome                                   Ratio (95% CI)            P Value         groups are shown in the Figure. There were no statistically sig-
                     Suicidality in previous 12 mo                                                       nificant differences in outcomes between those who were ex-
                       Ideation                                2.03 (1.01-4.07)          <.001           posed to GICE enacted by religious advisors and those ex-
                       Ideation with plan                      2.82 (1.42-5.62)          <.001           posed to GICE by secular professionals (all aOR, P > .001)
                       Attempt                                 2.40 (0.87-6.62)          .005            (eTable 1 and eTable 2 in the Supplement).
                       Attempt requiring inpatient             1.72 (0.26-11.24)         .34                  We also repeated all analyses adjusting for lifetime expo-
                       hospitalization                                                                   sure to sexual orientation conversion efforts, defined as a posi-
                     Suicidality in lifetime                                                             tive response to the survey question, “Did any professional
                       Ideation                                1.90 (0.66-5.52)          .05             (such as a psychologist, counselor, or religious advisor) ever
                       Attempts                                4.15 (2.44-7.69)          <.001b          try to change your sexual orientation or who you are at-
                     Mental health and substance use                                                     tracted to (such as try to make you straight or heterosexual)?”
                     in previous month
                                                                                                         After this adjustment, both lifetime exposure (aOR, 1.96; 95%
                       Severe psychological distressc          1.75 (0.72-4.24)          .04
                                                                                                         CI, 1.38-2.80; P < .001) and childhood exposure (aOR, 3.05; 95%
                       Binge drinking                          0.84 (0.33-2.14)          .54
                                                                                                         CI, 1.55-6.02; P < .001) to GICE were associated with in-
                     Mental health and substance use
                     in lifetime                                                                         creased odds of lifetime suicide attempts but not with the other
                       Cigarette use                           1.53 (0.66-3.56)          .09             outcome variables (eTables 3 and 4 in the Supplement). Be-
                       Illicit drug use                        1.76 (0.83-3.75)          .01             cause this question was unclear regarding the referent gen-
                 a
                                                                                                         der (sex assigned at birth vs gender identity) when defining
                     Mental health outcomes of transgender adults exposed to gender identity
                                                                                                         sexual orientation conversion efforts, we refer to the models
                     conversion efforts before age 10 years compared with those who discussed
                     gender identity with a professional without conversion efforts in their lifetime,   not adjusted for this variable throughout the article.
                     adjusted for age cohort, sex assigned at birth, race/ethnicity, family support of
                     gender identity, employment status, and total household income.
                 b
                     Ordinal logistic regression with outcome categories: 0, 1, and 2 or more.
                 c
                     Kessler Psychological Distress Scale (defined as a score ⱖ13).                      Discussion
                                                                                                         This study was the first, to our knowledge, to show an asso-
                                                                                                         ciation between exposure to GICE (lifetime and childhood) and
                 lar interest, thresholds for missingness as high as 10% are con-                        adverse mental health outcomes among transgender adults in
                 sidered to be acceptable.22                                                             the United States. We found that recalled lifetime exposure to
                                                                                                         GICE was highly prevalent among adults: 14.0% of all trans-
                                                                                                         gender survey respondents and 19.6% of those who had dis-
                                                                                                         cussed gender identity with a professional reported exposure
                 Results                                                                                 to GICE.
                 Of the 27 715 US Transgender Survey respondents (mean [SD]                                   The Generations Study23 by the Williams Institute found
                 age, 31.2 [13.5] years), 11 857 (42.8%) were assigned male sex                          that 6.7% of sexual minority group adults in the United States
                 at birth, and 3869 (14.0%; 95% CI, 13.3%-14.7%) reported ex-                            reported lifetime exposure to conversion efforts for sexual
                 posure to GICE. Of 19 751 respondents who had discussed their                           orientation.23 Based on the findings of the current study, it ap-
                 gender identity with a professional, 3869 (19.6%; 95% CI,                               pears that transgender people are exposed to GICE at high rates,
                 18.7%-20.5%) reported exposure to GICE in their lifetime. Of                            perhaps even higher than the percentage of cisgender non-
                 these individuals, 1361 (35.2%; 95% CI, 32.7%-37.7%) who re-                            heterosexual individuals who are exposed to sexual orienta-
                 ported exposure to GICE stated that these were enacted by a                             tion conversion efforts, although direct comparisons are not
                 religious advisor.                                                                      possible. One potential explanation for this is that compared
                      Demographic variables among exposed and unexposed re-                              with persons in the sexual minority group, many persons in
                 spondents are shown in Table 1. After adjusting for statisti-                           the gender minority group must interact with clinical profes-
                 cally significant demographic variables, lifetime exposure to                           sionals to be medically and surgically affirmed in their iden-
                 GICE was significantly associated with multiple adverse out-                            tities. This higher prevalence of interactions with clinical pro-
                 comes, including severe psychological distress during the pre-                          fessionals among people in the gender minority group may lead
                 vious month (aOR, 1.56; 95% CI, 1.09-2.24; P < .001) and life-                          to greater risk of experiencing conversion efforts.
                 time suicide attempts (aOR, 2.27; 95% CI, 1.60-3.24; P < .001).                              One study24 showed that conversion efforts for sexual ori-
                 (Table 2).                                                                              entation were associated with an increased risk of depression
                      Overall, 206 (1.0%; 95% CI, 0.8%-1.2%) of those who re-                            and suicidal ideation. The current study was the first, to our
                 ported discussing their gender identity with a professional also                        knowledge, to find associations between any type of conver-
                 reported exposure to GICE before age 10 years. Demograph-                               sion efforts and both suicidal ideation and suicide attempts.
                 ics are shown in Table 3. After adjusting for statistically sig-                        A plausible association of these practices with poor mental
                 nificant demographic variables, exposure to GICE before age                             health outcomes can be conceptualized through the minority
                 10 years was significantly associated with several measures of                          stress framework; that is, elevated stigma-related stress from

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                 Figure. Mental Health Outcomes Among Those With and Without Exposure
                 to Gender Identity Conversion Efforts


                                  Severe psychological                                          Therapy without conversion efforts
                            distress in previous month                                          Lifetime exposure to conversion efforts
                                                                                                Exposure to conversion efforts before age 10 y
                                   Suicidal ideation in
                                         previous year


                                Suicidal ideation with
                                 plan in previous year


                                    Suicide attempt in
                                         previous year


                             Suicide attempt requiring
                     hospitalization in previous month

                                                                                                                                                 Raw frequencies for outcome
                             Lifetime suicidal ideation                                                                                          variables among those with a lifetime
                                                                                                                                                 history of non–gender identity
                                                                                                                                                 conversion efforts therapy, lifetime
                                                                                                                                                 history of exposure to gender identity
                            Lifetime suicide attempts
                                                                                                                                                 conversion efforts, and exposure to
                                                                                                                                                 conversion efforts before age 10
                                                                                                                                                 years. Severe psychological distress
                                        Binge drinking
                                                                                                                                                 in the previous month was defined as
                                    in previous month
                                                                                                                                                 a score of 13 or more on the Kessler
                                                                                                                                                 Psychological Distress Scale, a cutoff
                                                                                                                                                 that has been previously validated in
                                Lifetime cigarette use
                                                                                                                                                 US samples.17 Binge drinking was
                                                                                                                                                 defined as at least 1 or more day of
                                                                                                                                                 consuming 5 or more standard
                               Lifetime illicit drug use                                                                                         alcoholic drinks on the same
                                                                                                                                                 occasion, a threshold for which the
                                                                                                                                                 rationale in alcohol research among
                                                           0       20          40             60              80              100                transgender people has been
                                                                            Patients With Outcome, %                                             discussed in previous reports.18 Illicit
                                                                                                                                                 drug use excludes marijuana use.



                 exposure to GICE may increase general emotion dysregula-                              Given the considerable debate surrounding the merits of
                 tion, interpersonal dysfunction, and maladaptive cognitions.25                    GICE for prepubertal youth,4 we examined recalled early ex-
                 Of note, having a lifetime suicide attempt was a more com-                        posure to GICE (ie, before age 10 years) and found this to be
                 mon outcome compared with severe psychological distress                           less prevalent, with 1% of those who had ever discussed gen-
                 during the previous month, a result that was likely attribut-                     der identity with a professional reporting that they had been
                 able to the time frames during which these variables were de-                     exposed before age 10 years. Many experts have expressed con-
                 fined. Although this study suggests that exposure to GICE is                      cern that early exposure to GICE may lead to persistent feel-
                 associated with increased odds of suicide attempts, GICE are                      ings of shame because of physicians and parents defining gen-
                 not the only way in which minority group stress manifests, and                    der-expansive experience as unacceptable.4 A study27 in
                 thus other factors are also likely to be associated with suicid-                  Canada found a higher prevalence of shame-related feelings
                 ality among gender-diverse people.                                                among youth treated with GICE. Both family and peer rejec-
                      Respondents from more socioeconomically disadvan-                            tion of a child’s gender identity have been associated with ad-
                 taged backgrounds (eg, low educational attainment or low                          verse mental health outcomes.27-30 Extending those find-
                 household income) more commonly reported exposure to                              ings, the current study showed that recalled early exposure to
                 GICE. These individuals may have been more likely to receive                      GICE was associated with adverse mental health outcomes, in-
                 GICE, or exposure to GICE may have been so damaging that                          cluding lifetime suicide attempts, compared with discussion
                 they were impaired in educational, professional, and eco-                         of gender identity with a professional and no exposure to con-
                 nomic advancement. The cross-sectional nature of this study                       version efforts. Although not compared directly, the aOR of life-
                 limits further interpretation. This finding warrants addi-                        time suicide attempts was higher for those exposed to GICE
                 tional attention in the context of nationally representative data                 before age 10 years than the aOR for those with lifetime expo-
                 showing lower educational attainment and lower income                             sure, suggesting that rejection of gender identity may have
                 among transgender people in the United States compared with                       more profound consequences at earlier stages of develop-
                 their cisgender counterparts.26                                                   ment. Further research is needed to better understand the as-

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                 sociations between stage of development at time of exposure                        rienced relatively mild or infrequent conversion efforts, this
                 to GICE and risk of lifetime suicide attempts.                                     might suggest the findings of this study are even more concern-
                     Our results support the policy positions of the American                       ing (ie, even mild or infrequent conversion efforts were asso-
                 Academy of Child and Adolescent Psychiatry,11 the American                         ciated with adverse mental health outcomes, including sui-
                 Psychiatric Association, 1 0 the Americ an Ac ademy of                             cide attempts). Because the survey question asked about
                 Pediatrics,12 and the American Medical Association,9 which                         exposure to GICE from professionals, it is possible that expo-
                 state that gender identity conversion therapy should not be                        sures to GICE from other people (eg, family members) were not
                 conducted for transgender patients at any age. Our finding of                      captured. Although the survey included respondents from a
                 no difference in mental health outcomes between respon-                            wide geographic distribution across the United States, these par-
                 dents who received GICE from a secular-type professional and                       ticipants were not recruited via random sampling. The sample
                 those who received it from a religious advisor suggests that any                   may not be nationally representative. Data are also lacking re-
                 process of intervening to alter gender identity is associated with                 garding when respondents entered puberty, making it difficult
                 poorer mental health regardless of whether the intervention                        to define a prepubertal sample; we therefore set an approxi-
                 occurred within a secular or religious framework.                                  mate prepubertal cutoff at age 10 years. In this study, we com-
                                                                                                    pared exposure to GICE before age 10 years with lifetime expo-
                 Strengths and Limitations                                                          sure to non-GICE therapy. Although it would have been ideal
                 Strengths of this study include its sample size, more than 90%                     to compare the former group with those who experienced non-
                 completeness in the data set, and participants from a wide geo-                    GICE therapy before age 10 years, we lacked data on the age at
                 graphic area within the United States. Limitations include its                     which respondents were exposed to non-GICE therapy.
                 cross-sectional study design, which precludes determination
                 of causation. It is possible that those with worse mental health
                 or internalized transphobia may have been more likely to
                 seek out conversion therapy rather than non-GICE therapy,
                                                                                                    Conclusions
                 suggesting that conversion efforts themselves were not                             The findings suggest that recalled exposure to GICE is associ-
                 causative of these poor mental health outcomes. This inter-                        ated with adverse mental health outcomes in adulthood,
                 pretation, however, would also imply a mechanism whereby                           including severe psychological distress, lifetime suicidal
                 societal rejection leads to internalized transphobia and life-                     ideation, and lifetime suicide attempts. In this study, expo-
                 threatening adult mental health outcomes.                                          sure to GICE before age 10 years was associated with adverse
                      We also lack data regarding the degree to which GICE oc-                      mental health outcomes compared with therapy without
                 curred (eg, duration, frequency, and forcefulness of GICE, as well                 conversion efforts. Results from this study support past posi-
                 as what specific modalities were used). If a sizable proportion                    tions taken by leading professional organizations that GICE
                 of those reporting exposure to GICE in the current study expe-                     should be avoided with children and adults.


                 ARTICLE INFORMATION                                    number UG3AI133669 (Dr Reisner), and an                2. Beckwith N, McDowell MJ, Reisner SL, et al.
                 Accepted for Publication: June 17, 2019.               American Academy of Child and Adolescent               Psychiatric epidemiology of transgender and
                                                                        Psychiatry Pilot Research Award for General            nonbinary adult patients at an urban health center.
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                 doi:10.1001/jamapsychiatry.2019.2285                                                                          2018.0136
                                                                        Role of the Funder/Sponsor: The funding
                 Author Contributions: Dr Beckwith had full access      organizations had no role in the design and conduct    3. Grant JM, Mottet LA, Tanis J, Harrison J, Herman
                 to all of the data in the study and takes              of the study; collection, management, analysis, and    JL, Keisling M. Injustice at Every Turn: A Report of
                 responsibility for the integrity of the data and the   interpretation of the data; preparation, review, or    the National Transgender Discrimination Survey.
                 accuracy of the data analysis.                         approval of the manuscript; and decision to submit     Washington DC: National Center for Transgender
                 Concept and design: All authors.                       the manuscript for publication.                        Equality; 2011.
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                 All authors.                                           Disclaimer: The content is solely the responsibility   4. Turban JL, Ehrensaft D. Research review:
                 Drafting of the manuscript: Turban, Beckwith,          of the authors and does not necessarily represent      gender identity in youth: treatment paradigms and
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                 intellectual content: All authors.                     Health, or the American Academy of Child &             5. de Vries AL, McGuire JK, Steensma TD,
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                 Administrative, technical, or material support:        at the Annual Meeting of the American Academy of       suppression and gender reassignment. Pediatrics.
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                 Supervision: Reisner, Keuroghlian.                     Seattle, Washington.                                   6. Durwood L, McLaughlin KA, Olson KR.
                 Conflict of Interest Disclosures: Dr Turban            Additional Contributions: We thank the National        Mental health and self-worth in socially transitioned
                 reported collecting royalties from Springer for an     Center for Transgender Equality for sharing the data   transgender youth. J Am Acad Child Adolesc
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                                          Volume 1, Number 1, July - September 1997



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           Introduction                   (1995)
           Editors:
           Friedemann Pfäfflin,           A Sex Difference in the Human Brain and its Relation
           Ulm University, Germany        to Transsexuality
           Walter O. Bockting,
           University of Minnesota,       By J.-N. Zhou, M.A. Hofman, L.J. Gooren and D.F. Swaab
           USA
                                          Citation: Zhou J.-N, Hofman M.A, Gooren L.J, Swaab D.F (1997) A Sex
           Eli Coleman,                   Difference in the Human Brain and its Relation to Transsexuality. IJT 1,1,
           University of Minnesota,
           USA                            http://www.symposion.com/ijt/ijtc0106.htm

           Richard Ekins,                 Acknowledgements
           University of Ulster at        References
           Coleraine, UK
                                          Transsexuals have the strong feeling, often from childhood onwards, of
           Dave King,
           University of Liverpool, UK    having been born the wrong sex. The possible psychogenic or biological
                                          etiology of transsexuality has been the subject of debate for many years
           Managing Editor:               [1,2]. Here we show that the volume of the central subdivision of the
           Noelle N Gray,                 bed nucleus of the stria terminalis (BSTc), a brain area that is essential
           University of Minnesota,       for sexual behaviour [3,4], is larger in men than in women. A
           USA                            female-sized BSTc was found in male-to-female transsexuals. The size
                                          of the BSTc was not influenced by sex hormones in adulthood and was
           Editorial Assistant:           independent of sexual orientation. Our study is the first to show a
           Erin Pellett,                  female brain structure in genetically male transsexuals and supports the
           University of Minnesota,
           USA                            hypothesis that gender identity develops as a result of an interaction
                                          between the developing brain and sex hormones [5,6].
           Editorial Board
                                          Investigation of genetics, gonads, genitalia or hormone level of
           Authors                        transsexuals has not, so far, produced any results that explain their
                                          status [1,2]. In experimental animals, however, the same gonadal
           Contents                       hormones that prenatally determine the morphology of the genitalia also
               Historic Papers            influence the morphology and function of the brain in experimental
                                          animals in a sexually dimorphic fashion [6,7]. This led to the hypothesis
           Info                           that sexual differentiation of the brain in transsexuals might not have
           Authors´Guidelines             followed the line of sexual differentiation of the body as a whole. In the
                                          past few years, several anatomical differences in relation to sex and
           © Copyright                    sexual orientation have been observed in the human hypothalamus (see
                                          [6] for a review), but so far no neuroanatomical investigations have been
           Published by                   made in relation to the expression of cross-gender identity
                                          (transsexuality).

           ISSN 1434-4599




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                                          Figure 1: Schematic frontal section through two subdivisions of the bed nucleus of
                                          the stria terminalis (BST) that are hatched. III: third ventricle; AC: anterior
                                          commissure; BSTc and BSTv: central and ventral subdivisions of the BST; FX:
                                          fornix; IC: internal capsule; LV: lateral ventricle; NBM: nucleus basalis of Meynert;
                                          OT: optic tract; PVN: paraventricular nucleus; SDN: sexually dimorphic nucleus;
                                          SON: supraoptic nucleus.

                                          We have studied the hypothalamus of six male-to-female transsexuals
                                          (T1-T6); this material that was collected over the last eleven years. We
                                          searched for a brain structure that was sexually dimorphic, but not
                                          influenced by sexual orientation, as male-to-female transsexuals may be
                                          "oriented" to either sex with respect to sexual behaviour. Our earlier
                                          observations showed that the paraventricular nucleus (PVN), sexually
                                          dimorphic nucleus (SDN) and suprachiasmatic nucleus (SCN) did not
                                          meet these criteria ([6] and unpublished data). Although there is no
                                          accepted animal model for gender identity alterations, the bed nucleus of
                                          the stria terminalis (BST) turned out to be an appropriate candidate to
                                          study for the following reasons. First, it is known that the BST plays an
                                          essential part in rodent sexual behaviour [3,4]. Not only have oestrogen
                                          and androgen receptors been found in the BST [8,9], it is also a major
                                          aromatization centre in the developing rat brain [10]. The BST in the rat
                                          receives projections mainly from the amygdala and provides a strong
                                          input in the preoptic-hypothalamic region [11,12]. Reciprocal



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                                          connections between hypothalamus, BST and amygdala are also well
                                          documented in experimental animals [13-15]. In addition, sex
                                          differences in the size and cell number of the BST have been described
                                          in rodents which are influenced by gonadal steroids in development
                                          [16-18]. Also in humans a particular caudal part of the BST
                                          (BNST-dspm) has been reported to be 2.5 times larger in men than in
                                          women [19].

                                          The localization of the BST is shown in figure 1. The central part of the
                                          BST (BSTc) is characterized by its somatostatin cells and vasoactive
                                          intestinal polypeptide (VIP) innervation [20]. We measured the volume
                                          of the BSTc on the basis of its VIP innervation (Fig. 2).




                                          Figure 2: Representative sections of the BSTc innervated by vasoactive intestinal
                                          polypeptide (VIP). A: heterosexual man; B: heterosexual woman; C: homosexual
                                          man; D: male-to-female transsexual. Bar=0.5 mm. LV: lateral ventricle. Note there



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                                          are two parts of the BST in A and B: small sized medial subdivision (BSTm), and
                                          large oval-sized central subdivision (BSTc).

                                          The BSTc volume in heterosexual men (2.49±0.16 mm3) was 44%
                                          larger than in heterosexual women (1.73±0.13 mm3) (P<0.005) (Fig. 3).
                                          The volume of the BSTc of heterosexual and homosexual men was
                                          found not to differ in any statistically significant way (2.81±0.20 mm3)
                                          (P=0.26). The BSTc was 62% larger in homosexual men than in
                                          heterosexual women (P<0.005). AIDS did not seem to influence the
                                          size of the BSTc: the BSTc size of two heterosexual AIDS-infected
                                          women and three heterosexual AIDS-infected men remained well within
                                          the range of the corresponding reference group (Fig. 3). The
                                          AIDS-infected heterosexuals were therefore included in the
                                          corresponding reference group for statistical purposes. A small volume
                                          of the BSTc (1.30±0.23 mm3) was found in the male-to-female
                                          transsexuals (Fig. 3). Its size was only 52% of that found in the
                                          reference males (P<0.005) and 46% of the BSTc of homosexual males
                                          (P<0.005). Although the mean BSTc volume in the transsexuals was
                                          even smaller than that in the female group, the difference did not reach
                                          statistical significance (P=0.13). The volume of the BSTc was not
                                          related to age in any of the reference groups studied (P>0.15), indicating
                                          that the observed small size of the BSTc in transsexuals was not due to
                                          the fact that they were, on average, 10 to 13 years older than the hetero-
                                          and homosexual men.

                                          The BST plays an essential role in masculine sexual behaviour and in
                                          the regulation of gonadotrophin release, as shown by studies in the rat
                                          [3,4,21]. There has been no direct evidence that the BST has such a role
                                          in human sexual behaviour but our demonstration of a sexually
                                          dimorphic pattern in the size of the human BSTc, which is in agreement
                                          with the previously described sex difference in a more caudal part of the
                                          BST (BNST-dspm) [19], indicates that this nucleus may also be
                                          involved in human sexual or reproductive functions. It has been
                                          proposed that neurochemical sex differences in the rat BST may be due
                                          to effects of sex hormones on the brain during development and in
                                          adulthood [22,23]. Our data from humans however, indicate that BSTc
                                          volume is not affected by varying sex hormone levels in adulthood. The
                                          BSTc volume of a 46-year-old woman who had suffered for at least 1
                                          year from a tumour of the adrenal cortex that produced very high blood
                                          levels of androstenedione and testosterone, was within the range of that
                                          of other women (Fig. 3: S1). Furthermore, two postmenopausal women
                                          (aged over 70 years) showed a completely normal female-sized BSTc
                                          (Fig. 3: M1, M2). As all the transsexuals had been treated with
                                          oestrogens, the reduced size of the BSTc could possibly have been due
                                          to the presence of high levels of oestrogen in the blood. Evidence
                                          against this comes from the fact that transsexual T2 and T3 both showed
                                          a small, female-like BSTc (Fig. 3), although T2 stopped taking
                                          oestrogen about 15 months before death, since her prolactin levels were
                                          too high and T3 stopped hormone treatment since a sarcoma was found
                                          about three months before death; also a 31-year-old man who suffered
                                          from a feminizing adrenal tumour which induced high blood levels of
                                          oestrogen, nevertheless had a very large BSTc (Fig. 3: S2).



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                                          Figure 3: Volume of the BSTc innervated by VIP fibres in presumed heterosexual
                                          males (M), homosexual males (HM), presumed heterosexual females (F) and
                                          male-to-female transsexuals (TM). The six transsexuals are numbered T1-T6. The
                                          patients with abnormal sex hormone levels are numbered S1-S4. M1 and M2:
                                          postmenopausal women. Bars indicate mean±SEM. Open symbols: individuals who
                                          died of AIDS. METHODS. Brains of 42 subjects matched for age, postmortem time
                                          and duration of formalin fixation were investigated. The autopsy was performed
                                          following the required permission. For immunocytochemical staining of VIP, the
                                          paraffin sections were hydrated and rinsed in TBS (Tris-buffered-saline: 0.05 M tris,
                                          0.9% NaCl, pH 7.6). The sections were incubated with 200 µl anti-VIP (Viper,
                                          18/9/86) 1:1000 in 0.5% triton in TBS overnight at 4° C. The immunocytochemical
                                          and morphometric procedures were performed as described extensively elsewhere
                                          [25-27]. In brief, serial 6 m m sections of the BSTc were studied by means of a
                                          digitizer (Calcomp 2000) connected to a HP-UX 9.0, using a Zeiss microscope
                                          equipped with a 2.5x objective and with 10x (PLAN) oculars. Staining was
                                          performed on every 50th section with anti-VIP. The rostral and caudal borders of the
                                          BSTc were assessed by staining every 10th section in the area. The volume of the
                                          BSTc was determined by integrating all the area measurements of the BSTc sections
                                          that were innervated by VIP fibres. In a pilot study, the size of the BSTc was
                                          measured on both sides in eight subjects (five females and three males) and no
                                          left-right asymmetries were observed: the left BSTc (1.71±0.16 mm3 ) was
                                          comparable in size to that of the right BSTc (1.83±0.30 mm3 ) (P=0.79). No
                                          asymmetry was observed in the BNST-dspm either [19]. The rest of our study was
                                          therefore performed on one side of the brain only. Brain weight of the male
                                          transsexuals (1385±75 g) was not different from that of the reference males (1453±25
                                          g) (P=0.61) or that of the females (1256±35 g) (P=0.23). The cause of death of the
                                          six transsexuals was suicide (T1), cardiovascular disease (T2,T6), sarcoma (T3),
                                          AIDS, pneumonia, pericarditis (T4) and hepatitic failure (T5). Sexual orientation of
                                          the subjects of the reference group (12 men and 11 women) was generally not known,
                                          but presumably most of them were heterosexual. Sexual orientation of nine
                                          homosexuals was registered in the clinical records [28]. Differences among the groups
                                          were tested two-tailed using the Mann-Whitney U test. A 5% level of significance
                                          was used in all statistical tests.

                                          Our results might also be explained if the female-sized BSTc in the
                                          transsexual group was due to the lack of androgens, because they had all
                                          been orchidectomized except for T4. We therefore studied two other
                                          men who had been orchidectomized because of cancer of the prostate



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                                          (one and three months before death: S4 and S3, respectively), and found
                                          that their BSTc sizes were at the high end of the normal male range. The
                                          BSTc size of the single transsexual who had not been orchidectomized
                                          (T4) ranged in the middle of the transsexual scores (Fig. 3). Not only
                                          were five of the transsexuals orchidectomized, they all used the
                                          antiandrogen cyproterone acetate (CPA). A CPA effect on the BSTc
                                          does not seem likely, because T6 had not taken CPA for the past 10
                                          years, and T3 took no CPA during the two years before death and still
                                          had a female-sized BSTc.

                                          In summary, our observations suggest that the small size of the BSTc in
                                          male-to-female transsexuals cannot be explained by differences in adult
                                          sex hormone levels, but is established during development by an
                                          organizing action of sex hormones, an idea supported by the fact that
                                          neonatal gonadectomy of male rats and androgenization of the female
                                          rats indeed induced significant changes in the number of neurons of the
                                          BST and suppressed its sexual dimorphism [17,18].

                                          Considered together with information from animals, then our study
                                          supports the hypothesis that gender identity alterations may develop as a
                                          result of an altered interaction between the development of the brain and
                                          sex hormones [5,6]. The direct action of genetic factors should also be
                                          considered on the basis of animal experiments [24].

                                          We found no relationship between BSTc size and the sexual orientation
                                          of transsexuals, that is, whether they were male-oriented (T1,T6),
                                          female-oriented (T3,T2,T5), or both (T4). Furthermore, the size of the
                                          BSTc of heterosexual men and homosexual men did not differ, which
                                          reinforced the idea that the reduced BSTc size is independent of sexual
                                          orientation. In addition, there was no difference in BSTc size between
                                          early-onset (T2,T5,T6) and late-onset transsexuals (T1, T3), indicating
                                          that the decreased size is related to the gender identity alteration per se
                                          rather than to the age at which it becomes apparent. Interestingly, the
                                          very small BSTc in transsexuals appears to be a very local brain
                                          difference. We failed to observe similar changes in three other
                                          hypothalamic nuclei, namely, PVN, SDN or SCN in the same
                                          individuals (unpublished data). This might be due to the fact that these
                                          nuclei do not all develop at the same time, or to a difference between
                                          these nuclei and the BST with respect to the presence of sex hormone
                                          receptors or aromatase. We are now studying the distribution of sex
                                          hormone receptors and the aromatase activity in various hypothalamic
                                          nuclei in relation to sexual orientation and gender.

                                          Acknowledgements

                                          We thank Mr. B. Fisser, Mr. H. Stoffels, Mr. G. van der Meulen, and
                                          Ms. T. Eikelboom and Ms. W.T.P. Verweij for their help, and Drs.
                                          R.M. Buijs, M.A. Corner, E. Fliers, A. Walter and F.W. van Leeuwen
                                          for their comments. Brain material was provided by the Netherlands
                                          Brain Bank (coordinator Dr. R. Ravid). This study was supported by
                                          NWO.

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                            Neuroimage. Author manuscript; available in PMC 2010 July 15.
                           Published in final edited form as:
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                           Regional gray matter variation in male-to-female transsexualism

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                           Abstract
                                Gender identity—one's sense of being a man or a woman—is a fundamental perception experienced
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                                by all individuals that extends beyond biological sex. Yet, what contributes to our sense of gender
                                remains uncertain. Since individuals who identify as transsexual report strong feelings of being the
                                opposite sex and a belief that their sexual characteristics do not reflect their true gender, they
                                constitute an invaluable model to understand the biological underpinnings of gender identity. We
                                analyzed MRI data of 24 male-to-female (MTF) transsexuals not yet treated with cross-sex hormones
                                in order to determine whether gray matter volumes in MTF transsexuals more closely resemble people
                                who share their biological sex (30 control men), or people who share their gender identity (30 control
                                women). Results revealed that regional gray matter variation in MTF transsexuals is more similar to
                                the pattern found in men than in women. However, MTF transsexuals show a significantly larger
                                volume of regional gray matter in the right putamen compared to men. These findings provide new
                                evidence that transsexualism is associated with distinct cerebral pattern, which supports the
                                assumption that brain anatomy plays a role in gender identity.


                           Keywords
                                Brain; Gender Identity; MRI; Transgender; VBM
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                           Introduction
                                              Individuals who identify as transsexual report a history of persistent discomfort with the sex
                                              they were assigned at birth and a strong identification with the opposite sex. Many describe
                                              significant symptoms of psychological distress (Sánchez and Vilain, 2009) and take steps to
                                              alter features of their bodies (e.g., through the use of sex hormones and plastic surgery) to make
                                              them congruent with their sense of gender. While no formal epidemiological study has been



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                                           conducted in the United States, reports from European and Asian countries estimate that the
                                           prevalence of transsexualism ranges from 1:100,000 to 1:2,900 (DeCuypere G. et al., 2007).
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                                           Despite increased public awareness of transsexualism, our scientific understanding of the
                                           development of gender identity is limited. Both environmental events (Eagly and Wood,
                                           1999; Wood and Eagly, 2002) and innate differences (Breedlove, 1994; Dorner, 1985; Gooren,
                                           2006) have been implicated as influencing this fundamental human characteristic. Regarding
                                           transsexualism, it has been suggested that sexual differentiation of the brain during embryonic
                                           development deviates from the sexual differentiation of the rest of the body (Zhou et al.,
                                           1995). This hypothesis implies that neuroanatomy plays a critical role in determining gender
                                           identity. Thus, the study of the underlying correlates of transsexualism may help to further
                                           identify the mechanisms that contribute to the development of gender identity.

                                           To explore this hypothesis, several studies examined brain structures in male-to-female (MTF)
                                           transsexuals. One early in vivo study did not detect any associations between transsexualism
                                           and the anatomy of the corpus callosum (Emory et al., 1991). However, two subsequent post
                                           mortem brain analyses revealed that MTF transsexuals had a female-like central subdivision
                                           of the bed nucleus of the stria terminalis (BSTc) with respect to its size (Zhou et al., 1995) and
                                           number of neurons (Kruijver et al., 2000). Another post mortem study published recently
                                           reported female-like volumes and neuronal densities of the interstitial nucleus of the anterior
                                           hypothalamus (INAH3) in MTF transsexuals (Garcia-Falgueras and Swaab, 2008). These three
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                                           post mortem studies seem to support the hypothesis that brain anatomy is associated with
                                           transsexualism. Yet, the generalization of these findings is limited by the inherent pitfalls of
                                           post mortem studies, the relatively small number of MTF transsexuals examined (n1=6; n2=6;
                                           n3=11), as well as the subjects' long-term treatment with estrogen. Granted, some argue that
                                           estrogen treatment does not alter certain brain structures (Garcia-Falgueras and Swaab,
                                           2008). Nevertheless, other studies have shown that treatment with anti-androgen and estrogen
                                           decreases brain volumes of MTF transsexuals subjects towards female proportions (Hulshoff
                                           Pol et al., 2006).

                                           To extend these prior findings while overcoming some of their limitations, we investigated
                                           variations in brain structure in 60 control subjects (30 males, 30 females) and 24 male-to-female
                                           (MTF) transsexuals who had not been treated with female hormones. More specifically, we
                                           used magnetic resonance imaging (MRI) to investigate neuroanatomy at high-resolution in
                                           vivo, and applied a sophisticated computational image analysis approach to compare regional
                                           volumes of gray matter throughout the brain.

                              Materials and Methods
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                              Subjects
                                           Twenty-four MTF transsexuals were recruited through fliers provided to local transsexual
                                           community organizations and to professionals who offer services to the transsexual
                                           community. Thirty male and thirty female control subjects were selected from the International
                                           Consortium for Brain Mapping (ICBM) database of normal adults
                                           (http://www.loni.ucla.edu/ICBM/Databases/). The mean age (SD) of the MTF transsexuals
                                           was 46.73 (13.18) years with an age range between 23 and 72 years. Male and female control
                                           subjects were closely age-matched (males 46.57±12.45, 23-69 years; females 46.77±12.88,
                                           23-73 years). Transsexual subjects were 76% dextral, control males were 93% dextral, and
                                           control females were 90% dextral, where handedness was determined based on self-reports of
                                           hand preference for selected activities. For study inclusion, transsexual subjects needed to self-
                                           identify as a MTF transsexual, report no history of hormonal treatment, and declare the
                                           intention of undergoing estrogen replacement therapy. MTF transsexuals were evaluated to be
                                           free of psychosis according to a standardized diagnostic interview (Robins et al., 1989) and


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                                           confirmed to be genetic males as defined by the presence of the SRY gene in their genome
                                           (Jordan et al., 2002). All control subjects had to pass a physical and neurological screening
                                           examination performed by a neurologist. All subjects gave informed consent according to
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                                           guidelines from the Institutional Review Board of the University of Los Angeles, California
                                           (UCLA), and were compensated for their participation in this study.

                              Image acquisition
                                           Brain images were acquired on a 1.5-T MRI system (Siemens Sonata, Erlangen, Germany)
                                           using a 3D T1-weighted sequence (MPRAGE) with the following parameters: TR = 1900 ms;
                                           TE = 4.38 ms; flip angle = 15°; 160 contiguous 1 mm sagittal slices; FOV = 256 mm × 256
                                           mm2; matrix size = 256 × 256, voxel size = 1.0 × 1.0 × 1.0 mm.

                              Image Analysis
                                           Data were preprocessed and examined using SPM5 software (Wellcome Department of
                                           Imaging Neuroscience Group, London, UK; http://www.fil.ion.ucl.ac.uk/spm). Analyses were
                                           performed on gray matter segments (Ashburner and Friston, 2005) that were multiplied by the
                                           non-linear components derived from the normalization matrix (modulated gray matter
                                           volumes) and smoothed with a Gaussian kernel of 12 mm full width at half maximum. These
                                           smoothed modulated gray matter volumes are hereafter referred to as gray matter to simplify
                                           matters.
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                                           We used the general linear model (GLM) and applied analyses of covariance (ANCOVA) to
                                           examine voxel-wise gray matter differences between MTF transsexuals, males, and females,
                                           while removing the variance associated with age. Statistical outcomes were corrected for
                                           multiple comparisons, using false discovery rate (FDR) (Benjamini and Hochberg, 1995) at
                                           p<0.001. Significant findings were mapped onto the average 3D cortical model and restricted
                                           to clusters exceeding a minimum of 123 voxels (the expected number of voxels per cluster),
                                           calculated according to the theory of Gaussian random fields (Fig. 1). Finally, to gain a better
                                           understanding of how significance profiles from different sets of comparisons are spatially
                                           related to each other, we performed additional post hoc t-tests and overlaid significant group
                                           differences as maximum intensity projections on the SPM standard glass brain template in
                                           three orthogonal planes. These exploratory outcomes are also presented at p<0.001, corrected
                                           for multiple comparisons using FDR (Fig. 2).

                              Results
                                           As demonstrated in Fig. 1, we detected significant differences between MTF transsexuals,
                                           males, and females in a large number of regions across the brain. More specifically, within the
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                                           frontal lobe, we observed gray matter volume differences bilaterally in the superior frontal
                                           gyrus, close to midline and also at the frontal pole, as well as within the right orbital gyrus.
                                           Furthermore, we noticed pronounced gray matter volume differences bilaterally across the
                                           occipital and posterior temporal lobes, as well as in the parietal lobe, near the intraparietal
                                           sulcus, and closer to midline (left). Additional group effects on regional gray matter volume
                                           were detected subcallosally in both hemispheres at the brain midline. These regions constitute
                                           part of the basal ganglia (i.e., the caudate nucleus and putamen) and limbic system (i.e., the
                                           subcallosal gyrus, mammillary body, amygdala, thalamus and hypothalamus). Moreover, we
                                           identified two clusters indicating group differences on the basal surface of the right temporal
                                           lobe and left frontal lobe.

                                           For each of 22 significantly different regions (twelve within the right hemisphere and ten within
                                           the left hemisphere), cluster-specific box plots were generated to illustrate the magnitude and
                                           direction of gray matter volume differences between groups (see supplement 1 and 2).


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                                           Altogether, females had the largest gray matter volumes in all but two significant clusters,
                                           which were located in the left and right putamen. Here, MTF transsexuals had the largest gray
                                           matter volumes (see Fig. 1). For the remaining clusters, MTF transsexuals had the smallest
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                                           gray matter volumes, but their data spectrum largely overlapped with that of males.

                                           As illustrated in the spatial profiles of significant group differences (Fig. 2), females had more
                                           gray matter than males in large portions of the brain (Females > Males; red clusters in Panel
                                           A). Similarly, females had more gray matter than MTF transsexuals (Females > Transsexuals;
                                           red clusters in Panel B). Although the differences between females and MTF transsexuals did
                                           partly overlap with the difference between females and males (Females > Males / Transsexuals;
                                           yellow clusters in Panel D), they were spatially more extended, and also evident in a few regions
                                           where females and males did not differ (Females > Transsexuals; green clusters in Panel D).
                                           There was no region where females had significantly less gray matter than males (Panel A) or
                                           MTF transsexuals (Panel B). Similarly, there was no region where MTF transsexuals had
                                           significantly less gray matter than males (Panel C). MTF transsexuals, however, showed
                                           significantly more gray matter than males in the right putamen (Transsexuals > Males; red
                                           clusters in Panel C; blue clusters in Panel D). MTF transsexuals also showed significantly more
                                           gray matter than males in the left putamen when findings were not corrected for multiple
                                           comparisons (p<0.001, maps not shown).

                              Discussion
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                                           Overall, our study provides evidence that MTF transsexuals possess regional gray matter
                                           volumes mostly consistent with control males. However, the putamen was found to be
                                           “feminized” in MTF transsexuals. That is, the gray matter volume of this particular structure
                                           in the MTF transsexual group was both larger than in males and within the average range of
                                           females. Interestingly, in a positron emission tomography (PET) study, it was demonstrated
                                           that the left putamen in a sample of MTF transsexuals (n=12), who had no history of estrogen
                                           treatment, activated differently to odorous steroids when compared to control males (Berglund
                                           et al., 2008). Taken together, these findings lend support to the hypothesis that specific
                                           neuroanatomical features are associated with transsexual identity, where the particular role of
                                           the putamen requires investigation in future studies.

                                           Further research needs to resolve whether the observed distinct features in the brains of
                                           transsexuals influence their gender identity or possibly are a consequence of being transsexual.
                                           Alternatively, other variables may be independently affecting both the expression of a
                                           transsexual identity and the neuroanatomy in transsexuals that led to the observed association
                                           between both. Some possible candidates include genetic predisposition, psychosocial and
                                           environmental influences, hormonal exposures, or most likely an interplay between these
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                                           variables. In support of the influence of genetics and environment, multiple cases of
                                           transsexualism occurring within families have been reported (Green, 2000) as well as studies
                                           on heritability in twins (Coolidge et al., 2002) and preliminary findings on specific genetic
                                           variations in MTF transsexuals (Hare et al., 2009; Henningsson et al., 2005). Furthermore, both
                                           genes and environmental demands have been demonstrated to determine brain anatomy (e.g.,
                                           regional gray matter) (Draganski et al., 2004; Thompson et al., 2001). Finally, hormones have
                                           been shown to affect brain development (Arnold and Gorski, 1984), and neuroanatomical
                                           alterations in MTF transsexuals (Kruijver et al., 2000; Zhou et al., 1995) have been detected
                                           in cerebral structures shown to significantly change in response to hormonal exposure (Del et
                                           al., 1987; Guillamon et al., 1988). The MTF transsexuals of the current study had no history
                                           of hormonal treatment. Thus, we can exclude the potential effects of administered female
                                           hormones as a confounding factor for our findings. Moreover, it has been demonstrated that
                                           naturally circulating hormones in adult MTF transsexuals at baseline do not differ significantly
                                           from hormonal levels in male control subjects (Goodman et al., 1985; Meyer, III et al., 1986;


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                                           Spijkstra et al., 1988). However, it remains to be established whether pre-, peri-, or postnatal
                                           hormonal effects in early childhood could foster transsexualism. Further studies will need to
                                           resolve the degree to which genetic variability and environmental factors influence the
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                                           development of gender identity (Schweizer et al., 2009), possibly (but not necessarily) via
                                           affecting brain structures.

                                           A limitation of the current study is that MTF transsexuals are considered as one homogeneous
                                           group rather than dividing them into MTF transsexuals who are sexually attracted (a) to males,
                                           (b) to females, (c) to both sexes, or (d) to neither sex. Based on self-report, a common yet
                                           limited method of assessing sexual orientation (Moradi et al., 2009), our transsexual sample
                                           (n=24) consisted of 6 male-oriented and 18 female-oriented subjects. Given this unequal
                                           distribution and given that information on sexual orientation was unavailable for control
                                           subjects, we abstained from conducting analyses for different subtypes. However, a number
                                           of previous findings appear to indicate brain-structural alterations associated with sexual
                                           orientation (Allen and Gorski, 1992; Byne et al., 2001; LeVay, 1991; Ponseti et al., 2007; Savic
                                           and Lindstrom, 2008; Swaab and Hofman, 1990; Witelson et al., 2008). Moreover, a highly
                                           controversial line of research has suggested that homosexual and non-homosexual MTF
                                           transsexualism are etiologically heterogeneous (Blanchard, 1989a; Blanchard, 1989b), which
                                           may be associated with differences in neuroanatomy. Therefore, future studies that take into
                                           consideration sexual orientation will not only further reveal the underlying determinants of
                                           gender identity in general, but also possibly advance our understanding of different transsexual
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                                           subtypes.

                              Supplementary Material
                                           Refer to Web version on PubMed Central for supplementary material.


                              Acknowledgments
                                           This work was supported by the National Institutes of Health through the NIH Roadmap for Medical Research, grant
                                           U54 RR021813 entitled Center for Computational Biology (CCB). Information on the National Centers for Biomedical
                                           Computing can be obtained from <http://nihroadmap.nih.gov/bioinformatics>. Additional support was provided by
                                           the NIH/NCRR resource grant P41 RR013642, Dr. Sánchez's NIH training grant 5 T32 HD07228: 26, Dr. Gaser's
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                                           Fig. 1.
                                           Analysis of variance (ANOVA) between samples. The color-coded brain maps illustrate the
                                           brain regions where gray matter volumes differ significantly between the three groups (MTF
                                           transsexuals, males, females), after removing the variance associated with age. Statistical
                                           outcomes are corrected for multiple comparisons, using FDR at p<0.001. Shown are clusters
                                           exceeding a spatial extent threshold of 123 voxels. The two box plots display the estimated
                                           parameters for clusters located in the region of the left and right putamen, where MTF
                                           transsexuals (TR) had more gray matter than males (MA) and females (FE).




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                                           Fig. 2.
                                           T-tests between samples. The overlay maps on the SPM standard glass brain template (sagittal,
                                           axial, and coronal view) illustrate where independent-sample group comparisons revealed
                                           significant gray matter volume differences between females and males (Panel A), between
                                           females and MTF transsexuals (Panel B), as well as between males and MTF transsexuals
                                           (Panel C), after removing the variance associated with age. Panel D depicts the overlay of
                                           significance profiles from different sets of comparisons. Findings are significant at p<0.001,
                                           FDR-corrected.
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                                            journal homepage: www.elsevier.com/locate/psychires




White matter microstructure in female to male transsexuals before
cross-sex hormonal treatment. A diffusion tensor imaging study
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a r t i c l e i n f o                                  a b s t r a c t

Article history:                                       Background: Some gray and white matter regions of the brain are sexually dimorphic. The best MRI
Received 4 March 2010                                  technique for identifying subtle differences in white matter is diffusion tensor imaging (DTI). The
Received in revised form                               purpose of this paper is to investigate whether white matter patterns in female to male (FtM) trans-
10 May 2010
                                                       sexuals before commencing cross-sex hormone treatment are more similar to that of their biological sex
Accepted 10 May 2010
                                                       or to that of their gender identity.
                                                       Method: DTI was performed in 18 FtM transsexuals and 24 male and 19 female heterosexual controls
Keywords:
                                                       scanned with a 3 T Trio Tim Magneton. Fractional anisotropy (FA) was performed on white matter ﬁbers
Diffusion tensor imaging
Transsexualism
                                                       of the whole brain, which was spatially analyzed using Tract-Based Spatial Statistics.
Sex differences                                        Results: In controls, males have signiﬁcantly higher FA values than females in the medial and posterior
Superior longitudinal fasciculus                       parts of the right superior longitudinal fasciculus (SLF), the forceps minor, and the corticospinal tract.
Forceps minor                                          Compared to control females, FtM showed higher FA values in posterior part of the right SLF, the forceps
Corticospinal tract                                    minor and corticospinal tract. Compared to control males, FtM showed only lower FA values in the
                                                       corticospinal tract.
                                                       Conclusions: Our results show that the white matter microstructure pattern in untreated FtM trans-
                                                       sexuals is closer to the pattern of subjects who share their gender identity (males) than those who share
                                                       their biological sex (females). Our results provide evidence for an inherent difference in the brain
                                                       structure of FtM transsexuals.
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1. Introduction                                                                                Structural brain differences in transsexuals have been addressed
                                                                                           by postmortem anatomical as well as by in vivo neuroimaging
   Gender identity disorders (GID) are characterized by persistent                         studies. With respect to the former, it was shown in subcortical
cross-gender identiﬁcation and discomfort with the individual’s                            structures that the central nucleus of the bed nucleus of the stria
assigned gender (American Psychiatric Association, 2000). The                              terminalis (BSTc), which is important for the male sexual behavior
disorders are manifested by cross-dressing and a search for                                (Claro et al., 1995), is female in size (Zhou et al., 1995) and in neuron
hormonal and surgical sex reassignment (SR) to the desired                                 number (Kruijver et al., 2000) in male-to-female (MtF) transsexual
anatomical sex. Transsexualism is an extreme form of GID. The                              subjects. These structural differences between MtF transsexuals
etiology of GID is unknown but biological variables may contribute                         and their male and female controls were not inﬂuenced by changes
to gender identity variations (Cohen-Kettenis and Gooren, 1999;                            in sex hormone levels in adulthood and were not related to sexual
Swaab, 2004).                                                                              orientation (Kruijver et al., 2000; Zhou et al., 1995). Additionally,
                                                                                           one of the interstitial nuclei of the anterior hypothalamus (INAH3)
                                                                                           is larger in men than in women. The volume and number of
                                                                                           neurons in the INAH3 of MtF transsexuals was similar to that of
                                                                                           control females and this feminization was not due to estrogens
    * Corresponding author. Tel.: þ34 91 398 62 72; fax: þ34 91 398 6287.
                                                                                           treatment (Garcia-Falgueras and Swaab, 2008). The latter study
      E-mail address: aguillamon@psi.uned.es (A. Guillamon).

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doi:10.1016/j.jpsychires.2010.05.006
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included one FtM transsexual subject; the INAH3 volume and                                  Almost all of the postmorten anatomical (Garcia-Falgueras and
number of neurons was within the male control range (Garcia-                             Swaab, 2008; Kruijver et al., 2000; Zhou et al., 1995) and MRI
Falgueras and Swaab, 2008).                                                              (Luders et al., 2009) studies have been focused on the gray matter of
    Although brain MRI structural and functional studies may help                        MtF transsexuals and little attention has been paid to white or gray
to understand transsexualism, few studies have yet been made. The                        matter in FtM transsexuals. Thus, the purpose of the present study
only available structural study (Luders et al., 2009) analyzed MRI                       was to test if the pattern of the white matter microstructure in FtM
data of not yet cross-sex hormone treated MtF transsexuals in order                      transsexuals was congruent with their biological sex or with their
to verify whether their gray matter volumes resembled those of                           gender identity before they underwent cross-sex hormonal treat-
subjects who shared either their biological sex (males) or their                         ment. We measured FA as an indicator of white matter coherence
gender identity (females). They reported that regional gray matter                       and axonal organization. To the best of our knowledge there are no
variation in untreated MtF transsexuals is more similar to the                           previous studies in the literature describing white matter micro-
pattern found in males than in females. However, MtF transsexuals                        structure in FtM transsexuals.
show a signiﬁcantly larger volume of regional gray matter in the
right putamen than do control men (Luders et al., 2009).                                 2. Materials and methods
    MRI functional studies examinated the brain while performing
tasks, such as mental rotation, in which males and females                               2.1. Subjects
consistently differ (Kimura, 1999). There are only three fMRI studies
of mental rotation in transsexuals. One longitudinal study reported                          Subjects were 18 untreated FtM transsexuals from the Gender
that activation during mental rotation did not increase during                           Identity Unit (GIU) at the Hospital Clinic of Barcelona, with 24 male
cross-sex hormone treatments (Sommer et al., 2008), probably                             and 19 female controls recruited by advertisement (see Table 1). All
because of the small sample size. However, in a sample of treated                        participants were right handed.
and untreated MtF it was found that both transsexual groups had                              The prevalence rate of transsexualism in Catalonia is 1:21,031
increased activation in the temporo-occipital regions and                                males and 1:48,096 females and the sex ratio is 2.6 (Gómez-Gil
decreased activation in the left parietal lobe, compared to control                      et al., 2005, 2009a). Diagnostic assessment of transsexualism fol-
men. The authors suggested that are a priori differences between                         lowed the revised fourth edition of the Diagnostic and Statistical
males and MtF transsexuals (Schöning et al., 2009). Also in a mental                     Manual of Mental Disorders (American Psychiatric Association,
rotation task, comparing chronically treated FtM and MtF trans-                          2000) and the tenth revision of the International Classiﬁcation of
sexuals to male and female controls, we found a parietal hypo-                           Diseases (World Health Organization, 1993) and was made after
activation in the MtF transsexuals, but no signiﬁcant differences for                    several semi-structured socio-demographic, clinical and psychi-
FtM transsexuals (Carrillo et al., 2010).                                                atric interviews with two mental health professionals (psychiatrist
    Cerebral activation due to visual erotic stimuli in MtF trans-                       and psychologist) (Gómez-Gil et al., 2009b).
sexuals before any treatment has been investigated by means of                               All FtM transsexuals selected had early-onset gender noncon-
fMRI (Gizewski et al., 2009). These authors found an activation                          formity (before puberty), were erotically attracted to females, and
patter in MtF transsexuals that is similar to the one of females. They                   wanted sex reassignment (Gómez-Gil et al., 2009b). This group
concluded that MtF transsexuals show a tendency of female-like                           corresponds to the one typically referred to as “homosexual type”
cerebral processing in transsexualism.                                                   (Blanchard et al., 1987; Smith et al., 2005; but see Gooren, 2006).
    A couple of MRI studies have focused on white matter in                              Sexual orientation in patients was established by asking what
transsexuals. No differences for the whole corpus callosum (CC) or                       partner (a man, a woman, both or neither) the patient would prefer
splenium region between transsexuals and controls were reported                          or feel attraction to if they were completely free to choose and the
(Emory et al., 1991). However, using a sophisticated MRI measure of                      body did not interfere.
CC shape, it was concluded that the pattern of CC shape in trans-                            All patients were not hormonally treated, and meet the eligi-
sexuals is closer to that in individuals whit the same gender iden-                      bility and readiness criteria for hormone therapy according the
tity than to that in individual with the same biological sex (Yokota                     Standards of Care of the Harry Benjamin Gender Dysphoria Asso-
et al., 2005).                                                                           ciation (HBGDA; Meyer et al., 2002). Additionally, all patients have
    Diffusion Tensor Imaging (DTI) is the most suitable technique to                     initiated cross-sex hormonal therapy with androgens after the MRI
detect subtle changes in the white matter of patients with schizo-                       scanning. The hormonal levels of the untreated FtM transsexual
phrenia, depression, obsessive-compulsive disorders, autism or                           group were obtained before the study (Table 1).
developmental dyslexia (Nucifora et al., 2007). DTI has been used to                         The healthy control volunteers were recruited from the
investigate sex differences in adults (Westerhausen et al., 2003;                        community by advertisement and were evaluated by a psychiatrist,
Huster et al., 2009) and in developmental studies (Schmithorst                           using the Spanish Version 5.0.0 (Bobes et al., 1997) of the Interna-
et al., 2008).                                                                           tional Neuropsychiatric Interview (MINI) (Sheehan et al., 1998), to


Table 1
Characteristics of the sample and group comparisons.

                                              FtM transsexualsa (n ¼ 18)           Control Females (n ¼ 19)             Control Males (n ¼ 24)   F           p values
 Age (years)                                   28.24  10.61                       31.22  6.09                         33.00  8.22             1.50        0.23
 Hormonal Levelsb
 Testosterone (ng/dl)                          47.97  21.81
 Free testosterone index (%)                    3.63  3.00
 Sex steroid binding globulin (nmol/L)         54.71  28.08
 17-b-estradiol (pg/ml)                       115.70  86.93
 a
    Female to male transsexuals (FtM). Results are expressed as mean  standard deviation.
 b
    Normal testosterone levels: adult males (275e850 ng/dL) and females (10e80 ng/dL). Normal free testosterone index: adult males (38e123%) and females (1e7%). Normal
levels of sex steroid binding globulin: adult males (10e60 nmol/L) and females (35e135 nmol/L). Normal estradiol levels: males (10e41 pg/mL); females: follicular phase
(22e55 pg/mL), luteal phase (68e196 pg/mL).
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select controls without any psychiatric history. Only heterosexual                           voxelwise cross-subject statistical analysis. First, we conducted
controls were included in the study. The male controls have                                  a whole brain analysis to identify possible white matter regions
a gender identity as a man and a sexual orientation toward women                             showing sex differences. Second, we obtained the mean FA values
(similar to our FtM patients). Control women have a gender identity                          of each region in which the TBSS indicated statistically signiﬁcant
as a woman and a sexual orientation toward men (the opposite to                              sex differences using a mask.
the both previous groups). We consider that both control groups
are appropriate. Controls and FtM were comparable by age                                     2.3.2. Statistical analysis
(Table 1).                                                                                       TBSS was performed on the FA maps of male and female
   Study exclusion criteria were having taken any hormone,                                   controls. Skeletonized data were statistically analyzed using a two
psychotropic medication and/or illegal drug.                                                 sample t-test. The statistical threshold was set at p < 0.05 FWE-
   After a full explanation of the study, all subjects gave written                          corrected, using the Threshold-Free Cluster Enhancement (TFCE)
informed consent to a protocol approved by the ethics committee                              method to deﬁne the clusters (Smith et al., 2006).
at the Hospital Clinic of Barcelona. The study was conducted in                                  Statistical tests for quantiﬁed FA values and the age variable
accordance to the Declaration of Helsinki.                                                   were performed with SPSS 16.0 (SPSS Inc., Chicago, Illinois). For
                                                                                             group comparisons of FA values we used MANOVA followed by
2.2. Image acquisition                                                                       Scheffé post-hoc contrasts. The level of signiﬁcance was set at
                                                                                             p < 0.05.
   MRI scanning was performed with a SIEMENS Trio Tim
Magneton (Erlangen, Germany) at 3 T. All patients underwent axial                            3. Results
DTI (Singleshot diffusion weighted EPI, b ¼ 1000 mm2/s, 64 direc-
tions, TE ¼ 94 ms, TR ¼ 9300 ms, ﬂip angle 90, slice                                            Whole brain TBSS analysis showed that control males have
thickness ¼ 2 mm, providing 1.97 mm in-plane resolution). In                                 signiﬁcantly higher FA values than the control female group in the
addition, to aid in locating diffusion tensor data, a high-resolution                        anterior and posterior parts of the right superior longitudinal
T1-weighted magnetization-prepared rapid gradient-echo (MP-                                  fasciculus, forceps minor, and the corticospinal tract (Fig. 1 and
RAGE) 3D MRI sequence in sagittal plane with the following                                   Table 2). The contrast analysis testing for females being greater
parameters was acquired: TR/TE ¼ 2300/2.98 ms; TI 900;                                       than males did not show any signiﬁcant difference.
FOV ¼ 25  25; 256  256 pixel matrix resulting in a 1 mm isotropic                             We performed ANOVA analyses of the FA mean values for each
acquisition voxel.                                                                           region that showed sexual differences. Compared to control
                                                                                             females, FtM showed greater FA values in the right anterior and
2.3. DTI analysis                                                                            posterior part of the superior longitudinal fasciculus (SLF), the
                                                                                             forceps minor and the corticospinal tract (Fig. 2 and Table 3).
2.3.1. Tract-based spatial statistics (TBSS)                                                 Compared to control males, FtM showed lower FA values only in the
    Individual FA processing of diffusion tensor data was performed                          corticospinal tract.
using the FSL version 4.1.2 (Smith et al., 2004, 2006). Following
eddy current correction using the FMRIB Diffusion Toolbox (FDT),                             4. Discussion
non-brain voxels were extracted using the Brain Extraction Tool
(Smith, 2002) with a brain extraction factor of 0.2. FA images were                          4.1. General discussion
created by ﬁtting a tensor model to the raw diffusion data using
FDT. Individual FA maps were visually inspected for the presence of                              Measuring FA, an indicator of white matter coherence and
signiﬁcant residual motion or other artifacts.                                               axonal organization (Lebel et al., 2008), the main result of our study
    All subjects’ FA data were then aligned into a common space                              is that untreated FtM transsexuals differed from control females in
using the nonlinear registration tool FNIRT (Andersson et al., 2007a,                        two associative fasciculi (superior longitudinal fasciculus and
2007b), which employs a b-spline representation of the registra-                             forceps minor) and in the corticospinal tract. In contrast they only
tion warp ﬁeld (Rueckert et al., 1999). Next, the mean FA image was                          differed from control males in the corticospinal tract. These ﬁnd-
created and thinned to create a mean FA skeleton, which represents                           ings indicates that prior to hormonal cross-sex treatment the white
the centers of all tracts common to the group. Each subject’s aligned                        matter microstructure of associative fascicles in untreated FtM
FA data were then projected onto this skeleton and the resulting                             transsexuals is more like that of individuals with the same gender
skeletonized, fully non-linearly aligned FA data were then used for                          identity than of individuals with the same biological sex.




Fig. 1. Sex differences maps of fractional anisotropy (FA). FA is lower in female than in male controls in the superior longitudinal fasciculus with a posterior (A) and anterior (B)
predominance. Control females also show lower than control male FA values in the forceps minor (C) and the corticospinal tract (D). The group skeleton used for the between group
contrast study is green. The red color shows the clusters of signiﬁcantly decreased FA in female compared to male controls. The threshold for signiﬁcance was set at p < 0.05
corrected for multiple comparisons.
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Table 2
Coordinates of the clusters showing signiﬁcant differences between male and
female controls.

 Locations                           MNI coordinates

                                     x     y      z           t       p        Cluster
                                                                               size
 Control males > Control females
 Superior longitudinal           30        18        47      4.41    <0.01    772
   fasciculus
   (right, anterior)
 Superior longitudinal            9        42        68      4.33    <0.02    605
   fasciculus
   (right, posterior)
 Forceps minor (right)           20         28     26         4.18    <0.03    524
 Corticospinal tract              8        28    30         4.62    <0.01    705

Location x, y and z coordinates are based on the atlas of the Montreal Neurological
Institute (MNI).
                                                                                                Fig. 2. Histograms showing the FA means and SD between control females (black),
                                                                                                female to male transsexuals (FtM) (red) and control males (green). FtM transsexuals
    FtM transsexuals have greater FA values than control females in                             signiﬁcantly differed from control females in the same white matter cerebral regions in
the white matter involving the anterior and posterior part of the                               which control males differed from control females. Signiﬁcant differences between FtM
                                                                                                transsexuals and control males are only seen in the corticospinal tract. SLF: Superior
SLF and the forceps minor. These fasciculi connect complex cortical
                                                                                                longitudinal fasciculus. *at least p < 0.005. (For interpretation of the references to colour
regions subserving higher cognitive functions that are sexually                                 in this ﬁgure legend the reader is refered to the web version of this article)
dimorphic. Sex differences in cognition are consistently found in
spatial abilities and verbal ﬂuency (Kimura, 1999), males outshine
females in the former but the females outshine males in the latter.                             children and adolescents, it was reported that girls have lower FA
Some studies show that males and females show comparable fMRI                                   values than boys in the anterior CC region (Schmithorst et al.,
activation during these tasks (Carrillo et al., 2010; Halari et al.,                            2008). In addition, the boys had lower FA values than girls in
2006), but other studies have reported differences between the                                  a small region of the splenium. We did not observe differences in
sexes (Gizewski et al., 2006; Hugdahl et al., 2006; Jordan et al.,                              the splenium between adult male and female controls.
2002; Konrad et al., 2008). Cognitive studies are discordant;                                       There are only a couple of studies on the transsexual CC.
hormonally untreated FtM patients show spatial abilities and ver-                               Studying the CC shape, it was concluded that the shape in trans-
balization consistent with their biological sex and not their gender                            sexuals is more similar to their gender identity than to their bio-
identity (Haraldsen et al., 2003). Meanwhile, others have reported                              logical sex (Yokota et al., 2005). However, when the whole CC
that untreated MtF had higher scores on visuo-spatial tasks than                                surface was studied no differences in CC -regardless of genetic sex
untreated FtM transsexuals (Slabbekoorn et al., 1999). When verbal                              or gender- were reported (Emory et al., 1991). Our results cannot be
memory was studied, “word-correct” scores of the FtM trans-                                     compared to these works, which used surface measurements, while
sexuals were lower than those of female controls, whereas scores of                             we have used FA analysis, which seems to be a more suitable
the MtF group were higher than those of the male controls (Cohen-                               technique for detecting microstructural white matter differences.
Kettenis et al., 1998).                                                                             The SLF connects anterior prefrontal and posterior parietal
    Control males and FtM present greater FA values than control                                associative tertiary areas and develops gradually until the late
females in the right forceps minor. However, no differences were                                twenties (Lebel et al., 2008). This fasciculus is involved in the
seen contrasting the control male FA values with those of FtM                                   integration of inputs from multiple modalities and is a component
transsexuals. The forceps minor connects, via the genu of the CC,                               of the network for spatial awareness that plays a major role in the
orbitofrontal regions (Park et al., 2008) involved in emotional                                 visual and oculomotor aspects of spatial function such as spatial
functions and behavioral control. Kringelbach and Roll (2004),                                  attention and spatial working memory (Schmahmann and Pandya,
suggested that orbital cortex activity is related to the reward value                           2006). Visual-spatial functions and working memory are known to
of reinforcers and punishers.                                                                   have a clear sexual dimorphism (Kimura, 1999). Mental rotation
    The forceps minor is a part of the anterior region of the corpus                            and line angle judgment performance have been found to be
callosum. The CC is the major interhemispheric pathway in the                                   superior in males compared to females in a worldwide study (Lippa
human brain and integrates sensory, motor, cognitive and                                        et al., 2009). In the right SLF we found differences, male controls
emotional functions from both hemispheres; the isthmal area of                                  show greater FA values than female controls. Interestingly,
the CC is larger in homosexual than in heterosexual males                                       untreated FtM transsexuals, like control males, also show greater FA
(Witelson et al., 2008). FA values in the anterior part of the CC                               values than control females in the right SLF and do not differ from
change during development (Lebel et al., 2008). In a sample of                                  male controls.



Table 3
Group comparisons of the fractional anisotropy in the four fasciculi that present sex differences.

                                                                  Female                         FtMa                              Male                           F               p

                                                                  Mean           SD              Mean            SD                Mean          SD
 Superior longitudinal fasciculus (anterior; right)               0.47           0.022           0.50            0.024             0.52          0.021            21.16           <0.001
 Superior longitudinal fasciculus (posterior; right)              0.42           0.027           0.48            0.021             0.48          0.017            24.54           <0.001
 Forceps minor (right)                                            0.47           0.027           0.50            0.034             0.52          0.028            38.16           <0.001
 Corticospinal tract (right)                                      0.57           0.027           0.60            0.028             0.64          0.031            12.43           <0.001
 a
      Female to male transsexuals (FtM).
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    The corticospinal tract is a descending motor pathway origi-                   those who share their biological sex (females). Our results provide
nated in the precentral gyrus and in the paracentral lobule (Brod-                 evidence for structural differences in the untreated FtM trans-
mann’s areas 4 and 6; Schoenen and Grant, 2004). These motor                       sexual’s brain.
ﬁbers control limb movements that require a high degree of skill
and ﬂexibility. Motor experience and genetic factors critically
                                                                                   Contributors
interact during the maturation of the corticospinal tract (Cheeran
et al., 2009; Martin et al., 2007). The FA values in our FtM trans-
                                                                                       None.
sexuals fell between those of the male and female control groups
and differed signiﬁcantly from both of them.
                                                                                   Conﬂict of interest
    Mammalian brain sex differences, including humans (García-
Falgueras et al., 2006), occur in complex networks (Segovia and
                                                                                       None.
Guillamón, 1993). The human brain differentiates early in devel-
opment (Swaab, 2004). Our results indicate that two important
brain associative fascicles (superior longitudinal fasciculus and                  Role of funding source
forceps minor), involved in high cognitive functions, are already
masculinized in FtM transsexuals before they begin cross-sex                          Funding for this study was provided by the Spanish Ministerio
hormonal treatment.Similar conclusions have been reached by                        de Ciencia e Innovación (MNICIN) grant SEJ2007-65686 (Dr. Guil-
postmortem studies of the gray matter in MtF transsexuals.                         lamon). MNICIN had no further role in any step of the present study.
Hormone treatment or sex hormone levels variations in adulthood
did not seem to have inﬂuenced the size and the number of neurons
                                                                                   Acknowledgments
in the BSTc (Kruijver et al., 2000; Zhou et al., 1995) and the INAH3
(Garcia-Falgueras and Swaab, 2008). In the same way, our study
                                                                                      We are grateful to the patients and control subjects that
suggests a prior masculinization of the white matter microstructure
                                                                                   voluntarily participate in the study. Thanks are due to Drs. M. A.
in FtM transsexuals.
                                                                                   Amerigo, N. Bargalló, C. Falcón, J. Llul and S. Juanes for their help at
    Regarding brain laterality, we found that all the FA value
                                                                                   some phases of the study and to R. Sánchez and C. Warren for their
decreases in women compared to men are seen in the right
                                                                                   editorial help.
hemisphere. Similar asymmetries are also reported by Schmithorst
et al. (2008), they described lower FA values in girls than in boys,
and although there were decreases on both sides, the largest lost FA               References
value clusters were on the right, indicating a right hemispheric
predominance in sex differences. More recently Huster et al.                       American Psychiatric Association. Diagnostic and statistical manual of mental disor-
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(2009), focusing on the midcingulum bundle, found lower FA                         Andersson JLR, Jenkinson M, Smith S. Non-linear optimisation. FMRIB technical
values in the right hemisphere than in the left and in women than                      report TR07JA1. from, www.fmrib.ox.ac.uk/analysis/techrep; 2007a.
in men.                                                                            Andersson JLR, Jenkinson M, Smith S. Non-linear registration, aka Spatial normal-
                                                                                       ization. FMRIB technical report TR07JA2. from, www.fmrib.ox.ac.uk/analysis/
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    The current study has several strengths. It is the ﬁrst to study the               M.I.N.I. (Mini International Neuropsychiatric Interview) en tres centros de AP en
white matter microstructure in transsexuals. Second, the subjects                      España [The validity of the M.I.N.I. (Mini International Neuropsychiatric Inter-
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syndrome as a confounding factor. Finally, the differences between                     impair sexual behavior in sexually experienced and inexperienced male rats.
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ulation, a high percentage of MtF transsexuals start taking                        Cohen-Kettenis PT, van Goozen SHM, Doorn CD, Gooren LJG. Cognitive ability and
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                                                                                       la demanda asistencial [Estimation of prevalence, incidente and sex ratio of
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pattern of subjects who share their gender identity (males) than to                    de Psiquiatría 2005;34:295e302.
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Cerebral Cortex August 2008;18:1900--1908
doi:10.1093/cercor/bhm216
Advance Access publication December 3, 2007


Male-to-Female Transsexuals Show Sex-                                           H. Berglund1, P. Lindström2, C. Dhejne-Helmy3 and I. Savic2

Atypical Hypothalamus Activation When                                           1
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Smelling Odorous Steroids                                                       of Clinical Neuroscience, Stockholm Brain Institute and
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                                                                                Karolinska Institute, 171 76 Stockholm, Sweden




One working hypothesis behind transsexuality is that the normal                    In general, men tend to process verbal stimuli in a more
sex differentiation of certain hypothalamic networks is altered. We             lateralized way than women; they also show a weaker right-
tested this hypothesis by investigating the pattern of cerebral                 hand preference (McGlone 1978; Kimura 1996). Several studies
activation in 12 nonhomosexual male-to-female transsexuals                      of transsexual subjects have shown a sex-atypical performance
(MFTRs) when smelling 4,16-androstadien-3-one (AND) and estra-                  in visuospatial (La Torre et al. 1976; van Goozen et al. 2002) and
1,3,5(10),16-tetraen-3-ol (EST). These steroids are reported to                 language functions (Cohen-Kettenis et al. 1998), although
activate the hypothalamic networks in a sex-differentiated way.                 some were unable to reproduce these patterns (Haraldsen et al.
Like in female controls the hypothalamus in MFTRs activated                     2005). A sex deviant performance has been described even
with AND, whereas smelling of EST engaged the amygdala and                      prior to cross-sex hormone therapy (van Goozen et al. 2002),
piriform cortex. Male controls, on the other hand, activated the                further emphasizing an impact of biologically determined
hypothalamus with EST. However, when restricting the volume of                  factors, such as sex-atypical cerebral programing, in gender
interest to the hypothalamus activation was detected in MFTR also               dysphoria. Of particular interest are reports that male-to-female
with EST, and explorative conjunctional analysis revealed that                  transsexuals (MFTRs) have a less prominent cerebral laterali-
MFTR shared a hypothalamic cluster with women when smelling                     zation compared with control males during dichotic listening,
AND, and with men when smelling EST. Because the EST                            especially for nonverbal stimuli (Cohen and Forget 1995).
effect was limited, MFTR differed significantly only from male                     The idea that cerebral programing is atypical in transsexuals
controls, and only for EST-AIR and EST-AND. These data suggest                  ﬁnds support in postmortem studies of the anterior hypothal-
a pattern of activation away from the biological sex, occupying                 amus and its primary connections, reported by Swaab and
an intermediate position with predominantly female-like features.               collaborators. This group found that the volume of the central
Because our MFTRs were nonhomosexual, the results are unlikely                  subdivision of the bed nucleus stria terminalis (BNSTc) was
to be an effect of sexual practice. Instead, the data implicate                 sexually dimorphic (larger in men than women), showing
that transsexuality may be associated with sex-atypical physiolog-              a ‘‘female’’ size in MFTRs and a ‘‘male’’ size in female-to-male
ical responses in specific hypothalamic circuits, possibly as                   transsexuals (Zhou et al. 1995; Kruijver et al. 2000). In-
a consequence of a variant neuronal differentiation.                            terestingly, its size in MFTRs was smaller also in comparison to
                                                                                male controls that had taken estrogens for medical reasons as
Keywords: hypothalamus, odor, PET, pheromones, transsexuality
                                                                                well as in relation to those who were homosexual. Thus, not
                                                                                withstanding that the number of subjects and differences in
                                                                                estrogen doses limit the interpretation of these data, it seems
                                                                                improbable that hormone treatment and sexual orientation
Introduction                                                                    could be a major cause to the observed differences (Zhou et al.
Transsexuals have the strong feeling, often from childhood                      1995). At variance to the BNSTc, no difference compared with
onward, of having been born the wrong sex. The possible                         control subjects was detected in other hypothalamic nuclei
etiology of transsexualism has been the subject of debate for                   investigated—the paraventricular nucleus, the sexually dimor-
many years (Benjamin 1967; van Goozen et al. 2002; Swaab                        phic nucleus, and the suprachiasmatic nucleus—of which the
2004; Gooren 2006). Investigation of the genetics, hormone                      latter 2 are reported to be sexually dimorphic in humans
levels, gonads, and genitalia of transsexuals has not produced                  (Swaab and Fliers 1985; Allen et al. 1989; LeVay 1991). These
results that explain their status (van Goozen et al. 2002; Swaab                intriguing postmortem data warrant for complementary inves-
2004; Gooren 2006). In experimental animals, the gonadal                        tigations with in vivo brain imaging techniques. Anatomical
hormones that prenatally determine the morphology of the                        investigations of the hypothalamic structures are, however,
genitalia are shown to also inﬂuence the morphology and                         cumbersome with the current imaging tools because the
function of the brain in a sexually dimorphic manner (Fels and                  separate nuclei are extremely small (in the order of mm3) and
Bosch 1971; Yalom et al. 1973; Baum 2003 2006). This led to                     difﬁcult to separate with anatomical landmarks. In the quest for
the hypothesis that sexual differentiation of the brain in                      reliable in vivo methods to study sex differences in the neu-
transsexuals might not have followed the line of sexual                         robiology of the hypothalamus, we designed positron emission
differentiation of the body as a whole and that transsexual                     tomography (PET) activation experiments measuring changes
persons may have sex-atypical cerebral programing (van                          in regional cerebral blood ﬂow (rCBF) during smelling of 2 ste-
Goozen et al. 2002). Such a scenario can be evaluated in                        roidal compounds: the progesterone derivative 4,16-androstadien-
humans by comparing transsexual and control subjects with                       3-one (AND) and the estrogen-like compound estra-1,3,5(10),
respect to sexually differentiated cerebral functions.                          16-tetraen-3-ol (EST) (Savic et al. 2001, 2005; Berglund et al.

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2006). AND is present in human male secretions such as sweat,             they had never received hormonal treatment, nor were they on any
saliva, and semen (Grosser et al. 2000), whereas EST has been             medication at the time of the study. Their statement was deemed
detected in the urine of pregnant women (Thysen et al. 1968).             reliable and conﬁrmed by repeated tests of hormonal levels.
                                                                             The diagnosis of gender identity disorder was made according to the
AND is reported to inﬂuence context-dependent mood, and                   International Classiﬁcation of Disorders 10th edition A plus criteria for
physiological arousal in a sex-speciﬁc manner (Jacob et al.               transsexualism (F64.0), as follows (American Psychiatric Association
2001, 2002; Savic et al. 2001; Lundstrom et al. 2003, 2006;               Task Force on DSM-IV 1994):
Bensaﬁ, Tsutsui, et al. 2004; Lundstrom and Olsson 2005), and
                                                                          1. A desire to live and be accepted as a member of the opposite sex,
to also inﬂuence endocrine balance by changing cortisol levels               usually accompanied by a sense of discomfort with the subject’s
(Wyart et al. 2007). Some scientists, therefore, suggest that                anatomical sex, and a wish to have surgery and hormonal treatment
AND posses pheromone-like properties, although no direct                     to make the body as congruent as possible with the body of the
role in sexual attraction has hitherto been demonstrated in                  preferred sex.
humans. The psychophysical effects of EST are less docu-                  2. The transsexual identity has existed for at least 2 years.
mented but nevertheless reported in some studies (Jacob et al.            3. The syndrome cannot be explained by any other psychiatric disorder
                                                                             or by chromosomal abnormality. Thus, any evidence of an abnormal
2001; Bensaﬁ, Brown, et al. 2004). We found few years ago that               male phenotype or genotype (i.e., hypospadias, cryptorchism,
the hypothalamus was activated by these 2 compounds in                       micropenis, and chromosome complement other than 46XY)
a sex-differentiated manner (Savic et al. 2001)—by AND in                    excluded enrollment to the study. Homosexual MFTRs were
heterosexual women (HeW) and by EST in heterosexual men                      excluded.
(HeM). In contrast, when men smelled AND and women EST,                      Adult transsexual persons commonly test sexual contacts with both
activations were observed only in the olfactory brain (the                men and women, and it is, therefore, difﬁcult to select a group of
amygdala and piriform cortex and the anterior insular- and the            nonhomosexual MFTRs who all score at the same end of the Kinsey
anterior cingulate cortex [Zatorre et al. 1992; Sobel et al. 1998;        Heterosexual/Homosexual scale (0 = maximally heterosexual, 6 =
Royet et al. 1999; Savic et al. 2000; Zald and Pardo 2000;                maximally homosexual) (Kinsey 1953) for the type of sexual contacts,
Gottfried et al. 2002]). Using an identical experimental design,          sexual fantasies, and attraction. To avoid confusion, sexual orientation
                                                                          was here deﬁned operationally, relating the biological sex of the
we subsequently reported a regionally differentiated pattern of           transsexual subjects to the biological sex of their sexual partners. Nine
activation both with respect to sex (Savic et al. 2005; Hillert           of the recruited MFTRs conveyed at the time of the scan experience of
et al. 2007) and sexual orientation (Savic et al. 2005; Berglund          only female sexual partners (they rated Kinsey 0--2), whereas 3
et al. 2006). Whereas HeW and HeM with chemical supersen-                 reported that they never had a sexual partner but stated attraction to
sitivity activated the hypothalamus with AND (Savic et al. 2005;          women and not men. All reported a relatively early (before, or at
Hillert et al. 2007), these activations were absent in HeM; they          puberty) awareness of gender dysphoria. Thus, the MFTRs participating
                                                                          in the present study were operationally deﬁned as nonhomosexual
were absent also in lesbian women who recruited the
                                                                          MFTRs. All the controls rated Kinsey 0. Twelve right-handed HeM and
hypothalamic networks with EST (Berglund et al. 2006).                    HeW served as controls. The 3 groups were matched for age (HeM 26 ± 2,
Together, these data suggest that the applied approach could              HeW 33 ± 6, and MFTRs 32 ± 8 years) and educational level (13 ± 2, 13 ± 2,
be useful for investigations of sex-related neuronal processes in         and 12 ± 3 years). All the transsexual subjects had hormone levels within
the hypothalamus.                                                         a normal range (Table S2, supplementary material online). The study was
   We now report results from 12 nonhomosexual (gynaeco-                  approved by the local human protection and the radiation safety
                                                                          committees of the Karolinska University Hospital.
phyl) MFTRs who were investigated with this approach. For
more detailed information about their sexual orientation,
please see Materials and Methods and Discussion. rCBF was                 The Odorous Compounds
measured with PET during smelling AND, EST, 4 common odors                Like in our previous studies the activation condition consisted of
denoted as OO, and odorless air (AIR). AIR served as the                  passive smelling (not snifﬁng) of AND, EST, and 4 different odors,
                                                                          denoted as OO (Savic et al. 2001, 2005; Berglund et al. 2006). The OO
baseline condition, and activations were deﬁned as increases in
                                                                          were lavender oil, cedar oil, eugenol, and butanol. Whereas the butanol
rCBF during smelling of odorants compared with air (thus,                 was diluted in distilled water to a concentration of 10%, the other odors
using AND--AIR, EST--AIR, and OO--AIR as contrasts). The trans-           were undiluted. As previously, AND and EST were during the PET scans
sexual subjects were compared with 12 HeM and HeW, data                   presented in crystalline and odorous form (200 mg, Steraloids Inc,
from 22 of them presented in previous studies with identical              Newport, RI). In contrast, for testing of the detection threshold to the
design (Savic et al. 2005; Berglund et al. 2006). The working             odor of AND and EST, both compounds were solved in odorless mineral
                                                                          oil. The detection thresholds to the 2 putative pheromones were
hypothesis was that the pattern of activation in transsexual
                                                                          carried out using the forced choice paradigm (Jones-Gotman and
subjects would differ from that of HeM. All the investigations            Zatorre 1988), which was also applied for the test of olfactory
were carried out before sex assignment surgery.                           thresholds, using different concentrations of n-butanol. The purity of
                                                                          AND and EST was repeatedly tested by our doping laboratory and
                                                                          assessed to be 98%.
Materials and Methods

Subjects                                                                  PET Experiments and Image Data Analysis
Twelve healthy, unmedicated, right-handed, and nonsmoking MFTRs,          All the subjects were investigated during an overlapping time period
who were osmic for both AND and EST and had normal magnetic               (2001--2006), in an identical way, and by the same experimenters. Thus,
resonance (MR) image of the brain, participated in the study. Their       PET measurements were carried out at the same time of the day, with
handedness was assessed according to Oldﬁeld (1971). All the patients     a standardized room temperature and air pressure (23 °C, 997 hPa).
were recruited from the Department of Psychiatry, Karolinska              The experimental protocol and its justiﬁcation have been described in
University Hospital, Huddinge. None of the subjects had a history of      detail in our previous publications (Savic et al. 2001, 2005; Berglund
neurological or psychiatric disorders or of brain injury. Before          et al. 2006). In summary, it included MRI scans and PET (full width at
inclusion, a detailed history was obtained from each subject, including   half maximum 3.8 mm) measurements of rCBF with 15O H2O during 3
possible use of unregulated hormone supplements and synthetic             stimulus conditions (=smelling of AND, EST, and OO, respectively) and
steroids not prescribed by a physician. All the subjects declared that    the base line condition (=smelling of room air which was kept odorless


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by a suction devise in the scanner room). The duration of each scan was          2001, 2005; Zald and Pardo 2000; Gottfried et al. 2002; Berglund et al.
60 s. All the stimuli (including room air) were presented in a glass             2006; Hillert et al. 2006). A separate ANOVA was conducted for each
bottle at a distance of 10 mm from the nose (Savic et al. 2000, 2001).           odor quality (familiarity, irritability, intensity, and pleasantness), to test
There were 12 scans per person (3 scans/condition, balanced and                  for group differences in odor ratings, but the stimuli included as the
randomly interleaved). During the scans, subjects were unaware of the            within factor were AND, EST, and OO because AIR was perceived as
identity of items and instructed to neither sniff nor judge the odorants.        odorless. The signiﬁcance level was 0.05 in all comparisons.
   Respiratory movements were recorded continuously 2 min before,                   Blood samples were taken in each male subject before the scan to
and during each scan, by using a strain gauge around the lower thorax            measure plasma levels of testosterone (by analyzing sexual hormone--
connected to a graph (Comair, Stockholm, Sweden) (Savic et al. 2000,             binding globulin, both total and active testosterone levels were
2001, 2005; Berglund et al. 2006). When all the PET scans were                   calculated), estrogen, prolactin, dehydroepiandrosterone sulfate,
completed, the subjects were presented with each odorant again and               follicle-stimulating hormone, luteinizing hormone, and androstendione.
asked to rate its pleasantness, irritability, intensity, and familiarity using   Because estrogen levels were much higher than the other concen-
a 100-mm visual analogue scale (Jones-Gotman and Zatorre 1988; Savic             trations, comparisons between MFTRs and male controls were
et al. 2000).                                                                    calculated with separate t-tests (P < 0.007 after Bonferroni correction).
   The individual MRI and PET images were reformatted into a common                 Structural MR images were acquired on a GE 1.5 T scanner and used
space (standard brain) and ﬁltered with 10-mm Gaussian kernel (Savic             for evaluations of PET data according to a previously described protocol
et al. 2000, 2001). Signiﬁcant activations were determined with the SPM          (Savic et al. 2000, 2001, 2005; Berglund et al. 2006).
statistics (SPM99, Wellcome Foundation, London, UK) (Friston et al.
1999; Frackowiak 2004), using the following contrasts: AND--AIR and              Within-Group Activations
vice versa; EST--AIR and vv; OO--AIR and vv; and AND--EST and vv.                Activations were ﬁrst evaluated in each separate group with 1-group
Activations were ﬁrst evaluated in each separate group with 1-group              random effect analysis. With the presently used group size, this method
random effect analysis. Next, group differences were tested using a 2-           is regarded to provide data, which are representative for the entire
group random effect analysis. Finally, possible common activations               group (Friston et al. 1999). When using T-threshold at P = 0.001 as
between groups were investigated with conjunctional analysis. For the            signiﬁcance level for each separate image element (pixel) and
within-group analyses with AIR as baseline, the search space was the             correction for the multiple comparisons at P < 0.05 (see Materials
entire brain with the exception of the most caudal 16 mm of the                  and Methods), HeW activated, as previously reported, the hypothala-
cerebellum and the rostral 10 mm of the vertex, which were excluded              mus with AND, and HeM with EST. When HeW smelled EST and HeM
in 2 patients because these portions of the brain were not covered               smelled AND, the activated ﬁelds (clusters) were conﬁned to the
during scanning. The within-group calculations of AND--AIR and EST--             amygdala, the piriform cortex, and portions of the anterior insular and
AIR and the between-group evaluations (the conjunctional and 2-group             cingulate cortex. After lowering the threshold to P = 0.01 (corrected
random effect analyses) relied on our previous ﬁndings showing that              P < 0.05), clusters appeared also in the amygdala and piriform cortex in
the AND- and EST-related activations were conﬁned to the hypothal-               HeM when smelling EST (the corresponding cluster in women for
amus and the olfactory brain. Considering that the SPM statistics is             AND--AIR appeared only at corrected P < 0.1) (Table 1 and Fig. 1).
rather conservative and to avoid type-II error, we used a rectangular            Furthermore, a cluster emerged in the middle temporal and lingular
mask that covered only the horizontal sections of the brain between              gyrus. These clusters had lower Z scores than the hypothalamus
Z = +20 and Z = –20 for the conjunctional and 2-group random effect              clusters. Their presence was, however, congruent with the fact that
analyses and for calculations of AND--EST and vv (Tables 1--3).                  both compounds were odorous in the concentrations presented. No
   The single subject condition and covariance analysis was carried out          hypothalamic clusters were detected when HeW smelled EST and HeM
using height threshold at P = 0.001 (SPM99, www.wellcome.foundation.             AND, independently of whether the height threshold was at P = 0.001
uk). In the subsequent within-group analyses, the height threshold               or P = 0.01.
was ﬁrst chosen at P = 0.001 (with corrected P < 0.05 for multiple                  Like HeW, but unlike HeM, MFTRs activated the anterior hypothal-
comparisons according to the random ﬁelds theory). At this level, no             amus with AND. In addition, a cluster was detected in the anterior
cluster appeared in transsexual subjects in the EST--AIR contrast (see           cingulate, extending to the right amygdala and piriform cortex. When
results). Because it was essential to evaluate which brain regions               smelling EST, MFTRs recruited only the right amygdala and piriform
processed each type of odorous stimulus, the remaining statistical               cortex (Table 1 and Fig. 1). The ‘‘AND-related’’ hypothalamic activation
evaluations were carried out at T = 0.01 (corrected P < 0.05).                   was close to and partly overlapping with the ‘‘EST-related’’ activation in
   The location of hypothalamus activations was, like in our earlier             HeM, which was posterior to the corresponding AND-related cluster in
studies, determined from the Schaltenbrant’s atlas (Schaltenbrand and            HeW. Notably, the respective hypothalamus clusters were detected also
Bailey 1959), after translation of the Talairach’s coordinates (Talairach        when altering the type of contrast (thus, for AND--EST in MFTRs and
and Tournoux 1988). The Schaltenbrand’s atlas provides better                    HeW and for EST--AND in HeM [Table 1 and Fig. 1]). The coverage of the
information about the individual hypothalamic nuclei. For a more                 hypothalamic clusters with respect to the location of speciﬁc hypo-
detailed description of the image analyses, please see Savic et al. (2001).      thalamic nuclei is given in the supplementary material online (Fig. S2).
                                                                                    At variance to the 2 steroid compounds, and in accordance with our
Comparisons of Psychophysical Parameters and Hormone                             previous studies, smelling of OO yielded similar clusters in all 3 groups
Levels                                                                           of subjects. These clusters covered the amygdala, piriform and insular
The mean respiratory amplitude and frequency and a respiratory index             cortex, as well as minor portions of the anterior cingulate, and the
(deﬁned as scan frequency 3 amplitude) were ﬁrst calculated during               dorsolateral orbitofrontal cortex (Table 1)—regions repeatedly shown
each prescan and scan period. Both the baseline and scanning                     to be involved in odor processing (Zatorre et al. 1992; Sobel et al. 1998;
amplitude and frequency were stable within the same subject                      Royet et al. 1999; Savic et al. 2000, 2001, 2005; Zald and Pardo 2000;
throughout the study but tended to vary from subject to subject.                 Gottfried et al. 2002; Berglund et al. 2006; Hillert et al. 2006).
Therefore, it was less suitable to carry out the group comparisons on            Coregistration and repositioning of PET clusters in each individual
the basis of absolute values during various conditions (however, we              reformatted MRI revealed similar locations in all subjects, without any
ascertained that no systematic shifts in overall, i.e., pre + during scan        systematic shifts between the groups.
amplitude and frequency were present for any speciﬁc condition in any
of the groups). Instead, we analyzed the relative change in respiratory          Within-Group Deactivations
amplitude and frequency during each presentation by calculating the              Deactivations were deﬁned as decreases in normalized rCBF when
mean percentage difference (index) between the scan- and immediate               smelling odorants compared with air (AIR--AND, AIR--EST, and AIR--
prescan values. MFTRs, HeM, and HeW were then compared for AIR,                  OO). All 3 groups of subjects showed odorant-related deactivations in
AND, EST, and OO, using a 2-way analysis of variance (ANOVA),                    the temporo-occipital regions; the controls also showed frontal lobe
factoring for subject group and stimulus type, as described previously           deactivations (Table S1), which in MFTRs were subsigniﬁcant (cor-
(Zatorre et al. 1992; Sobel et al. 1998; Royet et al. 1999; Savic et al. 2000,   rected P < 0.1).


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Table 1
Activations

Region                                                           Transsexual men                             HeM                                          HeW
                                                                 Z level    Size cm3      Coordinates        Z level    Size cm3      Coordinates         Z level    Size cm3     Coordinates
ESTAIR
Hypothalamus                                                                                                   5.1         6.4        6, 12, 2
R amygdala þ piriform cortex                                       3.5         2.0        24, 8, 24                                                        5.1        4.8        34, 2, 12
L amygdala þ piriform þ insular þ cingulate cortex                                                             4.6         3.6        20, 6, 20          4.5        6.4        24, 0, 22
R middle temporal and lingular gyri                                                                            4.0         2.0        36, 66, 8
ANDAIR
Hypothalamus                                                       3.7         3.6        8 6, 2                                                          5.7        3.2        6, 0, 12
R amygdala þ piriform cortex                                                                                   4.4         4.0        18, 10, 12
                                                                                                                                      26, 6, 6
Anterior cingulate þ amygdala þ piriform cortex                    4.3         5.4        2, 42, 6
OOAIR
R amygdala þ piriform þ insular þ anterior cingulate cortexa       3.4         6.4        20, 6, 6            4.9         5.3        24, 0, --8            4.9         6.8       24, 8, 0
L amygdala þ piriform þ insular cortex                             3.8         5.6        20, 4, 12         4.5         7.2        30, 2, 6             4.5         7.2       38, 2, 6
ANDEST
Hypothalamus                                                       4.0         1.9        10, 10, --4                                                     4.3         2.4       4, 0, 6
                                                                                                                                                                                  10, 0, 6
R middle frontal gyrus                                                                                         4.3         1.6        20, 40, 6
L fusiform gyrus                                                                                                                                            4.0         3.2       22, 40, 14
R lingular gyrus                                                                                                                                            4.6        11.0       28, 68, 0
EST--AND
Hypothalamus                                                                                                   4.5         2.0        6, 2, 2
L orbitofrontal þ piriform cortex þ R inferior frontal gyrus                                                                                                5.0         5.4       24, 26, 14
                                                                                                                                                            4.3         1.3       38, 30, 10
R middle frontal gyrus                                                                                                                                      4.9         1.0       14, 40, 16
Lingular gyrus                                                                                                 5.1         2.9        16, 76, 2
                                                                                                                           4.0        14, 76, 2
R middle temporal þ fusiform gyrus                                 3.9         2.1        46, 32, 12
Cuneus                                                                                                         3.7         4.5        22, 92, 4

Note: Clusters calculated with 1-group random effect analysis, SPM99, at height threshold P 5 0.01, and a corrected P \ 0.05. Talairach’s coordinates show local maxima, and regions denote the
coverage of the respective cluster. R 5 right; L 5 left. No specific side is indicated when the clusters presented in the same row were either on the left or right side. Because the ANDAIR and
ESTAIR clusters covering the hypothalamus were large and to investigate whether center of gravity really was located in the hypothalamus, these specific clusters were evaluated also using height
threshold at P 5 0.001 (corrected P \ 0.05). The Talairach’s coordinates remained identical, but the clusters were considerably smaller (0.9 cm3 for ANDAIR in HeW and 0.7 cm3 in MFTRs; 0.9 cm3
for ESTAIR in HeM).
a
 Covered portion of the right orbitofrontal cortex.




                                                                                                     Group Comparisons
                                                                                                     The pattern of activation in MFTRs differed signiﬁcantly only from HeM.
                                                                                                     Difference between HeM and MFTRs in the hypothalamic activation
                                                                                                     was also found when applying AND--EST and EST--AND contrasts, Table
                                                                                                     2 and Figure 2. In contrast, no signiﬁcant differences were observed
                                                                                                     between MFTRs and HeW (Table 2). Furthermore, as in our previous
                                                                                                     studies, no group differences were found with OO--AIR.
                                                                                                        When using AIR as reference, the HeW and HeM differed, as shown
                                                                                                     previously, only in the hypothalamic activations. The local maximum
                                                                                                     for HeW--HeM with respect to AND--AIR corresponded to Talairach’s
                                                                                                     coordinates 0, 0, –13, Z level = 3.2, cluster size 0.8 cm3. HeM showed,
                                                                                                     instead, a signiﬁcantly higher hypothalamus activation with respect to
                                                                                                     EST--AIR (the local maximum corresponded to Talairach’s coordinates
                                                                                                     6, –8, 2, Z level = 4.0, cluster size 1.4 cm3, Fig. 2). Direct AND--EST and
                                                                                                     EST--AND comparisons revealed similar group differences (coordinates
                                                                                                     –8, 0, –6; Z level = 4.4, size 3.2 cm3 for AND--EST in HeW--HeM and vv).
                                                                                                     In addition, as reported previously, clusters appeared also in the left
                                                                                                     lingular and fusiform gyri and the middle occipital gyrus (Talairach’s
                                                                                                     coordinates 46, –70, –6, Z-level = 4.5, size 7.5 cm3 for HeW--HeM in
                                                                                                     AND--EST and vv). These clusters corresponded to the deactivations by
                                                                                                     EST in HeW and by AND in HeM (threshold level at P = 0.01, and
                                                                                                     corrected P < 0.05 for all the calculations, Table S1).
                                                                                                        To investigate whether and how the transsexual subjects shared
                                                                                                     activations with the respective control group, we also carried out
                                                                                                     conjunctional analysis. At variance from the results of random effect
Figure 1. Illustration of group-specific activations with the putative pheromones and                analyses, MFTRs were found to share hypothalamic activation not only
odors. The Sokoloff’s color scale illustrates Z values reflecting the degree of                      with HeW when smelling AND but also with HeM when smelling EST.
activation. As the same brain section is chosen, the figures do not always illustrate                All the 3 groups of subjects also shared clusters in the olfactory
maximal activation for each condition. Clusters of activated regions are superimposed                networks, independently of the stimulus-compound (AND, EST, and
on the standard brain MRI, midsagittal plane. The cingulate cluster in HeW and the                   OO) (Table 3 and Fig. 3).
left amygdala þ piriform cluster in HeM for AND were not significant. Neither were                      The observation that MFTRs shared hypothalamus activations with
the midbrain clusters in the bottom row.                                                             both HeM and HeW motivated 2 separate post hoc analyses:


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Table 2
Group differences

Region                                HeM--transsexual men               Transsexual men--HeM
                                      Z level Size cm3 Coordinates Z level Size Coordinates
                                                                           cm3
ESTAIR
Hypothalamus                           3.9        4.0      4, 8, 2
EST--AND
Hypothalamus                           4.6        2.4      4, 7, 4
Left putamen and insular cortex                                              3.3     1.2    18, 8, 0

Note: Clusters calculated with 1-group random effect analysis, SPM99, height threshold P 5
0.01, corrected P \ 0.05. Talairach’s coordinates indicate local maxima. No differences were
found between MFTRs and HeW, and no group differences were observed for OOAIR.
Furthermore, at P \ 0.05 corrected, ANDAIR showed no significant difference between
transsexual men and HeM. When applying height threshold at P 5 0.01 and P \ 01 corrected,
additional clusters appeared for MFTRsHeM in the hypothalamus for ANDAIR (Z 5 3.4, size
0.8 cm3, coordinates 8, 10, 8) and ANDEST (Z 5 3.6, size 1.2 cm3; 4, 7, 4);
contrasting HeMMFTRs for ANDAIR, on the other hand, showed a cluster in right piriform and
insular cortex (Z 5 3.8, size 3.2 cm3; 32, 4, 0). With respect to HeW, a cluster appeared only
for HeWMFTRs in ANDEST (Z 5 3.6, size 0.4 cm3; 2, 0, 10).

                                                                                                         Figure 3. Common activations between the groups. Shown are conjuctional clusters
                                                                                                         in different groups of subjects, superimposed on the standard brain. All images show
                                                                                                         horizontal level at Z 5 5 according to Talairach’s atlas. The Sokoloff’s color scale
                                                                                                         illustrates Z values (0.0--3.5 for AND and EST and 0.0--5.0 for OO). The OO clusters
                                                                                                         were large and covered several lower sections. Because the same brain section is
                                                                                                         chosen, figures do not always illustrate maximal activation for each condition.
                                                                                                         Subject’s right side is to the right.


                                                                                                         activation study of heterosexual controls using identical compounds
                                                                                                         (Savic et al. 2001). The VOIs were constituted by the hypothalamus
                                                                                                         cluster generated by AND--AIR in HeW (here denoted as the AND VOI)
                                                                                                         and a separate hypothalamus cluster generated by EST--AIR in HeM
                                                                                                         (here denoted as the EST VOI). Both VOIs were derived from PET
                                                                                                         images reformatted to the same standard brain and could, therefore, be
Figure 2. Significant differences between the groups. Shown are the clusters
                                                                                                         directly transferred to the PET images from presently investigated
calculated with 2-group random effect analysis, superimposed on standard brain MRI.
                                                                                                         controls and transsexuals. In these images, the rCBF was in all subjects
The Sokoloff’s color scale illustrates Z values reflecting the degree of activation. The
cingulate cluster in HeW and the left amygdala þ piriform cluster in HeM for AND                         ﬁrst normalized to the global cerebral mean of 50 ml/min/100 g. The
were not significant.                                                                                    rCBF was extracted for each VOI, and the mean rCBF of the 3 scans per
                                                                                                         condition was calculated in each subject (Savic et al. 2001). The mean
                                                                                                         rCBF for AIR, EST, AND, and OO was then compared for each subject
                                                                                                         group in separate repeated-measures ANOVAs (1 for each VOI). The
Table 3                                                                                                  degree of freedom (df) was 3. If there was a signiﬁcant interaction at
Conjunctional analysis                                                                                   this level, appropriate contrasts were calculated. In addition, we tested
                                                                                                         possible differences between MFTRs, HeW, and HeM for AND--AIR,
Region              Transsexual men and HeM                    Transsexual men and HeW
                                                                                                         EST--AIR, and OO--AIR in each predetermined VOI by means of 2-way
                    Z level   Size cm3       Coordinates       Z level       Size cm3      Coordinates   repeated-measures ANOVA with subject group as the between factor
ANDAIR                                                                                                  and the type of odorant as the within factor. Because the variable of
Hypothalamus                                                     3.6           2.0         6, 6, 4    interest, the group by odor interaction, was signiﬁcant in the AND VOI
R amygdala þ         3.8        2.2          24, 6, 4           3.5           3.0         20, 2, 0      (F = 3.2; P = 0.02; df = 4) as well as in the EST VOI (F = 2.9; P = 0.03;
piriform cortex                                                                                          df = 4), the results were further explored with contrasts (df = 1) to
ESTAIR                                                                                                  determine which speciﬁc subject group and type of odorant deter-
Hypothalamus         5.1        2.0          6, 6, 0
R amygdala þ         4.5        1.3          18, 4, 8a          4.3           4.2         20, 2, 4    mined the observed interaction. P values were considered signiﬁcant
piriform cortex                                                                            14, 6, 10a   when <0.05.
OOAIR                                                                                                      In MFTRs, the VOI analysis of mean rCBF yielded a signiﬁcant
R amygdala þ         6.2        5.6          18, 2, 12a         6.6           9.6         18, 2, 10a   interaction between the 3 stimuli and air only in the EST VOI (F = 4.4;
piriform cortex                                                                                          P = 0.01; df = 3). The interaction was constituted by activation with
L amygdala þ         5.9        7.2          20, 2, 12        5.9           9.6         22, 0, 12
piriform cortex
                                                                                                         both AND (F = 5.5; P = 0.02; df = 1) and EST (F = 8.7; P = 0.005; df = 1).
                                                                                                         No signiﬁcant interaction was found in the AND VOI (F = 0.9; P = 0.7;
Note: Clusters calculated with conjunctional analysis (see Materials and Methods), SPM99, at             df = 3). In accordance with previous studies, HeM activated the EST
height threshold P 5 0.01, and a corrected P \ 0.05. Talairach’s coordinates indicate local              VOI with EST (F = 10.2; P = 0.002; df = 1) but not AND (F = 0.5; P = 0.5;
maxima.                                                                                                  df = 1). This activation was signiﬁcantly more pronounced than in HeW
a
 Clusters which partly covered the caudate nucleus.                                                      (F = 9.0; P = 0.004; df = 1) and MFTRs (F = 4.5; P = 0.04; df = 1). The
                                                                                                         HeW, however, increased the rCBF in the AND VOI but only when
                                                                                                         smelling AND (F = 12.3; P = 0.001; df = 1) and not EST (F = 0.28; P = 0.6;
   1. Volume of interest (VOI) analysis of the hypothalamus. The                                         df = 1). The increase was signiﬁcant in relation to HeM (F = 13.9;
purpose was to evaluate whether the MFTRs activated this region in                                       P = 0.0004; df = 1) and in relation to MFTRs (F = 7.0; P = 0.01; df = 1). In
line with HeM or HeW. Because the anatomical boundaries of the                                           contrast to AND and EST, OO showed no signiﬁcant activation in any of
anterior hypothalamus are difﬁcult to determine with MRI, so-called                                      the groups (F = 0.16, df = 1; P = 0.84 and F = 0.12, df = 1; P = 0.85 for the
functional VOIs were employed. They were generated in a previous                                         AND and EST VOI, respectively).


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   2. The second post hoc analysis was conducted to further evaluate
the more intermediate pattern in MFTRs suggested by the conjunc-
tional and VOI analyses. Explorative group comparisons were,
therefore, carried out also with P < 0.1 corrected, in order to evaluate
the location of possible subsigniﬁcant clusters. Like in the ﬁrst analysis
(P < 0.05 corrected), MFTRs differed from HeM, but now a cluster
appeared also for AND--AIR (MFTRs--HeM; Z = 3.4, size 0.8 cm3,
coordinate –8, –10, –8) and AND--EST (Z = 3.6, size 1.2 cm3; 4, –7, –4).
Thus, the difference was constituted by the AND-related hypothalamus
activation in MFTRs (not observed in HeM), as well as by their
signiﬁcantly less pronounced EST-induced elevation of rCBF. Notably,
the HeM–MFTRs contrast for EST–AIR only partly overlapped with the
EST VOI described in the previous paragraph, suggesting that the
predeﬁned VOI did not depict the maximal group difference. The
comparison with HeW, on the other hand, showed a subsigniﬁcant
cluster only for AND–EST (HeW–MFTRs; Z = 3.6, size 0.4 cm3; –2, 0, –10)
but not for AND–AIR or EST–AIR (please also see Table 2). Together, all
these analyses suggested a less pronounced dichotomy in MFTRs but
with primarily female-like pattern of activation.
   There were no signiﬁcant group by odor interactions for any of the
rated parameters (Fig. 4), neither did we ﬁnd any group by stimulus
interaction in respiratory variables (Fig. S1). No group differences were
observed in odor thresholds or plasma concentrations of the tested
hormones (Tables S2 and S3).


Discussion
Based on investigations showing that men and women process
signals from putative pheromones in a sex-differentiated
manner, we carried out experiments in 12 MFTRs and found
a sex-atypical mode of activation. The generated data will
be discussed in the perspective of sex differences in the
measured activation pattern and their possible relationship to
transsexualism.
   Explorative analysis using the entire brain as search space
showed that MFTRs activated the anterior hypothalamus with
AND. In contrast, when they smelled the estrogen-like
compound, EST, activation was observed in the amygdala and
piriform cortex, as it did during exposition to common odors
(OO). The picture was more complicated when restricting the
analysis to the 2 predeﬁned hypothalamus VOIs. MFTRs were
found to increase their rCBF with both AND and EST and
showed conjunctional clusters in the hypothalamus with both
male and female controls. However, the increase with EST was
less pronounced, and direct group comparisons in the
explorative SPM analysis (P < 0.05 corrected) showed that
MFTRs differed signiﬁcantly only from the male controls and
                                                                             Figure 4. Odor ratings for AND and EST. The vertical axis indicates a visual analogue
resembled the female controls, independently of whether the
                                                                             scale in millimeters (mean ± SEM). (Top) HeW. (Middle) HeM. (Bottom) MFTRs.
contrast used was EST–AIR or EST–AND. Thus, taken together,                  None of the ratings differed between the 3 groups of subjects
MFTRs occupied an in-between position between HeM and
HeW but with overall predominantly female features. Notably,
as opposed to putative pheromones, ordinary odorants                         (Fig. 4). This maneuver was regarded adequate, considering
activated only the common olfactory regions in all 3 groups,                 that the choice of signiﬁcance level in SPM statistics is rather
suggesting that the differentiated activations by AND and EST                arbitrary (Friston et al. 1996), that we wanted to evaluate the
were of physiological relevance.                                             pattern of activation exploratively, without lowering the
                                                                             corrected P level, and provide data comparable with those
Methodological Issues                                                        presented earlier (Savic et al. 2005; Berglund et al. 2006). The
The data were analyzed with the user-independent SPM                         major portion of control data was reported in these previous
statistics. This method is known to be conservative and carries              publications. Because the inclusion of transsexual subjects with
a certain risk that physiologically relevant changes in rCBF can             the restrictive criteria applied needed a long time period (from
remain undetected (Friston et al. 1996). Activations were, in                2001 to 2006), 2 female controls had to be replaced by more
the present study, regarded signiﬁcant at height threshold                   recently investigated subjects to match the study period for
P = 0.01 because no clusters were detected in MFTRs when                     patients and controls. Thus, the acquisition time overlapped
contrasting EST to AIR at P = 0.001, despite normal odor                     between the groups. The time period for data acquisition
detection thresholds and a normal perception of this odorant                 did, however, not pose methodological problems as the


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experimental conditions (including the experimenters, the                        and the group inhomogeneity is unlikely to explain the present
scanner, time of the day, room temperature, and humidity)                        results (see further). Several centers currently recognize
were identical during all experiments. Furthermore, the                          essentially 2 types of MFTRs who can be distinguished on the
compounds were repurchased and tested for purity on several                      basis of their sexual orientation (Chivers and Bailey 2000;
occasions.                                                                       Smith et al. 2005). The ﬁrst type is homosexual transsexuals,
   According to the method applied, the material was sufﬁcient                   extremely gender-transposed (feminine) men, whose sexual
to generate inference at group level (Friston et al. 1999).                      object choice is toward men instead of women. The second
Furthermore, use of random effect analysis implies that each                     type is men, whose sexual object choice is interpreted to be
individual is representative for his/her designated group and                    toward the image of themselves as women. For this group, the
that the results from within- and between-group analyses are                     primary motivation for changing sex is to become the object of
deductible for the respective type of population (Friston et al.                 their own desire (Chivers and Bailey 2000; Smith et al. 2005). In
1999). It should, however, be emphasized that the method is                      this respect, all our patients can be regarded as nonhomosexual
not informative about the separate individuals belonging to                      (gynaecophyl) transsexuals (Chivers and Bailey 2000), although
a group. A further issue deserving comment is that the precise                   we used a more operative approach in our classiﬁcation, taking
cluster locations within the hypothalamus should be taken                        into consideration also the sexual partners, sexual fantasies, and
with precaution because of the 10-mm ﬁltering and the                            expressed attractions (Kinsey 1953).
scanner resolution. Finding of a local maximum with atlas
coordinates indicates that an area of 10 mm around this                          Possible Underlying Mechanisms
coordinate was maximally involved.                                               AND and EST are 2 synthetical steroids whose reported effects
   The cluster locations in relation to the separate nuclei in the               (see Introduction) have triggered a discussion as to whether
supplementary material online (Fig. S2) are shown only for                       they can be regarded as putative pheromones. Although this
general orientation; this schematic presentation does not imply                  discussion is yet to be settled, the short (60 s) duration of the
that the activations were strictly conﬁned to the respective                     PET scans strongly suggests that the clusters detected were
nuclei but illustrates that AND activation in MFTRs was slightly                 a result of localized neuronal activations and not an effect of
rostro-posterior to that of HeW. This slight shift is unlikely to                binding to estrogen and androgen receptors in the brain (for
be an effect of image processing as each individual reformatted                  a more detailed argumentation, please see Savic et al. 2001,
PET image was speciﬁcally controlled for its position in                         2005; Berglund et al. 2006).
Talairach’s space and because coregistration and repositioning                      As suggested in our previous publications, the presently
of PET clusters in each individual reformatted MRI revealed                      found response to the 2 steroids could, theoretically, be
similar locations in all subjects, without any systematic shifts                 explained by sexual arousal, by acquired sensitization to the
between the groups.                                                              speciﬁc compound shaped by sexual experience, and by the
   The seemingly complex picture given by the combination of                     organization of neuronal circuits of the anterior hypothalamus.
random effect, VOI, and conjuctional analyses deserves                           Sexual arousal seems to engage several cerebral structures
a comment. Obviously, the signals from AND and EST elicited                      outside the hypothalamus (Karama et al. 2002; Canli and
a less differentiated response pattern in MFTRs than in controls.                Gabrieli 2004), which were not activated in the present study.
Because MFTRs elevated their CBF in the hypothalamus also                        Furthermore, none of our subjects reported sexual arousal. If
when smelling EST, the conjunctional analysis (which is more                     existing, a sensitization/shaping of the neuronal response in
sensitive when the responses are congruent) depicted a com-                      relation to sex-related exposure to AND and EST would favor
mon EST cluster with HeM, although the increase was not                          a ‘‘male-like’’ pattern of activation, as the majority of our
strong enough to pass the signiﬁcance limit in the random                        patients had female partners; absence of such exposure (as in
effect analyses. The results from the different analyses are,                    the 3 patients who were virgins) would, on the other hand,
therefore, not incompatible.                                                     result in an undifferentiated response. Group analyses showed
   The primary hypothesis with the present study was that the                    that our MFTRs differed only from the male controls and
pattern of activation in MFTRs would be sex atypical and that                    showed a predominantly ‘‘female’’ pattern of activation. By
hypothalamic clusters would be observed with AND but not                         logical inference, it seems, therefore, unlikely that sexual
EST. Notably, an AND-related hypothalamic activation was                         experience had a major impact on the present results. An
recently observed in homosexual men (Savic et al. 2005). Thus,                   alternative explanation, which seems more congruent with the
a sex-atypical pattern in transsexuals could in the presence of                  generated data and the current literature, is that transsexual
homosexual orientation be attributed both to homosexual                          persons could have variant organization in neuronal circuits of
sexual practice and to transsexualism. Therefore, only non-                      the anterior hypothalamus and, perhaps, also its primary con-
homosexual (gynaecophyl) transsexuals were included in the                       nections. Such a mechanism could in MFTRs have led to the
present study. Nonhomosexual transsexuals may be heterosex-                      here observed female-like responses while maintaining certain
ual, asexual, and bisexual (Blanchard 1989). Optimally, our trans-               male features. A similar mechanism has also been discussed in
sexual subjects should have been strictly heterosexual according                 relation to AND activation in homosexual men (Savic et al.
to the present operative deﬁnition (having only female sex                       2005). However, whereas the data from homosexuals could not
partners), like our male controls. With the conservative inclu-                  disentangle between innate and learned effects, the present
sion criteria applied (no history of estrogen treatment, right-                  constellation (with no male sexual contacts) makes the ﬁrst
handedness, normal odor thresholds, and hormonal levels), it                     alternative more probable.
was difﬁcult to fulﬁll this goal, and 3 MFTRs denied any sexual                     In homosexual men, like in heterosexual controls, either the
contacts although they expressed sexual attraction to women.                     hypothalamic or the olfactory pathway dominated during
They showed, however, almost identical hypothalamic in-                          smelling of the 2 steroids. This distinction was ambiguous in
creases of rCBF as the MFTRs who have had female partners,                       our MFTRs who, for example, activated the anterior cingulate


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with AND even more strongly than the anterior hypothalamus.                Baum MJ. 2003. Activational and organizational effects of estradiol on
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thalamic networks. The pattern of activation was found to be                   Behav. 50:579--588.
sex atypical also in homosexual men (Savic et al. 2005).                   Benjamin H. 1967. The transsexual phenomenon. Trans N Y Acad Sci.
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(Slijper et al. 1998).                                                     Bensaﬁ M, Tsutsui T, Khan R, Levenson RW, Sobel N. 2004. Snifﬁng
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Martti Lampinen and Julio Gabriel for technical assistance. We specially       Psychiatry Res. 137:161--174.
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Cerebral Cortex November 2011;21:2525--2533
doi:10.1093/cercor/bhr032
Advance Access publication April 5, 2011


Sex Dimorphism of the Brain in Male-to-Female Transsexuals
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Gender dysphoria is suggested to be a consequence of sex atypical               of INAH3 in MTF-TR (Berglund et al. 2008). While being
cerebral differentiation. We tested this hypothesis in a magnetic               intriguing, these ﬁndings are limited by the inherent pitfalls of
resonance study of voxel-based morphometry and structural                       postmortem studies. Our group recently employed in vivo
volumetry in 48 heterosexual men (HeM) and women (HeW) and                      investigations and found that smelling of 2 putative phero-
24 gynephillic male to female transsexuals (MtF-TR). Specific                   mones, which in heterosexual subjects normally leads to a sex
interest was paid to gray matter (GM) and white matter (WM)                     differentiated activation of the hypothalamus, causes a sex
fraction, hemispheric asymmetry, and volumes of the hippocampus,                atypical activation in estrogen naı̈ve MtF-TR (Berglund et al.
thalamus, caudate, and putamen. Like HeM, MtF-TR displayed                      2008). This observation corroborated with previous anatomi-
larger GM volumes than HeW in the cerebellum and lingual gyrus                  cal ﬁndings in transsexuals but provided no information as to
and smaller GM and WM volumes in the precentral gyrus. Both                     whether and how the hypothalamic networks, which in ani-
male groups had smaller hippocampal volumes than HeW. As in                     mal studies are shown to be involved in ‘‘sexual behavior,’’
HeM, but not HeW, the right cerebral hemisphere and thalamus                    would be also engaged in the perception of ‘‘sexual identity.’’
volume was in MtF-TR lager than the left. None of these measures                Understanding the biology of gender dysphoria requires
differed between HeM and MtF-TR. MtF-TR displayed also singular                 consideration of additional cerebral networks identiﬁed as
features and differed from both control groups by having reduced                sexually dimorphic than the hypothalamus. Considering that
thalamus and putamen volumes and elevated GM volumes in the                     the sense of discomfort with sex characteristics of the own
right insular and inferior frontal cortex and an area covering the              body is the main feature of gender dysphoria, it is important to
right angular gyrus.The present data do not support the notion                  also investigate the cerebral networks reported to be involved
that brains of MtF-TR are feminized. The observed changes in MtF-TR             in own body perception and perception of self. Luders et al.
bring attention to the networks inferred in processing of body                  recently addressed some of these issues by an explorative
perception.                                                                     voxel-based morphological (VBM) analysis of the gray matter
                                                                                (GM) fractions. They found that GM volume in the putamen
Keywords: brain, gender dysphoria, MRI, sex dimoprhism, VBM, volumetry          was more pronounced in MtF-TR than in male and female
                                                                                controls, particularly on the right side (Luders, Sanchez, et al.
                                                                                2009). While the GM in the putamen did not differ signiﬁcantly
                                                                                between male and female controls, these data, nevertheless,
                                                                                emphasized the possibility that gender dysphoria could be
                                                                                associated with an altered anatomy also in brain regions located
Introduction                                                                    outside the hypothalamus.
Transsexuality is deﬁned as a gender-identity disorder, charac-                    Previous studies with magnetic resonance (MR) have shown
terized by the ﬁrm conviction of belonging to the opposite                      sex dimorphic features in several brain regions. In general,
sex, which often leads to a request for sex-reassignment                        women are reported to have larger volumes of the hippo-
surgery (Blanchard 1993; Cohen-Kettenis and Gooren 1999).                       campus (Filipek et al. 1994), caudate nucleus (Filipek et al.
Most of the current hypotheses for this condition presume a                     1994; Murphy et al. 1996; Giedd et al. 1997, 2006), and the
sex atypical differentiation of the brain, due to genetic, and/or               anterior cingulate gyrus (Paus et al. 1996). In contrast, the
an early organizational effect of testosterone during the fetal                 relative volumes of the amygdala (Raz et al. 1995; Giedd et al.
development (Giedd et al. 1997; Green and Keverne 2000;                         1997, 2006; Neufang et al. 2009) are found to be larger in men.
van Goozen et al. 2002; Bentz et al. 2007; Swaab 2007). These                   Studies with VBM indicate that sex dimorphism exists also in
hypotheses also presume that the perception of the own sex                      regional GM and white matter (WM) volumes. With some
is linked to sexual differentiation of the brain and that in                    exceptions (Goldstein et al. 2001; Carne et al. 2006), men are
transsexuals this perception differs from the body phenotype.                   reported to have larger GM volumes in the mesial temporal
Such a discrepancy is believed to be possible because sex                       lobe, the cerebellum, and lingual gyrus (Good et al. 2001; Carne
differentiation of the brain occurs later in development than                   et al. 2006), whereas several authors detected larger GM
sex differentiation of genitals (Swaab 2007). This scenario is                  volumes in the precentral gyrus, the right inferior parietal,
supported by several postmortem studies showing that male                       and orbitofrontal cortex in women (Nopoulos et al. 2000;
to female (MtF-TR) transsexuals, like females, have a smaller                   Good et al. 2001; Luders et al. 2005; Luders, Gaser, et al. 2009).
volume, and number of neurons in the bed nucleus of the                         There are also reports of larger GM volumes in women in the
stria terminalis (BSTc) compared with male controls—differ-                     dorsolateral prefrontal cortex (Schlaepfer et al. 1995). Finally,
ences, which seem not to be inﬂuenced by sex hormone levels                     sex differences have been found in hemispheric asymmetry.
in adulthood (Zhou et al. 1995; Kruijver et al. 2000). Recently,                In general, the asymmetry in adults is rightward in the frontal
Garcia-Falgueras and Swaab (2008) also found ‘‘feminized’’ size                 and temporal lobe and leftward in the posterior temporal and

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occipito-parietal regions (Toga and Thompson 2003). Among                range 32--46 years), and 24 MtF-TR (age 32 ± 7 years, range 21--51
studies explicitly comparing the entire hemispheres most,                years), were investigated with MRI. Only right-handed (Oldﬁeld 1971),
although not all, suggest that the right hemisphere is larger in         unmedicated, and healthy subjects were included. Exclusion criteria
                                                                         were history of severe systemic disease, any psychiatric (other than
men (Filipek et al. 1994; Yucel et al. 2001; Kovalev et al. 2003;        gender dysphoria), or neurological disorder, drug abuse including
Carne et al. 2006; Savic and Lindstrom 2008).                            anabolic steroids or psychiatric medication, and use of hormonal
   Whereas VBM provides explorative analyses of regional gray            contraceptives in women and hormone supplement in MtF-TR. All
and WM volumes in the cortex, volumes of the subcortical                 subjects provided written informed consent and received reimburse-
nuclei are more reliably evaluated with MR volumetry. The 2              ment after participation. The study was approved by the Regional
methods are, thus, complementary. In the present study, they             Ethical Review Board at the Karolinska Institute, and written informed
                                                                         consent was obtained from each subject.
were employed in tandem to investigate whether cerebral
                                                                           Transsexual subjects were recruited from the Karolinska University
gray and WM fractions, as well as the volume of structures               Hospital. Diagnostic assessment of gender identity disorder followed
previously suggested to be sex dimorphic may differ between              the International Classiﬁcation of Disorders 10th edition A plus criteria
MtF-TR, male, and female controls. Three issues were addressed           for transsexualism (F64.0), American Psychiatric Association Task Force
speciﬁcally:                                                             on DSM-IV 1994, and was made after several semistructured interviews
                                                                         with two mental health professionals (psychologist and psychiatrist)
 Does the volume of the hippocampus, caudate, and putamen               according to the clinical routine at the Karolinska University Hospital.
  differ between MtF-TR and controls and is this difference              The diagnostic criteria were as follows:
  found in relation to male or female controls?                          1) A desire to live and be accepted as a member of the opposite sex,
 Does the overall or regional GM and WM volume in MtF-TR                   usually accompanied by a sense of discomfort with the subject’s
  differ from controls and is this difference in line with the              anatomical sex and a wish to have surgery and hormonal treatment
  hypothesis of sex atypical cerebral differentiation in gender             to make the body as congruent as possible with the body of the
  dysphoria?                                                                preferred sex.
 Are the volumes of the right and left cerebral hemisphere in           2) The transsexual identity has existed for at least 2 years.
                                                                         3) The syndrome cannot be explained by any other psychiatric
  MtF-TR asymmetric, as they are in heterosexual males but                  disorder or by chromosomal abnormality. Thus, any evidence of an
  not females?                                                              abnormal male phenotype or genotype (i.e., hypospadias, cryptor-
                                                                            chism, micropenis, and chromosome complement other than 46XY)
    Only nonhomosexual, transsexual subjects were included.                 excluded enrollment to the study.
The rationale was the following; Although there is still an
ongoing discussion about the classiﬁcation of transsexual                   MtF transsexuals were evaluated to be free of psychosis according
individuals (Blanchard et al. 1987, 1989; Lawrence 2005; Smith           to the Diagnostic and Statistical Manual of the American Psychiatric
                                                                         Association, 4th Edition (DSM--IV; 13) by a specially trained psychiatrist
et al. 2005), the general view is that there are 2 fundamentally
                                                                         and included a Structured Questionnaire for DSM-IV Axis I and II
different types of transsexualism: homosexual and nonhomo-               Structured Clinical Interview for DSM-IV (SCID-I and II) (American
sexual (Blanchard et al. 1987). Homosexual MtF-TR are                    Psychiatric Publishing Inc, Arlington, 1997). Chromosome analysis
erotically attracted to the same biological sex and denoted as           (karyotyping), clinical examination, and testosterone assessment
‘‘androphilic’’ MtF-TR in the literature. They differ from those         conﬁrmed that the MtF-TR were genetically and phenotypically males.
attracted to the opposite biological sex (‘‘gynephillic’’ MtF-TR)           Sexual orientation was assessed using the Kinsey Heterosexual/
                                                                         Homosexual scale (0 = exclusively heterosexual, 6 = exclusively
and those who are not sexually attracted to other persons;
                                                                         homosexual) for the type of sexual contacts, sexual fantasies, and
The 2 latter groups are referred to as autogynephillic by the so         attraction (Kinsey et al. 2003). In addition to scoring themselves on the
called Blanchard’s classiﬁcation (Blanchard 1989; Smith et al.           Kinsey scale (which is based on self-identiﬁcation), the subjects also
2005). Blanchard reported that homosexual transsexuals as                participated in interviews regarding 3D of sexual orientation (fantasy,
usually younger at initial presentation and with more pro-               romantic attraction, and sexual behavior) over consecutive 5-year
nounced and frequent childhood femininity (Blanchard 1989).              historical time periods, from age 16 to the present (Chung 1996). All
Homosexual transsexuals have also been found to be shorter,              decisions about subjects’ sexual orientation were made in ignorance of
                                                                         the subjects’ MR data as described previously (Berglund et al. 2006,
lighter, and lighter in proportion to their height, also in relation     2008; Savic and Lindstrom 2008).
to men in the general population, whereas nonhomosexual                     Seventeen of the recruited MtF-TRs conveyed at the time of the scan
transsexuals have been found to be similar in height as controls         experienced of only female sexual partners (and rated Kinsey 0--2),
(Blanchard et al. 1995).                                                 the remaining 7 reported that they never had a sexual partner but
    In a previous study, we found that homosexual healthy men            stated clear attraction to women and not men. The MtF-TR were,
differ in certain aspects of cerebral anatomy and function from          thus, nonhomosexual, attracted to women, and will throughout
                                                                         the manuscript be referred to as gynephillic (Smith et al. 2005)
heterosexual male controls (Savic et al. 2005; Berglund et al.
                                                                         (autogynephillic according to Blanchard’s classiﬁcation). All reported a
2006; Savic and Lindstrom 2008). Considering that homo-                  relatively early (usually at puberty) awareness of gender dysphoria.
sexuality and transsexuality are two different phenomena with               None of the subjects had a history of neurological or psychiatric
presumably different underlying neurobiology, and positing               disorders (other than gender dysphoria) or brain injury. Before
that MtF-TR would have feminized brain, we deemed it relevant            inclusion, a detailed history was obtained from each subject, including
to ﬁrst investigate only nonhomosexual MtF-TR and avoid                  possible use of unregulated hormone supplements and synthetic
                                                                         steroids not prescribed by a physician. All the subjects declared that
possible confounds related to homosexuality.
                                                                         they had never received hormonal treatment nor were they on any
                                                                         medication at the time of the study. Their statement was deemed
                                                                         reliable and conﬁrmed by repeated tests of hormonal levels, which
Materials and Methods                                                    were signiﬁcantly lower than those of HeW and not signiﬁcantly altered
                                                                         compared with the values of HeM (Table 1).
Subjects                                                                    The 3 groups were matched for educational level (number of
Twenty-four heterosexual male controls (HeM, age 33 ± 6 years, range     school years) (14 ± 2 years HeM, 15 ± 3 years HeW, and 15 ± 2 years
26--48 years), 24 heterosexual female controls (HeW, age 35 ± 6 years,   MtF-TR).


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                                          Savic and Arver

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Table 1
Hormone levels

Group                    S-testosterone,                   S-testosterone                   S-prolactin                    S-FSH (U/L)                   S-LH (U/L)                     S-oestradiol
                         active (nmol/L)                   total (nmol/L)                   (mg/L)                                                                                      (pmol/L)
MtF-TR                   9.3 ± 1.0                         15.2 ± 5.7                       7.8 ± 2.5                       4.3 ± 3.1                     3.9 ± 2.1                      69 ± 50
HeM                      7.8 ± 2.4                         11.8 ± 3.2                       8.4 ± 5.7                       4.4 ± 1.9                     5.1 ± 2.3                      49 ± 37
HeW                      1.0 ± 3.2                          2.9 ± 3.8                       9.6 ± 3.6                      13.6 ± 26.1                   10.4 ± 11.8                    141 ± 3

Note: FSH, follicle stimulating hormone; LH, luteinizing hormone. Plasma oestradiol level in the transsexual patients ranged between 12 and 120 pmol/L, in HeW between 31 and 382 pmol/L, and in HeM
between 4 and 93 pmol/L. Plasma oestradiol was significantly higher and testosterone significantly lower in HeW in relation to both HeM and MtF-TR and HeM (one-way ANOVA with Scheffe’s post hoc
test. F 5 16--51; P \ 0.0001 for all the comparisons). Values are expressed as means and standard deviations. Hormone values were measured with appropriate Coat-A-Count RIA (Diagnostics Product
Corporation), according to manufacturer’s instructions.


MR Acquisition                                                                                       Table 2
Structural images were acquired on a GE 1.5-T Sigma 5.X scanner                                      Structural volumes
(General Electric), including 3D-weighted T1 Spoiled GRASS sequence
                                                                                                     Region                       Female controls,         Male controls,         MTF transsexuals,
(SPGR) images with 1-mm sections as described previously (Ciumas                                                                  N 5 24                   N 5 24                 N 5 23
and Savic 2006). Brieﬂy, the MRI protocol consisted of axial T2-
weighted fast spin echo images (effective time echo [TE] = 56 ms, time                               R Caudate                     4.2 ± 0.4                4.8 ± 0.4              4.9 ± 0.6
                                                                                                     L Caudate                     4.3 ± 0.4                4.9 ± 0.6              4.8 ± 0.6
repetition [TR] = 2500 ms, ﬁeld of view [FOV] = 24 cm, 23 slices of
                                                                                                     R Putamen                     4.4 ± 0.4                5.0 ± 0.7              4.5 ± 0.6a
3-mm thickness), and axial T1-weighted 3D spoiled GRASS images                                       L Putamen                     4.3 ± 0.4                4.9 ± 0.8              4.5 ± 0.6b
(SPGR, TE = 7 ms, TR = 23 ms, FOV = 24 cm, ﬂip angle = 50°, 124--156                                 R Hippocampus                 3.1 ± 0.5                3.4 ± 0.4              3.2 ± 0.6c
slice partitions of 1-mm thickness, 2 NEX).                                                          L Hippocampus                 3.2 ± 0.4                3.2 ± 0.3              3.0 ± 0.6d
                                                                                                     R Thalamus                    6.6 ± 0.7                7.6 ± 0.9              6.9 ± 0.8e
                                                                                                     L Thalamus                    6.4 ± 0.6                7.1 ± 0.8              6.5 ± 0.7f
Voxel-Based Morphometry                                                                              Total tissue volume          1201 ± 89g               1384 ± 101             1335 ± 122
                                                                                                     Total brain volume           1425 ± 146g              1657 ± 123             1654 ± 165
Voxel-based morphometry (Ashburner 2007) was performed using the                                     Total GM volume               675 ± 44g                785 ± 61               780 ± 44
Gaser toolbox (http://dbm.neuro.uni-jena.de/vbm/) with SPM 5 (The                                    Total WM volume               442 ± 45g                520 ± 46               506 ± 72
Wellcome Department of Imaging Neuroscience, University College                                      Right hemisphere              557 ± 36g                621 ± 33               598 ± 33
London; www.ﬁl.ion.ucl.ac.uk/spm/) and Matlab 7.3 (Math Works). The                                  Left hemisphere               558 ± 35g                613 ± 38               592 ± 33
VBM preprocessing included 5 steps:
                                                                                                     Note: Structural volumes in the respective subject group. Numbers express cm3 (mean and
1) Check for scanner artifacts and gross anatomical abnormalities for                                standard deviation). Significance levels for the caudate, putamen, hippocampus, and thalamus
   each subject.                                                                                     are calculated on the basis of VOI/total brain tissue ratios. a--h indicate group difference.
                                                                                                     a
2) Set of image origin at the anterior commissure AC.                                                  Lower in MtF-TR in relation to HeM P 5 0.03 and HeW P 5 0.006.
                                                                                                     b
3) Use of Hidden Markov Random Field option in the segmentation of                                     Lower in MtF-TR in relation to HeM P 5 0.003 and HeW P 5 0.02.
                                                                                                     c
                                                                                                       Lower in MtF-TR in relation to HeW, P 5 0.002.
   the VBM5 toolbox to minimize the noise level of the segmentation.                                 d
                                                                                                       Higher in HeW in relation to MtF-TR P \ 0.0001 and HeM P 5 0.0006.
4) Use of DARTEL toolbox for a high-dimensional normalization                                        e
                                                                                                       Lower in MtF-TR in relation to HeM P 5 0.016 and to HeW P 5 0.04.
   protocol. We followed John Ashburner’s chapter in its standard                                    f
                                                                                                      Lower in MtF-TR in relation to HeM P 5 0.03 and to HeW P 5 0.013.
   version including the Montreal Neurological Institute (MNI) space                                 g
                                                                                                       Lower in HeW in relation to both HeM and MtF-TR, P \ 0.0001.
   transformation (Ashburner 2007). To restore original volume
   information within each voxel, voxel values in the segmented
   images were modulated (multiplied) by the Jacobian determinants                                   The Hippocampus
   derived from the spatial normalization step. The analysis of                                      In summary, the hippocampus was traced according to the protocol of
   modulated data allowed direct comparisons of regional differences                                 Watson et al. (1992). The posterior boundary of the hippocampus was
   in the amount of each tissue type.                                                                deﬁned as the ﬁrst image in which the crus of the fornix became visible.
5) Check for homogeneity across sample and use the standard version                                  The superior boundary consisted of the alveus; the lateral boundary was
   of the smoothing (8 mm). After preprocessing, smoothed modulated                                  the inferior corn of the lateral ventricle; the ambient cistern was the
   normalized data were obtained and used for the statistical analysis.                              medial boundary, whereas the WM of the parahippocampal gyrus
   These smoothed modulated GM volumes are hereafter referred to as                                  represented the inferior boundary. The hippocampus VOI included the
   GM, WM, and cerebrospinal ﬂuid (CSF).                                                             tail of the hippocampus.

                                                                                                     The Caudate Nucleus
Delineation of Volumes of Interest                                                                   The caudate nuclei were traced separately according to Raz et al.
Homologous volumes of interest (VOIs) were delineated manually in                                    (2005). The lateral ventricle was used as the medial boundary;
the hippocampus, caudate, and putamen—regions, which in previous                                     the subcallosal fasciculus served as the anterior boundary, the stria
studies have been suggested to be sexually dimorphic. Furthermore,                                   terminalis was the posterior boundary (identiﬁed by a change in signal
the thalamus volume was delineated post hoc to the VBM analysis                                      intensity relative to the caudate nucleus), and the anterior limb of the
because it showed a signiﬁcant group difference in this region (see                                  internal capsule served as the lateral boundary. The region of interest
Results). The set of VOIs also included the right and left cerebral                                  included the head, the body of the caudate, and the tail (excluding the
hemisphere to allow evaluation of possible hemispheric asymmetries.                                  portion that turned anterior). The nucleus accumbens was excluded as
  All the volumes were delineated on original, unreformatted T1 images                               well.
using MRIcro software (www.sph.sc.edu/comd/rorden/mricro.html)
by 2 investigators, who were uninformed about the identity of the                                    The Putamen
subjects, their sex, and their sexual identity. Values presented in                                  The delineation of the putamen started in the ﬁrst slice where it
Results and Table 2 were generated by investigator 1, who analyzed all                               became visible laterally to the caudate. The superior boundary was
the data (investigator 2 analyzed structural volumes from 15                                         deﬁned by the corona radiata, the internal capsule was the medial
randomized subjects in each study group). VOIs were outlined                                         border, and the lateral border was the external capsule. The posterior
according to previously described protocols (Ciumas and Savic 2006;                                  limit was the point at which the putamen was no longer visible in
Helms et al. 2006; Savic and Lindstrom 2008).                                                        the corona radiata. The lower limit was just above the amygdala,


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excluding nucleus accumbens, when the operator could see the most               Asymmetry in hemispheric volumes and in the homologous volumes
inferior aspect of the third ventricle, and the chiasmatic cistern was       of the hippocampus, caudate, putamen, and thalamus was ﬁrst tested in
no longer visible.                                                           each group with paired t tests (P < 0.01 because of the Bonferroni
                                                                             correction for the 5 investigated regions). Possible group differences in
                                                                             asymmetry indices (right/left hemisphere, right/left structural volume)
The Thalamus
                                                                             were then evaluated using one-way ANOVA (P < 0.01 with Bonferroni
The 2 thalami were disconnected between the 2 smallest cross-sections
                                                                             correction for the 5 comparisons), and Fisher’s post hoc test (P < 0.05).
through the massa intermedia in the sagittal plane. The thalamus
                                                                             The interrater variability was calculated using simple regression
volumes included the centromedian, ventral anterior, ventral lateral,
                                                                             (Pearson’s coefﬁcient)
ventral posterior, lateral posterior, lateral dorsal, and medial dorsal
nuclei, the pulvinar and the anterior nuclear group, the midline nuclei,
the intralaminar, centrolateral, and the reticular nucleus. The borders of
the thalamus were determined by anatomical landmarks as described
                                                                             Results
by Kretschmann and Weinrich (1995) and using the Duvernoy atlas.             The groups did not differ in age or education, and no signiﬁcant
The anterior border was deﬁned at the level of the anterior end of the       difference was detected between HeM and MtF-TR in sex
third ventricle and the interthalamic adhesion. The inferior margin was      hormone levels (Table 1). No gross anatomical abnormalities
deﬁned as the superior border of the midbrain structures, and the
                                                                             were found as judged by an experienced neuroradiologist. One
medial margin was the wall of the third ventricle and the interthalamic
adhesion. The lateral margin of the thalamus was deﬁned as the medial        subject (MtF-TR) was excluded because of movement artifacts
border of the posterior limb of the internal capsule, and the superior       during the scan. After the segmentation and normalization, no
margin as the body of the lateral ventricle. The posterior border was        outlier was found when checking for homogeneity, and no
demarcated as the section showing the fornices in their entire width in      further subjects had to be excluded from the analysis.
the coronal plane. The medial and lateral geniculate bodies were                Group difference was found in the total brain tissue volume
excluded.
                                                                             (degrees of freedom [df] = 2, F = 17.8, P < 0.0001, one way
   The cerebral hemispheres were delineated on every second coronal
slice of the individual MR images. The same coronal section was              ANOVA), which was smaller in HeW compared than in HeM
displayed in parallel windows to avoid overlapping demarcation.              and MtF-TR (P < 0.0001, Fischer’s post hoc test); no difference
Cerebral hemispheres were divided at the midline in the coronal plane        was found between HeM and MtF-TR (P = 0.726, Table 2). HeW
by a hand-drawn line connecting the measured midpoint of the corpus          had also smaller TIV compared with the 2 male groups (df = 2,
callosum with the midpoint of the hypothalamus, third ventricle, and         F = 3.7, P = 0.029, Table 2), whereas no group difference was
cerebral aqueduct (Savic and Lindstrom 2008). The respective VOI             found in the total GM or total WM volume, when using TIV as
included ventricles and ended in the caudal direction at the level of
the superior colliculum, as described previously. Thus, the subcortical
                                                                             covariate (df = 2, F = 1.5, P = 0.24, and df = 2, F = 1.5, P = 0.23,
regions, brainstem, and cerebellum were separated from the remaining         respectively, Table 2).
brain and not included.
   The hippocampus was delineated on coronal images, the other               Voxel-Based Morphometry
structures on horizontal sections. All the volumes were then viewed
                                                                             Differences between HeM and HeW were found in several
and corrected on coronal, horizontal as well as sagital images.
   Venous blood samples were collected in the morning to assess              regions (Table 3, Fig. 1). The GM volume in the lingual gyrus,
plasma levels of sex hormones (Chemical Laboratory Diagnostics at the        the cerebellum, right putamen, and left amygdala and perirhinal
Karolinska University Hospital).                                             cortex was larger in HeM. HeW, on the other hand, showed
                                                                             larger GM and WM volumes in the precentral gyrus.
                                                                                None of these differences were reproduced when com-
Statistical Analysis                                                         paring HeM with MtF-TR. Differences between MtF-TR and
Age and education difference, as well as difference in the total
                                                                             controls were found, instead, in several other regions (Table 3,
intracranial volume (TIV), calculated as (GM + WM + CSF), and the total
tissue volume (GM + WM) was tested with one way analysis of variance         Fig. 1) and in relation to both HeM and HeW. They were
(ANOVA), using group as the factor of variance (P < 0.05). One way           constituted by increases in GM volume in MtF-TR in the right
ANOVA was also employed for group comparisons in total GM and                temporo-parietal junction (around the angular gyrus and in the
WM volumes but using the intracranial volume as covariate.                   posterior portion of the superior temporal gurus), the right
                                                                             inferior frontal and insular cortex, and decreases in GM
                                                                             volumes in the thalamus. Post hoc recalculation with false
VBM
Group differences in regional GM and WM volume were tested with
                                                                             discovery rate (P < 0.05) did not change the results.
ﬂexible factorial design in SPM5 (voxel threshold P < 0.001, minimum
cluster size 0.4 cm3) using age and the total GM volume or total             Structural Volumetry
WM volume, as a covariate of no interest (the latter to adjust for           Differences in regional structural volumes were detected in
individual age differences and potential sex dimorphism in the whole
                                                                             the:
GM and WM volume, respectively). The coordinates are reported in
MNI space.
                                                                              relative ‘‘thalamus volume’’ (df = 2, F = 5.6, P = 0.005), which
                                                                               was smaller in MtF-TR than in HeM (P = 0.005) as well
Structural Volumes                                                             as HeW (P = 0.010);
Group differences in brain tissue volume (sum of total GM and WM)             relative ‘‘putamen volume,’’ which, again, was smaller in
and total brain volumes (sum of GM, WM, and CSF) were tested with              MtF-TR than in both control groups ([df = 2, F = 5.8, P =
separate one-way ANOVAs using group as the factor of variance and              0.004]; P = 0.001 for MtF-TR vs. HeM and P = 0.002 for
Fischer’s post hoc test (P < 0.05). The mean relative values of the 2          MtF-TR vs. HeW, Fischer’s post hoc test). Neither the
homologous VOIs for each type of structure were employed as input
function for evaluations of possible group differences in relative
                                                                               thalamus nor the putamen volume differed between HeM
structural volumes (VOI/brain ratios) (separate one way ANOVAs with            and HeW;
group as the between factor and age as covariate; P < 0.0125, after           relative ‘‘hippocampus volume’’ (df = 2, F = 6.5, P =
Bonferroni correction for the 4 separate regions).                             0.003), which was larger in HeW compared with both

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Table 3
Group differences in GM and WM volumes

                                                                  GM volume                                                             WM volume
Region                                                            Z level            Size, cm3             Coordinates                  Z level             Size, cm3             Coordinates
   Male controls—female controls
     L amygdala þ enthorhinal cortex                              4.7                 1.4                  17, 2, 21
     R putamen                                                    4.0                 3.2                  29, 2, 2
     R lingual gyrus                                              4.0                 2.4                  11, 63, 9
     Cerebellum                                                   5.1                 4.8                  27, 90, 22
     R superior temporal gyrus                                                                                                          3.8                 0.8                   47, 42, 16
   Female controls—male controls
     Precentral gyrus                                             4.2                 0.8                     6, 8, 48                 5.1, 4.7            8.8, 6.3              30, 0, 29; 29, 8, 45
     Subcallosum (BA 24, 32)                                      3.9                 3.6                  16, 22, 18
     R middle frontal gyrus                                       4.1                 2.2                     46, 38, 17
   MTF transsexuals—male controls
     R superior temporal gyrus þ angular gyrusa                   5.4                 3.1                    49, 40, 18
     R insular cortex þ parts of inferior frontal gyrus           5.8                 3.4                    39, 15, 16
   Male controls—MTF transsexuals
     Thalamusb                                                    4.3                 1.9                     13, 28, 5
     R frontal WM                                                                                                                       4.2                 4.5                   13, 45, 32
   MTF transsexuals—females
     R insular cortex þ inferior frontal gyrus                    5.5                 2.5                    41, 16, 12
     R superior temporal gyrus þ angular gyrusa                   5.2                 3.0                    52, 33, 16
     Lingual gyrus                                                5.1                 2.5                  10, 89, 22
     Cerebellum                                                   4.6                 1.4                  30, 90, 24
   Females—MTF transsexuals
     Thalamus                                                     5.6                 2.7                    1, 13, 5
     Pre and postcentral gyrus                                    3.9                 1.4                  39, 20, 44
     Precentral gyrus                                             4.1                 1.4                   4, 11, 49
Frontal WM (precentral gyrus)                                                                                                           4.3                 3.3                   29, 2, 30

Note: Values calculated using height threshold at P 5 0.001, minimum cluster size 100 voxels (0.4 cc), corrected P \ 0.05. Values in italics are calculated at P 5 0.001, corrected P \ 0.1, and illustrate
trend values. MNI coordinates indicate the peak value and the indicated regions coverage of the respective cluster. R, right; L, left.
a
 Covers posterior portion of the superior temporal gyrus, the angular gyrus, and a portion of the inferior parietal cortex.
b
 Covers parts of the L caudate.




Figure 1. Group differences in regional GM volume. Colored clusters were calculated from the following group comparisons: (A) HeW-HeM (left), HeM-HeW (right). (B) MtF-TR-
HeW (left), HeW-MtF-TR (right). (C) MtF-TR—HeM (left), HeM-MtF-TR (right). Contrast calculated at T corresponding to P 5 0.001 at pixel level, P \ 0.05 corrected, minimum
cluster size 0.4 cm3. Clusters are superimposed on the standard brain, SPM5. The scale is arbitrary showing T-values between 0 and 6.5. The lines indicate the 3 regions in which
the gray matter fraction differed between transsexuals and controls. Notably, these regions were similar independently of whether the controls were men or women.



    HeM (P = 0.01) and MtF-TR (P = 0.0012); this difference was                                             No group difference was detected in the caudate volume
    mainly driven by the left hippocampus. No difference was                                             (df = 2, F = 1.97, P = 0.14). Table 2 shows values from both sides
    found between MtF-TR and HeM.                                                                        to illustrate possible effect of side on the overall comparisons.


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  Interrater reliability ranged from 0.76 to 0.96 (0.76 for the         in accordance with our earlier observations (Savic and
hippocampus, 0.89 the thalamus, 0.95 the cerebral hemi-                 Lindstrom 2008), the hemispheric volumes were symmetrical
spheres, and 0.96 the caudate and putamen).                             in HeW but not HeM (Table 2). This agreement with several
                                                                        earlier observations of sex dimorphism in male and female
Structural Asymmetries                                                  controls adds validity to the present ﬁndings in MtF-TR even
A signiﬁcant rightward asymmetry was detected in the hemi-              when considering that the sample size was relatively low.
spheric volume in both HeM (P = 0.002) and MtF-TR (P =                  These ﬁndings argue against a sex atypical dimorphism in MtF-
0.006), whereas the 2 hemispheres were symmetrical in HeW               TR, at least in those who are not androphillic.
(P = 0.701) (Table 2). This difference was signiﬁcant ([df = 2,             VBM data from MtF-TR has previously been published only
F = 4.8, P = 0.0016, one way ANOVA], P = 0.006 for the                  by Luders, Sanchez, et al. (2009), who did not ﬁnd any clear
comparison between HeM and HeW, and P = 0.008 for the                   signs of cerebral feminization either. They detected, however,
comparison between MtF-TR and HeW, Fischer’s post hoc test).            an elevated GM volume in the right putamen in MtF-TR in
Rightward asymmetries were detected in HeM and MtF-TR                   relation to both female and male controls. Our study converges
but not in HeW also in the thalamus (P = 0.008 for HeM and              on their ﬁndings only when carrying out small volume
P = 0.010 for MtF-TR; P = 0.160 for HeW) and in HeM in the              correction (z = 2.7, size 0.3 cc, MNI coordinate –25, 0, –1, P =
hippocampus (P = 0.010; the corresponding P value for MtF-              0.037 for MtF-TR vs. HeM; z = 3.3, size 0.5 cc, MNI coordinate
TR was 0.065 and for HeW 0.470). Whereas the asymmetry                  –20, –1, 0, P = 0.037 for MtF-TR vs. HeW). However, we also
index (right/left side) for the hippocampus differed signiﬁ-            investigated putamen’s structural volume and found that it was
cantly between the groups (df = 2, F = 6.6, P = 0.002; P = 0.001        signiﬁcantly reduced in MtF-TR in relation to both HeM and
for HeW vs. HeM and P = 0.009 for HeW vs. MtF TR, Fischer’s             HeW, which supports the hypothesis that gender dysphoria
post hoc test), no signiﬁcant group difference was detected in          may be associated with changes in this structure.
the thalamus index (df = 2, F = 1.04, P = 0.35) (Table 2). None of          MR volumetry outside the hypothalamus has, to the best of
the groups showed asymmetry in the caudate or putamen.                  our knowledge, hitherto not been reported in transsexuals, and
                                                                        the presently observed reductions of the thalamus and puta-
                                                                        men volumes in MtF-TR have no precedents. Neither have
Discussion                                                              increases of GM volumes in the temporoparietal junction, and
Tentative sex dimorphic features were investigated in a group           the insular and inferior frontal cortex been described earlier.
of healthy MtF-TR in relation to age and education matched              These ﬁndings need further validation with larger samples, and
right-handed heterosexual male and female controls. Contrary            their origin is currently unknown. Any interpretation must,
to the primary hypothesis, no sex-atypical features with signs of       therefore, proceed cautiously and can at this point only be
‘‘feminization’’ were detected in the transsexual group. Instead,       highly speculative.
we found signiﬁcant volume reductions of the thalamus and                   The principal feature of gender dysphoria is a strong and
putamen in MtF-TR and signiﬁcant increases in GM volumes in             persistent identiﬁcation with the opposite sex and a strong
an area covering the right angular gyrus and posterior portion          discomfort with one’s birth sex, often with a feeling of being
of the superior temporal gyrus and in the right insular and             trapped in the wrong body (Becker and Mester 1996). There
inferior frontal cortex.                                                is no evidence that this feeling is caused by a general sensory
    The volumetry measures primarily included structures                deﬁcit in transsexual persons. Own body and self-perception
previously reported to be sexually dimorphic (Filipek et al.            is, according to current literature, related to both sensory and
1994; Raz et al. 1995, 2001, 2004, 2005; Giedd et al. 1997;             cognitive processes (Northoff et al. 2006). Sensory processes
Neufang et al. 2009). In addition, we investigated the thalamus         include perception of physical stimuli from one’s own body,
volume post hoc to the VBM analysis and the putamen                     which depends on sensory and motor feedback mechanisms by
volumetry due to the recent ﬁnding of GM volume increase                means of which the consequences of the movements/actions
in MtF-TR in this region (Luders, Sanchez, et al. 2009). Although       are related to the own person (Gallagher and Frith 2003).
sex differences have been described also in the amygdala and            The cognitive component of own body perception encom-
cingulate gyrus, these structures were not included in the              passes propositional knowledge about one’s self and incorpo-
analysis because the identiﬁcation of anatomical landmarks in           rates episodic and autobiographical memories (Rekkas and
these regions is less reliable, especially when using a 1.5-T           Constable 2005). Several studies propose that own body
scanner.                                                                perception involves networks in the temporo-parietal,
    The presently observed sex differences in controls are              inferior parietal cortex, the inferior frontal, and insular cortex
congruent with those described in several previous publica-             (Blanke et al. 2002, 2004; Adamovich et al. 2009; Hodzic et al.
tions. The VBM ﬁndings adhere with Good et al. (2001) and               2009), and their connections with the putamen and thalamus
Luders et al. (2005), who detected greater relative amounts of          (Leichnetz 2001). Thus, theoretically, the experience of
GM (volume and concentration, respectively) in the prefrontal           dissociation of the self from the body may be a result of failure
gyri and in the inferior frontal cortex in female brains (the           to integrate complex somatosensory and memory processes
latter increase was in the present study detected only at P < 0.1       executed by these networks. Such disintegration accords with
corrected). They are also compatible with Good et al. (2001)            the present ﬁndings and could, perhaps, explain recent
and Chen et al. (2007), who reported that men have a larger             observation of poorer parietal cortex activation during a spatial
GM volume in the inferior and mesial temporal cortex, the               orientation task in MtF-TR compared with male controls
cerebellum, and the right occipital and lingual gyri. Congruent         (Carillo et al. 2010). However, it is difﬁcult to explain how
with previous reports is also the present ﬁnding of a                   such disintergration can be linked to a dysphoria restricted to
signiﬁcantly elevated hippocampus volume in HeW (Filipek                the own body’s sex characteristics. Moreover, even if a link
et al. 1994; Murphy et al. 1996; Giedd et al. 1997, 2006). Finally,     exists, it is uncertain whether the here observed morphometric


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features in transsexual patients underpin their gender identity          The differences observed in our age-matched samples of
or are a consequence of being transsexual. One highly                 adults might not be reproduced in older subjects.
speculative thought is that the enlargement of the GM volume             MR volumetry was applied as a complement to VBM because
in the insular and inferior frontal cortex and the superior           of its higher sensitivity to detect regional changes. VBM, on
temporal-angular gyrus could derive from a constant rumination        the other hand, allowed explorative analyses, and by using the
about the own body. Brain tissue enlargement has been                 2 methods in tandem, it was possible to extend previous
detected in response to training, and GM enlargement of the           information about brain and gender dysphoria by adding data
insular cortex has been reported in response to meditation,           from several cortical and subcortical regions outside the
which involves mental focusing on the own body (Holzel et al.         hypothalamus. That the present set of VOIs was reliably
2008; Luders, Toga, et al. 2009; Vestergaard-Poulsen et al. 2009).    delineated is suggested by the high interrater reliability, and
Alternatively, entirely other variables may be independently          the congruence between the present and previously reported
affecting both the expression of a transsexual identity and the       volume measures.
neuroanatomy in transsexuals leading to the observed associ-             While changes in the thalamus were detected with both
ation between both. Of note is also that regional GM and WM is a      VBM and structural volumetry, they were found in the putamen
composite measure of different microunits, such as neuronal           only with the latter approach. A similar disparity has been
bodies, dendrites, synapses, axons, myelin, glia cells, and others,   described earlier (Ciumas and Savic 2006) and is not surpris-
and an enlargement or reduction of GM volume cannot be                ing, as the 2 methods may show different results in regions
directly translated to function. It should be emphasized that the     with well-deﬁned structural landmarks but a poor gray-WM
present data, being focused on extra hypothalamic structures,         contrast. In such regions, volumetric measures are usually more
do not disapprove previous reports about sex-atypical hypo-           reliable.
thalamic dimorphism in transsexuals (Swaab et al. 1992; Zhou             Finally, we would like to emphasize that at variance to
et al. 1995). Furthermore, they were generated exclusively from       previous reports, the investigated study groups were homoge-
investigations of nonhomosexual, gynephillic MtF-TR. The issue        nous with respect to sexual orientation. This is essential
of possible cerebral difference between gynephillic and               considering that structural differences have been detected
androphillic (homosexual) MtF-TR and also between andro-              between homo and heterosexual persons (Savic and Lindstrom
phillic MtF-TR and homosexual healthy men is of special               2008). Also, the testosterone and estrogen levels were tested
interest and needs to be addressed separately in future studies.      at the time of the scan in each patient and showed that levels
Additional studies of the relationship between brain structure        in MtF-TR were signiﬁcantly lower than those in women
and function in transsexual persons and also extending the            but not different from male controls (Table 1), making it
material to female to male transsexuals are necessary to more         improbable that the transsexual subjects were using estrogen
precisely interpret the present observations.                         substitution (although this could not be explicitly excluded
                                                                      separately for each individual due to the inherently high
                                                                      variability of plasma estrogen).
Methodological Strengths and Limitations
A few methodological aspects deserve a comment. First of all,
one may argue that our limited sample size could hamper               Conclusions
reliable detection of group differences. However, as already          The present study does not support the dogma that MtF-TR
mentioned, differences were found between HeM and HeW in              have atypical sex dimorphism in the brain but conﬁrms the
regions previously reported to be sexually dimorphic, and             previously reported sex differences in structural volumes, gray,
similar differences were also detected between MtF-TR and             and WM fractions. The observed differences between MtF-TR
HeW but not between MtF-TR and HeM. Consequently, it is               and controls raise the question as to whether gender dysphoria
difﬁcult to disregard the present ﬁndings simply on the basis of      may be associated with changes in multiple structures and
group size. Another potential methodological concern is               involve a network (rather than a single nodal area).
difference in brain size. Because of their larger brains, the
outer brain limits in men are farther away from the center of         Notes
the coil in the MR scanner and, therefore, could be located in
                                                                      VINNOVA, Swedish Research Council, and Center for Gender Medicine
less homogenous parts of the ﬁeld. As a consequence, sex              at Karolinska Institute are acknowledged for ﬁnancial support. We are
differences in GM volumes in the most peripheral parts from           indepted to Dr Carolina Ciumas, Alexander Berglund, and Claudija
the center of the brain (frontal pole, pre- and postcentral gyrus,    Espino for drawing of regions and Elodie André for some technical
occipital pole) could be a potential confound. This in turn           assistance. Conﬂict of Interest: None declared.
could result in lower signal intensity in these locations leading
to regionally decreased GM in male subjects. While our ﬁndings        References
of lower GM volume in the precentral gyrus in men could be in         Adamovich SV, August K, Merians A, Tunik E. 2009. A virtual reality-
agreement with this assumption they are incompatible with the            based system integrated with fmri to study neural mechanisms of
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females and males of matched brain size larger regional GM
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volumes were still demonstrated in females (Luders, Gaser,            Bentz EK, Schneeberger C, Heﬂer LA, van Trotsenburg M, Kaufmann U,
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Sex steroid-related genes and male-to-female
transsexualism
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Received 16 November 2004; received in revised form 12 February 2005; accepted 14 February 2005



    KEYWORDS                           Summary        Transsexualism is characterised by lifelong discomfort with the
    Aromatase;                         assigned sex and a strong identification with the opposite sex. The cause of
    Androgen receptor;                 transsexualism is unknown, but it has been suggested that an aberration in the early
    Estrogen receptor                  sexual differentiation of various brain structures may be involved. Animal
    beta;                              experiments have revealed that the sexual differentiation of the brain is mainly
    Gender identity                    due to an influence of testosterone, acting both via androgen receptors (ARs) and—
    disorder;                          after aromatase-catalyzed conversion to estradiol—via estrogen receptors (ERs). The
    Polymorphisms;                     present study examined the possible importance of three polymorphisms and their
    Sexual differentiation;            pairwise interactions for the development of male-to-female transsexualism: a CAG
    Transsexualism                     repeat sequence in the first exon of the AR gene, a tetra nucleotide repeat
                                       polymorphism in intron 4 of the aromatase gene, and a CA repeat polymorphism in
                                       intron 5 of the ERb gene. Subjects were 29 Caucasian male-to-female transsexuals
                                       and 229 healthy male controls. Transsexuals differed from controls with respect to
                                       the mean length of the ERb repeat polymorphism, but not with respect to the length
                                       of the other two studied polymorphisms. However, binary logistic regression analysis
                                       revealed significant partial effects for all three polymorphisms, as well as for the
                                       interaction between the AR and aromatase gene polymorphisms, on the risk of
                                       developing transsexualism. Given the small number of transsexuals in the study,



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doi:10.1016/j.psyneuen.2005.02.006
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                                the results should be interpreted with the utmost caution. Further study of the
                                putative role of these and other sex steroid-related genes for the development of
                                transsexualism may, however, be worthwhile.
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1. Introduction

The term transsexualism denotes people whose              a direct effect on sexual differentiation parallel
gender identity is at conflict with their genetic sex     with that of ERs (Sato et al., 2004). A behavioural
and physical appearance. Transsexuals are often           feminization of male rodents may hence be
said to be ‘trapped in the body of the wrong sex’,        obtained by a pre- or neonatal administration of
and they urge to change their physical appearance         compounds inhibiting the ARs, the aromatase, or
to resemble the opposite sex as closely as possible       the ERs.
(World Health Organization, 1993; Cohen-Kettenis             Hence, the genes coding for the AR, aromatase,
and Gooren, 1999). Although transsexualism is a           and ERb are reasonable candidates in the quest for
rare phenomenon—the prevalence of male-to-                genes that may influence the likelihood of devel-
female transsexualism has been estimated to               oping transsexualism. These three genes all com-
1:12.000–1:40.000 (Landén et al., 1996b)—the             prise intron or exon repeat polymorphisms, three of
condition raises important questions as to how the        which were examined in this investigation.
gender identity is moulded in humans.                        In the AR gene, a CAG trinucleotide repeat
   Many authors have suggested that transsexualism        sequence in exon 1 of the gene (Choong and Wilson,
may be due to an aberration in the early organiz-         1998) was studied. The length of this microsatellite
ational influence of sex steroids on brain develop-       has been shown to correlate inversely with the
ment (Dörner et al., 1991; Bosinski et al., 1997; van    activity of the AR as a transcription factor (Irvine
Goozen et al., 2002), a notion that has gained            et al., 2000). A relatively long CAG repeat length,
considerable support from the study of inter-             within the normal range, is hence assumed to lead
sexed individuals (Diamond and Sigmundson, 1997;          to low androgen receptor activity, and has been
Berenbaum and Bailey, 2003; Servin et al., 2003)          associated with a low risk of prostate cancer and
and is compatible with findings in neurobiological        benign prostate hyperplasia, and to a high risk of
studies (Zhou et al., 1995; Kruijver et al., 2000).       infertility (Yong et al., 2000). The androgen
The involvement of genetic factors in male-to-            receptor is located on the X chromosome; in
female transsexualism gains support from case             males there is hence only one allele in each
reports on twin and non-twin siblings being con-          individual to consider.
cordant for this very rare condition, and from               The polymorphism studied in the aromatase gene
reports on families with more than one member             is a tetranucleotide repeat region in the fourth
being a male-to-female transsexual (Green, 2000).         intron. There are reasons to believe that the length
There is, however, no information available on            of repeat nucleotide sequences (micro/minisatel-
specific gene variants enhancing or reducing the          lites) influence the transcription and the translation
likelihood of developing transsexualism.                  of a gene also when the repeat is situated in an intron
   Animal experiments have clearly demonstrated           (Comings, 1998). In fact, recent studies have found
the importance of pre- and neonatal androgen              the aromatase intron repeat polymorphism to be
production for the sexual differentiation of the          associated with breast cancer (Dunning et al., 1999),
brain. The masculinizing effect of androgens on the       endometrial cancer (Berstein et al., 2001), and
developing male brain appears to be exerted mainly        serum levels of sex steroids (Haiman et al., 2000).
through the conversion of testosterone into estro-           Two ERs have been identified, the a and the b
gen by aromatase (estrogen synthetase; Cyp 19),           subtype (Enmark and Gustafsson, 1999). The rela-
and the consequent activation of estrogen recep-          tive importance of these two variants for the sexual
tors (ERs) of the a and b subtypes (Cooke et al.,         differentiation of the brain remains to be clarified.
1998). Androgen receptors (ARs), however, are of          It is notably though, that the expression of the b
importance for the activity and expression of             subtype is higher than the a subtype in several brain
aromatase in the hypothalamus during embryonic            areas (Österlund and Hurd, 2001) and that mice
development (Hutchison, 1997), and may also exert         devoid of ERb receptors display abnormal
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development of the central nervous system                were performed in a total reaction volume of 25 ml
(Wang et al., 2001). We choose therefore to              containing about 50 ng DNA, 10 mM Tris–HCl pH 8.3,
examine a polymorphism of the ERb gene. This             50 mM KCl, 1.5 mM MgCl2, and 200 mM of each dNTP.
dinucleotide CA repeat sequence located in intron 5      Thermal cycling was performed in a Perkin–Elmer
of the gene (Tsukamoto et al., 1998) has previously      GeneAmp PCR System 9700.
been associated with bone mineral density (Ogawa              The CAG repeat of the androgen receptor gene
et al., 2000b), blood pressure (Ogawa et al.,            was analyzed by PCR amplification with the forward
2000a), and androgen levels in women (Westberg           primer 5 0 -GTG CGC GAA GTG ATC CAG A-3 0 , and the
et al., 2001).                                           reverse primer 5 0 -GTT TCC TCA TCC AGG ACC AGG
   The aim of the present study was to investigate       TA-3 0 , selected with Primer Express (Perkin–Elmer).
the potential importance of these three polymorph-       The forward primer was fluorescently labelled with
isms and their interactions for the susceptibility for   6-FAM. Nucleotides promoting the non-templated
transsexualism. Notably, the polymorphisms stu-          addition of adenine by Taq DNA polymerase was
died are all much more common than is transsexu-         added to the 5 0 end of the reverse primer
alism; hence, the goal of this study was not to          (Brownstein et al., 1996). The PCR-reaction also
reveal the primary cause of transsexualism, but to       contained 0.625 U/25 ml AmpliTaq DNA polymerase
elucidate whether the studied genes may facilitate       (Perkin–Elmer) and 0.2 mM of each primer. The
or prevent the development of this very rare             temperature profile used was 95 8C for 5 min
condition.                                               followed by 35 cycles of 95 8C for 30 s, 57 8C for
                                                         30 s, 72 8C for 30 s, followed by final incubation at
                                                         72 8C for 7 min.
2. Patients and methods                                       The tetra nucleotide polymorphism of the
                                                         aromatase gene was genotyped employing a modi-
                                                         fied protocol of Polymeropoulos et al. (1991). The
2.1. Subjects
                                                         forward primer: 5 0 -GCA GGT ACT TAG TTA GCT
                                                         AC-3 0 , fluorescently labelled with 6-FAM, was used
Three University clinics in Sweden (Göteborg,
                                                         together with the reverse primer: 5 0 -TTA CAG TGA
Umeå, and Uppsala), specialized in assessment
                                                         GCC AAG GTC GT-3 0 . The PCR-reaction also con-
and treatment of patients with gender identity
                                                         tained 1 U AmpliTaq GOLD DNA polymerase (Perkin–
disorders, recruited 29 Caucasian male-to-female
                                                         Elmer)/25 ml and 0.3 mM of each primer. The
transsexuals. All subjects fulfilled the diagnostic
                                                         temperature profile used was 95 8C for 12 min
criteria for gender identity disorder in DSM-IV
                                                         followed by 35 cycles of 95 8C for 30 s, 60 8C for
(American Psychiatric Association, 1994). Controls
                                                         30 s, 72 8C for 30 s, followed by final incubation at
were recruited from a cohort of men identified by
                                                         72 8C for 7 min.
means of the National Population Registry that
                                                              The CA repeat polymorphism of the ER beta gene
were born during the first 6 months of 1944 and
living in Göteborg (Rosmond et al., 1996), of which     was genotyped employing a modified protocol
229 volunteered to provide blood samples for             of Tsukamoto et al. (1998). The forward primer
genotyping. Control subjects, the vast majority of       5 0 -GGT AAA CCA TGG TCT GTA CC-3 0 was labelled
which were Caucasians, were not asked for their          with HEX and used together with the reverse primer
sexual orientation or their sexual identity; given the   5 0 -AAC AAA ATG TTG AAT GAG TGG G-3 0 . The PCR-
rarity of transsexualism in Sweden (Landén et al.,      reaction also contained 1 U AmpliTaq GOLD DNA
1996a), the likelihood that the control group would      polymerase (Perkin–Elmer)/25 ml and 0.3 mM of
comprise one transsexual person is, however, not         each primer. The temperature profile was: 95 8C
higher than one in a hundred. All patients and           for 12 min followed by 35 cycles of 95 8C for 30 s,
controls gave informed consent to participate            60 8C for 30 s, 72 8C for 30 s, and with a final
according to the Helsinki Declaration. The study         incubation at 72 8C in 7 min.
protocol was approved by the Ethics Committees of             The fluorescently labelled DNA fragments were
the Faculties of Medicine at Göteborg, Uppsala, and     analyzed by size with automated capillary electro-
Umeå Universities.                                      phoresis on an ABI PRISM 310 Genetic Analyzer
                                                         (Perkin–Elmer).
2.2. Genotyping
                                                         2.3. Statistical analyses
Human genomic DNA was extracted from blood
samples using the QIAamp DNA Blood Mini Kit              Statistical comparisons between transsexuals and
(Qiagen). The polymerase chain reactions (PCR)           controls for the three individual polymorphisms
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were made with independent-sample T-tests, using                  carrying a short version of the repeat, when the
the mean length of the two alleles for the                        other two variables are held constant at reference
aromatase and ERb gene polymorphisms. Notably,                    state. Backward elimination was used to eliminate
with respect to the AR gene, which is located on the              non-significant variables from the logistic model.
X chromosome, there is only one variant in each                   The data analysis was carried out using SPSS
subject to consider. To further elucidate the                     (Version 12.0.1) software.
possible combined effect of the AR, aromatase
and ERb gene polymorphisms on the susceptibility
for transsexualism, binary logistic regression was
used (Hosmer and Lemeshow, 2000). The depen-                      3. Results
dent dichotomous variable was set to 1 for
transsexuals and 0 for controls. The analyses of                  Seventeen different alleles were identified for the
                                                                  AR gene polymorphism, six for the aromatase
data were based on the concept that there may be a
                                                                  repeat, and 12 for the ERb repeat polymorphism.
relationship between repeat length and function
                                                                  The frequencies of the alleles in controls and
(Comings, 1998); this has been confirmed for the AR
                                                                  transsexuals are shown in Table 1. The percentages
gene polymorphism (Irvine et al 2000), but has not
                                                                  of each allele are shown in Fig. 1a (AR),
yet been established for the aromatase and ERb
                                                                  b (aromatase), and c (ERb). With respect to the
gene polymorphisms. The AR alleles and the mean                   individual polymorphisms, only the ERb repeat
lengths of the aromatase and ERb alleles were                     differed significantly between transsexuals and
divided into two subtypes—‘short’ and ‘long’—with                 controls, the mean length being greater in trans-
the cutoff selected to generate equally sized groups              sexuals (PZ0.03). The logistic regression procedure
(AR: short%18 repeats, aromatase: short%8.5                       (using ‘short’ as reference for the three categorical
repeats, and ERb: short%159 base pairs). In the                   variables) eliminated the aromatase–ERb inter-
logistic regression, the polymorphisms were trea-                 action term, leaving a logistic model with
ted as categorical variables, with ‘short’ used as                significant effects for the following variables:
reference. Hence, the effect sizes, measured as                   AR (PZ0.01, ORZ28), aromatase (PZ0.04,
odds ratios (ORs), for the three repeats in the                   ORZ9), ERb (PZ0.03, ORZ6), and the AR–aroma-
logistic model describe a ratio between the odds of               tase interaction (PZ0.04). The AR–ERb interaction,
being transsexual when carrying a long version of                 however, did not reach statistical significance
the repeat, and the odds of being transsexual when                (PZ0.11). The OR for the AR repeat shows that

 Table 1    Seventeen different alleles were identified in this study.
 AR        Frequency      Frequency      Aromatase      Allele        Allele           ERb         Allele       Allele
 repeat    controls,      transsex-      repeat         frequency     frequency        repeat      frequency    frequency
 length    N (%)          uals, N (%)    length         controls,     transsexuals,    length      controls,    transsexuals,
                                                        N (%)         N (%)                        N (%)        N (%)
 10         1 (0.4)       0 (0.0)         7              233(51)      27 (47)          147          24 (5.2)     4 (6.9)
 12         1 (0.4)       0 (0.0)         8              52 (11)       6 (10)          149          13 (2.8)     1 (1.7)
 13         2 (0.9)       1 (3.4)        10             233 (1.7)      0 (0.0)         151           7 (1.5)     0 (0)
 14         2 (0.9)       2 (0.0)        11             158 (34)      27 (40)          153          49 (11)      2 (3.4)
 15        20 (8.7)       0 (6.9)        12               4 (0.9)      2 (3.4)         155          19 (4.1)     2 (3.4)
 16        22 (9.6)       3 (10)         13               3 (0.7)      0 (0.0)         157          25 (5.5)     1 (1.7)
 17        21 (9.2)       4 (14)                                                       159          83 (18)      4 (16)
 18        46 (20)        1 (3.4)                                                      161         151 (33)     20 (34)
 19        40 (18)        5 (17)                                                       163          65 (14)     16 (28)
 20        23 (10)        4 (14)                                                       165          11 (2.4)     1 (1.7)
 21        21 (9.2)       4 (14)                                                       167           7 (1.5)     1 (1.7)
 22        18 (7.9)       3 (10)                                                       169           4 (0.9)     1 (1.7)
 23         6 (2.6)       1 (3.4)
 24         3 (1.3)       1 (3.4)
 25         1 (0.4)       0 (0.0)
 26         1 (0.4)       0 (0.0)
 31         1 (0.4)       0 (0.0)
 The table lists the frequencies of the alleles in controls and transsexuals for the AR gene polymorphism, the aromatase repeat
 polymorphism, and the ERb repeat polymorphism. Abbreviations used: AR, Androgen receptor; ERb, estrogen receptor b.
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Figure 1 The percentages of the different alleles are shown in (a) androgen receptor, (b) aromatase, and (c) estrogen
receptor b.


the odds of being transsexual are greater for men           AR allele as reference (aromatase: PZ0.7,
carrying a long AR repeat, leading to a less active         ORZ0.8; ERb: PZ0.7, ORZ1.2), indicating that
AR, than for those carrying a short AR repeat when          for men carrying a long AR repeat, the aromatase
all other variables are held constant. Longer               and ERb repeat lengths do not contribute signifi-
aromatase and ERb, in presence of a short AR                cantly to the odds of being transsexual. The results
repeat, do also appear to increase the odds of being        including the confidence intervals (CI) for the ORs
transsexual. The contribution of the AR–aromatase           are presented in Table 2 (the effect sizes for the
interaction, determined as the ratio R (RZ0.09)             interactions are not actual ORs, but ratios between
between the OR for AR using ‘long’ aromatase mean           ORs). The logistic model was statistically significant
length as reference, and the OR for AR using ‘short’        according to the chi-square model (PZ0.009).
aromatase mean length as reference, indicates that
the OR for the AR polymorphism decreases with 91%
as aromatase mean length increases from short to            4. Discussion
long. Furthermore, using this logistic model, the
ORs for the aromatase and ERb polymorphisms did             Whereas transsexualism is a very rare condition, the
not remain significant when determined for a long           gene variants investigated in this study are relatively
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                                                                   context are also reports according to which male-
 Table 2 The resulting model for the logistic
                                                                   to-female transsexuals differ from controls with
 regression.
                                                                   respect to the size of a sexually dimorphic brain
 Gene repeat         P-value       OR            CI                nucleus—the central part of the bed nucleus of the
 AR                  0.01          28            (2, 360)          stria terminalis (Zhou et al., 1995; Kruijver et al.,
 Aromatase           0.04           9            (1.1, 77)         2000)—that is characterized by an abundance of ARs
 ERb                 0.03           6            (1.2, 29)         (Fernandez-Guasti et al., 2000). Apart from ARs,
 AR–aromatase        0.04           0.09a        (0.008, 0.9)      also aromatase and ERs are expressed in this brain
 AR–ERb              0.11           0.2a         (0.03, 1.4)       region, as well as in other sexual dimorphic areas,
 The P-values of variables that give significant contribution to   and areas of importance for the development
 the risk of developing transsexualism are written in bold.        of sexual behaviour (Sasano et al., 1998;
 Abbreviations used: AR, Androgen receptor; CI, confidence         Stoffel-Wagner et al., 1999; Österlund et al.,
 interval; ERb, estrogen receptor b; OR, odds ratio.
   a                                                               2000a,b). Studies regarding the possible import-
     Ratio between two odds ratios.
                                                                   ance of the AR and the aromatase gene for
                                                                   homosexuality in humans have as yet been negative
common; none of the studied variants could hence                   (Macke et al., 1993; DuPree et al., 2004). Animal
be assumed to be a primary cause of this condition.                studies have, however, demonstrated the import-
On the other hand, it is not unlikely that polymorph-              ance of aromatization of testosterone to estradiol
isms in genes of importance for the sexual differen-               for sexual motivation and sexual partner prefer-
tiation of the brain may enhance or reduce the                     ence: Male-oriented rams display lower levels of
likelihood for developing transsexualism. Accord-                  aromatase activity in the medial preoptic area
ingly, the current results do suggest that a long ERb              compared with female-oriented rams (Roselli
repeat is more common among male-to-female                         et al., 2002), and aromatase knockout mice display
transsexuals, and that specific combinations of the                impaired (but not sex-reversed) sexual behaviour
three polymorphisms analyzed may influence the                     (Bakker et al., 2004).
risk of developing transsexualism.                                    The analyses of data were to a great extent
   As discussed in Section 1, animal experiments                   based on the assumption that there is a relationship
suggest that a normal sexual differentiation of the                between repeat length and function for the alleles
brain requires interaction between the products of                 studied (Comings, 1998). As such a relationship does
the three studied genes—the AR, the aromatase,                     seem to exist for the microsatellite polymorphism
and the ERb. When analyzing variants of these                      in the AR gene (for refs, see Section 1), it has as yet
genes in transsexuals and controls, it is hence                    not been confirmed that this is the case also for the
reasonable to examine not only each gene per se,                   studied repeat polymorphisms in the aromatase and
but also possible combinatory effects of polymorph-                the ERb genes. If our data would be replicated,
isms in different genes. In line with this, the results            however, it would support the notion of a relation-
obtained suggest that the risk of developing                       ship between repeat length and function for these
transsexualism is influenced by the polymorphisms                  polymorphisms as well.
in the aromatase gene and in the ERb gene, but that                   A major limitation of the present study is that
the contributions from these genes are much larger                 the studied population of male-to-female transsex-
for subjects carrying relatively few CAG repeats in                uals was small. Needless to say, a confirmation of
the AR gene, presumably leading to a more active                   the results in a separate group of male-to-female
AR. A preliminary and speculative explanation of                   transsexuals is necessary before any firm con-
the data obtained could be that a dysfunctional                    clusions can be drawn.
masculinization of the brain is less likely to occur in               Another limitation is that only one known
subjects with AR displaying high activity, and that                polymorphism in each of the three genes as yet
development of transsexualism in subjects with few                 has been analyzed. The possible importance of the
CAG repeats in the AR gene hence requires the                      studied polymorphisms being in linkage disequili-
presence of certain sub-optimal variants of the                    brium with other functional genetic variants within
aromatase gene and/or the ERb gene.                                these genes or in the regions flanking the genes
   Our finding that men carrying a less active AR                  should not be excluded. Hence, studies comprising
appear to have a greater risk of developing                        more polymorphisms within each of the studied
transsexualism is in line with the fact that complete              genes, as well as additional sex steroid-related
androgen insensitivity syndrome, caused by inacti-                 genes, that also take serum levels of sex steroids
vating mutations in the androgen receptor gene, is                 into account are warranted.
usually associated with female gender identity in                     In conclusion, our data provide preliminary
genetic males (Wilson, 1999). Of interest in this                  support for the notion that a long allele of
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Sex steroid-related genes and male-to-female transsexualism                                                                          663

the ERb gene may increase the susceptibility for                     Diamond, M., Sigmundson, H.K., 1997. Sex reassignment at birth.
transsexualism, and that certain variants of genes                       Long-term review and clinical implications. Arch. Pediatr.
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coding for the AR, aromatase, and the ERb may
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partially contribute to the risk of male-to-female-                      Gene- and environment-dependent neuroendocrine etiogen-
transsexualism if present in certain combinations.                       esis of homosexuality and transsexualism. Exp. Clin. Endo-
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                                                                                                      A p p r o a c h             t o     t h e       P a t i e n t


                                         Approach to the Patient: Transgender Youth:
                                         Endocrine Considerations

                                         Stephen M. Rosenthal




                                                                                                                                                                            Downloaded from https://academic.oup.com/jcem/article/99/12/4379/2833862 by OUP site access, Jane McGraw on 21 February 2025
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                                         Francisco, California 94143


                                         Compelling studies have demonstrated that “gender identity”—a person’s inner sense of self as
                                         male, female, or occasionally a category other than male or female—is not simply a psychosocial
                                         construct, but likely reflects a complex interplay of biological, environmental, and cultural factors.
                                         An increasing number of preadolescents and adolescents, identifying as “transgender” (a transient
                                         or persistent identification with a gender different from their “natal gender”—ie, the gender that
                                         is assumed based on the physical sex characteristics present at birth), are seeking medical services
                                         to enable the development of physical characteristics consistent with their affirmed gender. Such
                                         services, including the use of agents to block endogenous puberty at Tanner stage 2 and subse-
                                         quent use of cross-sex hormones, are based on longitudinal studies demonstrating that those
                                         individuals who were first identified as gender-dysphoric in early or middle childhood and who still
                                         meet the mental health criteria for being transgender at early puberty are likely to be transgender
                                         as adults. Furthermore, onset of puberty in transgender youth is often accompanied by increased
                                         “gender dysphoria”— clinically significant distress related to the incongruence between one’s
                                         affirmed gender and one’s “assigned (or natal) gender.” Studies have shown that such distress may
                                         be ameliorated by a “gender-affirming” model of care. Although endocrinologists are familiar
                                         with concerns surrounding gender identity in patients with disorders of sex development, many
                                         providers are unfamiliar with the approach to the evaluation and management of transgender
                                         youth without a disorder of sex development. The goals of this article are to review studies that
                                         shed light on the biological underpinnings of gender identity, the epidemiology and natural
                                         history of transgenderism, current clinical practice guidelines for transgender youth, and limita-
                                         tions and challenges to optimal care. Prospective cohort studies focused on long-term safety and
                                         efficacy are needed to optimize medical and mental health care for transgender youth. (J Clin
                                         Endocrinol Metab 99: 4379 – 4389, 2014)



Case Presentations                                                             home but initially insisted on a male presentation outside
                                                                               of the home. The patient experienced significant anxiety
Case 1
                                                                               and depression throughout the middle childhood years,
    atient 1 is a 13-year-old phenotypic male who was
P     referred to the Child and Adolescent Gender Center
(CAGC) Clinic with gender dysphoria. The parents report
                                                                               which worsened with the onset of puberty. Medical and
                                                                               mental health histories were otherwise unremarkable. By
that as early as 3 years of age, the patient stated, “I am a                   searching for information on the Internet, the family be-
girl” and asked why he had a penis if he was a girl. The                       came aware of the CAGC and asked their pediatrician to
patient subsequently insisted on a girl’s name and the use                     initiate a referral so the patient could receive “pubertal
of the female pronoun and would only wear girls’ clothing.                     blockers.” After a series of mental health evaluations from
The parents acquiesced to the patient’s requests while at                      a qualified child psychologist/gender specialist at the

ISSN Print 0021-972X ISSN Online 1945-7197                                     Abbreviations: AR, androgen receptor; BMD, bone mineral density; BSTc, central part of the
Printed in U.S.A.                                                              bed nucleus of the stria terminalis; CAH, congenital adrenal hyperplasia; CAIS, complete
Copyright © 2014 by the Endocrine Society                                      androgen insensitivity syndrome; DEXA, dual-energy x-ray absorptiometry; DSD, disorder
Received April 1, 2014. Accepted August 7, 2014.                               of sex development; FTM, female-to-male; GID, gender identity disorder; GnRH, gonad-
First Published Online August 20, 2014                                         otropin releasing hormone; INAH 3, interstitial nucleus of the anterior hypothalamus 3;
                                                                               MTF, male-to-female; SOC, standards of care; T, testosterone.




doi: 10.1210/jc.2014-1919                            J Clin Endocrinol Metab, December 2014, 99(12):4379 – 4389                 jcem.endojournals.org             4379
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CAGC, it was determined that the patient had severe gen-          going mental health support, the patient and family opted
der dysphoria and would likely benefit from putting pu-           for treatment with GnRH agonists to suppress the hypo-
berty “on hold” to provide an additional period of time for       thalamic-pituitary-gonadal axis, with cessation of menses.
self-awareness and understanding. In addition, the family         Shortly thereafter, with continuing GnRH agonist ther-
interacted with a CAGC advocacy specialist who worked             apy, the patient was treated with increasing doses of tes-
with the child’s school to provide training for teachers,         tosterone (T), achieving T blood levels in the mid-normal
parents, and students to establish a safe and tolerant en-        range for adult males. The patient’s gender dysphoria and




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vironment for the patient. Physical examination demon-            suicidal ideation fully resolved, and the depression was
strated normal male genitalia with Tanner stage 2 pubic           markedly reduced.
hair and early pubertal testes (5 cc, bilaterally). The re-
mainder of the physical examination was entirely within
normal limits. The patient and family were advised of the         Background
potential risks (including likely effects on bone mineral-
ization and on fertility) and benefits of pubertal suppres-       Definitions
sion with gonadotropin releasing hormone (GnRH) ago-                  Although a person’s “sex” refers to the physical attri-
nists. Baseline laboratory studies confirmed that the             butes that characterize biological maleness or femaleness
patient was in early puberty. Serum calcium, phospho-             (eg, the genitalia), “gender identity” refers to a person’s
rous, alkaline phosphatase, and 25-hydroxyvitamin D               fundamental, inner sense of self as male or female (and is
were all in the normal range. Bone mineral density (BMD)          not always binary). The medical and mental health liter-
by dual-energy x-ray absorptiometry (DEXA) scan was               ature contain ample references to “gender assignment”/
0.5 SD below that of an age-matched reference population          “natal gender” (1–3) on the one hand, and to “sex assign-
for whole body, lumbar spine, and proximal femur.                 ment”/“birth sex”/“sex of rearing” (2–5) on the other,
GnRH agonist treatment was prescribed; however, de-               sometimes leading to confusion. The gender assignment
spite multiple appeals, this medication was denied by the         (or natal gender) is based on the “initial assignment as
family’s insurance company.                                       male or female,” usually at birth (1), which, in turn, in the
                                                                  absence of a disorder of sex development (DSD), is typi-
Case 2                                                            cally based on the appearance of the external genitalia.
   Patient 2 is a 16-year-old phenotypic female referred to       Although sex of rearing can be assigned at birth, gender
the CAGC with long-standing gender dysphoria and a                identity can only be assumed, and not, in fact, known until
stated preference to be referred to with the male pronoun.        an individual achieves a particular level of psychological
In retrospect, the patient felt that he had “always been a        development and self-awareness. “Transgender” has been
boy” but did not reveal these feelings to family or friends       defined somewhat differently by the American Psychiatric
for fear of rejection. The onset of puberty was accompa-          Association and by the World Professional Association for
nied by significant anxiety and depression, prompting re-         Transgender Health (WPATH). In the former, transgen-
ferral to a therapist who was not knowledgeable about             der refers to a person who transiently or persistently iden-
gender dysphoria in adolescents and thought the patient           tifies with a gender different from their natal gender (1). As
was likely “gay.” The patient felt less anxious after deci-       defined in the standards of care (SOC) from WPATH,
sions to wear a binder to hide the breasts and to wear            transgender (adjective) describes “a diverse group of in-
loose-fitting “masculine” clothing. However, recurring            dividuals who cross or transcend culturally defined cate-
monthly menses were accompanied by heightened anxi-               gories of gender” (6). In the WPATH SOC, “transsexual”
ety. The patient became increasingly depressed and con-           (adjective) describes “individuals who seek to change or
templated suicide. The patient eventually told his parents        have changed their primary and/or secondary sex charac-
that he was not gay, but realized he was “transgender.”           teristics through feminizing or masculinizing medical in-
The patient was subsequently referred to the CAGC for             terventions (hormones and/or surgery), typically accom-
evaluation and management. Medical and mental health              panied by a permanent change in gender role” (6).
histories were otherwise unremarkable. Physical exami-            Transsexual has also been used to describe a person who
nation revealed Tanner 5 breasts and pubic hair and nor-          identifies as a member of the gender opposite to that as-
mal pubertal external female genitalia; the remainder of          signed at birth (7, 8), but who has not necessarily sought
the physical examination was unremarkable. Mental                 medical and/or surgical interventions. In contrast, “gen-
health assessment confirmed that the patient was trans-           der-conforming” (sometimes used interchangeably with
gender with severe gender dysphoria. After detailed dis-          “cisgender”) refers to a person whose gender identity is
cussions with the medical team, in conjunction with on-           congruent with the natal gender. “Gender behavior”
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(sometimes referred to as “gender role”) is not equivalent     youth and adolescents in Europe and North America have
to gender identity (7, 8). In fact, most youth with gender-    seen a steadily increasing demand for services in recent
nonconforming behavior will not turn out to have a trans-      years (15–18), with a ratio of phenotypic males to females
gender identity (9, 10). Previously referred to as “gender     close to 1:1 (17).
identity disorder” (GID) in the Diagnostic and Statistical
Manual of Mental Disorders (DSM)-IV, this term has now         Psychiatric co-morbidities and impact of family
been replaced with “gender dysphoria” in DSM-5, with           support




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distinct diagnostic criteria for “gender dysphoria in chil-       Transgender youth and adolescents are at significantly
dren” and “gender dysphoria in adolescents and adults”         increased risk for life-threatening behaviors. Interviews of
(specifying with or without a DSD) (1). Replacing “dis-        transgender youth in New York City (n ⫽ 55; MTF ⫽ 31,
order” with “dysphoria” depathologizes the transgender         FTM ⫽ 24) demonstrated that 45% had experienced sui-
identity and focuses instead on dysphoria as the clinical      cidal ideation, whereas 26% had attempted suicide (19).
problem (1). It should be noted that most patients with        A recent report from Ontario, Canada, of transgender
gender dysphoria do not have a DSD. Whether in children        youth and young adults ages 16 to 24 years (n ⫽ 84)
or adolescents, a core feature of gender dysphoria is “a       assessed the impact of the degree of parental support on
marked incongruence between one’s experienced/ex-              mental health outcomes (20). Satisfaction with life and
pressed gender and assigned gender” of at least 6-month        self-esteem were significantly greater in transgender youth
duration (1). “Sexual identity” (or “sexual orientation”)      whose parents were “very supportive” vs those whose par-
is often confused with “gender identity.” Both are distinct    ents were “somewhat to not at all supportive” (20). In
aspects of human development. While sexual identity per-       addition, depression and suicide attempts were signifi-
tains to the individuals to whom one is sexually attracted,    cantly decreased in transgender youth whose parents were
gender identity indicates who one “is” as male, female, or     supportive in comparison to those whose parents were not
somewhere on the gender continuum. Just as gender-con-         supportive (20). However, even with supportive parents,
forming individuals may have a heterosexual, homosex-          transgender youth still have a significant risk for depres-
ual, or bisexual orientation, the same holds true for trans-   sion (20), perhaps in part from their experience of trans-
gender individuals.                                            phobia from members of their communities and a feeling
                                                               that they don’t fit in.
Prevalence of transgenderism/transsexualism
   Limited data exist regarding the prevalence of trans-
genderism/transsexualism. Recent data for natal adult          Current Concepts of the Biology of
males suggest a prevalence ranging from 1:7000 to              Gender Identity
1:20 000, and for natal adult females a prevalence ranging
from 1:33 000 to 1:50 000, and these are thought to rep-       Numerous studies from a variety of biomedical disci-
resent “modest underestimates” (1). In The Netherlands,        plines— endocrine, genetic, and neuroanatomical— have
among the population age 15 years and older, a prevalence      begun to shed light on the biological underpinnings of
of 1:11 900 for male-to-female (MTF) and 1:30 400 for          gender identity. Results of these studies support the con-
female-to-male (FTM) transsexualism has been reported          cept that gender identity is not simply a psychosocial con-
(11). Such data were derived from patients diagnosed as        struct, but likely reflects a complex interplay of biological,
transsexual by mental health professionals (11). Preva-        environmental, and cultural factors.
lence estimates in Singapore and Thailand were signifi-           Although most transgender patients do not have a
cantly higher (12, 13). Equivalent studies in North Amer-      DSD, studies of gender identity outcome within the endo-
ica have not yet been reported. However, a recent report       crine discipline have been principally carried out in pa-
from Massachusetts suggests that the prevalence of trans-      tients with a variety of DSDs, primarily exploring the role
genderism may be more common than previously thought.          of prenatal and postnatal androgens in gender identity
In a survey of 18 to 64 year olds (n ⫽ 28 662) in a “rep-      development. For example, studies in 46,XX patients with
resentative household sample” carried out between 2007         “classical” congenital adrenal hyperplasia (CAH) caused
and 2009, participants were presented with a commonly          by mutations in CYP21A2, resulting in 21-hydroxylase
accepted definition of transgender and were provided with      deficiency and varying degrees of genital masculinization,
more detailed information if requested (14). Of those sur-     demonstrate a greater than expected number of patients
veyed, 131 (0.5%) self-identified as transgender (14). Al-     with gender dysphoria, “atypical gender identity,” or who
though prevalence data for younger transgender adoles-         were transgender (21–23). In an interview study of 43
cents are lacking, multidisciplinary clinics for transgender   patients ages 3–18 years, gender identity scores indicated
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that 11.6% of patients had scores outside the range of             identity and that two patients raised as males remained
control girls; no correlation was found between gender             male (29). However, this study has been criticized for
identity and degree of genital virilization or age of genital      methodological concerns in the assessments of gender
surgery (21). In a larger meta-analysis of 250 patients with       identity and gender dysphoria (30). A literature review of
46,XX 21-hydroxylase deficiency leading to virilizing              patients with 46,XY cloacal exstrophy found that of 51
CAH and who were raised female, 94.8% of patients re-              patients assigned female, the majority (65%) were living
ported a female gender identity without gender dysphoria,          as female, whereas 14% were living as female but with




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whereas 5.2% reported either a male gender identity or             possible gender dysphoria, and approximately 22% were
gender dysphoria (22). As with an earlier study (21), there        living as male (30). In addition, of 16 males with penile
was no apparent correlation with the degree of genital             agenesis assigned female at birth and of seven males with
masculinization and gender identity outcome (22). A                penile ablation reassigned to female in infancy or early
study of adult women with classical 21-hydroxylase de-             childhood, the majority were living as female (30).
ficiency demonstrated a relationship between severity of               Taken together, these studies of gender identity out-
disease and gender identity outcome. Of 42 patients with           come in hormonal and nonhormonal DSDs indicate that
the salt-wasting form, three (7.1%) either had gender dys-         gender identity is not solely dependent on prenatal and
phoria or had changed gender to male; no gender dyspho-            postnatal androgen exposure; however, the occurrence of
ria was seen in less severely affected individuals (23). These     gender identity change (in comparison to the natal gender)
and other studies demonstrate that most 46,XX patients             at a rate significantly higher than would be expected in the
with virilizing CAH from 21-hydroxylase deficiency ap-             general population supports some role of prenatal and
pear to have a female gender identity. However, the find-          possibly postnatal androgens in gender identity develop-
ing that 5.2–11.6% of such patients have gender dyspho-            ment. It should be noted that potential limitations of all
ria, an atypical gender identity, or are transgender would         these survey/questionnaire-based studies to assess gender
appear to be much more common than expected based on               identity include a person’s degree of self-awareness and
the reported prevalence of FTM transsexualism, implying            one’s willingness to disclose this information in the study
that there is some role for prenatal/postnatal androgens in        context.
gender identity outcome (21–23). It is noteworthy that in              In contrast to studies that support some role of andro-
46,XX individuals with virilizing CAH from 21-hydrox-              gens in male gender identity, a case report in a 46,XY
ylase deficiency, prenatal androgens are more likely to            individual with complete androgen insensitivity syndrome
affect gender behavior and sexual orientation than gender          (CAIS) challenges the concept that androgen receptor
identity (24, 25).                                                 (AR) signaling is required for male gender identity devel-
    The potential effects of prenatal and postnatal andro-         opment (31). Although individuals with CAIS typically
gen exposure on gender identity outcome and “gender role           have unambiguous female genitalia and a female gender
change” have also been explored in other hormonal and              identity, an individual with CAIS, associated with an un-
nonhormonal DSDs. For example, in 5␣-reductase-2 de-               ambiguous female phenotype and an AR gene mutation
ficiency among 46 XY individuals raised female, a gender           resulting in a premature stop codon, was found to have a
role change from female to male (typically after puberty)          male gender identity (31). The authors acknowledge that
was reported in 56 – 63% of the patients (26). Gender role         this patient may have had a postzygotic de novo AR gene
changes from female to male were also reported in 39 –             mutation (the mother’s DNA was not available) and could
64% of 46,XY individuals raised female with 17␤-hy-                theoretically have brain mosaicism (with a normal AR in
droxysteroid dehydrogenase-3 deficiency (26). In the               the brain); however, this was considered unlikely given
largest series of patients with 5␣-reductase-2 and 17␤-            that the same AR gene mutation was found in both the
hydroxysteroid dehydrogenase-3 deficiency reviewed by              patient’s blood and fibroblasts (31).
Cohen-Kettenis (26), individuals undergoing gender role                With respect to genetics and gender identity, heritabil-
change from female to male had intact testes, implying a           ity of transsexualism has been suggested from studies de-
potential role of prenatal as well as postnatal androgen           scribing concordance of transsexualism in monozygotic
exposure in gender identity outcome (27, 28). Among                twin pairs and in father-son and brother-sister pairs (32,
“nonhormonal” DSDs, gender identity outcome has been               33). A larger study of survey responses from parents of
studied in patients with cloacal exstrophy, penile ablation,       twins (96 monozygotic pairs and 61 dizygotic pairs, ages
and penile agenesis (29, 30). A study of patients with             7–14 y) demonstrated a 2.3% prevalence of clinically sig-
46,XY cloacal exstrophy reported that the majority (eight          nificant GID (34) (based on DSM-IV criteria). These au-
of 14) who had undergone neonatal sex reassignment to              thors reported that heritability accounted for 62% of the
female (castration) subsequently declared a male gender            variance for GID in their twin sample (34). A more recent
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study supporting a role for genetic factors in gender iden-      was a trend for decreased volume and increased cell den-
tity outcome demonstrated a 39.1% concordance for GID            sity in the INAH 3 of homosexual vs heterosexual men
(based on DSM-IV criteria) in 23 monozygotic female and          (42).
male twin pairs, with no concordance in 21 same-sex dizy-           Recent studies have supported the concept that there
gotic female and male twin pairs or in seven opposite-sex        may also be “gender-dimorphic” brain structures, which
twin pairs (35). With respect to specific genes, association     segregate not according to physical sex but rather accord-
studies with transsexualism have been inconsistent and           ing to gender identity (41, 43). The BSTc, known to be




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lacking strong statistical significance. In one study of 29      larger in men than in women (independent of sexual ori-
MTF transsexuals and 229 male controls, an association           entation), had a female appearance in a group of MTF
was found with a longer dinucleotide CA repeat in intron         individuals (41, 43). Potential limitations of this study
5 of the ER␤ gene in the transsexuals vs controls (P ⫽ .03),     were a small sample size and the fact that many of the MTF
but no associations were found with polymorphisms in the         individuals had received estrogen treatment (43). Of note,
AR (CAG repeat length) and the aromatase (CYP19)                 however, were the findings observed in several controls. A
(TTTA repeat length) genes (36). A larger study (112 MTF         male with a feminizing adrenal tumor producing high
transsexuals and 258 male controls) did not find an asso-        blood levels of estrogen nonetheless had the male BSTc
ciation of transsexualism with the ER␤ gene or the CYP19         pattern, as did two T-deficient males who were orchidec-
gene but did find that the MTF transsexuals had a longer         tomized for prostate cancer; furthermore, a female with a
trinucleotide CAG repeat in exon 1 of the AR gene vs             virilizing adrenal tumor producing high blood levels of
controls (P ⫽ .04) (37). A study from Japan (74 MTF and          androstenedione and T nonetheless had the female BSTc
168 FTM transsexuals with 106 male and 169 female con-           pattern, as did an 84-year-old MTF individual who had
trols), however, did not find any significant associations of    never received any estrogen or antiandrogen treatment
transsexualism with polymorphisms in five candidate              (43). Despite the above-noted study limitations, the inclu-
genes (the same polymorphisms noted above for AR,                sion of critical controls with sex steroid variations and an
CYP19, and ER␤, as well as polymorphisms in ER␣ and              untreated MTF individual lends some support to the con-
the progesterone receptor) (38). A single study reported a       cept that the observed BSTc differences in the transsexual
positive association between a single nucleotide polymor-        individuals were intrinsic and not simply a consequence of
phism in the CYP17 gene and FTM transsexuals but not             sex steroid milieu (43). However, it should be noted that
in MTF transsexuals (39).                                        the sexually dimorphic differentiation of the BSTc in hu-
    With respect to a neurobiological basis for transsexu-       mans is not present until puberty, in contrast to rats, where
alism, numerous studies have reported brain differences in       such differences in the BST occur in the early postnatal
transsexual individuals vs controls. It is well-established      period and apparently require perinatal differences in T
that there are “sexually-dimorphic” brain structures— eg,        levels (44, 45). Given that many transgender adolescents
cell groups in the anterior hypothalamus (eg, interstitial       experience significant gender dysphoria before puberty
nucleus of the anterior hypothalamus 3 [INAH 3]) and the         (and before sex differences in BSTc volume emerge), the
central part of the bed nucleus of the stria terminalis          relationship between BSTc volume and gender identity
(BSTc) that have different morphological characteristics         would appear to be unclear.
in males and females (40, 41). In addition, there is some           Subsequent studies have explored brain differences in
evidence for a “sexual-orientation dimorphic” brain              transsexual adults who had not yet received cross-sex hor-
structure. In 1991, it was reported that the INAH 3,             mone treatment (46 – 49). One study of gray matter vol-
which, in addition to being twice as large in heterosexual       umes by magnetic resonance imaging noted that the right
men vs women, was also found to be twice as large in             putamen volume was sexually dimorphic and reported
heterosexual men vs homosexual men (40). This study was          that the volume of the right putamen in MTF individuals
criticized for its relatively small sample size, potential in-   was larger than in control males and within the average
fluence of HIV on INAH 3 size, and the fact that the char-       range for control females (46). A subsequent study, how-
acterization for INAH 3 in the initial study was only for        ever, did not confirm these findings but reported that the
volume and not cell number. A subsequent study with a            putamen volume in MTF individuals was smaller than in
larger sample size (particularly for controls) confirmed         both male and female cisgender controls (49). With re-
that INAH 3 was significantly larger in presumed hetero-         spect to sexually dimorphic white matter structures (eg,
sexual males vs presumed heterosexual females and dem-           parts of the superior longitudinal fasciculus), magnetic
onstrated that INAH 3 was not affected by HIV status             resonance imaging studies using fractional anisotropy
(42). However, no difference was found in INAH 3 neu-            found that patterns in transsexual individuals were closer
ronal number based on sexual orientation, although there         to individuals who had the same gender identity rather
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than the same physical sex (47). In addition, in studies          plies a very high likelihood that such individuals will be
where hypothalamic blood flow was activated by smelling           transgender as adults; in fact, the emergence or worsening
odorous steroids in a sexually dimorphic manner, the re-          of gender dysphoria with onset of puberty is thought to
sponse in MTF individuals not yet treated with cross-sex          have significant diagnostic value in the determination of
hormones (estrogens) was closer to that of control women          being transgender (55). It is noteworthy, however, that
than control men (48). A potential limitation in the gray         with the advent of gender-affirming medical interventions
and white matter studies is related to brain functional plas-     (as detailed below), awareness of such treatment options




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ticity. It has been demonstrated that changes in both white       may positively impact and, thus, limit the degree of dys-
matter microstructure and gray matter can be induced by           phoria that might otherwise accompany the onset of pu-
training/experience in healthy human adults (50, 51);             berty in a transgender individual. It is therefore essential
thus, it would be difficult to know with certainty whether        that gender-dysphoric youth undergo a thorough psy-
any observed brain differences between transgender and            chodiagnostic evaluation by a qualified mental health pro-
cisgender individuals are intrinsic or a consequence of           vider. An important role of the mental health/gender spe-
experience.                                                       cialist is not only to determine the presence or absence of
                                                                  gender dysphoria but also to evaluate for psychiatric co-
                                                                  morbidities. Although there is an increased prevalence of
Natural History of Transgenderism in                              autism spectrum disorder in clinically referred gender-dys-
Youth/Adolescents                                                 phoric children in comparison to the general population
                                                                  (56) (and, conversely, increased “gender variance” in re-
Longitudinal studies have demonstrated that most gender-
                                                                  ferred children with autism spectrum disorder) (57), most
dysphoric prepubertal youth will no longer meet the men-
                                                                  gender-dysphoric children and adolescents do not have an
tal health criteria for gender dysphoria once puberty has
                                                                  underlying severe psychiatric illness (55).
begun (9, 10). Although gender “fluidity” may be a con-
tributing factor, the lack of persistence of gender dyspho-
                                                                  Management
ria in most gender-dysphoric prepubertal youth undoubt-
                                                                     Guidelines from The Endocrine Society (7) and the
edly reflects the heterogeneous nature of this group. In
                                                                  WPATH SOC (6) provide direction for the comprehensive
fact, many such individuals will turn out to be homosexual
                                                                  management of two distinct pediatric transgender popu-
(natal males, in particular) rather than transgender (1, 5,
                                                                  lations likely to seek medical services: an early pubertal
9, 10). Recent studies have attempted to identify factors
                                                                  group (Tanner 2/3) and a late pubertal group (Tanner 4/5).
that predict gender dysphoria “persisters” vs “desisters”
(52). Persisters reported relatively greater degrees of gen-
                                                                  Early pubertal transgender youth
der dysphoria and were more likely to have experienced
                                                                      Pioneering studies from The Netherlands, first pub-
social transition (to their affirmed gender) during child-
                                                                  lished in 1998, have examined the consequences of pu-
hood (52). Furthermore, persisters “believed they were”
                                                                  bertal suppression with a GnRH agonist (classically used
the other sex, whereas desisters “wished they were” the
                                                                  for the treatment of precocious puberty) in early/midpu-
other sex (52). The limitations in prediction of persistence,
                                                                  bertal gender-dysphoric adolescents (58 – 61). The ratio-
coupled with the observation that most gender-dysphoric
                                                                  nale for such fully reversible treatment is that additional
children will not become transgender adolescents or
                                                                  time for gender exploration can be created without the
adults, have led some investigators to promote efforts to
                                                                  pressure of ongoing pubertal development. Once com-
encourage gender-dysphoric children to accept their natal
                                                                  pleted, the physical changes of puberty cannot be reversed
gender (53). In contrast, a model of care that “affirms” a
                                                                  (by means other than surgical or, for voice, other than by
child’s gender expression is thought to have a more opti-
mal mental health outcome (54). Long-term outcome                 voice training)— eg, low voice, Adam’s apple, and facial
studies are needed to resolve these differences in approach       features in phenotypic males and breast development in
to the care of gender-dysphoric prepubertal youth.                phenotypic females. Theoretically, preventing pubertal
                                                                  development that does not match a person’s gender iden-
                                                                  tity can lead to decreased gender dysphoria and can ulti-
                                                                  mately make the individual more “passable” as an adult.
Diagnostic and Therapeutic Strategies
                                                                  Subsequently, if the individual continues to identify as
Assessment                                                        transgender, cross-sex hormones can be added while con-
   Although the symptoms of gender dysphoria will de-             tinuing GnRH agonist suppression of endogenous pu-
crease or disappear in most gender-dysphoric youth after          berty, enabling the individual to experience only the phys-
initiation of puberty, persistence of gender dysphoria im-        ical changes of puberty that match the person’s affirmed
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Table 1. Hormonal Interventions for Transgender Adolescents (All Currently Off-Label for Gender Nonconforming/
Transgender Youth)
A. Inhibitors of gonadal sex steroid secretion or action
   1. GnRH analogs: inhibition of the hypothalamic-pituitary-gonadal axis (FTM and MTF)
      a. Leuprolide acetate im (1- or 3-mo preparations) or sc (1-, 3-, 4-, or 6-mo preparations) at dose sufficient to suppress
         pituitary gonadotropins and gonadal sex steroids
      b. Histrelin acetate sc implant (once-yearly dosing, although may have longer effectiveness)
      c. Other options: goserelin acetate sc implant (4- or 12-wk preparations); nafarelin acetate intranasal (multiple daily doses)




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         also available, but no reported use in this population
   2. Alternative approaches
      a. Medroxyprogesterone acetate orally (up to 40 mg/d) or im (150 mg every 3 mo): inhibition of hypothalamic-pituitary-
         gonadal axis and direct inhibition of gonadal steroidogenesis (FTM and MTF)
      b. Spironolactone (25 to 50 mg/d with gradual increase to 100 –300 mg/d orally, divided into twice daily dosing): inhibition of
         T synthesis and action (MTF)
      c. Cyproterone acetate (gradual increase up to 100 mg/d orally; not available in United States): inhibition of T synthesis and
         action (MTF)
      d. Finasteride (2.5–5 mg/d orally): inhibition of type II 5 ␣-reductase, blocking conversion of T to 5␣-dihydrotestosterone
         (MTF)
B. Cross-sex hormones
   1. MTF: estrogen-–17␤-estradiol
      a. Transdermal: twice weekly patches (6.25 ␮g [achieved by cutting a 25-␮g patch] with gradual increase to full adult dose)
      b. Oral/sublingual: daily (0.25 mg with gradual increase to full adult dose of 6 – 8 mg/d)
      c. Parenteral im (synthetic esters of 17␤-estradiol): estradiol valerate (5–20 mg up to 30 – 40 mg/2 wk) or estradiol cypionate
         (2–10 mg/wk)
   2. FTM: testosterone
      a. Parenteral im or sc (synthetic esters of T): T cypionate or enanthate (12.5 mg/wk or 25 mg/2 wk, with gradual increase to
         50 –100 mg/wk or 100 –200 mg/2 wk)
      b. Transdermal (consider once the full adult T dose has been achieved parenterally): patch (2.5–7.5 mg/d) or 1% gel (2.5–10
         g/d of gel ⫽ 25–100 mg/d of T)



gender identity (6, 7). The Endocrine Society guidelines            ing the impact of cross-sex hormone treatment initiation
and WPATH SOC endorse the use of pubertal blockers                  at 14 years of age (which approximates the upper end of
(using GnRH agonists) at Tanner 2/3 in individuals expe-            the age range for normal pubertal onset in natal males and
riencing a significant increase in gender dysphoria with            1 year beyond the upper end of the age range in natal
onset of puberty (6, 7). Although age-specific guidelines           females). In this group, sex steroids are increased gradu-
for subsequent interventions are not delineated in the              ally over the course of 2–3 years.
WPATH SOC, the Endocrine Society guidelines suggest                    Limited available outcome data support the above-
that cross-sex hormones can be initiated at about the age           noted Endocrine Society and WPATH recommendations.
of 16 years (the legal age for medical decision-making in           A prospective follow-up study from The Netherlands as-
some countries), whereas surgical procedures (with the              sessed 70 gender-dysphoric adolescents (33 MTF, 37
exception of mastectomy) should be deferred until the in-           FTM), average age 13.65 years (range, 11.1–17 y) at initial
dividual is at least 18 years of age (7). The primary risks of      assessment, who were Tanner stage 2–3, had lifelong gen-
pubertal suppression in these individuals include adverse           der dysphoria that increased with puberty, had stable psy-
effects on bone mineralization (which can theoretically be          chological function, and were supported by their environ-
reversed with cross-sex hormone treatment), compro-                 ment (59, 60). These adolescents were studied at the
mised fertility, and unknown effects on brain development           initiation of GnRH agonist treatment (mean age, 14.75 y),
(55, 59). It is important to ensure adequate intake of cal-         and approximately 2 years later, just before starting cross-
cium and vitamin D, with routine monitoring of 25-hy-               sex hormones (60). Depressive symptoms decreased, gen-
droxyvitamin D levels. Despite the recommendation that              eral mental health functioning improved, no subjects with-
cross-sex hormone treatment not be initiated before age             drew from pubertal suppression, and all went on to cross-
16 years, not only could delaying such treatment until that         sex hormone treatment (60). In a separate report, BMD in
age be detrimental to bone health, but keeping someone in           the lumbar spine, femoral neck, and total body was fol-
a prepubertal state until this age would isolate the indi-          lowed in a small number of gender-dysphoric adolescents
vidual further from age-matched peers, with potentially             during 2 years of GnRH agonist alone and for an addi-
negative consequences for emotional well-being. Thus,               tional 2 years of combination treatment with GnRH ag-
gender centers at our institution and elsewhere are study-          onist and cross-sex hormones (59). BMD (g/cm2) did not
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change significantly during treatment with GnRH agonist           Table 2. Monitoring During Pubertal Suppression and
alone, although z-scores decreased; during combination            During Cross-Sex Hormone Treatment
therapy with GnRH agonist and cross-sex hormones, ab-
solute BMD increased, as did z-scores (59). A 22-year fol-            Measure                                         Frequency
low-up of the first described gender-dysphoric adolescent             A. Pubertal suppression
                                                                         1. Physical exam: height, weight,            T 0 and every 3
treated with GnRH agonist and cross-sex hormones re-
                                                                             Tanner staging                             mo
ported overall psychological well-being with no clinical                 2. Hormonal studies: ultrasensitive          T 0 and every 3




                                                                                                                                           Downloaded from https://academic.oup.com/jcem/article/99/12/4379/2833862 by OUP site access, Jane McGraw on 21 February 2025
signs of adverse effects on brain development; further-                      LH, FSH, estradiol/T                       mo
more, BMD was within the normal range for both sexes                     3. Metabolic: calcium, phosphorous,          T 0 and yearly
                                                                             alkaline phosphatase, 25-
(61).
                                                                             hydroxyvitamin D (see also Ref. 6)
                                                                         4. Bone density: DEXA                        T 0 and yearly
Late pubertal transgender youth                                          5. Bone age                                  T 0 and yearly
    Not infrequently, some transgender adolescents first              B. Cross-sex hormone treatment in
                                                                           previously suppressed patients or
come to medical attention when they are late pubertal
                                                                           in late pubertal patients not
(Tanner 4/5). Such FTM individuals can be treated with T                   previously suppressed
alone, whereas MTF individuals are optimally treated                     1. Physical exam: height, weight,            T 0 and q 3 moa
with an agent that blocks T secretion and/or action, con-                    Tanner staging, blood pressure
current with the use of estrogen (6, 7, 62, 63). Although                    (for FTM, in particular); monitor
                                                                             for adverse reactions
too late to block endogenous pubertal development,                       2. Hormonal studies: ultrasensitive          T 0 and q 3 moa
GnRH agonists can nonetheless be used to suppress the                        LH, FSH, estradiol/T
hypothalamic-pituitary-gonadal axis, potentially en-                        If MTF, also monitor Prolactin            T 0 and yearly
abling the use of lower doses of cross-sex hormones to                   3. Metabolic: calcium, phosphorous,          T 0 and q 3 moa
                                                                             alkaline phosphatase, 25-
induce phenotypic transition to the affirmed gender,                         hydroxyvitamin D, complete
thereby decreasing potential toxicities associated with                      blood count, renal and liver
cross-sex hormone treatment. In this older cohort (having                    function, fasting lipids, glucose,
already experienced the full or near-full puberty associ-                    insulin, glycated hemoglobin
                                                                            If MTF on spironolactone, serum           T 0 and q 3 moa
ated with their physical sex), cross-sex hormone regimens
                                                                           electrolytes (potassium)
may be increased to full replacement doses over a shorter                4. Bone density: DEXA (if puberty            T 0 and yearlyb
interval than used for the younger cohort that had been                      previously suppressed)
initially treated with pubertal blockers at Tanner 2/3. Al-              5. Bone age (if puberty previously           T 0 and yearlyb
                                                                             suppressed)
though GnRH agonists are the preferred option for pu-
bertal suppression in both the early and late pubertal in-        Modified from W. C. Hembree, et al: Endocrine treatment of
                                                                  transsexual persons: an Endocrine Society clinical practice guideline.
dividuals, this treatment is costly and often inaccessible.       J Clin Endocrinol Metab. 2009;94:3132–3154 (7), with permission.
Table 1 lists options for pubertal suppression and cross-         © The Endocrine Society.
sex hormone treatment. With specific respect to estrogen          a
                                                                      Every 3–12 months after the first year.
treatment, 17␤-estradiol (transdermal, oral, or paren-            b
                                                                      Until puberty is completed.
teral) is preferred to conjugated (eg, premarin) or synthetic
estrogens (eg, ethinyl estradiol), given that conjugated and         It should be noted that some Tanner 4/5-transgender
synthetic estrogen levels cannot be monitored in the serum        adolescents present for medical services before 16 years of
and that ethinyl estradiol (in comparison to 17␤-estradiol)       age. As with the group treated with GnRH agonists at
is associated with an increased risk for venous thrombo-          early puberty, we and others are studying the conse-
embolic disease and death from cardiovascular causes (64,         quences of cross-sex hormone treatment at 14 years of age.
65). MTF individuals treated with estrogen may have im-           Occasionally, some gender-dysphoric youth first come to
paired insulin sensitivity and hyperprolactinemia (7).            medical attention when they are Tanner 4/5, but ⬍ 14
Principal risks associated with T treatment in FTM indi-          years of age. Such individuals would be candidates for
viduals include cystic acne, polycythemia, hypertension,          pubertal blockers (eg, to stop menses in an FTM adolescent),
an atherogenic lipid profile, and possible decreased insulin      but without supportive outcome data, not currently candi-
sensitivity (7). Surveillance recommendations for desired         dates for cross-sex hormone use under most circumstances.
as well as adverse effects during treatment with pubertal            It is essential that any use of pubertal blockers and
blockers alone and in combination with cross-sex hor-             cross-sex hormones includes an informed consent process
mones are adapted from the current Endocrine Society              and a discussion about implications for fertility. Trans-
guidelines (7) and are summarized in Table 2.                     gender adolescents may wish to preserve fertility, which
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may be otherwise compromised if puberty is suppressed at        suppress the hypothalamic/pituitary/ovarian axis and on
an early stage and the patient completes phenotypic tran-       weekly sc T injections for phenotypic transition. Moni-
sition with the use of cross-sex hormones.                      toring at 3-month intervals has thus far shown no toxic-
                                                                ities associated with hormonal interventions; the gender
                                                                dysphoria and suicidal ideation continue to be fully re-
Controversies and Areas of Uncertainty/                         solved, and the patient’s depression continues to be
Barriers to Ideal Practice                                      reduced.




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The ability to provide optimal health care to gender-dys-
phoric/transgender youth is limited by areas of uncer-
                                                                Conclusions
tainty, controversies, and barriers to state-of-the art prac-
tice. Only limited safety and efficacy data currently exist,    Transgender youth represent an often marginalized and
with virtually no published data on the use of pubertal         misunderstood population. Compelling studies have dem-
blockers in gender-dysphoric individuals ⬍ 12 years of age      onstrated that gender identity is not simply a psychosocial
or cross-sex hormones in transgender youth ⬍ 16 years of        construct, but likely reflects a complex interplay of bio-
age. Furthermore, randomized controlled trials for hor-         logical, environmental, and cultural factors. The recent
monal interventions in gender-dysphoric youth have not          replacement of “disorder” with “dysphoria” in DSM-5
been considered feasible or ethical (66). The clinical prac-    removes the connotation that a transgender identity itself
tice guidelines that currently exist are based on best avail-   is pathological and focuses instead on dysphoria as the
able evidence, with significant reliance on expert opinion.     clinical concern. The best available evidence indicates that
A 2011 report from the Institute of Medicine of the Na-         mental health comorbidities in gender-dysphoric youth
tional Academies in the United States has endorsed the          significantly diminish or resolve when such individuals are
need for prospective, longitudinal safety and efficacy stud-    subject to a gender-affirming model of care, optimally de-
ies of medical interventions in gender-nonconforming/           livered in a multidisciplinary clinical setting. Prospective
transgender youth (67). Barriers to implementation of cur-      cohort studies focused on long-term safety and efficacy are
rent clinical practice guidelines include the fact that         needed to optimize medical and mental health care for
pubertal blockers and cross-sex hormone treatments are          transgender youth.
off-label in gender-dysphoric youth and are expensive,
and coverage is often denied by insurance companies. Fur-
thermore, whereas an increasing number of clinical pro-
                                                                Acknowledgments
grams have emerged in recent years, there are many geo-
graphic regions in which such services do not exist,            I thank my colleagues at the UCSF Child and Adolescent Gender
limiting access to care and often requiring patients and        Center for their shared commitment and passion for this work.
families to travel long distances. In addition, access to       I am inspired by the courage of our patients, who want nothing
optimal care may be limited by a lack of training of pro-       more than to be themselves, and by their parents and other family
viders and by prejudice and misunderstanding on the part        and community members who support them.
of family, community, and medical and mental health
                                                                    Address all correspondence and requests for reprints to:
professionals.                                                  Stephen M. Rosenthal, MD, Professor of Pediatrics, Medical
                                                                Director, Child and Adolescent Gender Center, Division of En-
                                                                docrinology, Department of Pediatrics, University of California
Returning to the Patients                                       San Francisco, 513 Parnassus Avenue, Room S-672, San Fran-
                                                                cisco, CA 94143-0434. E-mail: rosenthals@peds.ucsf.edu.
Despite insurance denials after multiple appeals, our 13-           Disclosure Summary: The author has nothing to disclose.
year-old Tanner 2/3 gender-dysphoric MTF patient and
family were determined to have access to pubertal sup-
pression with GnRH agonist therapy. They decided                References
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Gender Dysphoria and Gender Change in Chromosomal
Females with Congenital Adrenal Hyperplasia

Arianne B. Dessens, Ph.D.,1,2 Froukje M. E. Slijper, Ph.D.,1
and Stenvert L. S. Drop, M.D., Ph.D.1


                                    This article reviews the literature on studies and case reports on gender identity and gender identity
                                    problems, gender dysphoria, and gender change in chromosomal females with congenital adrenal
                                    hyperplasia, raised male or female. The large majority (94.8%) of the patients raised female (N = 250)
                                    later developed a gender identity as girls and women and did not feel gender dysphoric. But 13 (5.2%)
                                    patients had serious problems with their gender identity. This percentage is higher than the prevalence
                                    of female-to-male transsexuals in the general population of chromosomal females. Among patients
                                    raised male, serious gender identity problems were reported in 4 (12.1%) out of 33 patients. From
                                    these observations, we conclude that the assignment to the female gender as a general policy for
                                    46,XX patients with CAH appears justified, even in severely masculinized 46,XX newborns with
                                    CAH (Prader stage IV or V).

                                    KEY WORDS: congenital adrenal hyperplasia; gender identity; gender dysphoria.




INTRODUCTION                                                                  with nonclassical CAH are born with normal female
                                                                              genitalia, and the disorder becomes symptomatic only
     Congenital adrenal hyperplasia (CAH) is a disorder                       during childhood or later (White & Speiser, 2000).
in which the adrenal glands produce excessive amounts                               In Western industrialized countries, 46,XX neonates
of androgens. In chromosomal females, the classical                           with CAH, if correctly diagnosed, are almost always
(prenatal-onset) form of the disorder causes genital                          assigned to the female gender because they have ovaries, a
masculinization, ranging from mild clitoral enlargement                       uterus, and a vagina, and will feminize normally in puberty
to complete fusion of the labioscrotal folds with a phallic                   and have the potentially for fertility if they are on adequate
urethra (Speiser & White, 2003). In the large majority                        glucocorticoid replacement therapy. Sometimes female
of girls, the disorder is diagnosed through (1) a work-                       neonates are born with severely masculinized genitals and
up following the identification of genital ambiguity at                       are assigned the male gender, particularly if the disorder is
birth, (2) neonatal screening in the first weeks after                        not recognized. When, in such cases, the correct diagnosis
birth (Therrell, 2001; Van der Kamp et al., 2001), or                         is made after the neonatal period, the prevailing policy
(3) a medical work-up when the child develops an                              advises gender reassignment, based on the usual medical
electrolyte crisis secondary to salt loss in the first two                    course described above, the fertility potential, and the
weeks after birth, or undergoes progressive virilization                      assumption that in early childhood gender identity is not
during infancy and early childhood (Speiser, 2001). Girls                     yet stable. In relatively rare cases—mostly in patients with
                                                                              the simple virilizing type and the most severe degree of
1 Pediatrics Department, Division of Pediatric Endocrinology, Erasmus
                                                                              masculinization (Prader stage V)—the diagnosis is not
  Medical Centre, Sophia Children’s Hospital, Rotterdam, The                  made within the first 18 months of life but at a much later
  Netherlands.
2 To whom correspondence should be addressed at Pediatrics Depart-            age. For these patients, there is no consensus about gender
  ment, Division of Pediatric Endocrinology, Erasmus Medical Centre,          reassignment. Some undergo a gender reassignment, but
  Sophia Children’s Hospital, Room SP-3435, POB 2060, 3000 CB                 others do not. The decision not to change gender may
  Rotterdam, The Netherlands; e-mail: a.b.dessens@erasmusmc.nl.               be made according to the recommendation made by

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Money, Hampson, and Hampson (1955). Based on a                   Chan-Cua, Freidenberg and Jones (1989), Collaer and
review of all data available in the literature and the           Hines (1995), and Zucker (1999).
evaluation of patients seen at Harvard University and                  We did not consult the literature before 1950 because
Johns Hopkins Hospital, Money et al. (1955) concluded            hydrocortisone treatment was not available until that year
that gender assignment after the first 2 years of life or so     and the majority of patients died in infancy. Furthermore,
led to increasing adjustment problems (see also Money,           we selected studies in which there were no doubts about
Hampson, and Hampson, 1957). Money’s guidelines for              the diagnosis of CAH, and in which the children studied
patient management explicitly included that later gender         were at least two years old because it is not known whether
reassignment should be based on careful evaluation of            gender identity or gender dysphoria exists in younger
the child’s behavior and gender wishes (Money, 1968).            children.
In most children who are assigned the female gender, the               We used different criteria in the selection of studies
genitals are surgically feminized in order to support the        of 46,XX children raised female and 46,XX children
development of a stable female gender identity, and to pro-      raised male. For children raised female, we only included
vide the capacity for heterosexual intercourse later in life.    studies in which psychological measurements and/or
      Classic 21-hydroxylase deficiency is detected in           psychiatric diagnostic instruments had been used in the
approximately 1 in 16,000 births in most populations             assessment of gender outcomes. Most of these studies
(Speiser & White, 2003). As classical CAH is the most fre-       included female non-CAH controls. By contrast, the
quent intersex disorder in 46,XX individuals, it has been        available studies or case reports on 46,XX children
possible to carry out studies on comparatively large groups      raised male commonly did not employ psychological
of patients. Studies on gender behavior in patients raised       measurements and/or psychiatric diagnostic instruments.
female have shown that, as a group, they show variably           In some studies, a psychiatrist had been consulted; in
masculinized behavior in regard to play, playmates, toys         others, the judgement on gender development seemed
and activities in childhood, leisure time and other activities   to have been made by the pediatrician or the parents.
in adolescence and adulthood (Berenbaum, 2003; Collaer           These latter judgements might have been influenced by
& Hines, 1995; Zucker, 2005). Dittmann (1992) observed           the fact that both the pediatrician and the parents are or had
slightly but significant more masculine positions and body       been directly involved in the original gender assignment
movements in CAH females.                                        decision. We, therefore, decided to include all studies
      The prevailing policy of gender assignment of all          in children raised male which included some statements
chromosomal females with classical CAH to the female             about the gender development of these children, even if it
gender is currently under debate. On theoretical grounds,        was not formally assessed. None of the studies of male-
Diamond and Sigmundson (1997) proposed that chromo-              raised cases included control subjects.
somal females born with severely masculinized genitals
(Prader stage V) should be assigned the male gender. They        RESULTS
assumed that the high levels of intrauterine androgens lead
to a higher degree of brain masculinization and hence to an            Table I summarizes the findings from studies of
increased risk of gender dysphoria in females. In order to       46,XX individuals assigned and raised female (N = 250).
find arguments whether the prevailing gender assignment          The majority of the females suffered from classical CAH
policy should be continued or replaced by Diamond and            and had mild to severe masculinization of their external
Sigmundson’s proposal, we reviewed the literature on             genitals. Thirty-two had been assigned male at birth, of
studies and case reports on gender identity and gender           which 28 were reassigned as females in the first 19 months
identity problems, gender dysphoria, and gender change           of life. Slijper’s (1984) study included one girl with simple
in chromosomal females with CAH, assigned either to the          virilizing CAH who was reassigned from male to female at
female or to the male gender.                                    age 3.5 years. In this girl, the disorder was recognized late.
                                                                 The decision to reassign gender was made because the
METHOD                                                           child preferred to be a girl and psychological assessment
                                                                 revealed that she was developing a female gender identity.
     This review is based upon the most frequently               Wölfle et al.’s (2002) sample included three patients who
cited publications in the English-language literature from       had undergone a physician-imposed gender reassignment
1950 onwards in which gender development has been                to female at ages 7–9 years. One of them accepted this
studied. We searched Medline and PsycLit with the search         change and did not have many social problems. Another
words congenital adrenal hyperplasia, CAH, gender, and           girl accepted the female gender but had to deal with a poor
author names. In addition, we consulted the reviews by           acceptance by her social environment. The third girl did
                                           Table I. Gender Identity in 46,XX Individuals with Congenital Adrenal Hyperplasia Raised Female

                               General information
                                                                                                                                                                                                                  Case




                                                                                                 Gender history                                   Latest report
                                                          Severity of
                                           Syndrome       masculinization            GA at       Phys GRA          Pat GRA               Lives      Identifies as     Gender
      Reference           Country        specifications   at birth           Na      birth         at age           at age      Ageb    as M/F       M/F/other       dysphoria

Ehrhardt et al. (1968)c   USA            n.i.             Prader IV 7p       15      M: 7p    before 8th month    None          5–16         F           Fd            Nof
                                                                                     F: 8p                                                       1p confused about
                                                                                                                                                   her femininity
                                                                                                                                                                                 Congenital Adrenal Hyperplasia




Ehrhardt and Baker        USA            SW 9p            n.i.               17      n.i.            n.i.         None          4–20         F           Fd             No
  (1974)c
                                         SV 8p
                                                                                                                                                                                                                   Case1:25-cv-00240-ACR




McGuire, Ryan, and        USA            n.i.             n.i.               15      n.i.            n.i.         n.i.          7–20         F            F             n.i.
   Omenn (1975)c
Slijper (1983, 1984)c     NL             SW 13p           Prader II 4p       24      M: 5p    before              None          7–17         F        SW: Fd,e         Nof
                                                          Prader III 3p              F: 8p    13th month          None
                                                          Prader IV 6p
                                         SV 11p           Prader II 8p               M: 1p    at age 3.5g                                              SV: F
                                                          Prader III 1p              F: 10p
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                                                          Prader IV 2p
Hurtig and Rosenthal      USA            n.i.             n.i.h               9      n.i.            n.i.         None          13–21        F           Fe             No
  (1987)c
                                                                                                                                                                                                                                           Document72-3




Dittmann et al.           GER            SW 13p           Prader II–V        34      n.i.            n.i.         None          11–41        F            F              F
  (1990)c
                          SV 20p
Meyer-Bahlburg et al.     USA            SW (p2)i         Markedly            1      M        1st month           Adulthood     35           M           M             Yes
                                                                                                                                                                                                                                                    57-14 Filed




 (1996)
                                         SW (p4)i         Markedly            1      F                            Adulthood     30           M           M             Yes
                                                                                                                                                                                                                                                             Filed




                                         SV (p1)i         Markedly            1      M        1st month           Adulthood     28           M           M             Yes
                                         11βOH (p3)i      Markedly            1      F                            Adulthood     38           M           M             Yes
Zucker et al. (1996)c     CAN            SW 19p           n.i.               31      n.ij     1–2 month           Nonek         18–40        F           Fd            No
                                                                                                                                                                                                                                                                03/07/25




                                         SV 12p                                                                   after birth
Slijper et al. (1998)     NL             n.i.             Severely 8p        18      M: 8p    6p at 0–3 month     None          2–27         F         F: 16p         No 16p
                                                                                              2p at 6 month                                            M: 2pl         Yes 2pl
                                                          Ambiguous 2p               F: 10p
Wölfle et al. (2002)     GER + SW       SW 12p           Prader V 9p         9      M        6p patients         None          8–49         F            F             No
                                                                                                                                                                                                                                                                   02/21/25 Page




                                         SV 2p                                                in 1–19 month
                                                                                                                                                                                                                                                                              Page




                                         11βOH 2p                                             3p patients         None                       F   F: 2p (p8m ,p9)i      No
                                                                                                                                                                                                                                                                                 300




                                                                                              at age 7–9year                                     M: 1p (p7)            Yes
                                                                                                                                                                                                                                                                                        10
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                                                                                                                                                                                                     392
                                                                                                                                                                                                                      Case




                                                                                       Table I. Continued

                                  General information                                                   Gender history                                       Latest report
                                           Syndrome        Severity of                     GA at    Phys GRA           Pat GRA                   Lives as        Identifies          Gender
      Reference              Country     specifications   masculinization        Na        birth      at age            at age          Ageb       M/F           M/F/other          dysphoria

Berenbaum and                USA         SW 35            Prader I–IV            43          F          No               None           3–18        F                F                  No
  Bailey (2003)c
                                         SV 8             average
                                                                                                                                                                                                                       Case1:25-cv-00240-ACR




                                                          Prader III
Hines et al. (2004)c         UK          SW 14            n.i.                   16         n.i.        n.i.             None          18–44        F                Fd              No 11p
                                                          n.i. 2                                                                                                                     Yes 5pn
Meyer-Bahlburg et al.        USA         SW 13            Prader I 1p            15         n.i.        n.i.             None           5–12        F                F                 No
 (2004)c                                 SV 2             Prader II 1p
                                                          Prader III 2p
                                                          Prader IV 4p
                                                                                                                                                                                                                            1:25-cv-00240-ACR Document




                                                          Prader IV/V 1p
                                                          n.i. 6p
                                                                                                                                                                                                                                               Document72-3




Notes. GA: gender assignment at birth; phys GRA: physician-imposed gender reassignment; pat GRA: patient-initiated gender reassignment; m/f/other: male, female or other; n.i.: no information;
SW: CAH salt wasting type, SV: CAH simple virilizing type; p: patient(s); USA: United States; NL: The Netherlands; CAN: Canada; GER + SW: Germany and Switzerland.
a N only refers to the number of CAH patients who participated in the study (excluded are the number of control subjects and the total number of patients who had been asked to take part in the

  follow-up study).
                                                                                                                                                                                                                                                        57-14 Filed




b The age at the latest report is presented because in many studies we were unable to find out at what ages the child had been seen before but descriptions made clear that many patients had been
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  admitted to several hospitals before.
c Comparison of CAH patients and matched controls or family controls (sisters, cousins, mothers).
d These females identified themselves as females, but on measurements they indicated they felt less typically female compared to controls.
e Showed a less-female-typical identification on the Draw-a-Person test.
                                                                                                                                                                                                                                                                    03/07/25




f These girls did not feel gender dysphoric but felt less content with being female or more often expressed the wish to have been born male.
g This decision was based on a careful assessment of the patient’s behavior and preferences.
h Four patients had virilization at the time of the study; in three of them, this was due to non-compliance with medication.
i In the publication referred to as patient no. 1,2, etc.
j Information is given for the total sample but not for the patients who entered the follow-up study.
                                                                                                                                                                                                                                                                       02/21/25 Page




k The total study group (which is larger than the 31 subjects who participated in this study) comprised one female who changed gender to male at age 19. He refused to take part in the study.
                                                                                                                                                                                                                                                                                  Page




l Onset of GID at age 3 and 4.
                                                                                                                                                                                                                                                                                     301




m This patient accepted the female gender, but acceptance by her social environment was poor.
n 5 females indicated they had wished to be a person of the other sex in the past 12 months, 4 endorsing “some of the time” and 1 endorsing “about half of the time.”
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not accept the reassignment to female and also had to deal     of females who changed gender was 1.6% (4 out of
with people in her social network who did not accept the       250). In addition, a fifth patient who changed gender
change.                                                        was known from the data base of Zucker et al. (1996).
      The females in the studies by Ehrhardt, Epstein, and     The number of females who desired a gender change
Money (1968), Ehrhardt and Baker (1974), Slijper (1984),       is larger than expected, given the baseline prevalence of
Zucker et al. (1996), Slijper, Drop, Molenaar, and de          female to male transsexualism in the general population of
Muinck Keizer-Schrama (1998) and Hines, Brook, and             chromosomal females (1:30,400; Bakker, van Kesteren,
Conway (2004) identified themselves as females, but on         Gooren, & Bezemer, 1993). The females who changed
measurements they indicated that they felt less typically      their gender did not differ from other women with CAH
female compared to the control group.                          with respect to severity of genital masculinization or levels
      Of the 250 CAH females who participated in these         of prenatal androgen exposure (Meyer-Bahlburg et al.,
investigations, 237 did not show symptoms of gender            1996; Zucker et al., 1996). Based on these findings, it has
dysphoria. However, 13 females reported gender prob-           been concluded that an apparently stable gender identity in
lems: one female was confused about her female identity,       childhood does not necessarily preclude gender dysphoria
5 indicated that they sometimes had wished to be a             and gender change later in life nor does a successful
person of the other sex in the past 12 months, and             gender reassignment in childhood rule out later gender
7 experienced gender dysphoria. Four (30%) of these            problems (Meyer-Bahlburg et al., 1996; Zucker et al.,
13 females experienced such a severe dysphoria that they       1996).
wanted to change their gender (Meyer-Bahlburg et al.,                Four chromosomal females raised male experienced
1996).                                                         gender dysphoria and 29 did not. With respect to the
      Table II shows the findings from studies of 46,XX        occurrence of gender dysphoria, there was no significant
individuals raised male (N = 33). We found 12 studies on       difference between 46,XX CAH patients raised male
gender identity in 46,XX individuals raised male. Most         and patients raised female. The information provided
studies included only one or two individuals, except those     in the literature is often not specific enough to permit
of Rösler and Leiberman (1984), Sripathi, Ahmed, Sakati,      a conclusion regarding the question whether the 46,XX
and al-Ashwal (1997), and Wölfle et al. (2002). At the time   patients raised male (Table II) had more masculinized
of study, 4 (12.1%) out of these 33 chromosomal females        genitals at birth compared to those raised female (Table I).
raised male identified themselves as female (1 patient) or     It appears that all of these children had been assigned the
were gender dysphoric (3 patients).                            male gender initially before their condition was correctly
      These data suggest that gender problems seem to          diagnosed. In the case of some 46,XX children raised
occur more often among CAH patients raised male                male, their 46,XX karyotype became known within their
than among those patients raised female. However, the          first two years of life, but at that point, the parents did
difference between male and female raised patients was         not want to reassign their child to the female gender.
not statistically significant (p = .12, Fisher’s Exact Test,   Our findings indicate that, compared to the general
two-tailed).                                                   population, gender dysphoria is more often seen among
                                                               these patients, either raised male or female. The large
DISCUSSION                                                     majority of patients, however, do not experience gender
                                                               dysphoria. These observations confirm the conclusion by
     The studies reviewed in this article show that, despite   Hines (2004) that gender identity development, at least in
the masculinized gender behavior, the majority (94.8%)         patients with classical CAH, is remarkably flexible.
of chromosomal females with CAH raised female identify               In regard to Diamond and Sigmundson’s proposal
themselves as females and live in their assigned gender        (1997), the sample of Wölfle et al. (2002) is of interest
(Table I). Only a few of them, 13 (5.2%) out of 250,           because it only includes children born with completely
experienced gender dysphoria. One of these patients had        masculinized external genitalia (Prader stage V). This
originally been raised male but underwent physician-           study included 16 patients all assigned male at birth.
imposed gender reassignment to female at age 7. It has         Seven of them had been raised male (Table II), 6 had
been reported before that such a late gender change is         been raised female from 1 to 19 months after birth
associated with an increased risk of gender dysphoria          onwards, and 3 had been raised male in the first 7–
(Wölfle et al., 2002). Four (30%) of the 13 gender            9 years of life. Among the 7 male raised patients,
dysphoric patients experienced such a severe dysphoria         one developed a disturbed gender identity (Table II).
that they initiated a gender change in adulthood. In           Of the 6 patients who had undergone early gender
the total group of evaluated patients, the percentage          reassignment, none developed gender identity problems
                                                 Table II. Gender Identity in 46,XX Individuals with Congenital Adrenal Hyperplasia Raised Male
                                                                                                                                                                                                             394



                                   General information                                                      Gender history                                          Latest report
                                                                                                                                                                                                                              Case




                                                Syndrome         Severity of                          Phys GRA            Pat GRA             Ageb       Lives as        Identifies           Gender
      Reference               Country         specifications    masculinization       Na       GA       at age             at age            at study      M/F           M/F/Other           dysphoria

Wilkins (1957) and            USA             SW                n.i.                   1       M          —                   —                7 21         M        Psychiatric advice
  Jones and Scott                                                                                                                                                      to continue the
  (1958)c                                                                                                                                                              male role
Peris (1960)c                 USA             n.i.              n.i.                   1       M          —                  —                  18          M                M               No
Madsen (1963)c                USA             n.i.              n.i.                   2d      M          —                  —e                 35          M                F               Yes
                                                                                               M          —                  —                  30          M                M               n.i.
Gillenwater, Wyker,           USA             n.i.              n.i.                   1       M          —                  —                   7          M                M               n.i.
  Birdsong, and
                                                                                                                                                                                                                               Case1:25-cv-00240-ACR




  Thornton (1970)c
Redman and Gould              USA             SW                n.i.                   1       M          —                   —                 6           M        Psychologically
  (1972)c                                                                                                                                                              a boy
Money and Daléry             USA             SW                Prader IV or V         1       M          —                   —               adult         M        M/Masculine
  (1976)c                                                                                                                                                              personality
                                              n.i.                                     2d      M          —                   —               adult         M
Rösler and Leiberman         IS              11βOH             severe                 8       M          —                   —               17–33         M        6M                      No
                                                                                                                                                                                                                                    1:25-cv-00240-ACR Document




  (1984)                                                                                                                                                              1 ambivalent
                                                                                                                                                                      1 not adjusted
                                                                                                                                                                      as a male
                                                                                                                                                                                                                                                       Document72-3




Wyatt, Chasalow,              USA             SV                Prader V               1       M          n.i.                —                3 21        n.i.             M                No
  Granoff, and
  Blethen (1987)
Chan-Cua et al.               USA             SW (p1)f          Prader V               1       M          —                   —                8 41         M                M               No
                                                                                                                                                                                                                                                                57-14 Filed




  (1989)c                                     SV (p2)f          Prader V               1       M          —                   —                4 21         M                M               No
Sripathi et al. (1997)c       USA             n.i.              n.i.                   6       M          —                   —               3–16          M        Well adjusted to
                                                                                                                                                                                                                                                                         Filed




                                                                                                                                                                      boyhood
Wölfle et al. (2002)c        GER + SW        n.i.              Prader V               7       M          —                   —               8–49          M              M: 6p             No
                                                                                                                                                                        1p (p2)g,h           1p (p2)g
                                                                                                                                                                                                                                                                            03/07/25




Notes. GA: gender assignment at birth; phys GRA: physician-imposed gender reassignment; pat GRA: patient-initiated gender reassignment; m/f/other: male, female or other; Pso measurement/psa
diagnosis: psychological measurements or psychiatric diagnostic evaluation has been applied; n.i.: no information; USA: United States; IS: Israel; GER + SW: Germany and Switzerland; SA:
Saudi Arabia.
a N only refers to the number of evaluated CAH patients.
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b The age at the latest report is presented because in many studies or reports we were unable to find out at what ages the child had been seen before but descriptions made clear that many patients
                                                                                                                                                                                                                                                                                          Page




  had been admitted to several hospitals before.
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c In these children, the disorder was either recognized late or the parents did not want to reassign the child´s gender. In two brothers (Sripathi et al., 1997), the disorder was recognized at birth but

  the parents insisted on male upbringing.
d Brothers.
                                                                                                                                                                                                                                                                                                    10




e This patient sought help because he wanted to become a woman. From age 26 on, when he started to menstruate, he was convinced that he was a woman.
                                                                                                                                                                                                                                                                                               7 of 306




f The authors describe 3 patients raised as males. In one patient, his identification as a male can be understood from the gender confusion he suffered when he developed breasts at age 11–12 and

   his refusal to follow his doctor’s advice to live as a girl. The patients are further described having masculine personalities.
g In the publication, referred to as patient No 2.
h According to the author’s description, he has a “disturbed gender identity.”
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(see Table I). Of the 3 children who had undergone late               From the findings in the studies described in this
gender reassignment, only one accepted her female gender        article, one could optimistically conclude that the present
and did not experience social stigmatization. For the           medical and psychosocial management of these patients
other two children, the reassignment decision appeared          is not such a bad one. However, the data show that,
to be unfortunate: one child kept identifying herself as        although many patients adjust well to their lives, the
a male whereas the other child accepted her new gender          proportion of patients who experience significant gender
identity but suffered from social stigmatization as her new     problems is higher than expected. In order to gain a
gender identity was not accepted by others. From their          better understanding of these gender problems, future
findings, Wölfle et al. (2002) concluded that physician-       studies should include specific assessments of gender
imposed gender reassignment late in childhood should be         identity and gender dysphoria that will permit better
avoided. This conclusion is in agreement with the original      data on prevalence, characteristics and severity of gender
recommendations by Money et al. (1955). Wölfle et al.          problems. As many gender problems seem to arise in late
(2002) plea for neonatal screening and recommend gender         adolescence and adulthood, more of these studies should
reassignment (if appropriate) in initially undiagnosed          be performed in patients 17 years of age and older.
children under 19 months of age as soon as the correct                We also need to address the problem of patient
diagnosis has been made. The study is an important one,         representativeness. Patient advocacy groups (ISNA, 2003)
and should be repeated in other 46,XX individuals raised        are dissatisfied with the present policy. They point out
in the male gender because such studies broaden our             that, particularly in adulthood, many patients encounter
knowledge of gender development and gender problems             gender-related and psychosexual problems, which some
in these children (Meyer-Bahlburg et al., 2004).                attribute to the medical intervention. Zucker et al. (1996)
       Berenbaum and Bailey (2003) investigated the ef-         mentioned the well-known problem in clinical research
fects on gender identity of prenatal androgens and genital      that patients dissatisfied with the services they received
appearance but did not observe a relationship between           may be resistant to participation in follow-up studies.
degree of genital masculinization and prevalence of gen-        Consequently, the participating patients are somewhat
der identity problems or gender dysphoria. They pointed         more likely to include satisfied ones. This may lead
out that the relationship between genital masculinization       to an underrepresentation of problematic outcomes and,
and brain masculinization may not be proportional and           perhaps, an inadequate revision of treatment policies. It
that caution is needed to conclude that gender identity         is, therefore, very important that also patients who are
is determined primarily by prenatal androgen exposure.          dissatisfied realize the importance of participating in such
A similar conclusion was drawn by Meyer-Bahlburg                follow-up studies, and that investigators make special
et al. (2004), who observed masculinized gender behavior        efforts to facilitate their participation.
but no gender dysphoria in 5–12 year-old CAH girls.                   We agree with Berenbaum (2003) that it is not
A relationship between prenatal androgenization and             necessary to make substantial changes in our medical
masculinization of gender behavior has been observed            and psychosocial management. However, the encountered
in many studies, but not in all (Collaer & Hines, 1995).        gender-related problems deserve more attention. Our
Published correlations of gender related behavior with          knowledge is limited and we are unable yet to predict
Prader stage of genital masculinization have been incon-        which patients will develop gender identity problems
sistent, ranging from .00 to .68 (Meyer-Bahlburg, 2001).        and which will not. Patients and their parents should
The studies reviewed in this article indicate no relationship   be informed about this, and psychological help should
of prenatal androgenization with masculinization of core        be offered to help these patients and to understand the
gender identity.                                                specific nature of their problems. Only the (older) patient
       The difference between gender behavior and gender        him/herself can judge whether the gender s/he has been
identity in their association with prenatal androgenization     assigned to is compatible with his/her overall experience
suggests that the underlying mechanisms establishing            of the self in the given social environment.
gender behavior and gender identity are not quite the same.
With respect to gender identity, in addition to prenatal        REFERENCES
androgenization, genetic factors may play a role (Arnold,
2002; De Vries & Simerly, 2002). Another explanation            Arnold, A. P. (2002). Concepts of genetic and hormonal induction of
could be that, in these patients, social factors influence          vertebrate sexual differentiation in the twentieth century, with
                                                                    special reference to the brain. In D. W. Pfaff, A. P. Arnold, A. M.
the development of gender identity more strongly than the           Etgen, S. E. Fahrbach, & T. T. Rubin (Eds.), Hormones, brain
development of gender-related behavior (Meyer-Bahlburg              and behavior (Vol. 4, pp. 105–135). Amsterdam: Academic Press
et al., 2004).                                                      (Elsevier Science).
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